Case 1:16-mc-02636-AMD   Document 24-8 Filed 06/07/18   Page 1 of 45 PageID #:
                                   3875




                EXHIBIT H
                     Case 1:16-mc-02636-AMD                                             Document 24-8 Filed 06/07/18
                                                                                       CLOSED, APPEAL, MJSELECT                                                Page 2 of 45 250PageID
                                                                                                                                                                                Park Avenue #:
                                  U.S. District Court
                                                                                                  3876                                                                              20th Floor
                                                                                                                                                                                    New York, NY 10177
                        Eastern District of New York (Brooklyn)                                                                                                                     (212) 983‐6000
                                                                                                                                                                                    TERMINATED: 04/25/2002
             CRIMINAL DOCKET FOR CASE #: 1:00-cr-00196-ILG All Defendants
                                                                                                                                                                                    LEAD ATTORNEY
                                                                                                                                                                                    ATTORNEY TO BE NOTICED
                                                                                                                                                                                    Designation: Retained
Case title: USA v. Coppa, et al                                     Date Filed: 03/01/2000
Other court case numbers: 1:98‐cr‐01069 RELATED CASE                Date Terminated: 06/14/2004
                                                                                                                    Pending Counts                                                  Disposition
                             1:98‐cr‐01101 RELATED CASE
                             1:98‐cr‐01102 RELATED CASE                                                                                                                             Defendant sentenced to 36 months
                                                                                                                    18:371 and 3551 et seq. ‐ CABLE SECURITIES                      imprisonment to be followed by 3 years of
                             1:99‐cr‐00545 RELATED CASE
                                                                                                                    FRAUD CONSPIRACY.                                               supervised release. Defendant to pay
                                                                                                                    (15)                                                            restitution in the amount of million. The Court
Assigned to: Senior‐Judge I. Leo Glasser                                                                                                                                            recommends Fort Dix. Defendant assessed .


Defendant (1)                                                                                                       Highest Offense Level (Opening)

Frank Coppa, Sr.                                     represented by John B. Hansbury                                Felony
TERMINATED: 04/25/2002                                              Law Office of John B. Hansbury
                                                                    925 Westchester Avenue                          Terminated Counts                                               Disposition
                                                                                                                    18:1962(c), 1963 and 3551 et seq. ‐
                                                                                                                                                                                    Open counts dismissed on government's
                                                                                                                    RACKETEERING.
                                                                    White Plains, NY 10604                                                                                          motion.
                                                                                                                    (1)
                                                                    914‐946‐7432                                    18:1962(d),1963 and 3551 et seq. ‐
                                                                                                                                                                                    Open counts dismissed on government's
                                                                    Fax: 914‐946‐3708                               RACKETEERING CONSPIRACY.
                                                                                                                                                                                    motion.
                                                                    Email: bhansburylaw@msn.com                     (2)
                                                                    TERMINATED: 04/25/2002                          18:371 and 3551 et seq. ‐ COUNTRY WORLD
                                                                    LEAD ATTORNEY                                                                                                   Open counts dismissed on government's
                                                                                                                    SECURITIES FRAUD CONSPIRACY.
                                                                    ATTORNEY TO BE NOTICED                                                                                          motion.
                                                                                                                    (3)
                                                                    Designation: Retained
                                                                                                                    15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
                                                                                                                                                                                    Open counts dismissed on government's
                                                                    Larry Bronson                                   COUNTRY WORLD SECURITIES FRAUD.
                                                                                                                                                                                    motion.
                                                                    Jay Goldberg, P.C.                              (4)
                                                                    250 Park Avenue                                 18:1956(h) and 3551 et seq. ‐ MONEY
                                                                                                                                                                                    Open counts dismissed on government's
                                                                    New York, NY 10022                              LAUNDERING CONSPIRACY.
                                                                                                                                                                                    motion.
                                                                    (212) 983‐6000                                  (13)
                                                                    TERMINATED: 04/25/2002
                                                                                                                    18:1956(a)(1)(A)(i), 2 and 3551 et seq.‐
                                                                    LEAD ATTORNEY                                                                                                   Open counts dismissed on government's
                                                                                                                    MONEY LAUNDERING.
                                                                    ATTORNEY TO BE NOTICED                                                                                          motion.
                                                                                                                    (14)
                                                                    Larry Bronson                                   15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
                                                                                                                                                                                    Open counts dismissed on government's
                                                                    Mr. Larry Bronson                               CABLE SECURITIES FRAUD.
                                                                                                                                                                                    motion.
                                                                    80 Pine Street                                  (16)
                                                                    New York, NY 10070                              18:1956(h) and 3551 et seq. ‐ CABLE MONEY
                                                                    TERMINATED: 04/25/2002                                                                                          Open counts dismissed on government's
                                                                                                                    LAUNDERING CONSPIRACY.
                                                                    LEAD ATTORNEY                                                                                                   motion.
                                                                                                                    (17)
                                                                    ATTORNEY TO BE NOTICED
                                                                    Designation: Retained
                                                                                                                    Highest Offense Level (Terminated)
                                                                    Nicholas Gregory Kaizer                         Felony




Complaints                                                          Disposition                                     Terminated Counts                                               Disposition
None                                                                                                                18:1956(h) and 3551 et seq. ‐ MONEY
                                                                                                                                                                                    Open counts dismissed on government's
                                                                                                                    LAUNDERING CONSPIRACY.
                                                                                                                                                                                    motion.
                                                                                                                    (13)
Assigned to: Senior‐Judge I. Leo Glasser
                                                                                                                    18:1956(a)(1)(A)(i), 2 and 3551 et seq.‐
                                                                                                                                                                                    Open counts dismissed on government's
                                                                                                                    MONEY LAUNDERING.
Defendant (2)                                                                                                                                                                       motion.
                                                                                                                    (14)
Ernest Montevecchi                                   represented by John B. Hansbury
TERMINATED: 03/27/2002                                              (See above for address)                         Highest Offense Level (Terminated)
also known as                                                       TERMINATED: 03/27/2002
                                                                                                                    Felony
Butch                                                               LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED
                                                                    Designation: Retained                           Complaints                                                      Disposition
                                                                                                                    None
                                                                    Joseph Aaron Bondy
                                                                    401 Greenwich Street
                                                                    Fifth Floor                                     Assigned to: Senior‐Judge I. Leo Glasser
                                                                    New York, NY 10013
                                                                    212‐219‐3572
                                                                                                                    Defendant (3)
                                                                    Fax: 212‐219‐8456
                                                                    Email: joseph@bondylaw.com                      Daniel Persico                                    represented by Joseph Giannini
                                                                    TERMINATED: 03/27/2002                          TERMINATED: 02/26/2002                                           Joseph Giannini, Esq.
                                                                    LEAD ATTORNEY                                                                                                    P.O. Box 1958
                                                                    ATTORNEY TO BE NOTICED                                                                                           Amagansett, NY 01130
                                                                    Designation: Retained                                                                                            631‐267‐6666
                                                                                                                                                                                     Fax: 631‐329‐6368
                                                                    Joy Lucielle Vastola                                                                                             Email: giannini43@yahoo.com
                                                                    17 Battery Place                                                                                                 TERMINATED: 02/26/2002
                                                                    Suite 610                                                                                                        LEAD ATTORNEY
                                                                    New York, NY 10004                                                                                               ATTORNEY TO BE NOTICED
                                                                    (212) 248‐2694                                                                                                   Designation: Retained
                                                                    TERMINATED: 03/27/2002
                                                                    LEAD ATTORNEY                                   Pending Counts                                                  Disposition
                                                                    ATTORNEY TO BE NOTICED
                                                                    Designation: Retained                                                                                           Defendant sentenced to 21 months
                                                                                                                    18:1962(d),1963 and 3551 et seq. ‐                              imprisonment to be followed by 3 years of
                                                                                                                    RACKETEERING CONSPIRACY.                                        supervised release. Defendant assessed . The
Pending Counts                                                      Disposition                                     (2)                                                             court recommends incarceration at Fort Dix or
                                                                    Defendant sentenced to 36 months                                                                                Otisville. Defendant to surrender on 5/1/02.
                                                                    imprisonment to run concurrently with
                                                                    sentence defendant is currently serving, plus   Highest Offense Level (Opening)
18:1962(d),1963 and 3551 et seq. ‐                                  three years of supervised release. Defendant
RACKETEERING CONSPIRACY.                                            to make restitution in the amount of million    Felony
(2)                                                                 during the period of supervised rel ease. The
                                                                    government is given 90 days to provide a list   Terminated Counts                                               Disposition
                                                                    of victims and the amounts to be paid. The
                                                                                                                    18:1957‐3300, 2 and 3551 et seq‐INTERSTATE
                                                                    Court recommends incarceration at Fort Dix.                                                                     Open counts dismissed on government's
                                                                                                                    COMMERCE
                                                                                                                                                                                    motion.
                                                                                                                    (1s)
Highest Offense Level (Opening)
Felony
                      Case 1:16-mc-02636-AMD
18:1956(h) and 3551 et seq. ‐ MONEY                        Document 24-8 Filed 06/07/18
                                        Open counts dismissed on government's
                                                                                                                                                        Page 3 of 45 PageID #:
LAUNDERING CONSPIRACY.
(13)
                                        motion.                               3877 Terminated Counts                                                                        Disposition
                                                                                                             18:1962(d),1963 and 3551 et seq. ‐
                                                                                                                                                                            Counts 2, 6, 7 and 8 are dismissed by
18:1956(a)(1)(A)(i), 2 and 3551 et seq.‐                                                                     RACKETEERING CONSPIRACY.
                                                             Open counts dismissed on government's                                                                          Goverment's motion in open court.
MONEY LAUNDERING.                                                                                            (2)
                                                             motion.
(14)                                                                                                         15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
                                                                                                             HOLLY SECURITIES FRAUD. AND DECEPTIVE                          Counts 2, 6, 7 and 8 are dismissed by
Highest Offense Level (Terminated)                                                                           DEVICES                                                        Goverment's motion in open court.
Felony                                                                                                       (6)
                                                                                                             18:1956(h) and 3551 et seq. ‐ HOLLY MONEY
                                                                                                                                                                            Counts 2, 6, 7 and 8 are dismissed by
Complaints                                                   Disposition                                     LAUNDERING CONSPIRACY.
                                                                                                                                                                            Goverment's motion in open court.
                                                                                                             (7)
None
                                                                                                             18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2 and
                                                                                                                                                                            Counts 2, 6, 7 and 8 are dismissed by
                                                                                                             35512 et seq. ‐ HOLLEY MONEY LAUNDERING.
                                                                                                                                                                            Goverment's motion in open court.
Assigned to: Senior‐Judge I. Leo Glasser                                                                     (8)


Defendant (4)                                                                                                Highest Offense Level (Terminated)
Jack Basile                                    represented by Elizabeth E Macedonio                          Felony
TERMINATED: 10/26/2001                                        Elizabeth E. Macedonio, P.C.
                                                              42‐40 Bell Blvd                                Complaints                                                     Disposition
                                                              Suite 302
                                                                                                             None
                                                              Bayside, NY 11361
                                                              718‐279‐3770
                                                              Fax: 718‐281‐0850                              Assigned to: Senior‐Judge I. Leo Glasser
                                                              Email: emacedonio@yahoo.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED                         Defendant (5)
                                                              Designation: Retained                          Rocco Basile                                    represented by Michael F. Bachner
                                                                                                             TERMINATED: 11/27/2001                                         Bachner & Herskovits, P.C.
                                                             John H. Jacobs                                                                                                 26 Broadway
                                                             260 Madison Avenue                                                                                             Suite 2310
                                                             22nd. Floor                                                                                                    New York, NY 10004
                                                             New York, NY 10016                                                                                             (212) 344‐7778
                                                             (212) 545‐8087                                                                                                 Fax: 212‐344‐7774
                                                             TERMINATED: 10/26/2001                                                                                         Email: mb@bhlawfirm.com
                                                             LEAD ATTORNEY                                                                                                  TERMINATED: 11/27/2001
                                                             ATTORNEY TO BE NOTICED                                                                                         LEAD ATTORNEY
                                                             Designation: Retained                                                                                          ATTORNEY TO BE NOTICED
                                                                                                                                                                            Designation: Retained
Pending Counts                                               Disposition
                                                                                                                                                                            Stephen P. Scaring
                                                             AMENDED JUDGMENT: Defendant is                                                                                 Stephen P. Scaring, P.C.
                                                             sentenced to Count 5 and receives 37 months                                                                    666 Old Country Road, Suite 501
18:371 and 3551 et seq. ‐ HOLLY SECURITIES
                                                             concurrent on each indictment with 99cr589;                                                                    Garden City, NY 11530
FRAUD CONSPIRACY.
                                                             3 years supervised release concurrent on each                                                                  516/683/8500
(5)
                                                             count with 99cr589; special assessment fee                                                                     Fax: 516‐683‐8410
                                                             .00; restitution ,000.00                                                                                       Email: sscaring@scaringlaw.com
                                                                                                                                                                            TERMINATED: 11/27/2001
Highest Offense Level (Opening)                                                                                                                                             LEAD ATTORNEY
Felony




                                                             ATTORNEY TO BE NOTICED                                                                                         Designation: Retained
                                                             Designation: Retained
                                                                                                                                                                            Robert T. Wolf
Pending Counts                                               Disposition                                                                                                    Gerstein, Savage & Kaplowitz
                                                                                                                                                                            101 east 52nd Street 9th Floor
                                                             Imprisonment of 44 months on each count to                                                                     New York, NY 10022
                                                             run concurrently. Supervised release of 3                                                                      (212) 752‐9700
18:371 and 3551 et seq. ‐ HOLLY SECURITIES                   years on each count to run concurrently.                                                                       LEAD ATTORNEY
FRAUD CONSPIRACY.                                            Special assessement of . Restitution of                                                                        ATTORNEY TO BE NOTICED
(5)                                                          ,000,000.00. AMENDED To include on page 2                                                                      Designation: Retained
                                                             that deft receive treatmen t for substance
                                                             abuse.                                                                                                         Stephen Robert LaCheen
                                                                                                                                                                            15th & Locust Streets
Highest Offense Level (Opening)                                                                                                                                             31st Floor, Lewis Tower Building
                                                                                                                                                                            Philadelphia, PA 19102
Felony
                                                                                                                                                                            (215) 735‐5900
                                                                                                                                                                            LEAD ATTORNEY
Terminated Counts                                            Disposition                                                                                                    ATTORNEY TO BE NOTICED
18:1962(d),1963 and 3551 et seq. ‐                                                                                                                                          Designation: Retained
RACKETEERING CONSPIRACY.                                     Dismissed on govt's motion.
(2)                                                                                                          Pending Counts                                                 Disposition
15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐                                                                  18:371 and 3551 et seq. ‐ HOLLY SECURITIES                     Defendant sentenced to 3 years probation.
HOLLY SECURITIES FRAUD. AND DECEPTIVE                                                                        FRAUD CONSPIRACY.                                              Defendant fined and assessed . Defendant to
                                                             Dismissed on govt's motion.
DEVICES                                                                                                      (5)                                                            perform 100 of community service.
(6)
18:1956(h) and 3551 et seq. ‐ HOLLY MONEY                                                                    Highest Offense Level (Opening)
LAUNDERING CONSPIRACY.                                       Dismissed on govt's motion.
                                                                                                             Felony
(7)
18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2 and
                                                                                                             Terminated Counts                                              Disposition
35512 et seq. ‐ HOLLEY MONEY LAUNDERING.                     Dismissed on govt's motion.
(8)                                                                                                          18:1962(c), 1963 and 3551 et seq. ‐
                                                                                                             RACKETEERING.                                                  Dismissed on government's motion.
                                                                                                             (1)
Highest Offense Level (Terminated)
                                                                                                             18:1962(d),1963 and 3551 et seq. ‐
Felony
                                                                                                             RACKETEERING CONSPIRACY.                                       Dismissed on government's motion.
                                                                                                             (2)
Complaints                                                   Disposition
                                                                                                             18:371 and 3551 et seq. ‐ COUNTRY WORLD
None                                                                                                         SECURITIES FRAUD CONSPIRACY.                                   Dismissed on government's motion.
                                                                                                             (3)

Assigned to: Senior‐Judge I. Leo Glasser                                                                     15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
                                                                                                             COUNTRY WORLD SECURITIES FRAUD.                                Dismissed on government's motion.
                                                                                                             (4)
Defendant (6)
                                                                                                             15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
Larry Berman                                   represented by Amy E. Millard                                 HOLLY SECURITIES FRAUD. AND DECEPTIVE
TERMINATED: 05/22/2003                                        Clayman & Rosenberg                                                                                           Dismissed on government's motion.
                                                                                                             DEVICES
                                                              305 Madison Avenue                             (6)
                                                              New York, NY 10165
                                                              Fax (212) 949‐8255                             18:1956(h) and 3551 et seq. ‐ HOLLY MONEY
                                                              LEAD ATTORNEY                                  LAUNDERING CONSPIRACY.                                         Dismissed on government's motion.
                                                              ATTORNEY TO BE NOTICED                         (7)
                      Case 1:16-mc-02636-AMD
18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2 and                                      Document 24-8 Filed 06/07/18                                             Page 4 of 45 sentence
                                                                                                                                                                         PageID            #:The Court recommends
                                                                                                                                                                                 in 01cr1049.
35512 et seq. ‐ HOLLEY MONEY LAUNDERING.
(8)
                                                                                            3878
                                                             Dismissed on government's motion.                                                                                     Shock Incarceration Program, where
                                                                                                                                                                                   defendant can receive substance abuse tr
                                                                                                                                                                                   eatment. Defendant assessed (this includes
Highest Offense Level (Terminated)                                                                                                                                                 assessment for 01cr1049). Defendant to
                                                                                                                                                                                   surrender to institution before 2:00 pm on
Felony                                                                                                                                                                             5/6/02. Restitution to be paid: the amount of
                                                                                                                                                                                   victims' losses are not yet ascertainable (final
Complaints                                                   Disposition                                                                                                           determination w ill be submitted on 6/14/02).
None                                                                                                                                                                               Defendant sentenced to 24 months
                                                                                                                                                                                   imprisonment to be followed by 3 years of
                                                                                                                                                                                   supervised release‐ to run concurrently with
Assigned to: Senior‐Judge I. Leo Glasser                                                                                                                                           sentence in 01cr1049. The Court recommends
                                                                                                                                                                                   Shock Incarceration Program, where
                                                                                                                18:371 and 3551 et seq. ‐ HOLLY SECURITIES
Defendant (7)                                                                                                                                                                      defendant can receive substance abuse tr
                                                                                                                FRAUD CONSPIRACY.
                                                                                                                                                                                   eatment. Defendant assessed (this includes
John Cioffoletti                               represented by Andrew J. Weinstein                               (5)
                                                                                                                                                                                   assessment for 01cr1049). Defendant to
TERMINATED: 03/18/2002                                        Weinstein & Mazurek PLLC                                                                                             surrender to institution before 2:00 pm on
                                                              521 Fifth Avenue                                                                                                     5/6/02. Restitution to be paid: the amount of
                                                              Suite 3300                                                                                                           victims' losses are not yet ascertainable (final
                                                              New York, NY 10175‐3399                                                                                              determination w ill be submitted on 6/14/02).
                                                              212‐582‐8900
                                                              Fax: 212‐582‐8989                                                                                                    Defendant sentenced to 24 months
                                                              Email: ajw@weinsteinmazurek.com                                                                                      imprisonment to be followed by 3 years of
                                                              LEAD ATTORNEY                                                                                                        supervised release‐ to run concurrently with
                                                              ATTORNEY TO BE NOTICED                                                                                               sentence in 01cr1049. The Court recommends
                                                              Designation: Retained                             15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐                        Shock Incarceration Program, where
                                                                                                                HOLLY SECURITIES FRAUD. AND DECEPTIVE                              defendant can receive substance abuse tr
                                                             Michael F. Bachner                                 DEVICES                                                            eatment. Defendant assessed (this includes
                                                             (See above for address)                            (6)                                                                assessment for 01cr1049). Defendant to
                                                             TERMINATED: 03/18/2002                                                                                                surrender to institution before 2:00 pm on
                                                             LEAD ATTORNEY                                                                                                         5/6/02. Restitution to be paid: the amount of
                                                             ATTORNEY TO BE NOTICED                                                                                                victims' losses are not yet ascertainable (final
                                                             Designation: Retained                                                                                                 determination w ill be submitted on 6/14/02).
                                                                                                                                                                                   Defendant sentenced to 24 months
Pending Counts                                               Disposition                                                                                                           imprisonment to be followed by 3 years of
                                                                                                                                                                                   supervised release‐ to run concurrently with
                                                             Defendant sentenced to 24 months                                                                                      sentence in 01cr1049. The Court recommends
                                                             imprisonment to be followed by 3 years of                                                                             Shock Incarceration Program, where
                                                             supervised release‐ to run concurrently with       18:371 and 3551 et seq. ‐ USBNY SECURITIES
                                                                                                                                                                                   defendant can receive substance abuse tr
                                                             sentence in 01cr1049. The Court recommends         FRAUD CONSPIRACY.
                                                                                                                                                                                   eatment. Defendant assessed (this includes
                                                             Shock Incarceration Program, where                 (9)
18:371 and 3551 et seq. ‐ COUNTRY WORLD                                                                                                                                            assessment for 01cr1049). Defendant to
                                                             defendant can receive substance abuse tr                                                                              surrender to institution before 2:00 pm on
SECURITIES FRAUD CONSPIRACY.
                                                             eatment. Defendant assessed (this includes                                                                            5/6/02. Restitution to be paid: the amount of
(3)
                                                             assessment for 01cr1049). Defendant to                                                                                victims' losses are not yet ascertainable (final
                                                             surrender to institution before 2:00 pm on                                                                            determination w ill be submitted on 6/14/02).
                                                             5/6/02. Restitution to be paid: the amount of
                                                             victims' losses are not yet ascertainable (final                                                                      Defendant sentenced to 24 months
                                                             determination w ill be submitted on 6/14/02).                                                                         imprisonment to be followed by 3 years of
                                                                                                                15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
                                                                                                                                                                                   supervised release‐ to run concurrently with
15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐                  Defendant sentenced to 24 months                   USBNY SECURITIES FRAUD.
                                                                                                                                                                                   sentence in 01cr1049. The Court recommends
COUNTRY WORLD SECURITIES FRAUD.                              imprisonment to be followed by 3 years of          (10)
                                                                                                                                                                                   Shock Incarceration Program, where
(4)                                                          supervised release‐ to run concurrently with                                                                          defendant can receive substance abuse tr




                                                             eatment. Defendant assessed (this includes         18:1956(h) and 3551 et seq. ‐ USBNY MONEY
                                                                                                                                                                                   Open counts dismissed on government's
                                                             assessment for 01cr1049). Defendant to             LAUNDERING CONSPIRACY.
                                                                                                                                                                                   motion.
                                                             surrender to institution before 2:00 pm on         (11)
                                                             5/6/02. Restitution to be paid: the amount of      18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2 and
                                                             victims' losses are not yet ascertainable (final                                                                      Open counts dismissed on government's
                                                                                                                3551 et seq. ‐ USBNY MONEY LAUNDERING.
                                                             determination w ill be submitted on 6/14/02).                                                                         motion.
                                                                                                                (12)
                                                             Defendant sentenced to 24 months                   18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2 and
                                                             imprisonment to be followed by 3 years of                                                                             Open counts dismissed on government's
                                                                                                                3551 et seq. ‐ CABLE MONEY LAUNDERING.
                                                             supervised release‐ to run concurrently with                                                                          motion.
                                                                                                                (18)
                                                             sentence in 01cr1049. The Court recommends
                                                             Shock Incarceration Program, where
18:371 and 3551 et seq. ‐ CABLE SECURITIES                                                                      Highest Offense Level (Terminated)
                                                             defendant can receive substance abuse tr
FRAUD CONSPIRACY.
                                                             eatment. Defendant assessed (this includes         Felony
(15)
                                                             assessment for 01cr1049). Defendant to
                                                             surrender to institution before 2:00 pm on
                                                                                                                Complaints                                                         Disposition
                                                             5/6/02. Restitution to be paid: the amount of
                                                             victims' losses are not yet ascertainable (final   None
                                                             determination w ill be submitted on 6/14/02).
                                                             Defendant sentenced to 24 months                   Assigned to: Senior‐Judge I. Leo Glasser
                                                             imprisonment to be followed by 3 years of
                                                             supervised release‐ to run concurrently with
                                                             sentence in 01cr1049. The Court recommends         Defendant (8)
                                                             Shock Incarceration Program, where                 John Doukas                                          represented by Edward A. McDonald
15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
                                                             defendant can receive substance abuse tr           TERMINATED: 08/09/2002                                              Dechert, LLP
CABLE SECURITIES FRAUD.
                                                             eatment. Defendant assessed (this includes                                                                             30 Rockefeller Plaza
(16)
                                                             assessment for 01cr1049). Defendant to                                                                                 New York, NY 10112
                                                             surrender to institution before 2:00 pm on                                                                             212‐698‐3500
                                                             5/6/02. Restitution to be paid: the amount of                                                                          Email: edward.mcdonald@dechert.com
                                                             victims' losses are not yet ascertainable (final                                                                       TERMINATED: 08/09/2002
                                                             determination w ill be submitted on 6/14/02).                                                                          LEAD ATTORNEY
                                                                                                                                                                                    ATTORNEY TO BE NOTICED
Highest Offense Level (Opening)                                                                                                                                                     Designation: Retained
Felony                                                                                                                                                                             Martin Russo
                                                                                                                                                                                   60 East 42nd. Street
Terminated Counts                                            Disposition                                                                                                           8th FLoor
                                                                                                                                                                                   New York, NY 10165
18:1962(c), 1963 and 3551 et seq. ‐
                                                             Open counts dismissed on government's                                                                                 Fax (212) 557‐5587
RACKETEERING.
                                                             motion.                                                                                                               TERMINATED: 10/05/2000
(1)
                                                                                                                                                                                   LEAD ATTORNEY
18:1962(d),1963 and 3551 et seq. ‐                                                                                                                                                 ATTORNEY TO BE NOTICED
                                                             Open counts dismissed on government's
RACKETEERING CONSPIRACY.                                                                                                                                                           Designation: Retained
                                                             motion.
(2)
18:1956(h) and 3551 et seq. ‐ HOLLY MONEY                                                                       Pending Counts                                                     Disposition
                                                             Open counts dismissed on government's
LAUNDERING CONSPIRACY.
                                                             motion.                                                                                                               Defendant sentenced to 9 months
(7)
                                                                                                                                                                                   imprisonment to be followed by 3 years of
18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2 and                                                                    18:371 and 3551 et seq. ‐ USBNY SECURITIES
                                                             Open counts dismissed on government's                                                                                 supervised release. Defendant to perform 200
35512 et seq. ‐ HOLLEY MONEY LAUNDERING.                                                                        FRAUD CONSPIRACY.
                                                             motion.                                                                                                               hours of community service. Restitution:
(8)                                                                                                             (9)
                                                                                                                                                                                   million, payable to the Clerk of Court. Court
                                                                                                                                                                                   recommends camp type facility‐ Allen wood or
                      Case 1:16-mc-02636-AMD                 Document
                                        Otisville. Defendant to surrender to institution 24-8  Filedand06/07/18
                                                                                               18:1956(h)                          Page 5 of 45 PageID #:
                                                                                                           3551 et seq. ‐ CABLE MONEY
                                        on 9/30/02. Defendant assessed .
                                                                                          3879 LAUNDERING
                                                                                               (17)
                                                                                                          CONSPIRACY.                          Dismissed on government's motion.
                                                        Defendant sentenced to 9 months
                                                        imprisonment to be followed by 3 years of          18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2 and
                                                        supervised release. Defendant to perform 200       3551 et seq. ‐ CABLE MONEY LAUNDERING.                        Dismissed on government's motion.
15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
                                                        hours of community service. Restitution:           (18)
CABLE SECURITIES FRAUD.
                                                        million, payable to the Clerk of Court. Court
(16)
                                                        recommends camp type facility‐ Allen wood or       Highest Offense Level (Terminated)
                                                        Otisville. Defendant to surrender to institution
                                                        on 9/30/02. Defendant assessed .                   Felony


Highest Offense Level (Opening)                                                                            Complaints                                                    Disposition
Felony                                                                                                     None


Terminated Counts                                       Disposition                                        Assigned to: Senior‐Judge I. Leo Glasser
18:1962(c), 1963 and 3551 et seq. ‐
RACKETEERING.                                           Dismissed on government's motion.                  Defendant (9)
(1)
                                                                                                           Walter Durchalter                              represented by Michael F. Bachner
18:1962(d),1963 and 3551 et seq. ‐                                                                         TERMINATED: 06/14/2004                                        (See above for address)
RACKETEERING CONSPIRACY.                                Dismissed on government's motion.                  also known as                                                 LEAD ATTORNEY
(2)                                                                                                        Dutch                                                         ATTORNEY TO BE NOTICED
18:371 and 3551 et seq. ‐ HOLLY SECURITIES                                                                 TERMINATED: 06/14/2004                                        Designation: Retained
FRAUD CONSPIRACY.                                       Dismissed on government's motion.
(5)                                                                                                                                                                      Robert S. Wolf
                                                                                                                                                                         Gersten, Savage, Kaplowitz, Wolf & Marcus,
15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
                                                                                                                                                                         LLP
HOLLY SECURITIES FRAUD. AND DECEPTIVE
                                                        Dismissed on government's motion.                                                                                600 Lexington Avenue
DEVICES
                                                                                                                                                                         9th Floor
(6)
                                                                                                                                                                         New York, NY 10022
18:1956(h) and 3551 et seq. ‐ HOLLY MONEY                                                                                                                                212‐752‐9700
LAUNDERING CONSPIRACY.                                  Dismissed on government's motion.                                                                                Fax: 212‐752‐3868
(7)                                                                                                                                                                      Email: rwolf@gskny.com
18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2 and                                                                                                                             TERMINATED: 04/11/2003
35512 et seq. ‐ HOLLEY MONEY LAUNDERING.                Dismissed on government's motion.                                                                                LEAD ATTORNEY
(8)                                                                                                                                                                      ATTORNEY TO BE NOTICED
                                                                                                                                                                         Designation: Retained
15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
USBNY SECURITIES FRAUD.                                 Dismissed on government's motion.
(10)                                                                                                       Pending Counts                                                Disposition

18:1956(h) and 3551 et seq. ‐ USBNY MONEY                                                                                                                                Imprisonment for a total term of 24 months,
LAUNDERING CONSPIRACY.                                  Dismissed on government's motion.                                                                                The court recommends that the defendant be
(11)                                                                                                                                                                     designated to a facility in the New York area.
                                                                                                                                                                         The defendant shall surrender for service of
18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2 and                                                               15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
                                                                                                                                                                         sentence at the institution designated by the
3551 et seq. ‐ USBNY MONEY LAUNDERING.                  Dismissed on government's motion.                  COUNTRY WORLD SECURITIES FRAUD.
                                                                                                                                                                         Bureau of Prisons before 2p.m. on 08/23/04.
(12)                                                                                                       (4)
                                                                                                                                                                         Supervised release for a Three year term.
18:371 and 3551 et seq. ‐ CABLE SECURITIES                                                                                                                               Special Assessment of $200.00 and Fine of
FRAUD CONSPIRACY.                                       Dismissed on government's motion.                                                                                $50,000.00. The other nine counts are
(15)                                                                                                                                                                     dismissed on the motion of the United States.




                                                        Imprisonment for a total term of 24 months,        18:1956(h) and 3551 et seq. ‐ USBNY MONEY
                                                        The court recommends that the defendant be         LAUNDERING CONSPIRACY.                                        Dismissed on governments motion
                                                        designated to a facility in the New York area.     (11)
15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐             The defendant shall surrender for service of       18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2 and
HOLLY SECURITIES FRAUD. AND DECEPTIVE                   sentence at the institution designated by the      3551 et seq. ‐ USBNY MONEY LAUNDERING.                        Dismissed on governments motion
DEVICES                                                 Bureau of Prisons before 2p.m. on 08/23/04.        (12)
(6)                                                     Supervised release for a Three year term.
                                                        Special Assessment of $200.00 and Fine of
                                                        $50,000.00. The other nine counts are              Highest Offense Level (Terminated)
                                                        dismissed on the motion of the United States.      Felony
                                                        Imprisonment for a total term of 24 months,
                                                        The court recommends that the defendant be         Complaints                                                    Disposition
                                                        designated to a facility in the New York area.
                                                                                                           None
                                                        The defendant shall surrender for service of
18:1956(h) and 3551 et seq. ‐ HOLLY MONEY
                                                        sentence at the institution designated by the
LAUNDERING CONSPIRACY.
                                                        Bureau of Prisons before 2p.m. on 08/23/04.        Assigned to: Senior‐Judge I. Leo Glasser
(7)
                                                        Supervised release for a Three year term.
                                                        Special Assessment of $200.00 and Fine of
                                                        $50,000.00. The other nine counts are              Defendant (10)
                                                        dismissed on the motion of the United States.      Edward Garafola                                represented by Michael Rosen
                                                                                                           TERMINATED: 02/28/2002                                        Law Office of Michael Rosen
Highest Offense Level (Opening)                                                                                                                                          61 Broadway
                                                                                                                                                                         Suite 1105
Felony                                                                                                                                                                   New York, NY 10006
                                                                                                                                                                         212‐742‐1717
Terminated Counts                                       Disposition                                                                                                      Fax: 212‐248‐4068
18:1962(c), 1963 and 3551 et seq. ‐                                                                                                                                      Email: mrosenlaw@aol.com
RACKETEERING.                                           Dismissed on governments motion                                                                                  TERMINATED: 02/28/2002
(1)                                                                                                                                                                      LEAD ATTORNEY
                                                                                                                                                                         ATTORNEY TO BE NOTICED
18:1962(d),1963 and 3551 et seq. ‐                                                                                                                                       Designation: Retained
RACKETEERING CONSPIRACY.                                Dismissed on governments motion
(2)
                                                                                                           Pending Counts                                                Disposition
18:371 and 3551 et seq. ‐ COUNTRY WORLD
SECURITIES FRAUD CONSPIRACY.                            Dismissed on governments motion                                                                                  Defendant sentenced to 5 months
(3)                                                                                                                                                                      imprisonment to be followed by 3 years of
                                                                                                                                                                         supervised release. As a condition of release,
18:371 and 3551 et seq. ‐ HOLLY SECURITIES                                                                 18:1951 and 3551 et seq. ‐ EXTORTION
                                                                                                                                                                         defendant is to serve 5 months home
FRAUD CONSPIRACY.                                       Dismissed on governments motion                    CONSPIRACY.
                                                                                                                                                                         detention. The Court recommends defendant
(5)                                                                                                        (19)
                                                                                                                                                                         be designated to Fort Devin, Mass. Defendant
18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2 and                                                                                                                             to sur render to instituion by 2:00pm on
35512 et seq. ‐ HOLLEY MONEY LAUNDERING.                Dismissed on governments motion                                                                                  4/29/02. Defendant fined and assessed .
(8)
18:371 and 3551 et seq. ‐ USBNY SECURITIES                                                                 Highest Offense Level (Opening)
FRAUD CONSPIRACY.                                       Dismissed on governments motion                    Felony
(9)
15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐                                                                Terminated Counts                                             Disposition
USBNY SECURITIES FRAUD.                                 Dismissed on governments motion
(10)                                                                                                       18:1951,2 and 3551 et seq. ‐ EXTORTION.                       Open count dismissed on government's
                                                                                                           (20)                                                          motion.
                      Case 1:16-mc-02636-AMD                                        Document 24-8 18:1962(d),1963
                                                                                                   Filed 06/07/18 and 3551 et seq. ‐                       Page 6 of 45 Open
                                                                                                                                                                         PageID            #:
                                                                                                                                                                             counts dismissed on government's
Highest Offense Level (Terminated)
                                                                                              3880 RACKETEERING
                                                                                                   (2)
                                                                                                                CONSPIRACY.
                                                                                                                                                                                     motion.
Felony
                                                                                                                18:371 and 3551 et seq. ‐ USBNY SECURITIES
                                                                                                                                                                                     Open counts dismissed on government's
Complaints                                                     Disposition                                      FRAUD CONSPIRACY.
                                                                                                                                                                                     motion.
                                                                                                                (9)
None
                                                                                                                15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
                                                                                                                                                                                     Open counts dismissed on government's
                                                                                                                USBNY SECURITIES FRAUD.
                                                                                                                                                                                     motion.
Assigned to: Senior‐Judge I. Leo Glasser                                                                        (10)
                                                                                                                18:1956(h) and 3551 et seq. ‐ USBNY MONEY
                                                                                                                                                                                     Open counts dismissed on government's
Defendant (11)                                                                                                  LAUNDERING CONSPIRACY.
                                                                                                                                                                                     motion.
                                                                                                                (11)
Daniel Lev                                     represented by Jeffrey H. Lichtman
TERMINATED: 02/19/2002                                        Law Offices of Jeffrey H. Lichtman                18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2 and
                                                                                                                                                                                     Open counts dismissed on government's
                                                              41 Madison Avenue                                 3551 et seq. ‐ USBNY MONEY LAUNDERING.
                                                                                                                                                                                     motion.
                                                              34th Floor                                        (12)
                                                              New York, NY 10010
                                                              (212) 689‐8555                                    Highest Offense Level (Terminated)
                                                              Email: jl@jeffreylichtman.com
                                                                                                                Felony
                                                              TERMINATED: 02/19/2002
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED                            Complaints                                                           Disposition
                                                              Designation: Retained                             None

                                                               Jeffrey H. Lichtman
                                                               Law Offices of Jeffrey Lichtman, Esq.            Assigned to: Senior‐Judge I. Leo Glasser
                                                               41 Madison Avenue
                                                               34th Floor
                                                                                                                Defendant (12)
                                                               New York, NY 10010
                                                               (212) 689‐8555                                   Eugene Lombardo                                      represented by Lawrence K. Feitell
                                                               TERMINATED: 02/19/2002                           TERMINATED: 03/27/2002                                              225 Broadway
                                                               LEAD ATTORNEY                                                                                                        Suite 2020
                                                               ATTORNEY TO BE NOTICED                                                                                               New York, NY 10007
                                                               Designation: Retained                                                                                                (212) 571‐5710
                                                                                                                                                                                    Fax: 212‐571‐5711
                                                                                                                                                                                    Email: LKFJuris@earthlink.net
Pending Counts                                                 Disposition
                                                                                                                                                                                    TERMINATED: 03/27/2002
                                                               Defendant sentenced to 2 years probation                                                                             LEAD ATTORNEY
18:1512 and 18:3551 et seq‐HARASSMENT OF
                                                               with 4 months home confinement and 150                                                                               ATTORNEY TO BE NOTICED
A WITNESS
                                                               hours of community service. Defendant fined                                                                          Designation: CJA Appointment
(1s)
                                                               and assessed .
                                                                                                                                                                                     Richard W. Brewster
Highest Offense Level (Opening)                                                                                                                                                      645 5th Avenue
                                                                                                                                                                                     New York, NY 10022
Misdemeanor                                                                                                                                                                          (212)751‐0627
                                                                                                                                                                                     TERMINATED: 03/27/2002
Terminated Counts                                              Disposition                                                                                                           LEAD ATTORNEY
18:1962(c), 1963 and 3551 et seq. ‐                                                                                                                                                  ATTORNEY TO BE NOTICED
                                                               Open counts dismissed on government's                                                                                 Designation: CJA Appointment
RACKETEERING.
                                                               motion.
(1)
                                                                                                                Pending Counts                                                       Disposition




                                                               Defendant sentenced to 60 months                 Edmond Nagel                                         represented by Jewel N. Klein
                                                               imprisonment to run concurrently with            TERMINATED: 11/30/2001                                              Law Offices of Michael J. Rovell, Esq.
                                                               sentence in Southern District case. Supervised                                                                       20 North Clark Street
18:1962(d),1963 and 3551 et seq. ‐                             release: 3 years. Defendant to make                                                                                  Suite 2450
RACKETEERING CONSPIRACY.                                       restitution in the amount of million. During                                                                         Chicago, Il 60602
(2)                                                            period of release, the government is given 90                                                                        Fax (312) 578‐9391
                                                               days to provide a list of victims and the                                                                            TERMINATED: 11/30/2001
                                                               amounts to be paid. The Court recommends                                                                             LEAD ATTORNEY
                                                               incarceration at MDC. Special assessment: .                                                                          ATTORNEY TO BE NOTICED
                                                                                                                                                                                    Designation: Retained
Highest Offense Level (Opening)
                                                                                                                                                                                     Michael J. Rovell
Felony                                                                                                                                                                               Law Offices of Michael J. Rovell, Esq.
                                                                                                                                                                                     20 North Clark Street
Terminated Counts                                              Disposition                                                                                                           Suite 2450
                                                                                                                                                                                     Chicago, Il 60602
18:1962(c), 1963 and 3551 et seq. ‐
                                                               Open counts dismissed on government's                                                                                 (312) 578‐9191
RACKETEERING.
                                                               motion.                                                                                                               TERMINATED: 11/30/2001
(1)
                                                                                                                                                                                     LEAD ATTORNEY
18:371 and 3551 et seq. ‐ COUNTRY WORLD                                                                                                                                              ATTORNEY TO BE NOTICED
                                                               Open counts dismissed on government's
SECURITIES FRAUD CONSPIRACY.                                                                                                                                                         Designation: Retained
                                                               motion.
(3)
15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐                                                                     Pending Counts                                                       Disposition
                                                               Open counts dismissed on government's
COUNTRY WORLD SECURITIES FRAUD.
                                                               motion.                                                                                                               JUDGMENT as to Edmond Nagel (1) count(s) 1.
(4)                                                                                                             18:1956(h) and 3551 et seq. ‐ USBNY MONEY
                                                                                                                                                                                     IMPRISONMENT: 37 months; SUPERVISED
                                                                                                                LAUNDERING CONSPIRACY.
18:371 and 3551 et seq. ‐ USBNY SECURITIES                                                                                                                                           RELEASE: 3 years; SPECIAL ASSESSMENT: .00;
                                                               Open counts dismissed on government's            (11)
FRAUD CONSPIRACY.                                                                                                                                                                    (.00 in 01‐CR‐705 and .00 in 01‐CR‐196).
                                                               motion.
(9)
15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐                                                                     Highest Offense Level (Opening)
                                                               Open counts dismissed on government's
USBNY SECURITIES FRAUD.
                                                               motion.                                          Felony
(10)
18:1956(h) and 3551 et seq. ‐ USBNY MONEY
                                                               Open counts dismissed on government's            Terminated Counts                                                    Disposition
LAUNDERING CONSPIRACY.
                                                               motion.                                          18:1962(c), 1963 and 3551 et seq. ‐
(11)
                                                                                                                RACKETEERING.                                                        Dismissed on Motion of the Govt.
18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2 and
                                                               Open counts dismissed on government's            (1)
3551 et seq. ‐ USBNY MONEY LAUNDERING.
                                                               motion.                                          18:1962(d),1963 and 3551 et seq. ‐
(12)
                                                                                                                RACKETEERING CONSPIRACY.                                             Dismissed on Motion of the Govt.
                                                                                                                (2)
Highest Offense Level (Terminated)
                                                                                                                18:371 and 3551 et seq. ‐ USBNY SECURITIES
Felony
                                                                                                                FRAUD CONSPIRACY.                                                    Dismissed on Motion of the Govt.
                                                                                                                (9)
Complaints                                                     Disposition
                                                                                                                15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
None                                                                                                            USBNY SECURITIES FRAUD.                                              Dismissed on Motion of the Govt.
                                                                                                                (10)

Assigned to: Senior‐Judge I. Leo Glasser                                                                        18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2 and
                                                                                                                3551 et seq. ‐ USBNY MONEY LAUNDERING.                               Dismissed on Motion of the Govt.
                                                                                                                (12)
Defendant (13)
                      Case 1:16-mc-02636-AMD                                      Document 24-8 18:1962(c),
                                                                                                 Filed1963  06/07/18
                                                                                                               and 3551 et seq. ‐                          Page 7 of 45 Open
                                                                                                                                                                         PageID            #:
                                                                                                                                                                             counts dismissed on government's
Highest Offense Level (Terminated)
                                                                                            3881 RACKETEERING.
                                                                                                 (1)
                                                                                                                                                                                   motion.
Felony
                                                                                                                18:1962(d),1963 and 3551 et seq. ‐
                                                                                                                                                                                   Open counts dismissed on government's
Complaints                                                   Disposition                                        RACKETEERING CONSPIRACY.
                                                                                                                                                                                   motion.
                                                                                                                (2)
None
                                                                                                                18:371 and 3551 et seq. ‐ COUNTRY WORLD
                                                                                                                                                                                   Open counts dismissed on government's
                                                                                                                SECURITIES FRAUD CONSPIRACY.
                                                                                                                                                                                   motion.
Assigned to: Senior‐Judge I. Leo Glasser                                                                        (3)
                                                                                                                15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
                                                                                                                                                                                   Open counts dismissed on government's
Defendant (14)                                                                                                  COUNTRY WORLD SECURITIES FRAUD.
                                                                                                                                                                                   motion.
                                                                                                                (4)
Alfred Palagonia                              represented by Joseph Vincent DiBlasi
TERMINATED: 12/04/2002                                       590 Madison Avenue                                 18:371 and 3551 et seq. ‐ HOLLY SECURITIES
                                                                                                                                                                                   Open counts dismissed on government's
                                                             10th Foor                                          FRAUD CONSPIRACY.
                                                                                                                                                                                   motion.
                                                             New York, NY 10022                                 (5)
                                                             212‐605‐0470                                       15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
                                                             Fax: 212‐605‐0222                                  HOLLY SECURITIES FRAUD. AND DECEPTIVE                              Open counts dismissed on government's
                                                             Email: diblasilaw@verizon.net                      DEVICES                                                            motion.
                                                             LEAD ATTORNEY                                      (6)
                                                             ATTORNEY TO BE NOTICED
                                                                                                                18:1956(h) and 3551 et seq. ‐ HOLLY MONEY
                                                             Designation: Retained                                                                                                 Open counts dismissed on government's
                                                                                                                LAUNDERING CONSPIRACY.
                                                                                                                                                                                   motion.
                                                                                                                (7)
                                                             Mark S. Cohen
                                                             Arkin, Kaplan & Cohen LLP                          18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2 and
                                                                                                                                                                                   Open counts dismissed on government's
                                                             590 Madison Avenue                                 35512 et seq. ‐ HOLLEY MONEY LAUNDERING.
                                                                                                                                                                                   motion.
                                                             New York, NY 10022                                 (8)
                                                             (212) 333‐0200                                     15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
                                                             TERMINATED: 05/16/2000                                                                                                Open counts dismissed on government's
                                                                                                                USBNY SECURITIES FRAUD.
                                                             LEAD ATTORNEY                                                                                                         motion.
                                                                                                                (10)
                                                             ATTORNEY TO BE NOTICED
                                                                                                                18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2 and
                                                                                                                                                                                   Open counts dismissed on government's
                                                                                                                3551 et seq. ‐ USBNY MONEY LAUNDERING.
Pending Counts                                               Disposition                                                                                                           motion.
                                                                                                                (12)
                                                             Defendant sentenced to one year and one            18:371 and 3551 et seq. ‐ CABLE SECURITIES
18:371 and 3551 et seq. ‐ USBNY SECURITIES                   day, plus 3 years of supervised release.                                                                              Open counts dismissed on government's
                                                                                                                FRAUD CONSPIRACY.
FRAUD CONSPIRACY.                                            Restitution to be paid in the amount of                                                                               motion.
                                                                                                                (15)
(9)                                                          million. Defendant fined ,000 and assessed .
                                                             The Court recommends FCI Allenwood, PA.            15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
                                                                                                                                                                                   Open counts dismissed on government's
                                                                                                                CABLE SECURITIES FRAUD.
                                                             Defendant sentenced to one year and one                                                                               motion.
                                                                                                                (16)
18:1956(h) and 3551 et seq. ‐ USBNY MONEY                    day, plus 3 years of supervised release.
LAUNDERING CONSPIRACY.                                       Restitution to be paid in the amount of            18:1956(h) and 3551 et seq. ‐ CABLE MONEY
                                                                                                                                                                                   Open counts dismissed on government's
(11)                                                         million. Defendant fined ,000 and assessed .       LAUNDERING CONSPIRACY.
                                                                                                                                                                                   motion.
                                                             The Court recommends FCI Allenwood, PA.            (17)
                                                                                                                18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2 and
                                                                                                                                                                                   Open counts dismissed on government's
Highest Offense Level (Opening)                                                                                 3551 et seq. ‐ CABLE MONEY LAUNDERING.
                                                                                                                                                                                   motion.
                                                                                                                (18)
Felony

                                                                                                                Highest Offense Level (Terminated)
Terminated Counts                                            Disposition
                                                                                                                Felony




                                                                                                                18:371 and 3551 et seq. ‐ HOLLY SECURITIES
Complaints                                                   Disposition                                        FRAUD CONSPIRACY.                                                  Counts dismissed on government's motion.
None                                                                                                            (5)
                                                                                                                15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
                                                                                                                HOLLY SECURITIES FRAUD. AND DECEPTIVE
Assigned to: Senior‐Judge I. Leo Glasser                                                                                                                                           Counts dismissed on government's motion.
                                                                                                                DEVICES
                                                                                                                (6)
Defendant (15)                                                                                                  18:1956(h) and 3551 et seq. ‐ HOLLY MONEY
Aleks Paul                                    represented by Benjamin Brafman                                   LAUNDERING CONSPIRACY.                                             Counts dismissed on government's motion.
TERMINATED: 09/24/2001                                       Brafman & Ross, P.C.                               (7)
                                                             767 Third Avenue                                   18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2 and
                                                             26th Floor                                         35512 et seq. ‐ HOLLEY MONEY LAUNDERING.                           Counts dismissed on government's motion.
                                                             New York, NY 10017                                 (8)
                                                             (212) 750‐7800
                                                                                                                18:371 and 3551 et seq. ‐ USBNY SECURITIES
                                                             Fax: (212) 750‐3906
                                                                                                                FRAUD CONSPIRACY.                                                  Counts dismissed on government's motion.
                                                             Email: bbrafman@braflaw.com
                                                                                                                (9)
                                                             TERMINATED: 09/24/2001
                                                             LEAD ATTORNEY                                      15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
                                                             ATTORNEY TO BE NOTICED                             USBNY SECURITIES FRAUD.                                            Counts dismissed on government's motion.
                                                             Designation: Retained                              (10)
                                                                                                                18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2 and
Pending Counts                                               Disposition                                        3551 et seq. ‐ USBNY MONEY LAUNDERING.                             Counts dismissed on government's motion.
                                                                                                                (12)
                                                             Dft pled guilty to count #5 in CR 99‐372, count
                                                             #11 in CR 00‐196, and count #2 in CR 00‐445.
                                                             Special assessment . Dft is to be imprisoned       Highest Offense Level (Terminated)
18:1956(h) and 3551 et seq. ‐ USBNY MONEY
                                                             for 63 mos. to run concurrent on all counts.       Felony
LAUNDERING CONSPIRACY.
                                                             Dft shall surrender to Bureau of Prisons be
(11)
                                                             fore 2:00 pm on 10/30/01. Upon release from
                                                             prison, dft shall be on supervised release for 3   Complaints                                                         Disposition
                                                             years.                                             None

Highest Offense Level (Opening)
                                                                                                                Assigned to: Senior‐Judge I. Leo Glasser
Felony
                                                                                                                Defendant (16)
Terminated Counts                                            Disposition
                                                                                                                Joseph Polito, Sr.                                   represented by Charles Weintraub
18:1962(c), 1963 and 3551 et seq. ‐                                                                             TERMINATED: 07/26/2002                                              6132 Riverdale Avenue
RACKETEERING.                                                Counts dismissed on government's motion.                                                                               Bronx, NY 10471
(1)                                                                                                                                                                                 Fax (718) 601‐3786
18:1962(d),1963 and 3551 et seq. ‐                                                                                                                                                  TERMINATED: 07/26/2002
RACKETEERING CONSPIRACY.                                     Counts dismissed on government's motion.                                                                               LEAD ATTORNEY
(2)                                                                                                                                                                                 ATTORNEY TO BE NOTICED
                                                                                                                                                                                    Designation: Retained
18:371 and 3551 et seq. ‐ COUNTRY WORLD
SECURITIES FRAUD CONSPIRACY.                                 Counts dismissed on government's motion.
(3)                                                                                                             Pending Counts                                                     Disposition
15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐                                                                     None
COUNTRY WORLD SECURITIES FRAUD.                              Counts dismissed on government's motion.
(4)                                                                                                             Highest Offense Level (Opening)
                                                                                                                None
                      Case 1:16-mc-02636-AMD                                     Document 24-8 Filed 06/07/18                                          Page 8 of 45 (See
                                                                                                                                                                     PageID             #:
                                                                                                                                                                         above for address)
Terminated Counts                                             Disposition
                                                                                           3882                                                                               TERMINATED: 04/10/2003
                                                                                                                                                                              LEAD ATTORNEY
18:1962(c), 1963 and 3551 et seq. ‐
RACKETEERING.                                                                                                                                                                 ATTORNEY TO BE NOTICED
(1)                                                                                                                                                                           Designation: Retained

18:1962(d),1963 and 3551 et seq. ‐                                                                                                                                            Jack Arseneault
RACKETEERING CONSPIRACY.                                                                                                                                                      Arseneault, Donohue & Sorrentino
(2)                                                                                                                                                                           560 Main Street
18:371 and 3551 et seq. ‐ USBNY SECURITIES                                                                                                                                    Chatham, NJ 07928‐2119
FRAUD CONSPIRACY.                                             Dismissed on motion of AUSA                                                                                     (201) 635‐3366
(9)                                                                                                                                                                           TERMINATED: 11/25/2002
                                                                                                                                                                              LEAD ATTORNEY
15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
                                                                                                                                                                              ATTORNEY TO BE NOTICED
USBNY SECURITIES FRAUD.
                                                                                                                                                                              Designation: Retained
(10)
18:1956(h) and 3551 et seq. ‐ USBNY MONEY                                                                                                                                     Louis M. Freeman
LAUNDERING CONSPIRACY.                                                                                                                                                        Freeman, Nooter & Ginsberg
(11)                                                                                                                                                                          30 Vesey Street, Suite 100
18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2 and                                                                                                                                  New York, NY 10007
3551 et seq. ‐ USBNY MONEY LAUNDERING.                                                                                                                                        (212) 608‐0808
(12)                                                                                                                                                                          Fax: 212‐962‐9696
                                                                                                                                                                              Email: freemefree@aol.com
18:1951 and 3551 et seq. ‐ EXTORTION                                                                                                                                          LEAD ATTORNEY
CONSPIRACY.                                                   Dismissed on motion of AUSA                                                                                     ATTORNEY TO BE NOTICED
(19)                                                                                                                                                                          Designation: CJA Appointment
18:1951,2 and 3551 et seq. ‐ EXTORTION.
(20)                                                                                                                                                                          Michael V. Gilberti
                                                                                                                                                                              Bonney, Epstein & Gilberti, LLC
                                                                                                                                                                              321 Broad Street
Highest Offense Level (Terminated)
                                                                                                                                                                              Red Bank, NJ 07701
Felony                                                                                                                                                                        (732) 747‐4700
                                                                                                                                                                              LEAD ATTORNEY
Complaints                                                    Disposition                                                                                                     ATTORNEY TO BE NOTICED
                                                                                                                                                                              Designation: Retained
None
                                                                                                                                                                              Thomas G. Roth
                                                                                                                                                                              Law Offices of Thomas G. Roth
Assigned to: Senior‐Judge I. Leo Glasser
                                                                                                                                                                              395 Pleasant Valley Way
                                                                                                                                                                              West Orange, NJ 07052
Defendant (17)                                                                                                                                                                (973) 736‐9090
Lawrence Ray                                   represented by David S. Zapp                                                                                                   Fax: 973‐736‐8005
TERMINATED: 04/10/2003                                        7 East 94th Street, 1A                                                                                          Email: tgroth395@aol.com
                                                              New York, NY 10128                                                                                              TERMINATED: 11/25/2002
                                                              (718) 855‐3895                                                                                                  LEAD ATTORNEY
                                                              Email: DavidZapp@aol.com                                                                                        ATTORNEY TO BE NOTICED
                                                              TERMINATED: 11/25/2002                                                                                          Designation: Retained
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED                                                                                          J. Bruce Maffeo
                                                              Designation: CJA Appointment                                                                                    Meyer Suozzi English & Klein P.C.
                                                                                                                                                                              1350 Broadway
                                                              Edward A. McDonald                                                                                              POB 822
                                                                                                                                                                              New York, NY 10018




                                                              212‐404‐7040                                   Abraham Salaman                                    represented by A. John Pappalardo
                                                              Fax: 212‐233‐1385                              TERMINATED: 05/15/2002                                            Eckerd Seamans
                                                              Email: jbmaffeo@msek.com                                                                                         One International Place
                                                              ATTORNEY TO BE NOTICED                                                                                           18th Floor
                                                                                                                                                                               Boston, MA 02110
                                                              Sidney Baumgarten                                                                                                Fax (617) 342‐6899
                                                              Sidney Baumgarten                                                                                                TERMINATED: 05/15/2002
                                                              355 South End Avenue                                                                                             LEAD ATTORNEY
                                                              #31j                                                                                                             ATTORNEY TO BE NOTICED
                                                              New York, NY 10280                                                                                               Designation: Retained
                                                              212‐775‐0190
                                                              Fax: 212‐775‐0191                                                                                               Peter F. Carr , II
                                                              Email: sidbaumgarten@aol.com                                                                                    Eckert, Seamans, Cherin & Mellott, LLC
                                                              ATTORNEY TO BE NOTICED                                                                                          One International Place
                                                                                                                                                                              18t Floor
Pending Counts                                                Disposition                                                                                                     Boston, MA 02110
                                                                                                                                                                              (617) 342‐6800
                                                              Defendant sentenced to 5 years probation, to                                                                    TERMINATED: 05/15/2002
                                                              serve 9 months of home confinement. Special                                                                     LEAD ATTORNEY
                                                              condition: 300 hours of community service.                                                                      ATTORNEY TO BE NOTICED
                                                              Fine: . Special assessment: . REVOCATION OF                                                                     Designation: Retained
                                                              PROBATION: Imprisonment of 6 months;
                                                              Additional Supervised Release Terms: After
15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐                                                                  Pending Counts                                                   Disposition
                                                              completion of the term of imprisonment, Deft
USBNY SECURITIES FRAUD.
                                                              shall be continued on Supervised release for                                                                    Defendant sentenced to 5 years probation, to
(10)
                                                              the same period of time as the unexpired                                                                        serve 12 months of home confinement.
                                                              term of probation. REVOCATION OF               18:371 and 3551 et seq. ‐ COUNTRY WORLD                          Defendant is to have no further involvement
                                                              PROBATION: IMPRISONMENT TIME SERVED;           SECURITIES FRAUD CONSPIRACY.                                     in the securities industry in any way.
                                                              SUPERVISED RELEASE: THE CURRENT                (3)                                                              Defendant fined ,000 and assessed per count.
                                                              SUPERVISED RELEASE TERMS ARE TO BE                                                                              Defendant shall make r estitution in the
                                                              CONTINUED                                                                                                       amount of .5 million over period of probation.

Highest Offense Level (Opening)                                                                              Highest Offense Level (Opening)
Felony                                                                                                       Felony

Terminated Counts                                             Disposition                                    Terminated Counts                                                Disposition
18:371 and 3551 et seq. ‐ USBNY SECURITIES                                                                   18:1962(d),1963 and 3551 et seq. ‐
                                                              Open count dismissed on government's
FRAUD CONSPIRACY.                                                                                            RACKETEERING CONSPIRACY.                                         Dismissed on government's motion.
                                                              motion.
(9)                                                                                                          (2)
                                                                                                             15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐
Highest Offense Level (Terminated)                                                                           COUNTRY WORLD SECURITIES FRAUD.                                  Dismissed on government's motion.
Felony                                                                                                       (4)


Complaints                                                    Disposition                                    Highest Offense Level (Terminated)

None                                                                                                         Felony

                                                                                                             Complaints                                                       Disposition
Assigned to: Senior‐Judge I. Leo Glasser
                                                                                                             None

Defendant (18)
                       Case 1:16-mc-02636-AMD
Assigned to: Senior‐Judge I. Leo Glasser
                                                                                              Document 24-8 Filed 06/07/18                                       Page 9 of 45 PageID #:
                                                                                                        3883 Highest Offense Level (Terminated)
Defendant (19)                                                                                                             Felony
Giuseppe Temperino                                      represented by Frank V. Carone , Jr.
TERMINATED: 03/14/2002                                                 Mure & Carone, P.C.                                 Complaints                                                             Disposition
also known as                                                          32 Court Street                                     None
Joseph Temperino                                                       Suite 1800
                                                                       Brooklyn, NY 11201
                                                                       (718) 852‐9100
                                                                       TERMINATED: 03/14/2002                              Plaintiff
                                                                       LEAD ATTORNEY
                                                                                                                           USA                                                  represented by Eric O. Corngold
                                                                       ATTORNEY TO BE NOTICED
                                                                                                                                                                                               United States Attorneys Office
                                                                       Designation: Retained
                                                                                                                                                                                               Criminal Division
                                                                                                                                                                                               225 Cadman Plaza East
                                                                         Joseph R. Benfante
                                                                                                                                                                                               Brooklyn, NY 11201
                                                                         Joseph R. Benfante, Esq.
                                                                                                                                                                                               (718) 254‐7000
                                                                         225 Broadway
                                                                                                                                                                                               LEAD ATTORNEY
                                                                         New York, NY 10007
                                                                                                                                                                                               ATTORNEY TO BE NOTICED
                                                                         (212) 227‐4700
                                                                         Fax: 212‐406‐6890
                                                                                                                                                                                                  Jonathan S. Sack
                                                                         Email: josephbenfante@aol.com
                                                                                                                                                                                                  U.S. Attorney's Office
                                                                         TERMINATED: 03/14/2002
                                                                                                                                                                                                  Criminal Division
                                                                         LEAD ATTORNEY
                                                                                                                                                                                                  1 Pierrepont Plaza
                                                                         ATTORNEY TO BE NOTICED
                                                                                                                                                                                                  14th Floor
                                                                         Designation: Retained
                                                                                                                                                                                                  Brooklyn, NY 11201
                                                                                                                                                                                                  212‐856‐9600
Pending Counts                                                           Disposition                                                                                                              Fax: 212‐856‐9494
15:78j(b) and 78ff; 18:2 and 3551 et seq. ‐                              Defendant sentenced to 3 years probation, to                                                                             Email: jsack@magislaw.com
HOLLY SECURITIES FRAUD. AND DECEPTIVE                                    serve 8 months home confinement.                                                                                         TERMINATED: 01/15/2004
DEVICES                                                                  Defendant to perform 200 hours of                                                                                        LEAD ATTORNEY
(6)                                                                      community service. Special assessment: .                                                                                 ATTORNEY TO BE NOTICED


Highest Offense Level (Opening)                                                                                            Date Filed   #    Docket Text
Felony
                                                                                                                           03/01/2000    1   CALENDAR ENTRY as to Frank Coppa Sr., Ernest Montevecchi, Daniel Persico, Jack Basile, Rocco
                                                                                                                                             Basile, Larry Berman, John Cioffoletti, John Doukas, Walter Durchalter, Edward Garafola,
Terminated Counts                                                        Disposition                                                         Daniel Lev, Eugene Lombardo, Edmond Nagel, Alfred Palagonia, Aleks Paul, Joseph Polito Sr.,
18:1962(d),1963 and 3551 et seq. ‐                                                                                                           Lawrence Ray, Abraham Salaman and Giuseppe Temperino. Case called before Magistrate
                                                                         Open counts dismissed on government's                               Joan M. Azrack on 3/1/00 for Grand Jury Presentment ordered handed up and filed. (Johnson,
RACKETEERING CONSPIRACY.
                                                                         motion.                                                             Tanya) (Entered: 03/06/2000)
(2)
18:371 and 3551 et seq. ‐ HOLLY SECURITIES                                                                                 03/01/2000   2    INDICTMENT as to Frank Coppa (1) count(s) 1, 2, 3, 4, 13, 14, 15, 16, 17, Ernest Montevecchi
                                                                         Open counts dismissed on government's
FRAUD CONSPIRACY.                                                                                                                            (2) count(s) 2, 13, 14, Daniel Persico (3) count(s) 2, 13, 14, Jack Basile (4) count(s) 2, 5, 6, 7, 8,
                                                                         motion.
(5)                                                                                                                                          Rocco Basile (5) count(s) 2, 5, 6, 7, 8, Larry Berman (6) count(s) 1, 2, 3, 4, 5, 6, 7, 8, John
18:1956(h) and 3551 et seq. ‐ HOLLY MONEY                                                                                                    Cioffoletti (7) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 15, 16, 18, John Doukas (8) count(s) 1,
                                                                         Open counts dismissed on government's                               2, 5, 6, 7, 8, 9, 10, 11, 12, 15, 16, 17, 18, Walter Durchalter (9) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9,
LAUNDERING CONSPIRACY.
                                                                         motion.                                                             10, 11, 12, Edward Garafola (10) count(s) 19, 20, Daniel Lev (11) count(s) 1, 2, 9, 10, 11, 12,
(7)
                                                                                                                                             Eugene Lombardo (12) count(s) 1, 2, 3, 4, 9, 10, 11, 12, Edmond Nagel (13) count(s) 1, 2, 9, 10,
18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2 and                                                                                                 11, 12, Alfred Palagonia (14) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 15, 16, 17, 18, Aleks
                                                                         Open counts dismissed on government's
35512 et seq. ‐ HOLLEY MONEY LAUNDERING.                                                                                                     Paul (15) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, Joseph Polito (16) count(s) 1, 2, 9, 10, 11,
                                                                         motion.
(8)




                       12, 19, 20, Lawrence Ray (17) count(s) 9, 10, Abraham Salaman (18) count(s) 2, 3, 4 and             03/03/2000   77   CALENDAR ENTRY as to Abraham Salaman ; Case called before Magistrate Joan M. Azrack on
                       Giuseppe Temperino (19) count(s) 2, 5, 6, 7, 8. (Johnson, Tanya) (Entered: 03/06/2000)                                date of 3/3/00 for ARRIGNMENT Tape # 00/18 (3617‐3819), Not Guilty: Abraham Salaman (18)
                                                                                                                                             count(s) 2, 3, 4 (Henry, Teresa) (Entered: 05/25/2000)
03/01/2000             Magistrate Chrein has been selected by random selection to handle any matters that may be
                       referred in this case. (Johnson, Tanya) (Entered: 03/06/2000)                                       03/10/2000    3   ORDER SETTING CONDITIONS OF RELEASE AND BOND as to Frank Coppa Sr., Daniel Persico,
                                                                                                                                             Jack Basile, Rocco Basile, John Cioffoletti, John Doukas, Walter Durchalter. Edward Garafola,
03/02/2000        63   Magistrate Arraignment as to Frank Coppa Sr., Daniel Persico, Jack Basile, John Cioffoletti, John                     Edmond Nagel, Alfred Palagonia, Aleks Paul, Joseph Polito Sr., Lawrence Ray, Abraham
                       Doukas, Edward Garafola, Edmond Nagel, Alfred Palagonia, Aleks Paul, Joseph Polito Sr.,                               Salaman, Giuseppe Temperino (Signed by Magistrate Joan M. Azrack on 3/2/00) c/m (Johnson,
                       Lawrence Ray held Before Magistrate Judge AZrack, case called, All counsel present, all                               Tanya) (Entered: 03/10/2000)
                       defendants released on bond. (Defendant informed of rights.) (Henry, Teresa) (Entered:
                       05/25/2000)                                                                                         03/10/2000    5   LETTER dated 3/6/00 from Steven G. Sanders, Esq., to AUSA Jonathan Sack enclosing copies of
                                                                                                                                             two executed mortgages on behalf of defendant Lawrence Ray's Personal Recognizance Bond.
03/02/2000        64   PRB BOND entered by Daniel Persico in Amount $ 1,000,000.00 ( Signed by Magistrate Joan M.                            (Johnson, Tanya) (Entered: 03/15/2000)
                       Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)
                                                                                                                           03/14/2000    4   NOTICE of Appearance for Rocco Basile in 1:00‐cr‐00196 by Attorney Albert J. Brackley
03/02/2000        65   PRB BOND entered by Jack Basile in Amount $ 750,000.00 ( Signed by Magistrate Joan M.                                 (Johnson, Tanya) (Entered: 03/15/2000)
                       Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)
                                                                                                                           03/14/2000    6   CALENDAR ENTRY as to Frank Coppa Sr. in 1:00‐cr‐00196, Ernest Montevecchi in 1:00‐cr‐
03/02/2000        66   PRB BOND entered by John Cioffoletti in Amount $ 1,500,000.00 ( Signed by Magistrate Joan                             00196, Daniel Persico in 1:00‐cr‐00196, Jack Basile in 1:00‐cr‐00196, Rocco Basile in 1:00‐cr‐
                       M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)                                                       00196, Larry Berman in 1:00‐cr‐00196, John Cioffoletti in 1:00‐cr‐00196, John Doukas in 1:00‐
03/02/2000        67   PRB BOND entered by John Doukas in Amount $ 1,500,000.00 ( Signed by Magistrate Joan M.                               cr‐00196, Walter Durchalter in 1:00‐cr‐00196, Edward Garafola in 1:00‐cr‐00196, Daniel Lev in
                       Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)                                                          1:00‐cr‐00196, Eugene Lombardo in 1:00‐cr‐00196, Edmond Nagel in 1:00‐cr‐00196, Alfred
                                                                                                                                             Palagonia in 1:00‐cr‐00196, Aleks Paul in 1:00‐cr‐00196, Joseph Polito Sr. in 1:00‐cr‐00196,
03/02/2000        68   PRB BOND entered by Edward Garafola in Amount $ 750,000.00 ( Signed by Magistrate Joan                                Lawrence Ray in 1:00‐cr‐00196, Abraham Salaman in 1:00‐cr‐00196, Giuseppe Temperino in
                       M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)                                                       1:00‐cr‐00196; Case called before Senior Judge I. L. Glasser on 3/14/00 for Pleading. Court
                                                                                                                                             Reporter: Fred Guerino. Ernest Montevecchi and Eugene Lombardo are not present (in
03/02/2000        69   PRB BOND entered by Edmond Nagel in Amount $ 750,000.00 ( Signed by Magistrate Joan M.                                custody). Daniel Lev is a fugitive. Lawrence Ray not present (has not obtained counsel). All
                       Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)                                                          other defendant have been arraigned. Defendant pleads Not Guilty: Larry Berman (6) count(s)
03/02/2000        70   PRB BOND entered by Alfred Palagonia in Amount $ 2,000,000.00 ( Signed by Magistrate Joan                             1, 2, 3, 4, 5, 6, 7, 8 . AUSA: Johnathan Sack requests six weeks to provide discovery. Case
                       M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)                                                       adjourned until 4/25/00 at 10:00 for another conference. Order of excludable signed under
                                                                                                                                             Code "T", excluding time until 4/25/00. The defendants need not be present for the
03/02/2000        71   PRB BOND entered by Aleks Paul in Amount $ 1,500,000.00 ( Signed by Magistrate Joan M.                                conference. A John Pappalardo will move to be admitted pro hac vice on behalf of defendant
                       Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)                                                          Salaman. (Johnson, Tanya) (Entered: 03/16/2000)

03/02/2000        72   PRB BOND entered by Rocco Basile in Amount $ 750,000.00 ( Signed by Magistrate Joan M.              03/14/2000   29   CALENDAR ENTRY as to John Cioffoletti and Larry Berman. Case called before Magistrate
                       Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)                                                          Robert M. Levy on 3/14/00 for Status Conference. Counsel for both sides present. Tape #
                                                                                                                                             00/34 (5603‐6232). Suretor(s) sworn and advised of obligations on bond; signature approved.
03/02/2000        73   PRB BOND entered by Lawrence Ray, Giuseppe Temperino in Amount $ 750,000.00 ( Signed by                               Bond issued. Defendant released. (Johnson, Tanya) (Entered: 03/28/2000)
                       Magistrate Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)
                                                                                                                           03/16/2000    7   ORDER of Excludable Delay by Frank Coppa Sr. in 1:00‐cr‐00196, Ernest Montevecchi in 1:00‐
03/02/2000        74   CALENDAR ENTRY as to Giuseppe Temperino ; Case called before Magistrate Joan M. Azrack on                             cr‐00196, Daniel Persico in 1:00‐cr‐00196, Jack Basile in 1:00‐cr‐00196, Rocco Basile in 1:00‐cr‐
                       date of 3/2/00 for ARRAIGNMENT Tape # 00/17 (0‐118), Not Guilty: Giuseppe Temperino (19)                              00196, Larry Berman in 1:00‐cr‐00196, John Cioffoletti in 1:00‐cr‐00196, John Doukas in 1:00‐
                       count(s) 2, 5, 6, 7, 8 (Henry, Teresa) (Entered: 05/25/2000)                                                          cr‐00196, Walter Durchalter in 1:00‐cr‐00196, Edward Garafola in 1:00‐cr‐00196, Daniel Lev in
03/03/2000        21   ORDER FOR ACCEPTANCE OF CASH BAIL as to defendant Aleks Paul in the amount of                                         1:00‐cr‐00196, Eugene Lombardo in 1:00‐cr‐00196, Edmond Nagel in 1:00‐cr‐00196, Alfred
                       $150,000.00. (Signed by Magistrate Joan M. Azrack on 3/3/00) c/m (Johnson, Tanya) (Entered:                           Palagonia in 1:00‐cr‐00196, Aleks Paul in 1:00‐cr‐00196, Joseph Polito Sr. in 1:00‐cr‐00196,
                       03/20/2000)                                                                                                           Lawrence Ray in 1:00‐cr‐00196, Abraham Salaman in 1:00‐cr‐00196, Giuseppe Temperino in
                                                                                                                                             1:00‐cr‐00196 ( Signed by Senior Judge I. L. Glasser , Dated 3/14/00) (Johnson, Tanya)
03/03/2000        75   CALENDAR ENTRY as to Joseph Polito Sr.; Case called before Magistrate Joan M. Azrack on date                          (Entered: 03/16/2000)
                       of 3/3/00 for ARRAIGNMENT Tape # 00/17 (4376‐4653), Not Guilty: , Joseph Polito (16)
                       count(s) 1, 2, 9, 10, 11, 12, 19, 20 (Henry, Teresa) (Entered: 05/25/2000)                          03/16/2000    8   LETTER dated 3/13/00 from Charles L. Weintraub, Esq., to Judge Glasser requesting to modify
                                                                                                                                             the conditions of release for defendant Joseph Polito. (Johnson, Tanya) (Entered: 03/16/2000)
03/03/2000        76   PRB BOND entered by Joseph Polito Sr. in Amount $ 1,500,000.00 ( Signed by Magistrate Joan
                       M. Azrack , dated 3/3/00) (Henry, Teresa) (Entered: 05/25/2000)                                     03/16/2000    9   NOTICE of Appearance for Frank Coppa Sr. in 1:00‐cr‐00196 by Attorney Larry Bronson
                                                                                                                                             (Johnson, Tanya) (Entered: 03/16/2000)
03/16/2000
              Case
             10
                          1:16-mc-02636-AMD Document 24-8 Filed
               NOTICE of Appearance for Daniel Persico in 1:00‐cr‐00196 by Attorney Joseph Giannini
                                                                                                                  06/07/18
                                                                                                         03/22/2000
                                                                                                                                        Page 10 of 45 PageID #:
                                                                                                                    22 LETTER dated 3/13/00 from AUSA Jonathan S. Sack and AUSA Eric O. Corngold, to Judge
               (Johnson, Tanya) (Entered: 03/16/2000)                                               3884               Glasser requesting that this case be related to several John Doe cases. (Johnson, Tanya)
                                                                                                                       (Entered: 03/22/2000)
03/16/2000   11   NOTICE of Appearance for Jack Basile in 1:00‐cr‐00196 by Attorney John H. Jacobs (Johnson,
                  Tanya) (Entered: 03/16/2000)                                                                         03/22/2000        ENDORSED ORDER on document #8, that the conditions of defendant Joseph Polito Sr's bail be
                                                                                                                                         modified as follows: bond amount will remain $1,500,000.00 and secured by 3 properties with
03/16/2000   12   NOTICE of Appearance for Larry Berman in 1:00‐cr‐00196 by Attorney Stephen Robert LaCheen                              defendant to report to the U.S. Pretrial Services once a week by phone. (Signed by Senior
                  (Johnson, Tanya) (Entered: 03/16/2000)                                                                                 Judge I. L. Glasser on 3/17/00) c/m (Johnson, Tanya) (Entered: 03/22/2000)
03/16/2000   13   NOTICE of Appearance for Rocco Basile in 1:00‐cr‐00196 by Attorney Albert Brackley.                  03/22/2000   23   ORDER as to Larry Berman in 1:00‐cr‐00196 Deft's travel privilages are enlarged to include the
                  (Johnson, Tanya) (Entered: 03/16/2000)                                                                                 District of New Jersey, in addition to Pennsylvania and New York, unless otherwise approved
03/16/2000   14   NOTICE of Appearance for John Cioffoletti in 1:00‐cr‐00196 by Attorney James M. LaRossa                                by Pretrial Services Office. Filed with motion attached. ( Signed by Senior Judge I. L. Glasser ,
                  (Johnson, Tanya) (Entered: 03/16/2000)                                                                                 on 3/9/2000) (Jackson, Ramona) Modified on 03/22/2000 (Entered: 03/22/2000)

03/16/2000   15   NOTICE of Appearance for Walter Durchalter in 1:00‐cr‐00196 by Attorney Michael F. Bachner           03/22/2000   24   ORDER Request GRANTED. On ltr. dtd. 3/13/2000Gov't submits the Coppa case be related to
                  (Johnson, Tanya) (Entered: 03/16/2000)                                                                                 the John Doe cases pursuant to Rule 50.3(c) ( Signed by Senior Judge I. L. Glasser , on
                                                                                                                                         3/14/2000) (Jackson, Ramona) (Entered: 03/22/2000)
03/16/2000   16   NOTICE of Appearance for Edward Garafola in 1:00‐cr‐00196 by Attorney Michael Rosen
                  (Johnson, Tanya) (Entered: 03/16/2000)                                                               03/24/2000   25   Rule 40 Documents as to Larry Berman in 1:00‐cr‐00196 received from U.S. District
                                                                                                                                         Court/Eastern District of Pennsylvania. (Johnson, Tanya) (Entered: 03/24/2000)
03/16/2000   17   NOTICE of Appearance for Giuseppe Temperino in 1:00‐cr‐00196 by Attorney Frank V. Carone
                  Jr. (Johnson, Tanya) (Entered: 03/16/2000)                                                           03/28/2000   28   ORDER SETTING CONDITIONS OF RELEASE AND BOND as to defendant Daniel Lev for the
                                                                                                                                         amount of $1,500,000.00 . (Signed by Magistrate Robert M. Levy on 3/16/00) c/m (Johnson,
03/16/2000   18   LETTER dated 3/9/00 from Stephen Lacheen, Esq., to Judge Glasser re: defendant Larry                                   Tanya) (Entered: 03/28/2000)
                  Berman's motion to enlarge his travel privileges to include the District of New Jersey.
                  (Johnson, Tanya) (Entered: 03/16/2000)                                                               03/28/2000   30   ORDER MODIFYING THE BOND entered on 3/2/00 as to defendant John Cioffoletti . (Signed by
                                                                                                                                         Magistrate Robert M. Levy on 3/14/00) (Johnson, Tanya) (Entered: 03/28/2000)
03/16/2000   19   NOTICE of Appearance for Edmond Nagel in 1:00‐cr‐00196 by Attorney Michael J. Rovell
                  (Glenn, Marilyn) (Entered: 03/16/2000)                                                               03/28/2000   32   ORDER MODIFYING BOND previously set on 3/2/00 as to Joseph Polito . (Johnson, Tanya)
                                                                                                                                         (Entered: 03/28/2000)
03/16/2000   27   CALENDAR ENTRY as to Daniel Lev Case called before Magistrate Robert M. Levy on 3/16/00
                  for Arraignment. Tape:: 00/37 (2748‐3206). Defense Counsel: Jeff Lichtman. AuSA: Jonathan            03/28/2000   33   ORDER SETTING CONDITIONS OF RELEASE AND BOND for defendant Larry Berman in the
                  Sach. Defendant pleads Not Guilty: Daniel Lev (11) count(s) 1, 2, 9, 10, 11, 12 . Set the next                         amount of $500,000.00 . (Signed by Magistrate Robert M. Levy on 3/14/00) c/m (Johnson,
                  status conference for 4/25/00 at 10:00 before Senior Judge I. L. Glasser . Suretors approved,                          Tanya) (Entered: 03/28/2000)
                  bond issued and defendant released after being advised of warnings/sanctions for non‐                03/31/2000   34   LETTER dated 3/6/2000 from Steven G Sanders to AUSA Sack copies of executed mortgages
                  compliance with conditions of release. (Johnson, Tanya) (Entered: 03/28/2000)                                          given by Mr Ray in favor of bond. (Jackson, Ramona) (Entered: 03/31/2000)
03/16/2000        District Court Arraignment held as to held Daniel Lev (11) count(s) 1, 2, 9, 10, 11, 12. (Johnson,   03/31/2000   35   LETTER dated 3/9/2000 from Jonathan Sack to Counsels conf. for March 14,2000 @ 10:00.
                  Tanya) (Entered: 03/28/2000)                                                                                           (Jackson, Ramona) (Entered: 03/31/2000)
03/17/2000   31   CALENDAR ENTRY as to Joseph Polito Sr. Case called before Magistrate Robert M. Levy on               04/03/2000   36   LETTER dated 3/27/00 from Jeffrey Lichtman to Jonathan Sack in lieu of a formal motion for
                  3/17/00 for Modification of Bond. Counsel for both sides present. Tape #00/40 (4469‐4747).                             discovery. (Jackson, Ramona) (Entered: 04/03/2000)
                  Suretor(s) sworn and advised of obligations on bond; signature approved. (Johnson, Tanya)
                  (Entered: 03/28/2000)                                                                                04/03/2000   37   ORDER as to Frank Coppa Sr. enlargement of Mr Coppa's conditions of pre trial release to
                                                                                                                                         permit his travel to Florida (as previously detailed to the Gov't between April 18‐28,2000) On
03/20/2000   20   ORDER OF TEMPORARY DETENTION PENDING HEARING as to Walter Durchalter. (Signed by                                       ltr. dtd. 3/22/2000 from Nicholas G Kaizer ( Signed by Senior Judge I. L. Glasser , on 3/28/2000)
                  Magistrate Joan M. Azrack on 3/2/00) (Johnson, Tanya) (Entered: 03/20/2000)                                            (Jackson, Ramona) (Entered: 04/03/2000)
03/21/2000   26   CALENDAR ENTRY as to Aleks Paul in 1:00‐cr‐00196; Case called before Senior Judge I. L.              04/03/2000   38   ORDER as to Daniel Lev Request a slight modification of his bail conditions which would permit
                  Glasser on date of 3/21/2000 for Status Conf. Court Reporter/ESR Tony Mancuso, For deft.                               him to use his passport in order to get a driver's license and open bank account. On ltr. dtd.
                  Benjamine Brafman AUSA Jonothan Mothner Jonathan Sack Deft. pres. with counsel. Court                                  3/227/2000 from Jeffrey Lichtman. ( Signed by Senior Judge I. L. Glasser , on 3/28/2000)
                  finds factual basis for plea. Deft. has been indicted on CR 99‐261 ‐1 SDNY. The case will be                           (Jackson, Ramona) (Entered: 04/03/2000)
                  transferred to EDNY and a plea scheduled. Deft. continued on bail. AUSA will move to dismiss
                  open counts at sentencing. Guilty: Aleks Paul (15) count(s) 11 , set Sentencing for 10:00            04/04/2000   40   CALENDAR ENTRY as to Jack Basile Case called before Magistrate Roanne L. Mann on 4/4/00
                  6/26/00 for Aleks Paul before Senior Judge I. L. Glasser , terminated past due deadlines                               for Pleading. Defense Counsel: John Jacobs. AUSA: Jonathan Sack and Patricia Notopoulus.
                  (Jackson, Ramona) (Entered: 03/27/2000)




                  Tape # 00/52 (0‐2646). Defendant pleads Guilty: Jack Basile (4) count(s) 5 . Sentencing set for                        conference. Case has been deemed as a complex case at time is excluded as indicated on the
                  7/14/00 at 12:00 before Judge Gershon. (Johnson, Tanya) (Entered: 04/10/2000)                                          record. (Johnson, Tanya) (Entered: 05/15/2000)

04/05/2000   39   ORDER that the pleading of defendant Jack Basile is referred to Magistrate Mann. Sentencing          04/28/2000   49   MOTION by Edmond Nagel in 1:00‐cr‐00196 for Michael J Kovell to appear pro hac vice , for
                  will be held on 7/18/00 at 10:00. (Signed by Senior Judge I. L. Glasser on 4/3/00) c/m (Johnson,                       Jewel N. Klein to appear pro hac vice [49‐1] motion, [49‐2] motion (Jackson, Ramona)
                  Tanya) (Entered: 04/05/2000)                                                                                           (Entered: 04/28/2000)

04/07/2000   42   CALENDAR ENTRY as to Eugene Lombardo; Case called before Senior Judge I. L. Glasser on               04/28/2000   50   ORDER as to Edmond Nagel in 1:00‐cr‐00196 granting [49‐1] motion for Michael J Kovell to
                  4/7/00 for Arraignment. Defense Counsel: Richard Brewster. AUSA: Jonathan Sack. Court                                  appear pro hac vice as to Edmond Nagel (13)granting [49‐2] motion for Jewel N. Klein to
                  Reporter: M. Diamond. Defendant pleads Not Guilty: Eugene Lombardo (12) count(s) 1, 2, 3, 4,                           appear pro hac vice as to Edmond Nagel (13) ( Signed by Senior Judge I. L. Glasser , on
                  9, 10, 11, 12 . Set a status conference for 4/25/00 before Senior Judge I. L. Glasser . Time                           4/24/2000) (Jackson, Ramona) (Entered: 04/28/2000)
                  excluded until 4/25/00. (Johnson, Tanya) (Entered: 04/12/2000)
                                                                                                                       05/03/2000   51   ORDER, that defendant Alfred Palagonia, Chase Manhattan Bank and/or Chase Investment
04/07/2000        District Court Arraignment as to Eugene Lombardo in 1:00‐cr‐00196 held Eugene Lombardo                                 Services Corp and Security Capital Trading Inc shall not (i) permit any transfer, withdrawal or
                  (12) count(s) 1, 2, 3, 4, 9, 10, 11, 12 (Johnson, Tanya) (Entered: 04/12/2000)                                         disposal of any of the assets out of account numbers 522835200072761 and 69010933; or (ii)
                                                                                                                                         create or permit to exist any lien, security interest, hypothecation, pledge or other charge or
04/07/2000   43   CALENDAR ENTRY as to Ernest Montevecchi. Case called before Senior Judge I. L. Glasser on                              encumbrance upon or with respect to any of the assets in the Accounts(up to the pledged
                  4/7/00 for Arraignment. Defense Counsel: Joy L. Vastola. AUSA: Jonathan Sack. Court                                    amounts), until further order of the U.S District Court. Counsel for defendant Alfred Palagonia
                  Reporter: M. Diamond. Defendant pleads Not Guilty: Ernest Montevecchi (2) count(s) 2, 13, 14                           shall serve a copy of this order upon Chase Manhattan Bank and thereafter file proof of such
                  . Set a status conference for 4/25/00 before Senior Judge I. L. Glasser . Defendant excused for                        service with the Court and the U.S. Attorney. (Signed by Senior Judge I. L. Glasser on 5/1/00)
                  the next court appearance. Time excluded until 4/25/00. (Johnson, Tanya) (Entered:                                     (Johnson, Tanya) (Entered: 05/03/2000)
                  04/12/2000)
                                                                                                                       05/11/2000   52   NOTICE of Appearance for Giuseppe Temperino in 1:00‐cr‐00196 by Attorney Joseph R.
04/07/2000        District Court Arraignment as to Ernest Montevecchi in 1:00‐cr‐00196 held Ernest Montevecchi                           Benfante (Johnson, Tanya) (Entered: 05/11/2000)
                  (2) count(s) 2, 13, 14 (Johnson, Tanya) (Entered: 04/12/2000)
                                                                                                                       05/12/2000   53   ORDER as to Daniel Persico in 1:00‐cr‐00196 approval to a modification of conditions of
04/11/2000   41   LETTER dated 3/27/00 from Jeffery Lichtman, Esq., to Jonathan Sack, Esq. regarding the                                 release: permit deft., with prior notice and approval from pre trial to visit his father at
                  discovery in this action. (Johnson, Tanya) (Entered: 04/11/2000)                                                       Allenwood. ( Signed by Senior Judge I. L. Glasser , on 5/8/2000) (Jackson, Ramona) (Entered:
04/12/2000   44   NOTICE of Appearance for Ernest Montevecchi in 1:00‐cr‐00196 by Attorney Joy Lucielle                                  05/12/2000)
                  Vastola (Johnson, Tanya) (Entered: 04/12/2000)                                                       05/12/2000   55   NOTICE of Appearance for Lawrence Ray in 1:00‐cr‐00196 by Attorney Thomas G. Roth
04/14/2000   45   LETTER dated 4/10/00 from Angela A. Turiano, Esq., to Judge Glasser informing the Court that                           (Johnson, Tanya) (Entered: 05/16/2000)
                  defendant Walter Durcchalter will be traveling to marathon Florida on 4/19/00 and will remain        05/15/2000   57   TRANSCRIPT filed as to defendant Jack Basile in 1:00‐cr‐00196 for pleading held before
                  there until 4/30/00. (Johnson, Tanya) (Entered: 04/14/2000)                                                            Magistrate Mann on 4/4/00. AUSA: Jonathan Sack and Patricia Notopoulus. Defense Counsel:
04/18/2000   46   LETTER dated 4/11/00 from Steve G. Sanders, Esq., to AUSA Jonathan Sack enclosing two                                  John Jacobs. Transcriber: Courthouse Transcription Service, Inc. (Johnson, Tanya) (Entered:
                  original, executed Mortgages by defendant Lawrance Ray. (Johnson, Tanya) (Entered:                                     05/16/2000)
                  04/18/2000)                                                                                          05/16/2000   56   LETTER dated 5/10/00 from Richard W. Brewster, Esq., to Judge Glasser requesting that the
04/19/2000   47   LETTER dated 4/5/00 from Richard W Brewster, Esq., to Judge Glasser regarding defendant                                Court approve a CJA expense voucher. (Johnson, Tanya) (Entered: 05/16/2000)
                  Eugene Lombardo's request for representation. (Johnson, Tanya) (Entered: 04/19/2000)                 05/16/2000   58   LETTER dated 5/15/00 from Joseph V. Diblasi, Esq., to Judge Glasser requesting permission to
04/25/2000        Letter dated 4/14/00 from Melinda Sarafa to Judge Glasser to inform the Court that Mr. Aleks                           be substituted as counsel for defendant Alfred Palagonia. (Johnson, Tanya) (Entered:
                  Paul will be traveling with his family to Bal Harbour, Florida, outside Miami on 4/18/00 and                           05/16/2000)
                  returning to New York on 4/30/00. *This is document #54 in 99cr372. (Guzzi, Roseann)                 05/16/2000        ENDORSED ORDER on document #58, substituting attorney Joseph V DiBlasi for defendant
                  (Entered: 04/25/2000)                                                                                                  Alfred Palagonia and terminating attorney Mark S. Cohen . (Signed by Senior Judge I. L. Glasser
04/25/2000   48   NOTICE of Appearance for Larry Berman in 1:00‐cr‐00196 by Attorney Robert T. Wolf. (Reddy,                             on 5/15/00) (Johnson, Tanya) (Entered: 05/16/2000)
                  Lisa) (Entered: 04/26/2000)                                                                          05/22/2000   59   ORDER as to Frank Coppa Sr. in 1:00‐cr‐00196 So ordered. On ltr. dtd. 5/15/2000 from Larry
04/25/2000   54   CALENDAR ENTRY as to Frank Coppa Sr., Ernest Montevecchi Rocco Basile, Larry Berman, John                              Bronson request Mr Coppa's bail conditions be amended to permit him to travel to Californaia
                  Cioffoletti, John Doukas Walter Durchalter, Edward Garafola, Daniel Lev, Eugene Lombardo,                              from June 2, 2000 through June 7,2000. ( Signed by Senior Judge I. L. Glasser , on 5/16/2000)
                  Edmond Nagel, Alfred Palagonia, Joseph Polito Sr, Lawrence Ray, Abraham Salaman, Giuseppe                              (Jackson, Ramona) (Entered: 05/22/2000)
                  Temperino; Case called before Senior Judge I. L. Glasser on 4/25/00 for Pleading. Counsel for
                  all sides present. Court Reporter: H. Shapiro. Case adjourned until 6/20/00 at 10:00 for status
05/24/2000
              Case
             60
                          1:16-mc-02636-AMD Document 24-8 Filed
               LETTER dated 5/19/00 from Joseph R. Benfante, Esq., to Judge Glasser requesting that the
                                                                                                                      06/07/18
                                                                                                             06/16/2000
                                                                                                                                           Page 11 of 45 PageID #:
                                                                                                                        82 LETTER dated 6/13/2000 from Joy L.Vastola to Judge Glasser request to withdraw as counsel
               Court extend defendant Joseph Temperino's travel to include the State of New Jersey.
               (Johnson, Tanya) (Entered: 05/24/2000)
                                                                                                        3885               due to medical reasons. (Jackson, Ramona) (Entered: 06/16/2000)

                                                                                                                             06/16/2000    83   ORDER as to Larry Berman Granted. Permission to travel to Miami the week end of July
05/24/2000        ENDORSED ORDER on document #60, granting permission for defendant Giuseppe Temperino                                          28,2000 to attend 50th wedding anniversary. On ltr. dtd. 6/7/2000 from Chad D Seigel. (
                  to travel to the State of New Jersey. (Signed by Senior Judge I. L. Glasser on 5/22/00) (Johnson,                             Signed by Senior Judge I. L. Glasser , on 6/12/2000) (Jackson, Ramona) (Entered: 06/16/2000)
                  Tanya) (Entered: 05/24/2000)
                                                                                                                             06/19/2000    84   LETTER dated 5/22/00 from Jeffrey Lichtman, Esq., to Judge Glasser requesting to modify the
05/25/2000   61   LETTER dated 5/24/00 from Joseph v. DiBlasi, Esq., to Judge Glasser requesting permission for                                 bail of defendant Daniel Lev to permit him to travel to Russia and the Ukraine for business
                  defendant Alfred Palagonia to travel to Indianapolis on 5/25/00. (Johnson, Tanya) (Entered:                                   purposes. (Johnson, Tanya) (Entered: 06/19/2000)
                  05/25/2000)
                                                                                                                             06/19/2000         ENDORSED ORDER on document #84, granting the request to modify the bail conditions of
05/25/2000        ENDORSED ORDER on document #61, granting the request for defendant Alfred Palagonia to                                        defendant Daniel Lev which will allow him to travel to Russia and Ukraine on the condition
                  travel to Indianapolis, Indiana on 5/25/00 . (Signed by Senior Judge I. L. Glasser on 5/24/00)                                that defendant Lev provide detailed information as to: the date of departure and flight #, date
                  c/m (Johnson, Tanya) (Entered: 05/25/2000)                                                                                    of arrival, address where he will be staying and telephone #, name of the person he will be
                                                                                                                                                staying with, and time of return and flight #. (Signed by Senior Judge I. L. Glasser on 6/7/00)
05/25/2000   62   LETTER dated 5/22/00 from Jeffrey Lichtman, Esq., to Judge Glasser requesting to modify the                                   c/m (Johnson, Tanya) (Entered: 06/19/2000)
                  bail conditions of defendant Daniel Lev which would permit him to travel to Russia and
                  Ukraine for business purposes in June. (Johnson, Tanya) (Entered: 05/25/2000)                              06/19/2000    85   LETTER dated 6/9/00 from Jeffrey Lichtman, Esq., to Judge Glasser requesting permission for
                                                                                                                                                defendant Daniel Lev to receive his passport from pretrial services. (Johnson, Tanya) (Entered:
05/25/2000        CALENDAR ENTRY as to Frank Coppa Sr. in 1:00‐cr‐00196, Daniel Persico in 1:00‐cr‐00196, Jack                                  06/19/2000)
                  Basile in 1:00‐cr‐00196, John Cioffoletti in 1:00‐cr‐00196, John Doukas in 1:00‐cr‐00196,
                  Edward Garafola in 1:00‐cr‐00196, Edmond Nagel in 1:00‐cr‐00196, Alfred Palagonia in 1:00‐cr‐              06/19/2000         ENDORSED ORDER on document #85, granting permission for defendant Daniel Lev to obtain
                  00196, Aleks Paul in 1:00‐cr‐00196, Joseph Polito Sr. in 1:00‐cr‐00196, Lawrence Ray in 1:00‐cr‐                              his passport from Pretrial Services. (Signed by Senior Judge I. L. Glasser on 6/12/00) (Johnson,
                  00196; Case called before Magistrate Joan M. Azrack on date of 3/2/00 for ARRAIGNMENT,                                        Tanya) (Entered: 06/19/2000)
                  Not Guilty: Frank Coppa (1) count(s) 1, 2, 3, 4, 13, 14, 15, 16, 17, Daniel Persico (3) count(s) 2,
                  13, 14, Jack Basile (4) count(s) 2, 5, 6, 7, 8, John Cioffoletti (7) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9,   06/20/2000    86   LETTER dated 6/15/00 from Joseph Benfante, Esq., to Judge Glasser requesting permission for
                  10, 11, 12, 15, 16, 18, John Doukas (8) count(s) 1, 2, 5, 6, 7, 8, 9, 10, 11, 12, 15, 16, 17, 18,                             defendant Joseph Temperino to travel to Boca Raton, Florida with his immediate family.
                  Edward Garafola (10) count(s) 19, 20, Edmond Nagel (13) count(s) 1, 2, 9, 10, 11, 12, Alfred                                  (Johnson, Tanya) (Entered: 06/20/2000)
                  Palagonia (14) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 15, 16, 17, 18, Aleks Paul (15) count(s)    06/20/2000         ENDORSED ORDER on document #86 granting permission for defendant Giuseppe Temperino
                  1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, Joseph Polito (16) count(s) 1, 2, 9, 10, 11, 12, 19, 20,                               to travel to Boca Raton, Florida . (Signed by Senior Judge I. L. Glasser on 6/15/00) (Johnson,
                  Lawrence Ray (17) count(s) 9, 10 (Henry, Teresa) (Entered: 05/25/2000)                                                        Tanya) (Entered: 06/20/2000)
05/26/2000   78   LETTER dated 5/24/00 from Joseph Benfante, Esq., to Judge Glasser, requesting that defendant               06/20/2000    88   CALENDAR ENTRY as to Frank Coppa Sr., Ernest Montevecchi, Daniel Persico, Rocco Basile,
                  Joseph Temperino be permitted to travel to New Jersey for family related purposes. (Asreen,                                   Larry Berman, John Cioffoletti, John Doukas, Walter Durchalter, Edward Garafola, Daniel Lev,
                  Wendy) (Entered: 05/30/2000)                                                                                                  Eugene Lombardo, Edmond Nagel, Alfred Palagonia, Aleks Paul, Joseph Polito Sr., Lawrence
05/26/2000        ENDORSED ORDER on page 2 of doc. no. 78 as to Giuseppe Temperino Modifying Conditions of                                      Ray, Abraham Salaman and Giuseppe Temperino. Case called before Senior Judge I. L. Glasser
                  Release permitting the defendant to travel to New Jersey for family related purposes . Signed                                 on 6/20/00 for a conference. Counsel for both sides present. Court Reporter: Paul Lombardi
                  by Senior Judge I. L. Glasser on 5/25/00. (Asreen, Wendy) (Entered: 05/30/2000)                                               and Fred Guerino. Robert Wolf is relieved. AUSA Jonahtan Sack informs the Court that the bulk
                                                                                                                                                of discovery has been provided. There are 100 boxes of documents. Title III material will be
05/30/2000   80   LETTER dated 5/24/00 from Scott E. Leemon, Esq., to Eric Corngold, AUSA, regarding discovery.                                 provided within one week. Amy Millard will be new counsel for defendant Berman. Mr. Sack
                  (Johnson, Tanya) (Entered: 06/06/2000)                                                                                        suggests one more conference. The Court wants to set a motion schedule on 6/20/00. Thomas
                                                                                                                                                Roth will be new counsel for defendant Ray. Motions to be filed by 10/16/00. Government to
06/05/2000   79   ORDER as to Alfred Palagonia in 1:00‐cr‐00196 modifying bail modifications. ( Signed by Senior                                respond by 11/6/00. Argument on 11/17/00 at 10:00. Order of excludable delay signed under
                  Judge I. L. Glasser , on 5/30/00)(Endorsed on letter dated 5/30/00 from Joseph DiBlasi to Judge                               Code"T" excluding time until 11/17/00. (Johnson, Tanya) (Entered: 06/23/2000)
                  Glasser). (Dobkin, David) (Entered: 06/05/2000)
                                                                                                                             06/21/2000    87   LETTER dated 6/16/00 from Josep R. Benfante, Esq., to Judge Glasser enclosing defendant
06/05/2000   81   CONSENT ORDER as to Joseph Polito Sr. regarding property known as 3304 Mallard Close,                                         Joseph Temperino's travel itinerary. (Johnson, Tanya) (Entered: 06/21/2000)
                  Pompano Beach, Fl 33064. ( Signed by Senior Judge I. L. Glasser , on 6/6/00). c/m (Greene,
                  Donna) (Entered: 06/12/2000)                                                                               06/23/2000    89   ORDER of Excludable Delay as to all defendants in this action waiving time from 6/20/00 to
                                                                                                                                                11/17/00. (Signed by Senior Judge I. L. Glasser on 6/20/00) (Johnson, Tanya) (Entered:
06/15/2000        LETTER dated 6/13/00 from Benjamin Braftman to Judge Glasser, requesting permission for dft                                   06/23/2000)
                  Aleks Paul to travel to Rome for the limited purpose of visiting his brother before he passes
                  away. (DOCUMENT FILED ONLY IN 99 CR 372, DOCUMENT #57) (Piper, Francine) (Entered:                         06/23/2000    90   NOTICE of Appearance for Larry Berman in 1:00‐cr‐00196 by Attorney Amy E. Millard (Johnson,
                  06/15/2000)                                                                                                                   Tanya) (Entered: 06/23/2000)




06/28/2000   91   NOTICE of Appearance for Frank Coppa Sr. in 1:00‐cr‐00196 by Attorney Brian Hansbury                       08/18/2000   100   LETTER dated 8/10/00 from Joseph Benfante, counsel for defedant Temperino, to Judge
                  (Johnson, Tanya) (Entered: 07/06/2000)                                                                                        Glasser enclosing defendant's travel itinerary regarding his trip to Las Vegas, and providing the
                                                                                                                                                Court with the name, address, and phone number of the hotel where defendant will be
07/07/2000   92   ORDER as to Daniel Lev in 1:00‐cr‐00196 bail conditions modified solely to permit travel                                      staying. (Rodriguez,Angela) (Entered: 08/18/2000)
                  pursuant to the following itinerary (see document). ( Signed by Senior Judge I. L. Glasser , on
                  6/22/2000) (Jackson, Ramona) (Entered: 07/07/2000)                                                         08/21/2000   101   ORDER as to Giuseppe Temperino in 1:00‐cr‐00196 permitting deft to travel to Las Vegas,
                                                                                                                                                Nevada Labor Day weekend . See letter dtd 7/27/00 to ILG from Joseph R. Benfante. ( Signed
07/07/2000   93   LETTER dated 6/21/00 from Jeffrey Lichtman, Esq., to Judge Glasser, Esq. regarding the travel                                 by Senior Judge I. L. Glasser , on 7/27/00) (Glenn, Marilyn) (Entered: 08/21/2000)
                  itinerary of defendant Daniel Lev. (Johnson, Tanya) (Entered: 07/07/2000)
                                                                                                                             08/23/2000         LETTER dated 8/23/00 from Melinda Sarafa to Judge Glasser on behalf of Aleks Paul to confirm
07/12/2000        LETTER dated 7/6/00 from John Jacobs to Judge Gershon and Judge Glasser, requesting that 99                                   that Mr. Paul's sentencing hearing set for 9/11/00 has been adjourned to 11/2/00 at 10:00.
                  cr 589 and 00 cr 196 be consolidated for sentencing purposes. (DOCUMENT FILED ONLY IN 99                                      Applies also to 00cr196 and 00cr445. *This is document #66 in 99cr372. (Guzzi, Roseann)
                  CR 589, DOCUMENT 309) (Piper, Francine) (Entered: 07/12/2000)                                                                 (Entered: 08/24/2000)
07/14/2000        LETTER dated 7/6/00 from Benjamin Brafman to Judge Glasser on behalf of Aleks Paul                         08/29/2000   102   LETTER dated 5/22/00 from Jeffrey Lichtman, Esq. to Judge Glasser requesting that defendant
                  requesting that defendant be permitted to travel to Israel for the purpose of the passing of his                              Daniel Lev's bail conditions be modified, allowing him to travel to Russia and the Ukraine for
                  brother. Also applies to cases 99cr372 and 00cr445. (Guzzi, Roseann) (Entered: 07/14/2000)                                    business purposes. (Lee, Tiffeny) (Entered: 08/29/2000)
07/14/2000        LETTER date 7/6/00 from Melinda Sarafa to Jonathan Sack, Esq. advising of defendant Aleks                  08/29/2000   103   LETTER dated 8/23/00 from Jeffrey Lichtman, Esq. to Judge Glasser requesting that defendant
                  Pauls' travel plans. *This is document #61 in 99cr372. (Guzzi, Roseann) (Entered: 07/14/2000)                                 Daniel Lev's bail conditions be modified, allowing him to travel to Russia and the Ukraine for
07/18/2000   94   LETTER dated 7/13/00 from Michael Rosen, Esq., to Judge Glasser requesting to extend the                                      business purposes for the period of 9/3/00 through 9/24/00. (Lee, Tiffeny) (Entered:
                  bail restrictions for defendant Edward Garafola to permit him to travel to Niagra Falls and                                   08/29/2000)
                  Ontario from 7/17/00 to 7/19/00. (Johnson, Tanya) (Entered: 07/18/2000)                                    08/29/2000   104   ORDER as to Daniel Lev in 1:00‐cr‐00196 granting [102‐1] and [103‐1] letter applications that
07/18/2000        ENDORSED ORDER on document #94, granting the request to extend the bail restrictions for                                      bail conditions be modified soley to permit travel pursuant to itinerary . Signed by Senior
                  defendant Edward Garafola. (Signed by Senior Judge I. L. Glasser on 7/13/00) (Johnson, Tanya)                                 Judge I. L. Glasser, on 8/25/00. [see Order for itinerary] (Lee, Tiffeny) (Entered: 08/29/2000)
                  (Entered: 07/18/2000)                                                                                      08/29/2000         ENDORSED ORDER dated 8/25/00 on documet #66 in 99cr372 granting hearing date of
07/19/2000   95   LETTER dated 7/17/00 from Joseph V. DiBlasi, Esq., to Judge Glasser requesting permission for                                 11/2/00 at 10:00 as to Aleks Paul. ( Signed by Senior Judge I. L. Glasser, on 8/25/00) *This also
                  defendant Alfred Palagonia to travel to to New Jersey on 7/18/00 and Pennsylvania over the                                    applies to 00cr196 and 00cr445. (Guzzi, Roseann) (Entered: 08/29/2000)
                  weekend of 7/21/00. (Johnson, Tanya) (Entered: 07/19/2000)                                                 09/26/2000   105   LETTER dated 9/14/00 from Jean Marie Graziano to Judge Glasser, requesting that the bail
07/19/2000   95   ENDORSED ORDER on doc #95, granting permission for defendant Alfred Palagonia to travel to                                    restrictins currently in place with respect to Edward Garafola be extended to permit travel to
                  NJ on 7/18/00 and to Pennsylvania over the weekend of 7/21/00. (Signed by Senior Judge I. L.                                  Saylorsburg, Pennsylvania on 9/17/00. (Greene, Donna) (Entered: 09/26/2000)
                  Glasser on 7/17/00) (Johnson, Tanya) (Entered: 07/19/2000)                                                 09/26/2000         ENDORSED ORDER on doc. #105 as to Edward Garafola in 1:00‐cr‐00196. Application to travel
07/25/2000   96   LETTER dated 6/29/00 from Joseph DiBlasi, Esq., to Judge Glasser requesting permission for                                    to Saylorsbur, Pennsylvania on 9/17/00 Granted. ( Signed by Senior Judge I. L. Glasser , on
                  defendant Alfred Palagonia to travel to Las Vegas on vacation from 7/5/00 to 7/11/00.                                         9/14/00). (Greene, Donna) (Entered: 09/26/2000)
                  (Johnson, Tanya) (Entered: 07/25/2000)                                                                     09/26/2000   106   STIPULATION AND ORDER as to Alfred Palagonia in 1:00‐cr‐00196. It is stipulated that the net
07/25/2000   97   ORDER as to Jack Basile, the dft will be sentenced on both cases 99 cr 589 and 00 cr 196 before                               proceeds of the sale of the East Gate Property in the amount of $404,836.20 shall be
                  the undersigned. ( Signed by Judge Nina Gershon , on 7/20/00) (Piper, Francine) (Entered:                                     deposition into an interest‐bearing account within the custody of the Clerk of the Court for the
                  07/25/2000)                                                                                                                   EDNY to abide further order of the court. ( Signed by Senior Judge I. L. Glasser , on 9/11/00).
                                                                                                                                                (Greene, Donna) (Entered: 09/26/2000)
07/25/2000   98   ORDER as to Jack Basile, Sentencing Schedule, Defense papers, including any departure
                  motions due 10/6/00; Govt response 10/13/00; Defense reply papers 10/20/00; Sentencing                     09/29/2000   107   LETTER dated 9/8/00 from Joseph V. DiBlasi, Esq., to Judge Glasser requesting permission for
                  10/27/00 at 11:00. ( Signed by Judge Nina Gershon , on 7/21/00) (Piper, Francine) (Entered:                                   defendant Alfred Palagonia to travel to and from Connecticut to obtain outpatient treatment
                  07/25/2000)                                                                                                                   at Silver Hill Hospital. (Johnson, Tanya) (Entered: 10/04/2000)

07/31/2000   99   LETTER dated 7/21/00 from Charles L. Weintraub, Esq., to Judge Glasser requesting permission               09/29/2000   107   ENDORSED ORDER on document #107, granting the request for defendant Alfred Palagonia to
                  to extend the jurisdictional limits of defendant Joseph Polito's bail for travel between the                                  travel to and from Connecticut to obtain outpatient treatment at Silver Hill Hospital. (Signed
                  dates of 8/1/00 and 8/20/00. (Johnson, Tanya) (Entered: 08/01/2000)                                                           by Senior Judge I. L. Glasser on 9/8/00) (Johnson, Tanya) Modified on 10/04/2000 (Entered:
                                                                                                                                                10/04/2000)
08/01/2000        ENDORSED ORDER on document #99, granting permission to extend the jurisdictional limits of
                  defendant Joseph Polito's bail for travel between 8/1/00 and 8/20/00. (Signed by Senior Judge
                  I. L. Glasser on 7/24/00) (Johnson, Tanya) (Entered: 08/01/2000)
10/05/2000
               Case
             110
                           1:16-mc-02636-AMD Document 24-8 Filed
                STPULATION and ORDER as to John Doukas in 1:00‐cr‐00196, substituting attorney. Martin
                                                                                                                     06/07/18
                                                                                                            11/09/2000
                                                                                                                                            Page 12 of 45 PageID #:
                                                                                                                       119 ORDER, that defendant Daniel Lev 's bail conditions be modified to permit him to travel from
                Russo terminated; Added Edward A. McDonald . ( Signed by Senior Judge I. L. Glasser on
                10/6/00) (Rodriguez,Angela) (Entered: 10/16/2000)
                                                                                                       3886                11/7/00 through 12/7/00. It is further ordered that defendant's passport, presently in the
                                                                                                                           possession of Pretrial Services, be provided to the defendant until he returns from his trip.
                                                                                                                                          (Signed by Senior Judge I. L. Glasser on 11/2/00) (Johnson, Tanya) Modified on 11/30/2000
10/10/2000   114   LETTER dated 10/5/00 from James M. LaRossa, Esq., to Judge Glasser requesting a (30 day)                               (Entered: 11/09/2000)
                   extension of time for defendant John Cioffoletti to file motions. (Johnson, Tanya) (Entered:
                   11/01/2000)                                                                                         11/13/2000   120   MOTION by Daniel Persico for an order granting a hearing to determine the admissability of
                                                                                                                                          statments and for discovery . w/supporting papers attached. (Johnson, Tanya) (Entered:
10/16/2000   108   ORDER as to John Cioffoletti in 1:00‐cr‐00196 endorsed on letter dated 10/5/00 from James                              11/16/2000)
                   LaRossa to Judge Glasser. Request for 30 day extension of time to file motions is granted. (
                   Signed by Senior Judge I. L. Glasser on 10/6/00) (Rodriguez,Angela) (Entered: 10/16/2000)           11/16/2000   128   MOTION by Daniel Lev to dismiss count one's RICO conspiracy charge and count two's
                                                                                                                                          substantive RICO charge ; to dismiss the money laundering charges contained in counts 11 and
10/16/2000   109   ORDER as to Alfred Palagonia in 1:00‐cr‐00196 endorsed on letter dated 10/6/00 from Joseph                             12 ; to sever him from his co‐defendants ; [128‐1] [128‐2]. (Johnson, Tanya) (Entered:
                   Diblasi to Judge Glasser. Application for defendant to travel to Key West, Florida from                                11/30/2000)
                   10/12/00 to 10/17/00 is granted. ( Signed by Senior Judge I. L. Glasser on 10/6/00)
                   (Rodriguez,Angela) (Entered: 10/16/2000)                                                            11/16/2000   129   MEMORANDUM by Daniel Lev in support of is pretrial motions. (Johnson, Tanya) (Entered:
                                                                                                                                          11/30/2000)
10/16/2000   111   NOTICE OF SUBSTITUTION OF COUNSEL to Lawrence Ray. (Johnson, Tanya) (Entered:
                   10/17/2000)                                                                                         11/21/2000   121   MOTION by Lawrence Ray severing his case from that of his co‐defendants, compelling the
                                                                                                                                          production of additional disocvery; dismissing the indictment against Ray; requiring the
10/20/2000   112   LETTER dated 10/13/00 from Richard W. Brewster, Esq., to Judge Glasser requesting a 30 day                             government to disclose evidence and permitting defendant Ray to join in motions of co‐
                   extension of the current motion schedule. (Johnson, Tanya) (Entered: 10/20/2000)                                       defendants . (Guzzi, Roseann) (Entered: 11/27/2000)
10/20/2000   113   LETTER dated 10/12/00 from AUSA Eric Corngold, to Judge Glasser informing the Court of the          11/21/2000   122   MEMORANDUM by Lawrence Ray in 1:00‐cr‐00196 in support of [121‐1] motion severing his
                   status of this action and requesting that speedy trial be excluded to 12/15/00. (Johnson,                              case from that of his co‐defendants, compelling the production of additional disocvery;
                   Tanya) (Entered: 10/20/2000)                                                                                           dismissing the indictment against Ray; requiring the government to disclose evidence and
10/20/2000         ENDORSED ORDER on document #113, granting the request for excludable delay as to Frank                                 permitting defendant Ray to join in motions of co‐defendants. (Guzzi, Roseann) (Entered:
                   Coppa Sr.. The findings required by 18:3161()(8)(A) are hereby made. (Signed by Senior Judge                           11/27/2000)
                   I. L. Glasser on 10/12/00) (Johnson, Tanya) (Entered: 10/20/2000)                                   11/21/2000   123   AFFIDAVIT of Lawrence Ray in 1:00‐cr‐00196 as to Lawrence Ray in 1:00‐cr‐00196 Re: in
10/23/2000   115   MOTION by Edward Garafola for severance and separate trial and to suppress and preclude a                              support of defendant's [121‐1] motion severing his case from that of his co‐defendants,
                   tape recording made by the FBI on 3/25/99 . [115‐1] [115‐2] (Johnson, Tanya) (Entered:                                 compelling the production additional disocvery; dismissing the indictment against requiring
                   11/01/2000)                                                                                                            the government to disclose evidence and defendant Ray to join in motions of co‐defendants.
                                                                                                                                          (Guzzi, Roseann) Modified on 6/17/2009 to attach a copy of the affidavit, rec'd. by fax from
10/23/2000   116   MEMORANDUM by Edward Garafola in support of his [115‐1] motion for severance and                                       Mr. Roth. (Vaughn, Terry). (Entered: 11/27/2000)
                   separate trial, [115‐2] to suppress and preclude a tape recording made by the FBI on 3/25/99.
                   (Johnson, Tanya) (Entered: 11/01/2000)                                                              11/21/2000   124   AFFIDAVIT of Thomas G. Roth, Esq. on behalf of Lawrence Ray in 1:00‐cr‐00196 Re: in support
                                                                                                                                          of defendant Ray's [121‐1] motion severing his case from that of his co‐defendants, compelling
10/25/2000         ENDORSED ORDER dated 10/18/00 on document #76 in 99cr372 granting adjournment of                                       the production of additional discovery; dismissing the indictment against Ray; requiring the
                   sentencing as to Aleks Paul. Sentencing set for 12/14/00 at 10:00. ( Signed by Senior Judge I. L.                      government to disclose evidence and permitting defendant to join in motions of co‐
                   Glasser, on 10/18/00) *This also applies to 00cr196 and 00cr445. (Guzzi, Roseann) (Entered:                            defendants (Guzzi, Roseann) (Entered: 11/27/2000)
                   10/25/2000)
                                                                                                                       11/29/2000   125   LETTER dated 11/9/00 from Amy E. Millard, Esq., to Judge Glasser requesting to modify the
11/03/2000   117   LETTER dated 10/26/00 from Albert Brackley, Esq., to Judge Glasser requesting permission to                            bail conditions of defendant Larry Berman to permit him to travel to Puerto Rico during te first
                   join any co‐counsel motion addaressed to the sufficiency or legality of the indictment.                                week in December. (Johnson, Tanya) (Entered: 11/29/2000)
                   (Johnson, Tanya) (Entered: 11/03/2000)
                                                                                                                       11/29/2000         ENDORSED ORDER on document #125, granting the request to modify the bail conditions of
11/03/2000         ENDORSED ORDER on document #117, granting defense counsel's request to join any co‐                                    defendant Larry Berman to permit him to travel to Puerto Rico during the first week in
                   counsel motion. (Signed by Senior Judge I. L. Glasser on 10/27/00) (Johnson, Tanya) (Entered:                          December. Itinerary to be made available to the AUSA. (Signed by Senior Judge I. L. Glasser on
                   11/03/2000)                                                                                                            11/14/00) c/m (Johnson, Tanya) (Entered: 11/29/2000)

11/03/2000   118   LETTER dated 10/30/00 from Jonathan Sack to U.S. Probation Officer, Linda Fowle, providing          11/29/2000   126   LETTER dated 11/13/00 from Nicholas G. Kaizer, Esq., to Judge Glasser requesting a one‐month
                   updated information concerning the loss attributable to Jack Basile in connection with the                             adjournment, until 12/15/00. for defendant Frank Coppa to submit pretrial motions. (Johnson,
                   fraudulent sale of Holly Products Inc. securities at White Rock Partners & Co., Inc. (Piper,                           Tanya) (Entered: 11/29/2000)
                   Francine) (Entered: 11/03/2000)




11/29/2000         ENDORSED ORDER on document #126, granting the request for a one‐month adjournment,                  12/05/2000   136   SCHEDULING ORDER: that the Government shall file and serve responsive papers to defendant
                   until 12/15/00, for defendant Frank Coppa to submit pretrial motions. (Signed by Senior Judge                          Edward Garafola's motions on or before 5pm on 12/11/00. The defendant shall file and serve
                   I. L. Glasser on 11/13/00) (Johnson, Tanya) (Entered: 11/29/2000)                                                      reply papers, if any, on or before 12/13/00, and oral argument and suppression hearing will be
                                                                                                                                          heard on 12/15/00 at 2:00. (Signed by Senior Judge I. L. Glasser on 11/28/00) (Johnson, Tanya)
11/29/2000   127   LETTER dated 11/14/00 from J. Brian Hansbury, Esq., to AUSA Eric Corngold, regarding the plea                          (Entered: 12/05/2000)
                   negotiations of defendant Ernest Montevecchi. (Johnson, Tanya) (Entered: 11/29/2000)
                                                                                                                       12/05/2000   137   SCHEDULING ORDER that the government shall file and serve responsive papers to defendant
11/29/2000   142   MOTION for Peter F. Carr, II to appear pro hac vice on behalf of defendant Abraham Salaman.                            Daniel Lev's pretrial motions on or before 5:00pm on 12/11/00. The defendant shall file and
                   Fee #: $25.00. Receipt #: 239900 . [142‐1] (Johnson, Tanya) Modified on 12/14/2000 (Entered:                           serve reply papers, if any, on or before 3pm on 12/13/00. Oral argument will be heard at 10am
                   12/14/2000)                                                                                                            on 12/15/00. (Signed by Senior Judge I. L. Glasser on 11/28/00) (Johnson, Tanya) (Entered:
11/29/2000         AFFIDAVIT by Peter F. Carr, II in further support of his application to appear pro hac vice on                         12/05/2000)
                   behalf of defendant Abraham Salaman. (Annexed to doc #142) (Johnson, Tanya) (Entered:               12/07/2000   138   LETTER dated 11/17/00 from Jewel N. Klein, Esq., to Judge Glasser requesting permission for
                   12/14/2000)                                                                                                            defendant Edmond Nagel to extend his stay in California until 11/27/00. (Johnson, Tanya)
11/29/2000   144   MOTION for A. John Pappalardo to appear pro hac vice on behalf of Abraham Salaman. Pro                                 (Entered: 12/07/2000)
                   Hac Vice Filing Fee #: $25.00. Receipt #: 239898 .[144‐1] (Johnson, Tanya) (Entered:                12/07/2000         ENDORSED ORDER on document #138, granting permission for defendant Edmond Nagel to
                   12/14/2000)                                                                                                            extend his stay in California until 11/27/00. (Signed by Senior Judge I. L. Glasser on 11/17/00)
11/29/2000         AFFIDAVIT by A. John Pappalardo, Esq. in further support of his motion to appear pro hac vice                          (Johnson, Tanya) (Entered: 12/07/2000)
                   on behalf of Abraham Salaman. Pro Hac Vice Filing Fee #: $25.00. Receipt #: 239898. (Annexed        12/07/2000   140   MOTION by Abraham Salaman for an extension of time, until 1/3/01, to file discovey motions .
                   to doc #144) (Johnson, Tanya) (Entered: 12/14/2000)                                                                    [140‐1] (Johnson, Tanya) (Entered: 12/12/2000)
11/30/2000   130   MOTION by John Cioffoletti to produce all exculpatory and impeachment materials ; for               12/11/2000   139   SCHEDULING ORDER all defense motions which have not yet been made shall be filed and
                   disclosure of pages of documents ; to dismiss Racketerring Act 9 of Counts 1,2,7,8,11,12,17                            seved on or before 1/3/01; The government's response to those motions and to the motions
                   and 18 . [130‐1] [130‐2] [130‐3] (Johnson, Tanya) (Entered: 11/30/2000)                                                that have already been filed and served shall be filed and served on or before 1/17/01.
11/30/2000   131   MEMORANDUM by defendant John Cioffoletti in support of his pretrial motions. [130‐1]                                   Defendant's replies, if any, shall be filed and served on or before 1/29/01. Oral argument will
                   (Johnson, Tanya) (Entered: 11/30/2000)                                                                                 be heard on 2/2/01 at 10:00. (Signed by I. Leo Glasser on 11/30/00) (Johnson, Tanya) Modified
                                                                                                                                          on 01/08/2001 (Entered: 12/11/2000)
12/01/2000   147   LETTER dated 11/30/00 from AUSA Eric Corngold, to Judge Glasser requesting an extension of
                   time, until 1/18/01, for the government to respond to the pretrial motions of all defendants in     12/13/2000   141   LETTER dated 12/4/00 from Jeffrey Lichtman, Esq., to Judge Glasser requesting permission to
                   this action. (Johnson, Tanya) (Entered: 01/02/2001)                                                                    extend defendant Daniel Lev's recent trip to London and Russia for business purposesi until
                                                                                                                                          1/3/01. (Johnson, Tanya) (Entered: 12/13/2000)
12/04/2000   132   LETTER dated 11/30/00 from AUSA Eric Corngold and AUSA Jonathan Sack, to Judge Glasser
                   requesting an extension of time until 1/18/01 for the government to respond to all of               12/13/2000   141   ENDORSED ORDER on document #141, that defendant Daniel Lev's request to extend his trip
                   defendant's pretrial motions. (Johnson, Tanya) (Entered: 12/04/2000)                                                   until 1/3/01 is granted. (Signed by Senior Judge I. L. Glasser on 12/4/00) (Johnson, Tanya)
                                                                                                                                          (Entered: 12/13/2000)
12/04/2000   133   SCHEDULING ORDER that the government is directed to file and serve responses to defendant
                   John Cioffoletti's motion on or before 5pm on 12/18/00. The defendant shall file and serve          12/14/2000   143   ORDER, granting [142‐1] the motion of Peter F. Carr, II to appear pro hac vice on behalf of
                   reply papers, if any, on or before 5pm on 11/20/00 and oral argument will be heard at 10:00                            defendant Abraham Salaman. (Signed by Senior Judge I. L. Glasser on 12/6/00) c/m $25.00
                   on 12/22/00. (Signed by Senior Judge I. L. Glasser on 11/29/00) c/m (Johnson, Tanya) (Entered:                         filing fee paid. (Johnson, Tanya) (Entered: 12/14/2000)
                   12/04/2000)                                                                                         12/14/2000   145   ORDER, granting the [144‐1] motion for A. John Pappalardo to appear pro hac vice on behalf of
12/04/2000   134   LETTER dated 11/29/00 from Nicholas G. Kaizer, Esq., to JUdge Glasser requesting to modify                             Abraham Salaman. Pro Hac Vice Filing Fee #: $25.00. Receipt #: 239898. (Signed by Senior
                   the conditions of defendant Frank Coppa's pretrial release to allow him to travel to California                        Judge I. L. Glasser on 12/6/00) c/m (Johnson, Tanya) (Entered: 12/14/2000)
                   between 11/26/00 to 1/2/01. (Johnson, Tanya) (Entered: 12/04/2000)                                  12/27/2000         LETTER dated 12/12/00 from Melinda Sarafa to Judge Glasser to confirm the adjournment of
12/04/2000   134   ENDORSED ORDER on document #134, granting permission for defendant Frank Coppa to                                      the sentencing to 12/20/00 as to Aleks Paul. *This is document #85 in 99cr372. (Guzzi,
                   travel to California from 12/26/00 to 1/2/01 . (Signed by Senior Judge I. L. Glasser on                                Roseann) (Entered: 12/27/2000)
                   11/29/00) c/m (Johnson, Tanya) (Entered: 12/04/2000)                                                12/29/2000   146   LETTER dated 11/29/00 from Joseph Dilasi, Esq., to Judge Glasser requesting permission for
12/05/2000   135   SCHEDULING ORDER: that the government is directed to file and serve responses to defendant                             defendant Alfred Palagonia to travel to the Poconos for the weekend of 12/2/00. (Johnson,
                   Lawrence Ray's motion on or before 5pm on 12/18/00. The defendant shall file and serve reply                           Tanya) (Entered: 01/02/2001)
                   papers, if any, on or before 5pm on 12/20/00 and oral argument will be heard at 10:00 on
                   12/22/00. (Signed by Senior Judge I. L. Glasser on 11/28/00) (Johnson, Tanya) (Entered:
                   12/05/2000)
12/29/2000
               Case         1:16-mc-02636-AMD Document 24-8 Filed
                ENDORSED ORDER on document #146, granting permission for defendant Alfred Palagonia to
                                                                                                                         06/07/18
                                                                                                                01/11/2001
                                                                                                                                              Page 13 of 45 PageID #:
                                                                                                                             LETTER dateded 12/18/00 from Melinda Sarafa to Judge Glasser to confirm defendant Aleks
                travel to the Poconos for the weekend of 12/2/00. (Signed by Senior Judge I. L. Glasser on
                11/3/000) (Johnson, Tanya) (Entered: 01/02/2001)
                                                                                                           3887              Paul's sentencing has been adjourned to 2/28/01 at 10:00. And also the Government has
                                                                                                                             consented to Mr. Paul's request to travel. *This is document #86 in 99cr372. (Guzzi, Roseann)
                                                                                                                                          (Entered: 01/11/2001)
12/29/2000   148   STIPULATION AND ORDER, by and between plaintiff and defendant John Cioffoletti that the
                   sale of the Seagull Lane Property may proceed and that the net proceeds of the sale in the          01/11/2001   156   LETTER dated 1/3/01 from Richard W. Brewster, Esq., to Judge Glasser informing the court that
                   amount of $194,909.92 shall be deposited into any interest‐bearing account within the                                  defendant Eugene Lomardo wishes to join in that part of Ernest Montevecchi's motion seeing
                   custody of the Clerk of Court for the Eastern District of NY pending further order of the Court.                       to dismiss the allegations in the instant indicment. (Johnson, Tanya) (Entered: 01/11/2001)
                   It is further ordered that withdrawals from this account must be sought on (10) days written
                   notice to the Government's counsel in this action. It is further ordered that the Clerk of Court    01/17/2001   157   LETTER dated 1/10/01 from Jeffrey Lichtman, Esq., to Judge Glasser requesting to modify the
                   is directed to deduct from the income of the investment a fee equal to (10) percent of the                             bail conditions of defendant Daniel Lev to allow the defendant to travel to Russia for business
                   income earned, but not exceeding the fee authorized by the Judicial Conference of the U.S. It                          purposes. (Johnson, Tanya) (Entered: 01/17/2001)
                   is further ordered that each side shall bear its own costs and attorney's fees in connection with   01/17/2001   157   ENDORSED ORDER on pg 2 of doc #157, granting the request to modify defendant Daniel Lev's
                   this stipulation and order. (Signed by Senior Judge I. L. Glasser on 12/19/00) (Johnson, Tanya)                        bail conditions allowing him to travel to Russia from 1/15/01 to 1/28/01 for business purposes.
                   (Entered: 01/08/2001)                                                                                                  (Signed by Senior Judge I. L. Glasser on 1/10/01) (Johnson, Tanya) (Entered: 01/17/2001)
12/29/2000         ENDORSED ORDER on document #140, granting the [140‐1] motion for an extension of time,              01/17/2001   158   MEMORANDUM by USA in opposition to the defendants' pretrial motions. (Johnson, Tanya)
                   until 1/3/01, to file discovey motions as to Abraham Salaman (18). (Signed by Magistrate A. S.                         (Entered: 01/19/2001)
                   Chrein on 12/18/00) (Johnson, Tanya) (Entered: 01/08/2001)
                                                                                                                       01/29/2001   159   REPLY by Abraham Salaman in further support of his pretrial motions. [154‐1] [154‐2] [154‐3]
01/03/2001   151   MOTION by Edmond Nagel to dismiss counts 1 and 2 and to sever this action . [151‐1] [151‐2]                            [154‐4] [154‐5] (Johnson, Tanya) (Entered: 01/31/2001)
                   (Johnson, Tanya) (Entered: 01/11/2001)
                                                                                                                       01/29/2001   160   REPLY AFFIDAVIT by J. Brian Hansbury, Esq., on behalf of defendant Ernest Montevecchi in
01/03/2001         MEMORANDUM by Edmond Nagel in support of the [151‐1] motion to dismiss counts 1 and 2                                  response to the government's memorandum in opposition to the defendant's pretrial motions.
                   and to [151‐2] sever this action. (Annexed to document #151) (Johnson, Tanya) (Entered:                                (Johnson, Tanya) (Entered: 01/31/2001)
                   01/11/2001)
                                                                                                                       02/02/2001   182   CALENDAR ENTRY as to Frank Coppa Sr., Ernest Montevecchi in aniel Persico, Jack Basile,
01/03/2001   152   MOTION by Ernest Montevecchi to dismiss counts 13 and 14 and to dismiss count 2 . [152‐1]                              Rocco Basile, Larry Berman, John Cioffoletti, John Doukas, Walter Durchalter, Edward Garafola,
                   [152‐2] (w/exhibits A‐F attached) (Johnson, Tanya) (Entered: 01/11/2001)                                               Daniel Lev, Eugene Lombardo, Edmond Nagel, Alfred Palagonia, Aleks Paul, Joseph Polito Sr.,
01/03/2001   153   MEMORANDUM by Ernest Montevecchi in further support of his [152‐1] motion to dismiss                                   Lawrence Ray, Abraham Salaman, Giuseppe Temperino. Case called before Senior I. L. Glasser
                   counts 13 and 14 and [152‐2] count 2. (Johnson, Tanya) (Entered: 01/11/2001)                                           on 2/2/01 for Status Conference. Court Reporter: Holly Driscoll. Counsel for all sides present.
                                                                                                                                          Mr. Rosen argues severance motion on behalf of Garabola. Decision reserved. Mr. Rosen's
01/03/2001   154   MOTION by Abraham Salaman for Bill of Particulars ; to turn over all impeachment materials to                          motion to suppress is denied. Mr. Roth argues severance mtoon on behalf of Ray. Decision
                   the defendants ; provide the names of all unindicted co‐conspirators referred to in the                                reserved. Mr. Lichtman argues severance motion on behalf of defendant Lev. Decision
                   indictment ; provide all statements made during the course and in furtherance of the                                   reserved. Mr. Rovell's motion is also reserved. Andrew Weinstein argues money laundering
                   conspiracy by defendants the government does not intend to call as witnesses at the trial ;                            motion on behalf of defendant Cioffoletti. Motion is denied. Ms Miranda Fritz argues money
                   provide all evidence the goverment intends, expects or seeks to introduce at trial . [154‐1]                           laundering motion on behalf of defendant Lev. Motion is denied. Brian Hansbury argues
                   [154‐2] [154‐3] [154‐4] [154‐5] (Johnson, Tanya) (Entered: 01/11/2001)                                                 money laundering motion on behalf of defendant Monturecchi. Motion is denied. Mr. Giannini
                                                                                                                                          argues money laundering motion. Motion is denied. The court denies Mr Giannini's motion to
01/03/2001   155   MEMORANDUM by Abraham Salaman in further support of [154‐1] of his pretrial motions.                                   suppress. Ms. Miranda Fritz argues motion to dismiss Ricco counts as to defendant Lev.
                   (Johnson, Tanya) (Entered: 01/11/2001)                                                                                 Motion is denied. Mr. Hansbury argues motion to dismiss. Motion is denied. Brady material to
01/04/2001   149   LETTER dated 1/3/01 from Richard Brewster to Judge Glasser informing that Eugene Lombardo                              be turned over upon request. Giglio material to be disclosed in sufficient time as needed by
                   joins in that part of Ernest Montevecchi's motion seeking to dismiss the allegations in the                            defense. Rocco Basile will be pleading gulity on 2/7/01, before Magistrate/Judge Pollak. Mr.
                   instant indictment which are duplicative to that in Southern District case # 97cr1215.                                 Corngold expect six mor guiltu plea. Set the next conference fore 3/15/01 at 10:00. Trial date
                   (Rodriguez,Angela) (Entered: 01/08/2001)                                                                               will be set then. (Johnson, Tanya) (Entered: 03/23/2001)

01/10/2001   150   LETTER dated 1/4/01 from Jean Marie Graziano, Esq., to Judge Glasser requesting permission          02/07/2001   163   CALENDAR ENTRY as to Rocco Basile in 1:00‐cr‐00196. Case called before Magistrate Cheryl L.
                   for defendant Edward Garafola to travel to Alabama from Friday 1/12/01 to 1/26/01.                                     Pollak on 2/7/01 for Pleading. Defense Counsel: Stephen Scaring. AUSA: Eric Corngold. Tape #
                   (Johnson, Tanya) (Entered: 01/10/2001)                                                                                 01/03C (480‐3027). Defendant pleads Guilty: Rocco Basile (5) count(s) 5 . Set sentencing for
                                                                                                                                          5/23/01 at 10:00 before Senior Judge I. L. Glasser . (Johnson, Tanya) (Entered: 02/22/2001)
01/10/2001   150   ENDORSED ORDER on document #150, granting permission for defendant Edward Garafola to
                   Travelf rom 1/12/1 to 1/26/01 . (Signed by Senior Judge I. L. Glasser on 1/4/01) (Johnson,          02/14/2001         CASE reassigned to Judge Raymond J. Dearie from Judge I. Leo Glasser. Parties notified. (Chin,
                   Tanya) (Entered: 01/10/2001)                                                                                           Felix) (Entered: 02/24/2001)




02/15/2001   161   ORDER, that the plea of defendant Rooco Basile is referred to Magistrate Pollak. (Signed by         03/08/2001   172   LETTER dated 2/27/01 from Jeffrey Lichtman, Esq., to Judge Glasser requesting permission for
                   Senior Judge I. L. Glasser on 2/1/01) (Johnson, Tanya) (Entered: 02/15/2001)                                           defendant Daniel Lev to miss the conference scheduled for 3/15/01. (Approved by Judge
                                                                                                                                          Glasser on 2/27/01, see pg 2 of this doc) (Johnson, Tanya) (Entered: 03/08/2001)
02/16/2001   162   LETTER dated 2/12/01 from Paul Schoeman to Judge Glasser and Judge Dearie, the govt has
                   agreed to request the consolidation of sentencing for dft Basile in 98 cr 1129 and 00 cr 196.       03/09/2001   173   LETTER dated 2/27/01 from Amy E. Millard, Esq., to Judge Glasser requesting permission for
                   (Piper, Francine) (Entered: 02/16/2001)                                                                                defendant Larry Berman to travel to St. Thomas from 3/18/01 to 3/23/01. (Johnson, Tanya)
                                                                                                                                          (Entered: 03/09/2001)
02/22/2001   164   NOTICE of Appearance for Rocco Basile in 1:00‐cr‐00196 by attorney Stephen P. Scaring.
                   (Johnson, Tanya) (Entered: 02/22/2001)                                                              03/09/2001   173   ENDORSED ORDER on document #173, granting permission for defendant Larry Berman to
                                                                                                                                          travel on 3/18/01 to 3/23/01 . (Signed by Senior Judge I. L. Glasser on 3/2/01) (Johnson, Tanya)
02/22/2001   165   LETTER dated 1.26.01 from Jean Marie Graziano to Judge Glasser enclosing a courtesy copy of                            (Entered: 03/09/2001)
                   Deft Edward Garafola's Reply Memorandum. W/o attachment. (Barrett, Charryse) (Entered:
                   02/22/2001)                                                                                         03/09/2001   174   TRANSCRIPT before Magistrate Pollak of the Pleading filed in case as to Rocco Basile in 1:00‐cr‐
                                                                                                                                          00196 for dates of 2/7/01. Transcript produced by Elizabeth Barron. (Gonzalez, Mary)
02/27/2001         CASE reassigned to Senior Judge I. L. Glasser from Judge Raymond J. Dearie. This is a correction                       (Entered: 03/09/2001)
                   from the last reassignment. Parties notified. (Chin, Felix) (Entered: 02/27/2001)
                                                                                                                       03/14/2001   175   LETTER dated 3/13/01 from James M. LaRossa, Esq., to Judge Glasser informing the Court of
02/27/2001   166   LETTER dated 2/21/01 from Joseph DiBlasi, Esq., to Judge Glasser requesting permission for                             defendant John Cioffoletti's changed itinerary for 3/15‐3/19/01. (Johnson, Tanya) (Entered:
                   defendant Alfred Palagonia sto travel from 2/21/01 to 2/25/01. (Johnson, Tanya) (Entered:                              03/15/2001)
                   02/27/2001)
                                                                                                                       03/15/2001   176   LETTER dated 3/9/01 from James M. LaRossa, Esq., to Judge Glasser requesting that defendant
02/27/2001         ENDORSED ORDER on document #166, granting the application for defendant Alfred Palagonia                               Cioffoletti's bail conditions be extended to permit him to take a business trip. (Johnson, Tanya)
                   to travel from 2/21/01 to 2/25/01 on the condition that full travel itinerary be forwarded to                          (Entered: 03/15/2001)
                   pretrial services. (Signed by Senior Judge I. L. Glasser on 2/21/01) (Johnson, Tanya) (Entered:
                   02/27/2001)                                                                                         03/15/2001         ENDORSED ORDER on document #176, granting the request to extend the bail conditions of
                                                                                                                                          defendant John Cioffoletti to permit him to take a business trip/personal vacation to Florida
02/28/2001   167   ORDER as to Aleks Paul, granting dft.'s request to adjourn sentencing from 2/28/01 to 3/28/01                          from 3/15/01 to 3/19/01. (Signed by Senior Judge I. L. Glasser on 3/12/01) (Johnson, Tanya)
                   at 10:00. (Signed by Senior Judge I. L. Glasser on 2/23/01). Endorsed on letter dated 2/21/01                          (Entered: 03/15/2001)
                   from Melinda Sarafa to Judge Glasser. (Reddy, Lisa) (Entered: 02/28/2001)
                                                                                                                       03/15/2001   177   NOTICE of Appearance for Ernest Montevecchi in 1:00‐cr‐00196 by Attorney Joseph A. Bondy
02/28/2001   168   ORDER, that defendant Daniel Lev's bail conditions be modified to permit him to travel from                            (Johnson, Tanya) (Entered: 03/16/2001)
                   3/1/01 to 4/6/01. It is further ordered that defendant's passport, presently in the possession
                   of Pretrial Services, be provided to the defendant until he return from this trip. (Signed by       03/15/2001   178   CALENDAR ENTRY as to Ernest Montevecchi in 1:00‐cr‐00196, Daniel Persico in 1:00‐cr‐00196,
                   Senior Judge I. L. Glasser on 2/27/01) (Johnson, Tanya) (Entered: 03/01/2001)                                          Larry Berman in 1:00‐cr‐00196, John Cioffoletti in 1:00‐cr‐00196, John Doukas in 1:00‐cr‐
                                                                                                                                          00196, Walter Durchalter in 1:00‐cr‐00196, Edward Garafola in 1:00‐cr‐00196, Daniel Lev in
03/08/2001   169   LETTER dated 2/5/01 from Nicholas G. Kaizer, Esq., to Judge Glasser requesting permission for                          1:00‐cr‐00196, Eugene Lombardo in 1:00‐cr‐00196, Edmond Nagel in 1:00‐cr‐00196, Alfred
                   defendant Frank Coppa to travel from 2/25/01 to 3/13/01 and 4/5/01 to 4/12/01. (Johnson,                               Palagonia in 1:00‐cr‐00196, Lawrence Ray in 1:00‐cr‐00196, Abraham Salaman in 1:00‐cr‐
                   Tanya) (Entered: 03/08/2001)                                                                                           00196, Giuseppe Temperino in 1:00‐cr‐00196; Case called before Senior Judge I. L. Glasser on
03/08/2001         ENDORSED ORDER on document #169, granting permission for defendant Frank Coppa Sr to                                   date of 3/15/01 for Pleading Court Reporter/ESR Paul Lombardi Deft's pres. with counsels.
                   travel from 2/25/01 to 3/13/01 and 4/5/01 to 4/12/01 . (Signed by Senior Judge I. L. Glasser on                        Joseph Bondi has been retained by Montevecchi. Jonathan Sack says six more deft's will plead.
                   2/6/01) (Johnson, Tanya) (Entered: 03/08/2001)                                                                         Four have already plead. Nine may go to trial. A mandamus petition to be submitted to the
                                                                                                                                          Appellate Court. Severance motions remain undecided, and a decision will be put off, in
03/08/2001   170   LETTER dated 2/6/01 from Michael Rosen, Esq., to Judge Glasser requesting permission for                               anticipation of more pleas. Jury selection and trial set for 10/22/01. Criminal Pre Trial Order
                   defendant Edward Garafola to travel through 2/14/01. (Johnson, Tanya) (Entered:                                        signed. Order of excludabel delay signed under code "T" (Jackson, Ramona) (Entered:
                   03/08/2001)                                                                                                            03/21/2001)

03/08/2001         ENDORSED ORDER on document #170 granting permission for defendant Edward Garafola to                03/21/2001   179   NOTICE of Appearance for Ernest Montevecchi in 1:00‐cr‐00196 by Attorney Joseph A. Bondy
                   travel through 2/14/01. (Signed by Senior Judge I. L. Glasser on 2/6/01) (Johnson, Tanya)                              (Jackson, Ramona) (Entered: 03/21/2001)
                   (Entered: 03/08/2001)
                                                                                                                       03/21/2001   181   Certificate of Engagement and Criminal Pre Trial ORDER as to Ernest Montevecchi et al in 1:00‐
03/08/2001   171   LETTER dated 2/8/01 from AUSA Eric Corngold, to Judge Glasser informing the Court of the                               cr‐00196 ( Signed by Senior Judge I. L. Glasser , on 3/15/01) (Jackson, Ramona) (Entered:
                   status of the request for permission from the Solicitor General to file a petition for writ of                         03/21/2001)
                   mandamus. (Johnson, Tanya) (Entered: 03/08/2001)
                                                                                                                       03/26/2001   183   ORDER as to Alfred Palagonia in 1:00‐cr‐00196 On condition that itinerary furnished to pre trial
                                                                                                                                          services including address & phone of place where def. will be staying this request is Granted.
               Case         1:16-mc-02636-AMD Document 24-8 Filed
                On ltr. dtd. 3/21/01 from Joseph V DiBlasi. ( Signed by Senior Judge I. L. Glasser , on 3/21/01)
                                                                                                                               06/07/18
                                                                                                                      06/01/2001
                                                                                                                                                      Page 14 of 45 PageID #:
                                                                                                                                 194 LETTER dated 5/29/01 from Jeffrey Lichtman to Judge Glasser, enclosing additional subpoenas
                (Jackson, Ramona) (Entered: 03/26/2001)                                                          3888                to be so ordered. (No attachments). (DiLorenzo, Krista) (Entered: 06/01/2001)

03/26/2001   184   TRANSCRIPT filed in case as to Jack Basile in 1:00‐cr‐00196 for Arraignemnt before Mag Go            06/01/2001          LETTER dated 5/29/01 from Melinda Sarafa to Judge Glasser on behalf of Aleks Paulto inform
                   dates of 3/15/01 ; Court Reporter/ESR: Courthouse Transcription Service (Jackson, Ramona)                                the Court that defendant will be traveling to Las Vegas, Nevada from 5/31/01 to 6/5/01. This
                   (Entered: 03/26/2001)                                                                                                    letter also applies to case # 00cr196 and 00cr445. *This is document #90 in99cr372 (Guzzi,
                                                                                                                                            Roseann) (Entered: 06/01/2001)
03/26/2001   185   LETTER dated 3/21/01 from Thomas G. Roth, Esq., to Judge Glasser regarding trial presently
                   scheduled for 10/22/01. (Johnson, Tanya) (Entered: 03/27/2001)                                       06/04/2001    195   ORDER Directing Forfeiture of Property as to Alfred Palagonia in 1:00‐cr‐00196. Certified
                                                                                                                                            copies sent to AUSA. (Signed by Senior Judge I. L. Glasser on 6/4/01) (Rodriguez,Angela)
03/28/2001   186   LETTER dated 3/27/01 from Jean Marie Graziano, Esq., to Judge Glasser requesting permission                              (Entered: 06/05/2001)
                   for defendant Edward Garafola to travel on 4/1/01 and return on 4/4/01. (Johnson, Tanya)
                   (Entered: 03/28/2001)                                                                                06/04/2001    196   STIPULATION AND ORDER as to Alfred Palagonia in 1:00‐cr‐196 designating certain funds into
                                                                                                                                            escrow accounts as provided herein. (Signed by Senior Judge I. L. Glasser on 6/4/01)
03/28/2001         ENDORSED ORDER on document #186, granting permission for defendant Edward Garafola to                                    (Rodriguez,Angela) (Entered: 06/05/2001)
                   travel on 4/1/01 and return on 4/4/01 . (Signed by Senior Judge I. L. Glasser, on 3/27/01)
                   (Johnson, Tanya) (Entered: 03/28/2001)                                                               06/04/2001    198   CALENDAR ENTRY as to Alfred Palagonia. Case called before Senior Judge I. L. Glasser on
                                                                                                                                            6/4/01 for Pleading. Defense Counsel: Joseph DiBlasi. AUSA: Eric Corngold and David Goldberg.
03/30/2001         LETTER dated 3/22/01 from Melinda Sarafa to Judge Glasser on behalf of Aleks Paul to confirm                             Court Reporter:: Holly Driscoll. Defendnat pleads Guilty: Alfred Palagonia (14) count(s) 9 and
                   the sentencing has been adjourned until 5/22/01 at 10:00. *Also applies to 00cr196 and                                   11 . Sentencing for defendant Alfred Palagonia is set for 9/13/01 at 10:00 before Senior Judge
                   00cr445. *This is document #89 in 99cr372. (Guzzi, Roseann) (Entered: 03/30/2001)                                        I. L. Glasser . AUSA will move to dismiss open counts at the time of sentencing. Stipulation
04/11/2001   188   CALENDAR ENTRY as to Eugene Lombardo. Case called before Senior Judge I. L. Glasser on                                   presented in open count, providing that $404,000.00 be hled in escrow account. (Johnson,
                   4/11/01 for Motion Hearing. Court Reporter: Fred Guerino. Application of Richard Brewster to                             Tanya) (Entered: 06/11/2001)
                   be relieved as counsel for defendant Eugene Lombardo is granted and Lawrence K. Feitell, Esq         06/04/2001          LETTER dated 6/4/01 from Melinda Sarafa to Judge Glasser requesting the Court endorse Mr.
                   is appointed . (Johnson, Tanya) (Entered: 04/24/2001)                                                                    Paul's request for release of the $100,000 cash bail on deposit in the Southern District. *This is
04/11/2001   189   CJA 20 as to Eugene Lombardo: Appointment of Attorney Lawrence Feitell. (Signed by Senior                                document #91 in 99cr372 (Guzzi, Roseann) (Entered: 06/12/2001)
                   Judge I. L. Glasser on 4/11/01) (Johnson, Tanya) (Entered: 04/24/2001)                               06/05/2001    197   LETTER dated 5/31/01 from Amy E. Millard, Esq., to Judge Glasser requesting permission for
04/20/2001   187   LETTER dated 4/3/01 from Richard Brewster, Esq., to Judge Glasser requesting to be relieved                              defendant Larry Berman to travel to Las Vegas from 7/2/01 ‐ 7/6/01. (Johnson, Tanya)
                   as counsel for defendant Eugene Lombardo. (Johnson, Tanya) (Entered: 04/24/2001)                                         (Entered: 06/08/2001)

05/17/2001   190   USCA Order certified on 5/8/01 it is Ordered that the stay is Granted until further order of this    06/05/2001          ENDORSED ORDER on document #197, granting permission for defendant Larry Berman to
                   Court. It is further ordered the respondents shall file a brief on or before May 17,2001. Judge                          travel to Las Vegas from 7/2/01 to 7/6/01 . (Signed by Senior Judge I. L. Glasser on 6/4/01)
                   notified. Ackn mailed. USCA # 01‐3031. (Gonzalez, Mary) (Entered: 05/17/2001)                                            (Johnson, Tanya) (Entered: 06/08/2001)

05/22/2001   191   LETTER dated 5/18/01 from Jeffrey Lichtman, Esq., to Judge Glasser requesting to modify              06/06/2001    199   ORDER, endorsed on the 6/6/01 letter from Mr. DiBlasi, so ordering Mr. DiBlasi's request for
                   defendant Daniel Lev's bail conditions to permit him to travel for business from 5/27/01 to                              permission for his client Alfred Palagonia to travel to Puerto Rico beginning 6/11/01 through
                   6/24/01. (Johnson, Tanya) (Entered: 05/25/2001)                                                                          6/16/01. ( Signed by Senior Judge I. L. Glasser , on 6/6/01.) (Vaughn, Terry) (Entered:
                                                                                                                                            06/11/2001)
05/22/2001   191   ENDORSED ORDER on pg #2, document #191, granting the request to modify defedant Daniel
                   Lev's bail conditions to allow him to travel from 5/27/01 until 6/24/01. (Signed by Senior Judge     06/07/2001    201   ORDER that the restraining order on Security Capital account #69010933 in the name of
                   I. L. Glasser , on 5/21/01) (Johnson, Tanya) (Entered: 05/25/2001)                                                       defendant Alfred Palagonia shall be removed and the assets in said account released to Mr.
                                                                                                                                            Palagonia immediately upon the execution of this order. (Signed by Senior Judge I. L. Glasser
05/22/2001   192   LETTER dated 5/22/01 from Michael F. Bachner, Esq., to Judge Glasser requesting permission                               on 6/5/01) (Johnson, Tanya) (Entered: 06/13/2001)
                   for defendant Walter Durchalter to travel to Philadelphia, PA on 5/23/01 and return on
                   5/24/01. (Johnson, Tanya) (Entered: 05/25/2001)                                                      06/07/2001    202   LETTER dated 6/1/01 from Joseph Diannini, Esq., to Judge Glasser requesting to modify the
                                                                                                                                            conditions of supervised release as to defendant Daniel Persico to allow the defendant to
05/22/2001   192   ENDORSED ORDER on doc #192, granting the request for permission for defendant Walter                                     travel to Ft. Lauderdale, Florida on 6/15/01 to 6/25/01. (Johnson, Tanya) (Entered:
                   Durchalter to travel to Philadelphia, PA on 5/23/01 and return on 5/24/01. (Signed by Senior                             06/14/2001)
                   Judge I. L. Glasser, undated) (Johnson, Tanya) (Entered: 05/25/2001)
                                                                                                                        06/07/2001          ENDORSED ORDER on document #202, granting the request to modify the conditions of
05/29/2001   193   LETTER dated 5/24/01 from Jeffrey Lichtman to Judge Glasser, enclosing subpoenas to review.                              supervised release as to defendant Daniel Persico to allow the defendant to travel to Ft.
                   (DiLorenzo, Krista) (Entered: 05/29/2001)                                                                                Lauderdale, Florida on 6/15/01 to 6/25/01. (Signed by Senior Judge I. L. Glasser on 6/6/01)
                                                                                                                                            (Johnson, Tanya) (Entered: 06/14/2001)




06/08/2001   200   CALENDAR ENTRY as to John Doukas. Case called before Senior Judge I. L. Glasser on 6/8/01            07/11/2001    213   ENDORSED ORDER on pg #2 of document #213, granting permission for defendant Giuseppe
                   for Pleading. Defense Counsel: Edward McDonald. AUSA: Eric Corngold. Court Reporter: Holly                               Temperino to travel from 7/16/01 to 7/23/01. (Signed by Senior Judge I. L. Glasser , on
                   Driscoll. Defendant pleads Guilty: John Doukas (8) count(s) 9, 16 . Set sentencing for 11/20/01                          7/10/01) (Johnson, Tanya) Modified on 07/19/2001 (Entered: 07/19/2001)
                   at 10:00 before Senior Judge I. L. Glasser . Transcript of proceedings is sealed. (Johnson, Tanya)
                   (Entered: 06/13/2001)                                                                                07/16/2001    211   LETTER sent to docketing dated 7/12/01 from Melinda Sarafa, Esq. to Judge Glasser confirming
                                                                                                                                            that sentencing of Deft. is adjourned to 7/25/01 at 11:00. (Permaul, Jenny) (Entered:
06/20/2001   203   LETTER dated 6.20.01 from Jeffrey Lichtman, Esq., to Judge Glasser requesting permission                                 07/17/2001)
                   o/b/o Daniel Lev to extend his recent trip to Moscow, until 7.10.01, for business
                   purposes.(Barrett, Charryse) Modified on 06/29/2001 (Entered: 06/26/2001)                            07/19/2001    212   LETTER dated 7/11/01 from Jeffrey Lichtman to Judge Glasser additional subpoenas. (Jackson,
                                                                                                                                            Ramona) (Entered: 07/19/2001)
06/21/2001   205   LETTER dated 06/21/01 from Eric Corngold, AUSA, to Hon. I. Leo Glasser, with information
                   attached. (Chee, Alvin) (Entered: 06/27/2001)                                                        07/23/2001          ORDER as to Aleks Paul, adjourning dft's sentencing to 7/31/01 at 10:30. ( Signed by Senior
                                                                                                                                            Judge I. L. Glasser , on 7/23/01). Endorsed on letter dated 7/20/01 from Melinda Sarafa to
06/22/2001   207   CALENDAR ENTRY as to Edmond Nagel in 1:00‐cr‐00196; Case called before Senior Judge I. L.                                Judge Glasser. See doc #95 in case 99‐cr‐372. (Sica, Michele) (Entered: 07/24/2001)
                   Glasser on date of 06/22/01 for pleading. Defendant, on bail, present with counsel Michael
                   Rovell. AUSA Eric Corngold present as well. Court Reporter: Marsha Diamond. Defendant's first        07/25/2001    214   ORDER as to Alfred Palagonia in 1:00‐cr‐00196 that all restraints previously imposed by this
                   appearance. Informed of rights. Waiver of indictment executed for defendant Nagel.                                       Court upon the Vista Account are hereby lifted solely to the extent necessary to effectuate
                   Defendant withdraws not guilty plea and enters guilty plea to ct. #11 of the indictment and a                            payment of $400,000.00 into an escrow account to be maintained by Joseph DiBlasi, Esq., as
                   superseding information in CR 01‐705. Bail continued for defendant. Case adjourned to 11‐14‐                             set forth herein. (Signed by Senior Judge I. L. Glasser , on 7/20/01). (Sica, Michele) (Entered:
                   01 for sentencing at 10 am. Guilty: Edmond Nagel (13) count(s) 11 . (Chee, Alvin) (Entered:                              07/25/2001)
                   07/03/2001)                                                                                          07/27/2001    215   TRANSCRIPT of Plea before Judge Glasser filed in case as to Edmond Nagel in 1:00‐cr‐00196 for
06/25/2001   204   LETTER dated 6/22/01 from Melinda Sarafa to Judge Glasse confirming the adjournment of the                               dates of 6/22/01 ; Court Reporter: M. Diamond (Jean (Entered: 07/27/2001)
                   sentencing from 6/29/0 to 7/12/01 at 10:30. (DiLorenzo, Krista) (Entered: 06/27/2001)                07/31/2001    216   LETTER dated 7/20/01 from Counsel Melinda Sarafa to Judge Glasser confirming conversation
06/25/2001   206   ORDER as to Aleks Paul granting dft's request to adjourn sentencing from 6/29/01 to 7/12/01                              with Louise Schillat that Mr. Paul's sentencing has been adjourned to 7/31/01 at 10:30 a.m.
                   at 10:30. (Signed by Senior Judge I. L. Glasser on 6/25/01). See letter dated 6/22/01 from                               (Drayton, Lorraine) (Entered: 07/31/2001)
                   Melinda Sarafa to Judge Glasser. (DiLorenzo, Krista) (Entered: 06/27/2001)                           08/02/2001    219   CALENDAR ENTRY as to Walter Durchalter in 1:00‐cr‐00196; Case called before Magistrate A. S.
06/26/2001         ENDORSED ORDER, on document # 203, as to Daniel Lev in 1:00‐cr‐00196, GRANTING the                                       Chrein on 8/2/01 for pleading. AUSA Jonathan Sack and dft present with counsel Michael
                   request to extend his recent trip to Moscow until 7.10.01. (So Ordered: Senior Judge I. L.                               Bachner. Tape # 01/52(469‐3027). Dft consented to plead before Mag. Judge. Bail Modification
                   Glasser, on 6.21.01). C/F (Barrett, Charryse) (Entered: 06/26/2001)                                                      granted to extend dft's travel to Pennsylvania . Dft pleads Guilty: Walter Durchalter (9)
                                                                                                                                            count(s) 4, 6, 7 . Transcript of plea proceedings ordered sealed except 1 copy to be given to
06/28/2001   208   ORDER as to Frank Coppa Sr. in 1:00‐cr‐00196: Request for enlargement of defendants'                                     Judge Glasser and 1 copy each to be given to counsel. Sentencing set for 12/11/01 at 10:00.
                   conditions of pretrial release to permit travel to Florida in August for family wedding granted.                         (Sica, Michele) (Entered: 08/03/2001)
                   See letter dated June 26, 2001 from Nicholas Kaizer to Hon. I. Leo Glasser. ( Signed by Senior
                   Judge I. L. Glasser , on 06/26/01). (Chee, Alvin) (Entered: 07/03/2001)                              08/02/2001          Attorney update in case as to Walter Durchalter. Attorney Michael F. Bachner for Walter
                                                                                                                                            Durchalter added. (Sica, Michele) (Entered: 06/29/2004)
07/05/2001   209   CERTIFICATE OF SERVICE as to Alfred Palagonia notice service of a consent order of forfeiture.
                   [195‐1] (Johnson, Tanya) (Entered: 07/11/2001)                                                       08/03/2001    217   NOTICE of Appearance for Walter Durchalter in 1:00‐cr‐00196 by Attorney Michael F. Bachner
                                                                                                                                            (Sica, Michele) (Entered: 08/03/2001)
07/10/2001   210   CALENDAR ENTRY as to Abraham Salaman. Case called before Senior Judge I. L. Glasser on
                   7/10/01 for Status Conference. Defense Counsel: A. John Pappalardo. AUSA: Jonathan Sack for          08/03/2001    218   ORDER as to Walter Durchalter in 1:00‐cr‐00196 referring the guilty plea to Mag. Chrein. (
                   Eric Corngold. Court Reporter: Diana Periera. Defendant Salaman has been charged in two                                  Signed by Senior Judge I. L. Glasser , on 8/1/01). (Sica, Michele) (Entered: 08/03/2001)
                   cases: 00cr930 and 01cr196. The Berkun case is set for trial on 10/1/01. The Coppa case is set       08/23/2001    220   LETTER dated 8/17/01 from AUSA Jonathan Sack to Judge Glasser confirming that the
                   for trial on 10/22/01. Counsel discuss evidence in both cases. There are six boxes of                                    sentencing for dft Aleks Paul has been adjourned to 9/17/01 at 10:30. (Sica, Michele) (Entered:
                   documents in the Berkun case. Mr Pappalardo states that this will be very difficult to be on                             08/24/2001)
                   trial on the Berkun case and prepare for the Coppa trial. AUSA Jonathan Sack states that the
                   Government will turn over Giglio, Brady and Argus material before the Coppa Case. Mr. Sack           09/05/2001    221   ORDER as to Aleks Paul in 1:00‐cr‐00196 that the sentencing for dft has been adjourned to
                   suggests empaneling a jury on 00cr196 and starting one week later, to give Mr. Pappalardo                                9/17/01 at 10:30. ( Signed by Senior Judge I. L. Glasser , on 8/31/01). Endorsed on letter dated
                   time to go over 3500 material. Counsel will inform the Court. (Johnson, Tanya) (Entered:                                 8/17/01 from AUSA Jonathan Sack to Judge Glasser. (Sica, Michele) (Entered: 09/07/2001)
                   07/16/2001)
                                                                                                                        09/10/2001    222   CALENDAR ENTRY as to Lawrence Ray in 1:00‐cr‐00196; Case called before Senior Judge I. L.
07/11/2001   213   LETTER dated 7/10/01 from Joseph R. Benfante, Esq., to Judge Glasser requesting permission                               Glasser on 9/10/01 for status conf. AUSA Eric Corngold and dft present with counsel Thomas
                   for defendant Joseph Temperino to travel from 7/16/01 to 7/23/01. (Johnson, Tanya) Modified                              Roth. Dft Ray wants another lawyer. Mr. Roth is relieved. Dft Ray to get another lawyer
                   on 07/19/2001 (Entered: 07/19/2001)                                                                                      ASAP.Court Reporter/ESR Holly Driscoll. (Sica, Michele) (Entered: 09/14/2001)
09/17/2001
               Case
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                           1:16-mc-02636-AMD Document 24-8 Filed
                LETTER dated 9/4/01 from Thomas Roth, Esq. to Judge Glasser requesting a status conf. (Sica,
                                                                                                                           06/07/18
                                                                                                                  09/25/2001
                                                                                                                                                  Page 15 of 45 PageID #:
                                                                                                                             232 MEMORANDUM of law by USA in 1:00‐cr‐00196 as to Frank Coppa Sr. in 1:00‐cr‐00196, Ernest
                Michele) (Entered: 09/17/2001)                                                               3889                Montevecchi in 1:00‐cr‐00196, Daniel Persico in 1:00‐cr‐00196, Jack Basile in 1:00‐cr‐00196,
                                                                                                                                 Rocco Basile in 1:00‐cr‐00196, Larry Berman in 1:00‐cr‐00196, John Cioffoletti in 1:00‐cr‐
09/17/2001   224   CALENDAR ENTRY as to Aleks Paul ; Case called before Senior Judge I. L. Glasser on 9/17/01 for                              00196, John Doukas in 1:00‐cr‐00196, Walter Durchalter in Edward Garafola in 1:00‐cr‐00196,
                   sentencing. AUSA Jonathan Sack and dft present with counsel Benjamin Brafman. Court                                         Daniel Lev in 1:00‐cr‐00196, Eugene Lombardo in 1:00‐cr‐00196, Edmond Nagel in 1:00‐cr‐
                   Reporter/ESR Fred Guerino. Dft sentenced to imprisonment for 63 mos. to run concurrent on                                   00196, Alfred Palagonia in 1:00‐cr‐00196, Aleks Paul in 1:00‐cr‐00196, Joseph Polito Sr. in 1:00‐
                   all counts, plus 3 years of supervised release. Open counts dismissed on government's motion.                               cr‐00196, Lawrence Ray in 1:00‐cr‐00196, Abraham Salaman in 1:00‐cr‐00196, Giuseppe
                   Special assessment $250. (Sica, Michele) (Entered: 09/24/2001)                                                              Temperino in 1:00‐cr‐00196 in support of [231‐1] motion for an adjournment in the case and
09/21/2001   226   SUPERSEDING INFORMATION as to Daniel Lev (11) count(s) 1s (Sica, Michele) (Entered:                                         an exclusion of time under the speedy trial act. (Sica, Michele) (Entered: 09/26/2001)
                   09/25/2001)                                                                                              09/25/2001   233   AFFIDAVIT of David Pitofsky as to Frank Coppa Sr. in 1:00‐cr‐00196, Ernest Montevecchi in
09/21/2001   227   CALENDAR ENTRY as to Daniel Lev in 1:00‐cr‐00196; Case called before Senior Judge I. L.                                     1:00‐cr‐00196, Daniel Persico in 1:00‐cr‐00196, Jack Basile in 1:00‐cr‐00196, Rocco Basile 1:00‐
                   Glasser on 9/21/01 for pleading. AUSA Eric Corngol/Jonathan Sack and dft present with                                       cr‐00196, Larry Berman in 1:00‐cr‐00196, John Cioffoletti in 1:00‐cr‐00196, John Doukas in
                   counsel Jeffrey Lichtman. Court Reporter/ESR Mike Picozzi. Dft withdraws not guilty plea and                                1:00‐cr‐00196, Walter Durchalter in 1:00‐cr‐00196, Edward Garafola in 1:00‐cr‐00196, Daniel
                   pleads Guilty: Daniel Lev (11) count(s) 1s . Case adjourned to 1/10/02 at 10:00 for sentencing.                             Lev in 1:00‐cr‐00196, Eugene Lombardo in 1:00‐cr‐00196, Edmond Nagel in 1:00‐cr‐00196,
                   AUSA will move to dismiss underlying indictment at sentencing. (Sica, Michele) (Entered:                                    Alfred Palagonia in 1:00‐cr‐00196, Aleks Paul in 1:00‐cr‐00196, Joseph Polito Sr. in 1:00‐cr‐
                   09/25/2001)                                                                                                                 00196, Lawrence Ray in 1:00‐cr‐00196, Abraham Salaman in 1:00‐cr‐00196, Giuseppe
                                                                                                                                               Temperino in 1:00‐cr‐00196 in support Re: [231‐1] motion for an adjournment in the case and
09/21/2001   228   CALENDAR ENTRY as to Larry Berman in 1:00‐cr‐00196; Case called before Senior Judge I. L.                                   an exclusion of time under the speedy trial act. (Sica, Michele) (Entered: 09/26/2001)
                   Glasser on 9/21/01 for pleading. AUSA Eric Corngold/Jonathan Sack and dft present with
                   counsel Amy Millard. Court Reporter/ESR Mike Picozzi. Dft withdraws not guilty plea and                  09/25/2001   234   ORDER of Excludable Delay from 10/29/01 to 12/3/01 as to Frank Coppa Sr. in 1:00‐cr‐00196,
                   pleads Guilty: Larry Berman (6) count(s) 5 . Case adjourned to 1/17/02 at 10:00 for sentencing.                             Ernest Montevecchi in 1:00‐cr‐00196, Daniel Persico in 1:00‐cr‐00196, Jack Basile in 1:00‐cr‐
                   AUSA will move to dismiss open counts. Consent order of forfeiture signed. (Sica, Michele)                                  00196, Rocco Basile in 1:00‐cr‐00196, Larry Berman in 1:00‐cr‐00196, John Cioffoletti in 1:00‐
                   (Entered: 09/25/2001)                                                                                                       cr‐00196, John Doukas in 1:00‐cr‐00196, Walter Durchalter in 1:00‐cr‐00196, Edward Garafola
                                                                                                                                               in 1:00‐cr‐00196, Daniel Lev in 1:00‐cr‐00196, Eugene Lombardo in 1:00‐cr‐00196, Edmond
09/21/2001   229   ORDER Directing Forfeiture of Property as to Larry Berman in 1:00‐cr‐00196. ( Signed by Senior                              Nagel in 1:00‐cr‐00196, Alfred Palagonia in 1:00‐cr‐00196, Aleks Paul in 1:00‐cr‐00196, Joseph
                   Judge I. L. Glasser , dated: 9/21/01) (Sica, Michele) (Entered: 09/25/2001)                                                 Polito Sr. in 1:00‐cr‐00196, Lawrence Ray in 1:00‐cr‐00196, Abraham Salaman in 1:00‐cr‐
                                                                                                                                               00196, Giuseppe Temperino in 1:00‐cr‐00196 ( Signed by Senior Judge I. L. Glasser , Dated
09/24/2001         Sentencing held Aleks Paul (15) count(s) 11 (Sica, Michele) (Entered: 09/24/2001)                                           9/25/01) (Sica, Michele) (Entered: 09/26/2001)
09/24/2001   225   JUDGMENT Aleks Paul (15) count(s) 11. Dft pled guilty to count #5 in CR 99‐372, count #11 in             09/28/2001   238   CALENDAR ENTRY as to Eugene Lombardo in 1:00‐cr‐00196; Case called before Senior Judge I.
                   CR 00‐196, and count #2 in CR 00‐445. Special assessment $250. Dft is to be imprisoned for 63                               L. Glasser on 9/28/01 for pleading. AUSA Eric Corngold/David Pitofsky and dft present with
                   mos. to run concurrent on all counts. Dft shall surrender to Bureau of Prisons before 2:00 pm                               counsel Lawrence Feitell. Court Reporter/ESR Pual Lombardi. Dft withdraws not guilty plea and
                   on 10/30/01. Upon release from prison, dft shall be on supervised release for 3 years. ( Signed                             pleads Guilty: Eugene Lombardo (12) count(s) 2 . Sentencing set for 01/23/02 at 10:00. AUSA
                   by Senior Judge I. L. Glasser , on 9/17/01) (Sica, Michele) (Entered: 09/24/2001)                                           will move to dismiss all open counts. (Sica, Michele) (Entered: 10/02/2001)
09/24/2001         DISMISSAL of Count(s) on Government Motion as to Aleks Paul in 1:00‐cr‐00196 party Aleks                 10/01/2001         LETTER dated 10/1/01 from David Smith, Esq. to Hon. Raymond Dearie requesting a
                   Paul in 1:00‐cr‐00196 Counts Dismissed: Aleks Paul (15) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 12                          modification of defendant's bail conditions to allow Mr. Basile to travel to Boston on 10/6/01
                   (Sica, Michele) (Entered: 09/24/2001)                                                                                       to 10/8/01. (This is document #1224 in case 98‐cr‐1129). (Chee, Alvin) Modified on
09/24/2001   230   CALENDAR ENTRY as to Frank Coppa Sr. in 1:00‐cr‐00196; Case called before Senior Judge I. L.                                10/01/2001 (Entered: 10/01/2001)
                   Glasser on 9/24/01 for pleading. AUSA Eric Corngold/Jonathan Sack and dft present with                   10/01/2001         ENDORSED ORDER as to Rocco Basile in 1:00‐cr‐00196: So ordered. Defendant's bail modified
                   counsel Larry Bronson. Court Reporter/ESR Paul Lombardi. Dft withdraws not guilty plea and                                  to allow defendant to travel to Boston on 10/6/01 to 10/8/01. Endorsed on doc. #1224 in 98‐
                   pleads Guilty: Frank Coppa (1) count(s) 15 . Sentencing set for 1/16/02 at 10:00. AUSA will                                 cr‐1129. C/M by chambers. ( Signed by Judge Raymond J. Dearie , on 10/1/01) (Chee, Alvin)
                   move to dismiss open counts. (Sica, Michele) (Entered: 09/25/2001)                                                          (Entered: 10/01/2001)
09/25/2001   231   MOTION by USA in 1:00‐cr‐00196 as to Frank Coppa Sr. in 1:00‐cr‐00196, Ernest Montevecchi                10/01/2001   240   CALENDAR ENTRY as to Giuseppe Temperino in 1:00‐cr‐00196; Case called before Senior Judge
                   in 1:00‐cr‐00196, Daniel Persico in 1:00‐cr‐00196, Jack Basile in 1:00‐cr‐00196, Rocco Basile in                            I. L. Glasser on 10/01/01 for pleading. AUSA Eric Corngold and dft present with counsel Joseph
                   1:00‐cr‐00196, Larry Berman in 1:00‐cr‐00196, John Cioffoletti in 1:00‐cr‐00196, John Doukas                                Benfante. Court Reporter/ESR Mike Picozzi. Dft withdraws not guilty plea and pleads Guilty:
                   in 1:00‐cr‐00196, Walter Durchalter in Edward Garafola in 1:00‐cr‐00196, Daniel Lev in 1:00‐cr‐                             Giuseppe Temperino (19) count(s) 6 . Sentencing set for 12/12/01 at 10:00. Government
                   00196, Eugene Lombardo in 1:00‐cr‐00196, Edmond Nagel in 1:00‐cr‐00196, Alfred Palagonia                                    makes application to dismiss pending counts at time of sentencing; granted. (Sica, Michele)
                   in 1:00‐cr‐00196, Aleks Paul in 1:00‐cr‐00196, Joseph Polito Sr. in 1:00‐cr‐00196, Lawrence Ray                             (Entered: 10/03/2001)
                   in 1:00‐cr‐00196, Abraham Salaman in 1:00‐cr‐00196, Giuseppe Temperino in 1:00‐cr‐00196
                   for an adjournment in the case and an exclusion of time under the speedy trial act . (Sica,
                   Michele) (Entered: 09/26/2001)




10/02/2001   235   LETTER dated 8/14/01 from AUSA David Goldberg to Amy Millard, Esq. confirming the                                           Guilty: Abraham Salaman (18) count(s) 3 . Sentencing set for 12/17/01 at 10:30. (Sica, Michele)
                   agreement that the Government will file a Release of Notice of Pendency. (Sica, Michele)                                    (Entered: 10/11/2001)
                   (Entered: 10/02/2001)
                                                                                                                            10/10/2001   247   ORDER Directing Forfeiture of Property as to Abraham Salaman in 1:00‐cr‐00196 that dft shall
10/02/2001   236   MOTION by John Cioffoletti in 1:00‐cr‐00196 for orders as specified . (Sica, Michele) (Entered:                             forfeit $50,000.00 to the US as property involved in the alleged securities fraud in count 3 of
                   10/02/2001)                                                                                                                 the indictment. (Signed by Senior Judge I. L. Glasser , dated: 10/04/01). 4 certified copies sent
                                                                                                                                               to AUSA David Goldberg. (Sica, Michele) (Entered: 10/10/2001)
10/02/2001   237   MEMORANDUM by John Cioffoletti in 1:00‐cr‐00196 in support of [236‐1] motion for orders as
                   specified (Sica, Michele) (Entered: 10/02/2001)                                                          10/10/2001   248   ORDER as to Daniel Lev in 1:00‐cr‐00196, Modifying Conditions of Release to allow dft to travel
                                                                                                                                               to Russia from 10/14/01 to 10/28/01 . ( Signed by Senior Judge I. L. Glasser , on 10/9/01).
10/02/2001   239   LETTER dated 9/25/01 from Joseph Bondy, Esq. to David Pitofsky that pursuant to their                                       Endorsed on letter dated 10/9/01 from Jeffrey Lichtman, Esq. to Judge Glasser. (Sica, Michele)
                   conversation the dft will not be entering a guilty plea on 9/28/01, and requesting that all                                 (Entered: 10/10/2001)
                   outstanding and still withheld Brady and Giglio materials be produced. (Sica, Michele)
                   (Entered: 10/02/2001)                                                                                    10/12/2001   250   TRANSCRIPT of status conf. filed in case as to Aleks Paul in 1:00‐cr‐00196 for dates of 10/2/01;
                                                                                                                                               AUSA Jonathan Sack and dft present with counsel Melinda Serafa. Court Reporter/ESR: Gene
10/02/2001   245   CALENDAR ENTRY as to Aleks Paul ; Case called before Senior Judge I. L. Glasser on 10/02/01                                 Rudolph. (Sica, Michele) (Entered: 10/12/2001)
                   for bail hearing. AUSA Jonathan Sack and dft present with counsel. Court Reporter/ESR Gene
                   Rudolph. Bail hearing continued to 10/09/01 at 11:00. Government makes application to                    10/15/2001   251   LETTER dated 10/10/01 from Linda Fowle, USPO to Judge Glasser advising that the
                   revoke bail, surety Rima Shargel wants to be released from bond. Government is directed to                                  presentence investigation will be delayed. (Sica, Michele) (Entered: 10/15/2001)
                   provide an order to exonerate surety Rima Shargel and release her property that was
                   previously posted to secure Mr. Paul's release on bail. Dft remanded. Defense counsel has                10/15/2001   253   MANDATE OF USCA (certified copy) as to Frank Coppa Sr. in 1:00‐cr‐00196, Ernest
                   substitute surety. Court directs defense counsel to give the government a list of the sureties so                           Montevecchi in 1:00‐cr‐00196, Daniel Persico in 1:00‐cr‐00196, Jack Basile in 1:00‐cr‐00196,
                   the government can check them out. (Sica, Michele) (Entered: 10/05/2001)                                                    Rocco Basile in 1:00‐cr‐00196, Larry Berman in 1:00‐cr‐00196, John Cioffoletti in 1:00‐cr‐
                                                                                                                                               00196, John Doukas in 1:00‐cr‐00196, Walter Durchalter in 1:00‐cr‐00196, Edward Garafola in
10/02/2001   246   CALENDAR ENTRY as to John Cioffoletti in 1:00‐cr‐00196; Case called before Senior Judge I. L.                               1:00‐cr‐00196, Daniel Lev in 1:00‐cr‐00196, Eugene Lombardo in 1:00‐cr‐00196, Edmond Nagel
                   Glasser on 10/02/01 for pleading. AUSA David Pitofsky/Jonathan Sack and dft present with                                    in 1:00‐cr‐00196, Alfred Palagonia in 1:00‐cr‐00196, Aleks Paul in 1:00‐cr‐00196, Joseph Polito
                   counsel. Court Reporter/ESR Gene Rudolph. Dft withdraws not guilty plea and pleads Guilty:                                  Sr. in 1:00‐cr‐00196, Lawrence Ray in 1:00‐cr‐00196, Abraham Salaman in 1:00‐cr‐00196,
                   John Cioffoletti (7) count(s) 3, 4, 5, 6, 9, 10, 15, 16 . Sentencing set for 12/14/01 at 11:00. (Sica,                      Giuseppe Temperino in 1:00‐cr‐00196 Re: granting writ & remanded . The Government's
                   Michele) (Entered: 10/09/2001)                                                                                              petition for a writ of mandamus is granted, and the cause is Remanded for further proceedings
                                                                                                                                               in accordance with the opinion of this Court.(See opinion for further details). . Issued as
10/04/2001   241   ORDER Directing Forfeiture of Property as to John Cioffoletti; dft shall forfeit a total of                                 mandate on 10/10/01. Judge notified. Ackn mailed. USCA # 01‐3031. (Gonzalez, Mary)
                   $110,000.00 to the US as property involved in the alleged securities fraud conspiracy. (Signed                              (Entered: 10/18/2001)
                   by Senior Judge I. L. Glasser, 10/02/01). 4 certified copies sent to AUSA David Goldberg. (Sica,
                   Michele) (Entered: 10/04/2001)                                                                           10/15/2001   254   CALENDAR ENTRY as to Ernest Montevecchi in 1:00‐cr‐00196; Case called before Senior Judge
                                                                                                                                               I. L. Glasser on 10/15/01 for pleading. AUSA Jonathan Sack and dft present with counsel
10/04/2001   242   ORDER as to Aleks Paul in 1:00‐cr‐00196 granting request to release the $150,000.00 bond to                                 Joseph Bondy. Court Reporter/ESR Diana Pereira. Dft withdraws not guilty plea and pleads
                   Rima Shargel. (Signed by Senior Judge I. L. Glasser , on 10/01/01). Endorsed on letter dated                                Guilty: Ernest Montevecchi (2) count(s) 2 . Sentencing set for 1/9/02 at 10:00. AUSA will move
                   9/28/01 from Melinda Sarafa to Judge Glasser. (Sica, Michele) Modified on 10/04/2001                                        to dismiss open counts. (Sica, Michele) (Entered: 10/22/2001)
                   (Entered: 10/04/2001)
                                                                                                                            10/18/2001   252   LETTER dated 10/15/01 from USPO Carol Pizarro to Judge Glasser advising that the
10/04/2001   243   ORDER as to Aleks Paul that pursuant to Rule 46(f), Rima Shargel, a surety on bail bonds                                    presentence investigation as to dft Lombardo has been delayed. (Sica, Michele) (Entered:
                   previously securing the release of dft Paul, be exonerated with respect to such bonds and that                              10/18/2001)
                   all property posted as security by Rima Shargel in connection with such bonds be released. (
                   Signed by Senior Judge I. L. Glasser , on 10/03/01) (Sica, Michele) (Entered: 10/04/2001)                10/18/2001   256   CALENDAR ENTRY as to Jack Basile in 1:00‐cr‐00196 and in 1:99‐cr‐589; Case called before
                                                                                                                                               Judge Nina Gershon on date of 10/18/01 for sentencing. AUSA Jonathan Sack. John Jacobs for
10/04/2001   244   ORDER as to dft John Cioffoletti in 1:00‐cr‐00196 and Mary Cioffoletti, that the Clerk of the                               the defendant. Court Reporter/Ronald Tolkin. USPO Mark Gjelaj. Defendant is sentenced to 37
                   Court for the EDNY shall, within 10 business days, issue a check in the amount of $110,000.00                               months on each indictment to run concurrent Count 2s in 99cr589 and Count 5 in 00cr196; 3
                   from the funds on deposit in the EDNY Escrow Account, payable to the "United States                                         years supervised release on each Count to run concurrent. $150.00 special assessment fee.
                   Marshals Service", in full and complete payment of the Consent Order of Forfeiture, pursuant                                Restitution in the amount of 1.2 Million in 99cr589 and Restitution in the amount of $990,000
                   to the details of this order, and that each side shall bear its own costs and attorny's fees.                               Restitution in 00cr196. Elizabeth Macedonia files notice of appearance and substitutes out
                   (Signed by Senior Judge I. L. Glasser , on 10/02/01) (Sica, Michele) (Entered: 10/04/2001)                                  John Jacobs as counsel. Voluntary surrender dated 1/2/02. Remaining Counts dismissed.
10/04/2001   249   CALENDAR ENTRY as to Abraham Salaman in 1:00‐cr‐00196; Case called before Senior Judge I.                                   (Guzzi, Roseann) (Entered: 10/26/2001)
                   L. Glasser on 10/4/01 for pleading. Court Reporter/ESR Mickey Brymer. AUSA Eric                          10/18/2001         Sentencing held as to Jack Basile (4) count(s) 5. (Guzzi, Roseann) (Entered: 10/26/2001)
                   Corngold/David Pitofsky and dft present with counsel. Dft withdraws not guilty plea and pleads
10/18/2001
               Case        1:16-mc-02636-AMD Document 24-8 Filed 06/07/18
                DISMISSAL of Count(s) on Government Motion as to Jack Basile in 1:00‐cr‐00196 Counts
                                                                                                                              Page 16 of 45 PageID #:
                                                                                                            with counsel George Taite. Court Reporter/ESR Gene Rudolph. Mr Taite has not yet been
                Dismissed: Jack Basile (4) count(s) 2, 6, 7, 8. (Guzzi, Roseann) (Entered: 10/26/2001) 3890 retained. If he takes the case, he will need another trial date. Next conf 11/16/01 at 10:00.
                                                                                                            Trial currently set for 12/3/01. (Sica, Michele) (Entered: 11/09/2001)
10/25/2001   255   LETTER dated 10/17/01 from USPO Linda Fowle to Judge Glasser advising that the there has
                   been a delay in the presentence investigation. (Sica, Michele) (Entered: 10/25/2001)                11/08/2001   264   AMENDED JUDGMENT: Jack Basile (4) count(s) 5. Defendant is sentenced to Count 5 and
                                                                                                                                          receives 37 months concurrent on each indictment with 99cr589; 3 years supervised release
10/26/2001   257   JUDGMENT dated 10/18/01 as to Jack Basile (4) count(s) 5. Defendant is sentenced to Count 5                            concurrent on each count with 99cr589; special assessment fee $150.00; restitution
                   and receives 37 months imprisonment followed by 3 years supervised release and $150.00                                 $990,000.00. Defendant to receive alcohol treatment. Defendant shall surrender to the U.S.
                   special assessment Restitution in the amount $990,000.00. this sentence is to run concurrent                           Marshal at 12:00pm on or before 1/2/02. Special condition: compliance with the restitution
                   with sentence imposed in 99cr589. Remaining Counts dismissed. Defendant to receive alcohol                             order and the defendant is ordered to make payments of restitution at $500 per month on
                   treatment. Defendant shall surrender at 12:00 on 1/2/02 if there has been no institution                               each indictment beginning 90 days after release from custody. The defendant is to provide full
                   designated by the bureau of prisons at such times. Special Conditions: compliance with the                             financial disclosure to the probation department. The defendant is directed not to obtain
                   restitution order and the defendant is ordered to make payments of retitution at $500 per                              employment in the securities industries. The defendant is to recive alcohol abuse treatment
                   month on each indictment beginning 90 days after release from custody. The defendant is to                             and mental health treatment. ( Signed by Judge Nina Gershon, on 10/18/01) (Guzzi, Roseann)
                   provide full financial disclosure to the Probation Department. Defendant is directed not to                            (Entered: 11/08/2001)
                   obtain employment in the securitiies industries. Defendant is to receive alcohol abuse
                   treatment and mental health treatment. ( Signed Judge Nina Gershon, on 10/18/01) party Jack         11/09/2001   266   LETTER dated 11/1/01 from AUSA Eric Corngold to Lawrence Ray advising that Judge Glasser
                   Basile in 1:00‐cr‐00196 terminated. c/m (Guzzi, Roseann) (Entered: 10/26/2001)                                         has set a status conf for 11/7/01 at 10:00. (Sica, Michele) (Entered: 11/09/2001)

10/26/2001   258   LETTER dated 10/23/01 from USPO Carol Pizarro to Judge Glasser advising that there has been         11/14/2001         LETTER dated 11/12/01 from Stephen Scaring, Esq. to Hon. Raymond Dearie informing the
                   a delay in the presentence investigation as to dft Frank Coppa Sr. (Sica, Michele) (Entered:                           court that he may need an adjournment because of prior matter with the NYS Supreme Court.
                   10/26/2001)                                                                                                            (This is document #1234 in case 98‐cr‐1129 RJD). (Chee, Alvin) Modified on 11/26/2001
                                                                                                                                          (Entered: 11/15/2001)
11/02/2001   263   CALENDAR ENTRY as to Edward Garafola in 1:00‐cr‐00196; Case called before Senior Judge I. L.
                   Glasser on date of 11/2/01 for pleading. AUSA David Pitofsky and dft present with counsel           11/15/2001   267   LETTER dated 11/13/01 from AUSA Jonathan Sack to Judge Glasser regarding the sentencing
                   Michael Rosen. Court Reporter/ESR Tony Mancuso. Dft withdraws not guilty plea and pleads                               submission of dft Edmond Nagel styled "Nagel's Objections to Presentence Report" dated
                   Guilty: Edward Garafola (10) count(s) 19 . Sentencing set for 2/4/02 at 10:00. (Sica, Michele)                         11/2/01. (Sica, Michele) (Entered: 11/15/2001)
                   (Entered: 11/06/2001)
                                                                                                                       11/16/2001   268   CALENDAR ENTRY as to Lawrence Ray in 1:00‐cr‐00196; Case called before Senior Judge I. L.
11/06/2001   259   MOTION by Edward Garafola in 1:00‐cr‐00196 for severance and a separate trial on counts 19                             Glasser on date of 11/16/01 for status conf. AUSA Eric Corngold/David Pitofsky and dft present
                   and 20, and granting a hearing and thereafter suppressing and precluding a tape recording of                           without counsel. Court Reporter/ESR Ronald Tolkin. Court advises dft of right to proceed pro
                   dft made by the FBI on 3/25/99 (Sica, Michele) (Entered: 11/06/2001)                                                   se and advises against it. Trial scheduled for 12/3/01. A lawyer from the CJA panel will be
                                                                                                                                          appointed to assist during trial. (Sica, Michele) (Entered: 11/19/2001)
11/06/2001   260   MEMORANDUM by Edward Garafola in 1:00‐cr‐00196 in support of [259‐1] motion for
                   severance and a separate trial on counts 19 and 20, and granting a hearing and thereafter           11/20/2001   270   WAIVER OF INDICTMENT by Daniel Persico in 1:00‐cr‐00196 (Sica, Michele) (Entered:
                   suppressing and precluding a tape recording of dft made by the FBI on 3/25/99 (Sica, Michele)                          11/26/2001)
                   (Entered: 11/06/2001)
                                                                                                                       11/20/2001   271   SUPERSEDING INFORMATION as to Daniel Persico (3) count(s) 1s (Sica, Michele) (Entered:
11/06/2001   261   MEMORANDUM by USA in 1:00‐cr‐00196 as to Edward Garafola in 1:00‐cr‐00196 in opposition                                11/26/2001)
                   to [259‐1] motion for severance and a separate trial on counts 19 and 20, and granting a
                   hearing and thereafter suppressing and precluding a tape recording of dft made by the FBI on        11/20/2001   272   CALENDAR ENTRY as to Daniel Persico in 1:00‐cr‐00196; Case called before Senior Judge I. L.
                   3/25/99 (Sica, Michele) (Entered: 11/06/2001)                                                                          Glasser on date of 11/20/01 for pleading. AUSA David Pitofsky/Eric Corngold and dft present
                                                                                                                                          with counsel Joseph Giannini. Court Reporter/ESR Ronald Tolkin. Waiver of indictment signed.
11/06/2001   262   Reply MEMORANDUM by Edward Garafola in 1:00‐cr‐00196 in further support of [259‐1]                                     Dft withdraws not guilty plea and pleads Guilty: Daniel Persico (3) count(s) 1s . AUSA will move
                   motion for severance and a separate trial on counts 19 and 20, and granting a hearing and                              to dismiss open counts. Senetencing set for 2/21/02 at 10:00. (Sica, Michele) (Entered:
                   thereafter and precluding a tape recording of dft made by the FBI on 3/25/99 (Sica, Michele)                           11/26/2001)
                   (Entered: 11/06/2001)
                                                                                                                       11/20/2001   273   Waiver of statute of limitations by Daniel Persico in 1:00‐cr‐00196 re: violations of 18:1957
11/06/2001         ENDORSED ORDER as to Edward Garafola in 1:00‐cr‐00196 [259‐1] motion for severance and a                               (Sica, Michele) (Entered: 11/27/2001)
                   separate trial on counts 19 and 20, and granting a hearing and thereafter and precluding a
                   tape recording of dft made by the FBI on 3/25/99 as to Edward Garafola (10). Dft pleaded.           11/20/2001         Sentencing held Rocco Basile (5) count(s) 5. (Chee, Alvin) (Entered: 12/03/2001)
                   Motion is withdrawn. ( Signed by Senior Judge I. L. Glasser , on 11/2/01). Endorsed on motion,      11/20/2001         CALENDAR ENTRY as to Rocco Basile in 1:00‐cr‐00196; Case called before Judge Raymond J.
                   document #259. (Sica, Michele) (Entered: 11/06/2001)                                                                   Dearie on date of 11/20/01 for sentence. AUSA Paul Schoeman, Stephen Scaring for
11/07/2001   265   CALENDAR ENTRY as to Lawrence Ray in 1:00‐cr‐00196; Case called before Senior Judge I. L.                              defendant. Court finds that the plea of guilty taken before the MJ was done knowingly and
                   Glasser on date of 11/7/01 for status conf. AUSA Eric Corngold/David Pitofsky and dft present                          voluntarily and formally accepts plea of guilty to count 3 of cr‐98‐1129, and count 5 of cr‐00‐




                   196. Imprisonment of 44 months on each count to run concurrently. Court recommends an               11/27/2001   284   DISMISSAL of Count(s) on Government Motion as to Rocco Basile in 1:00‐cr‐00196 party Rocco
                   institution in the Northeast region and invites consideration that defendant be placed in the                          Basile in 1:00‐cr‐00196 terminating [231‐1] motion for an adjournment in the case and an
                   same institution as his brother, Jack Basile. The court has been advised that Camp Allenwood                           exclusion of time under the speedy trial act as to Rocco Basile (5) Counts Dismissed: Rocco
                   has been recommended in Jack Basile's case. Surrender date: 2/4/02 by 12 PM to the                                     Basile (5) count(s) 2, 6, 7, 8. (Chee, Alvin) (Entered: 12/03/2001)
                   designated institution. Supervised release for 3 years on each count to run concurrently.
                   Special condition of SR: 1) Community service during the first 2 years of SR as follows: 20 hours   11/28/2001   279   ORDER as to Abraham Salaman in 1:00‐cr‐00196 adjourning sentencing from 12/17/01 to
                   per week under the direction of the court through the supervision of the probation                                     1/16/02 at 10:00. (Signed by Senior Judge I. L. Glasser , on 11/26/01). Endorsed on letter from
                   department. As part of community service, the defendant will be permitted to work on the                               Joel Cohen to Judge Glasser. (Sica, Michele) (Entered: 11/29/2001)
                   YMCA Building project in his community. 2) Defendant to make full financial disclosure as and       11/28/2001   280   CALENDAR ENTRY as to Lawrence Ray in 1:00‐cr‐00196; Case called before Senior Judge I. L.
                   when required by and to this court. 3) Restitution payments at a rate to be determined by the                          Glasser on date of 11/28/01 for status conf. AUSA Eric Corngold/David Pitofsky and dft present
                   court and not less than 10% of gross earnings. The rate to be adjusted from time to time by                            with counsel David Zapp. Court Reporter/ESR Burt Sulzer. Larry Ray wrote to the Court,
                   the court in consultation with the probation department. Defendant to comply with the                                  requesting a two month adjournment of the trial, which is scheduled for this monday. The
                   restitution order. Defendant to receive treatment for substance abuse. Restitution in the                              government opposes any adjournment. Motion to adjourn the trial is denied. Trial will go
                   amount of $5,000,000.00 as to case CR‐98‐1129. The $100 SA is imposed on each count for a                              forward on 12/3/01. (Sica, Michele) (Entered: 11/30/2001)
                   total assessment of $200.00. Upon the motion of the AUSA, all open counts are dismissed.
                   Defendant is advised of his right to appeal. Court Reporter: Paul Schoeman. This is document        11/29/2001   278   Government's request to charge filed as to Lawrence Ray in 1:00‐cr‐00196 (Sica, Michele)
                   #1238 in case 98‐CR‐1129. (Chee, Alvin) (Entered: 12/03/2001)                                                          (Entered: 11/29/2001)

11/26/2001   269   CJA 20 as to Lawrence Ray in 1:00‐cr‐00196: Appointment of Attorney David S. Zapp ( Signed          11/29/2001   285   CALENDAR ENTRY as to Edmond Nagel ; Case called before Senior Judge I. L. Glasser on
                   by Senior Judge I. L. Glasser , Dated 11/19/01) (Sica, Michele) (Entered: 11/26/2001)                                  11/29/01 for Sentencing. AUSA: David Goldberg and Jonathan Sack; Michael Rovell, Esq. for
                                                                                                                                          the Dft.; Court Reporter: B.Sulzer. Sentencing held on Count # 11 on CR‐00‐196 and Count #1
11/26/2001   274   ORDER as to Daniel Lev in 1:00‐cr‐00196, Modifying Conditions of Release to allow dft to travel                        on CR‐01‐705.IMPRISONMENT: 37 months; SUPERVISED RELEASE: 3 years; SPECIAL
                   to Russia from 11/25/01 to 12/20/01 . ( Signed by Senior Judge I. L. Glasser , on 11/21/01).                           ASSESSMENT: $100.00 on each case for a total of $200.00. Court recommends that the deft.
                   Endorsed on letter dated 11/21/01 from Jeffrey Lichtman to Judge Glasser. (Sica, Michele)                              be designated to Morgantown, West Virginia. Deft. to voluntarily surrender to the institution
                   (Entered: 11/27/2001)                                                                                                  on 1/30/01. (Permaul, Jenny) (Entered: 12/04/2001)
11/27/2001   275   LETTER dated 11/20/01 from AUSA David Pitofsky to Lawrence Ray enclosing copies of                  11/29/2001         Sentencing as to Edmond Nagel (13) held on count(s) 11. (Permaul, Jenny) (Entered:
                   documents and audiocassette tapes pursuant to the Jencks Act, and advising him of his                                  12/04/2001)
                   reciprocal obligations to provide materials. (Sica, Michele) (Entered: 11/27/2001)
                                                                                                                       11/30/2001   281   LETTER dated 11/26/01 from AUSA's Eric Corngold and David Pitofsky to Judge Glasser in
11/27/2001   276   LETTER dated 11/20/01 from AUSA David Pitofsky to Lawrence Ray providing discovery. (Sica,                             opposition to dft Lawrence Ray's request for a 60 dayadjournment of his trial. (Sica, Michele)
                   Michele) (Entered: 11/27/2001)                                                                                         (Entered: 11/30/2001)
11/27/2001   277   MOTION by USA in 1:00‐cr‐00196 as to Lawrence Ray in 1:00‐cr‐00196 for admission, at trial,         11/30/2001   282   LETTER dated 11/26/01 from Lawrence Ray to Judge Glasser requesting a 60 day adjournment
                   of a "glossary of securities‐related terms" as an aid to the jury, and to preclude the dft from                        of trial to allow dft to get a new attorney. (Sica, Michele) (Entered: 11/30/2001)
                   offering certain evidence at trial . Memo in support and exhibits A‐C attached. (Sica, Michele)
                   (Entered: 11/28/2001)                                                                               11/30/2001   283   ORDER as to John Cioffoletti in 1:00‐cr‐00196, Walter Durchalter in 1:00‐cr‐00196, Abraham
                                                                                                                                          Salaman in 1:00‐cr‐00196, Giuseppe Temperino in 1:00‐cr‐00196, granting USPO Carol
11/27/2001   284   JUDGMENT Rocco Basile (5) count(s) 5. Imprisonment of 44 months on each count to run                                   Pizarro's request and adjourning sentencing to 1/25/02 at 10:00. ( Signed by Senior Judge I. L.
                   concurrently. Supervised release of 3 years on each count to run concurrently. Special                                 Glasser , on 11/27/01) (Sica, Michele) (Entered: 11/30/2001)
                   assessement of $200. Restitution of $5,000,000.00. Court recommends that defendant be
                   designated to an institution in the Northeast Region and further invites consideration that         11/30/2001         DISMISSAL of Count(s) on Government Motion as to Edmond Nagel in 1:00‐cr‐00196 party
                   defendant be designated to the same institution as his brother Jack Basile. Defendant shall                            Edmond Nagel in 1:00‐cr‐00196 Counts Dismissed: Edmond Nagel (13) count(s) 1, 2, 9, 10, 12.
                   surrender before 2 PM on 2/4/02. Special condition of SR: 1) Community service during the                              (Permaul, Jenny) (Entered: 12/04/2001)
                   first 2 years of SR as follows: 20 hours per week under the direction of the court through the
                   supervision of the probation department. As part of community service, the defendant will be        11/30/2001   286   JUDGMENT Edmond Nagel (13) count(s) 11. IMPRISONMENT: 37 months; SUPERVISED
                   permitted to work on the YMCA Building project in his community. 2) Defendant to make full                             RELEASE: 3 years; SPECIAL ASSESSMENT: $200.00; ($100.00 in 01‐CR‐705 and $100.00 in 01‐
                   financial disclosure as and when required by and to this court. 3) Restitution payments at a                           CR‐196). The court recommends that the deft. be designated to Morgantown, West Virginina;
                   rate to be determined by the court and not less than 10% of gross earnings. The rate to be                             Deft. to surrender for serviceof sentence on 1/30/02 befor 2:00. Signed by Senior Judge I. L.
                   adjusted from time to time by the court in consultation with the probation department.                                 Glasser , on 11/30/01. Signed Senior Judge I. L. Glasser , on 11/30/01. terminated party
                   Defendant to comply with the restitution order. Defendant to receive treatment for substance                           Edmond Nagel in 1:00‐cr‐00196 (Permaul, Jenny) (Entered: 12/04/2001)
                   abuse. See attached restitution order. Open counts dismissed on govt's motion. Copies               12/03/2001   288   CALENDAR ENTRY as to Lawrence Ray in 1:00‐cr‐00196; Case called before Senior Judge I. L.
                   distributed. Signed by Judge Raymond J. Dearie , on 11/27/01) party Rocco Basile in 1:00‐cr‐                           Glasser on date of 12/3/01 for jury selection and trial. Defense Counsel: David Zapp. AUSA: Eric
                   00196. (Chee, Alvin) (Entered: 12/03/2001)                                                                             Corngold and David Pitofsky. Court Reporter: Henry Shapiro. Mark Macron was contacted by
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                the defendant yesterday. He cannot file a notice of appearance and start the trial today. Mr.
                                                                                                                            06/07/18
                                                                                                                   01/04/2002
                                                                                                                                                  Page 17 of 45 PageID #:
                                                                                                                              299 ORDER as to Frank Coppa Sr. in 1:00‐cr‐00196, Ernest Montevecchi in 1:00‐cr‐00196, John
                Ray begs the Court for more time. The Court is ready to proceed to trial. Defendant withdraws
                not guilty plea and enters plea of Guilty: Lawrence Ray (17) count(s) 10 . Court accepts the
                                                                                                              3891                Doukas in 1:00‐cr‐00196, Daniel Lev in 1:00‐cr‐00196 endorsed on memorandum from
                                                                                                                                  Probation Dept. dated 12/19/01. Request for adjournment of sentencing is granted. Defendant
                   plea. Sentencing is set for 3/7/01 at 10:00. AUSA will move to dismiss open counts.                                    Montevecchi adjourned to 1/23/02 at 10:00; defendant Dukas adjourned to 3/27/02 at 10:00;
                   (Rodriguez,Angela) (Entered: 12/06/2001)                                                                               defendant Lev adjourned to 1/24/02 at 10:00; defendant Coppa adjourned to 2/12/02 at
                                                                                                                                          10:00. (Signed by Senior Judge I. L. Glasser on 12/20/01) (Rodriguez,Angela) (Entered:
12/05/2001   287   Proposed Voir Dire Questions by USA in 1:00‐cr‐00196 as to Lawrence Ray in 1:00‐cr‐00196                               01/08/2002)
                   {Request to Charge) (Permaul, Jenny) (Entered: 12/05/2001)
                                                                                                                       01/07/2002   298   ORDER dated 12/19/01 on letter dated 12/16/01 from Elizabeth E. Macedonio to Judge
12/05/2001   289   LETTER dated 11/30/01 from Samuel Noel to Lawrence Ray regarding additional 3500 material                              Gershon requesting a two week adjournment of Mr. Jack Basile's surrender date. APPLICATION
                   on witnesses Felix Sater 3500‐FS‐41 and Agent Leo Taddeo 3500‐FBI 18, 19, & 20. (Sica,                                 DENIED as to Jack Basile in 1:00‐cr‐00196. ( ( Signed by Judge Nina Gershon, on 12/19/01 )
                   Michele) (Entered: 12/12/2001)                                                                                         (Guzzi, Roseann) (Entered: 01/07/2002)
12/12/2001   290   ORDER as to John Cioffoletti in 1:00‐cr‐00196 adjourning sentencing until 1/12/02 at 10:00. (       01/07/2002   302   LETTER dated 12/27/01 from Jonathan Sack to Judge Glasser confirming that sentencing of
                   Signed by Senior Judge I. L. Glasser , on 12/11/01). Endorsed on letter dated 12/5/01 from                             defendant Lombardo has been rescheduled to 1/22/02. (endorsed by Judge Glasser on 1/7/02)
                   James LaRossa to Judge Glasser. (Sica, Michele) (Entered: 12/12/2001)                                                  (Rodriguez,Angela) (Entered: 01/11/2002)
12/12/2001   291   Amended Consent ORDER Directing Forfeiture of Property as to Edmond Nagel in 1:00‐cr‐               01/07/2002   303   LETTER dated 12/27/01 from Jonathan Sack to Judge Glasser confirming that sentencing of
                   00196 that dft shall forfeit $600,000.00 and all right, interest, stock, or warrants in Condor                         defendant Coppa has been rescheduled to 2/12/02 at 10:00. (endorsed by Judge Glasser on
                   Capital Inc. to the US as propert involved in money laundering. This order shall be final against                      1/7/02) (Rodriguez,Angela) (Entered: 01/11/2002)
                   dft, and shall be included in the judgment. The US Marshal's Service is authorized to deposit
                   property in US Department of Justice's Asset Forfeiture. 4 certified copies sent to AUSA David      01/07/2002   304   LETTER dated 12/27/01 from Jonathan Sack to Judge Glasser confirming that sentencing of
                   Goldberg. ( Signed by Senior Judge I. L. Glasser , dated: 11/29/01) (Sica, Michele) (Entered:                          defendant Polito has been rescheduled to 3/21/02 at 10:00. (endorsed by Judge Glasser on
                   12/12/2001)                                                                                                            1/7/02) (Rodriguez,Angela) Modified on 01/11/2002 (Entered: 01/11/2002)

12/13/2001   292   ORDER as to Frank Coppa Sr. in 1:00‐cr‐00196, Modifying Conditions of Release to allow dft to       01/07/2002   305   LETTER dated 12/27/01 from Jonathan Sack to Judge Glasser confirming that sentencing of
                   travel to Florida from 12/28/01 to 1/13/02 . (Signed by Senior Judge I. L. Glasser , on                                defendant Lev has been rescheduled to 1/24/02 at 10:00. (endorsed by Judge Glasser on
                   12/12/01). Endorsed on letter dated 12/12/01 from Larry Bronson to Judge Glasser. (Sica,                               1/7/02) (Rodriguez,Angela) (Entered: 01/11/2002)
                   Michele) (Entered: 12/17/2001)
                                                                                                                       01/07/2002   306   LETTER dated 12/27/01 from Jonathan Sack to Judge Glasser confirming that sentencing of
12/18/2001   293   LETTER dated 12/12/01 from Larry Bronson to Judge Glasser requesting that dft Coppa's bail                             defendant Montevecchi has been rescheduled to 1/23/02 at 10:00. (endorsed by Judge
                   conditions be modified to allow him to travel to Florida. (Sica, Michele) (Entered: 12/18/2001)                        Glasser on 1/7/02) (Rodriguez,Angela) (Entered: 01/11/2002)

12/21/2001   296   ORDER as to Edward Garafola in 1:00‐cr‐00196 endorsed on letter dated 12/19/01 from Jean            01/07/2002   307   ORDER as to Abraham Salaman in 1:00‐cr‐00196 endorsed on letter dated 1/3/02 from Joel
                   Marie Graziano to Judge Glasser. Defendant Edward Garafola's request for modification of bail                          Cohen to Judge Glasser. Sentencing of defendant Salaman has been rescheduled to 3/8/02 at
                   restrictions is granted. Defendant is permitted to travel as specified herein. (Signed by Senior                       10:00. (Signed by Senior Judge I. L. Glasser on 1/7/02) (Rodriguez,Angela) (Entered:
                   Judge I. L. Glasser on 12/20/01) (Rodriguez,Angela) (Entered: 01/07/2002)                                              01/11/2002)

12/21/2001   297   LETTER dated 12/18/01 from Jeffrey Lichtman to Judge Glasser confirming that sentencing of          01/07/2002   308   LETTER dated 12/27/01 from Jonathan Sack to Judge Glasser confirming that sentencing of
                   defendant Daniel Lev be adjourned from 1/10/02 to 1/24/02 at 10:00. (Endorsed by Judge                                 defendant Doukas has been rescheduled to 3/27/02 at 10:00. (endorsed by Judge Glasser on
                   Glasser on 12/19/01) (Rodriguez,Angela) (Entered: 01/07/2002)                                                          1/7/02) (Rodriguez,Angela) (Entered: 01/11/2002)

12/27/2001   295   TRANSCRIPT of proceedings before Judge Glasser filed in case as to Lawrence Ray in 1:00‐cr‐         01/09/2002   300   TRANSCRIPT of pleading before Judge Glasser filed in case as to John Cioffoletti in 1:00‐cr‐
                   00196 for dates of 11/28/01; Court Reporter: Brton Sulzer. (Rodriguez,Angela) (Entered:                                00196 for dates of 10/2/01; Court Reporter: Gene Rudolph. (Rodriguez,Angela) (Entered:
                   01/07/2002)                                                                                                            01/09/2002)

12/27/2001   309   LETTER dated 8/17/01 from Jonathan Sack to Michael Bachner advising that Mr. Bachner's              01/09/2002   301   TRANSCRIPT of status conference before Judge Glasser filed in case as to Lawrence Ray in
                   client is scheduled for sentencing before Judge Glasser on 12/11/01 at 2:00.                                           1:00‐cr‐00196 for dates of 11/7/01; Court Reporter: Gene Rudolph. (Rodriguez,Angela)
                   (Rodriguez,Angela) (Entered: 01/14/2002)                                                                               (Entered: 01/09/2002)

01/03/2002   294   ORDER as to Daniel Lev. Order endorsed on the letter dated Dec. 19, 2001, from Jeffrey              01/14/2002   310   LETTER dated 12/18/01 from Jeffrey Lichtman to Judge Glasser confirming that sentencing of
                   Lichtman, counsel for deft. Daniel Lev, granting Mr. Lichtman's request for permission to                              defendant Lev has been adjourned to 1/24/01 at 10:00. (Rodriguez,Angela) (Entered:
                   extend his recent trip to Russia for business purposes. He can now return from his trip on Jan.                        01/14/2002)
                   3, 2002. Govt. consented to this request. (Signed by Senior Judge I. L. Glasser) (Vaughn, Terry)
                   (Entered: 01/03/2002)




01/14/2002   311   MOTION by Eugene Lombardo in 1:00‐cr‐00196 for an order directing that defendant                                       Jack ( Signed by Judge Nina Gershon , on 1/17/02) *This is documetn #717 in 99cr589 (Guzzi,
                   Lombardo be sentenced to a term of imprisonment hich shall run concurrently with the                                   Roseann) (Entered: 02/05/2002)
                   sentence imposed in SDNY (case no. 97cr1215) . (Rodriguez,Angela) (Entered: 01/15/2002)
                                                                                                                       02/05/2002   323   CERTIFICATE OF SERVICE: Amended Consent Order of Forfeiture was executed on 12/14/02.
01/17/2002   312   LETTER dated 1/11/02 from Lawrence Feitell to Judge Glasser enclosing a copy of motion for                             The sum of $350,000 was transferred to asset forfeiture fund. (Rodriguez,Angela) (Entered:
                   concurrent sentence. Counsel requests that, if a hearing is to be set, that the motion hearing                         02/11/2002)
                   be set at the same date and time as the hearing on defendant Montevecchi's motion for
                   concurrent sentence. (Rodriguez,Angela) (Entered: 01/18/2002)                                       02/06/2002   320   SENTENCING MEMORANDUM filed in 1:00‐cr‐00196 as to John Cioffoletti. (Rodriguez,Angela)
                                                                                                                                          Modified on 02/07/2002 (Entered: 02/07/2002)
01/17/2002   313   LETTER dated 1/15/02 from Judge Glasser to Lawrence Feitell advising that the Court is
                   regarding his motion for concurrent sentence as a sentencing memorandum which will be               02/19/2002   325   JUDGMENT Daniel Lev (11) count(s) 1s. Defendant sentenced to 2 years probation with 4
                   considered on 1/23/02. The Court suggests that a copy of the request be made available to the                          months home confinement and 150 hours of community service. Defendant fined $5000 and
                   Probation Officer who prepared defendant Lombardo's report. (Rodriguez,Angela) (Entered:                               assessed $50. Open counts dismissed on government's motion. (Signed by Senior Judge I. L.
                   01/18/2002)                                                                                                            Glasser on 2/4/02) (Rodriguez,Angela) (Entered: 02/19/2002)

01/18/2002   317   LETTER dated 1/16/02 from Jeffrey Lichtman to Mary Ann Betts objecting to portions of the           02/19/2002         DISMISSAL of Count(s) on Government Motion as to Daniel Lev in 1:00‐cr‐00196. Counts
                   PSR relating to defendant Daniel Lev. (Rodriguez,Angela) (Entered: 01/31/2002)                                         Dismissed: Daniel Lev (11) count(s) 1, 2, 9, 10, 11, 12. (Rodriguez,Angela) (Entered:
                                                                                                                                          02/19/2002)
01/24/2002   318   CALENDAR ENTRY as to Daniel Lev in 1:00‐cr‐00196; Case called before Senior Judge I. L.
                   Glasser on date of 1/24/02 for sentencing. Sentencing adjourned to 2/4/02 at 10:00. Defense         02/20/2002   326   ORDER as to Daniel Lev in 1:00‐cr‐00196 endorsed on letter dated 1/31/02 from Jeffrey
                   counsel makes application for downward departure. (Rodriguez,Angela) (Entered: 02/01/2002)                             Lichtman to Judge Glasser. The file and record from the last court appearance re: Daniel Lev is
                                                                                                                                          ordered sealed. (Signed by Senior Judge I. L. Glasser on 1/31/02) (Rodriguez,Angela) (Entered:
01/25/2002   314   ORDER as to Walter Durchalter in 1:00‐cr‐00196 endorsd on letter dated 1/23/02 from Robert                             02/21/2002)
                   Herskovits to Judge Glasser. Sentencing is adjourned to 3/25/02 at 10:00. (Signed by Senior
                   Judge I. L. Glasser‐ on not dated) (Rodriguez,Angela) (Entered: 01/25/2002)                         02/21/2002   327   CALENDAR ENTRY as to Daniel Persico in 1:00‐cr‐00196; Case called before Senior Judge I. L.
                                                                                                                                          Glasser on date of 2/21/02 for sentencing. Defense Counsel: Joseph Giannini. AUSA: David
01/25/2002   315   ORDER as to Frank Coppa Sr. in 1:00‐cr‐00196 endorsed on letter dated 1/22/02 from Jay                                 Pitofsky and Eric Corngold. Court Reporter: Mickey Brymer. Defendant sentenced on count 2
                   Goldberg to Judge Glasser. Sentencing is adjourned to 3/18/02 at 10:00. (Signed by Senior                              of superseding information to 21 months imprisonment to be followed by 3 years of
                   Judge I. L. Glasser‐ not dated) (Rodriguez,Angela) (Entered: 01/25/2002)                                               supervised release. The Court recommends Fort Dix or Otisville facility. Defendant to surrender
                                                                                                                                          5/1/02. (Rodriguez,Angela) (Entered: 02/26/2002)
01/25/2002   321   ORDER as to Edmond Nagel in 1:00‐cr‐00196 endorsed on letter dated 1/24/02 from Michael
                   Rovell to Judge Glasser. Defendant is granted a four to six week extension of surrender date.       02/25/2002   330   ORDER as to Ernest Montevecchi in 1:00‐cr‐00196 endorsed on letter dated 2/20/02 from
                   (Signed by Senior Judge I. L. Glasser on 1/24/02) (Rodriguez,Angela) (Entered: 02/08/2002)                             David Pitofsky to Judge Glasser. Request for two week adjournment of sentencing is granted.
                                                                                                                                          Sentencing adjourned to 3/19/02 at 10:00. Extension of time for briefs also granted. (signed by
01/31/2002   316   ORDER as to Edward Garafola in 1:00‐cr‐00196 endorsed on letter dated 1/29/02 from Michael                             Senior Judge I. L. Glasser on 2/21/02) (Rodriguez,Angela) (Entered: 02/28/2002)
                   Rosen to Judge Glasser. Request granted. Sentencing is adjourned from 2/4/02 to 2/26/02.
                   (Signed by Senior Judge I. L. Glasser on 1/30/02) (Rodriguez,Angela) (Entered: 01/31/2002)          02/26/2002         Sentencing held Daniel Persico (3) count(s) 2. (Rodriguez,Angela) (Entered: 02/26/2002)

01/31/2002   322   LETTER dated 1/28/02 from James LaRossa to USPO Rachel Swasey advising of objections to             02/26/2002   328   JUDGMENT Daniel Persico (3) count(s) 2. Defendant sentenced to 21 months imprisonment to
                   the PSR. (Rodriguez,Angela) (Entered: 02/08/2002)                                                                      be followed by 3 years of supervised release. Defendant assessed $100. The court
                                                                                                                                          recommends incarceration at Fort Dix or Otisville. Defendant to surrender on 5/1/02. Open
02/04/2002   324   CALENDAR ENTRY as to Daniel Lev in 1:00‐cr‐00196; Case called before Senior Judge I. L.                                counts dismissed on government's motion. (Signed by Senior Judge I. L. Glasser on 2/21/02)
                   Glasser on date of 2/4/02 for sentencing. Defense Counsel: Jeffrey Lichtman. AUSA: Eric                                (Rodriguez,Angela) (Entered: 02/26/2002)
                   Corngold and Janathan Sack. Defendant sentenced on count 1 of the information to 2 years
                   probation with 4 months home confinement. Defendant fined $5000 and assessed $50.                   02/26/2002         DISMISSAL of Count(s) on Government Motion as to Daniel Persico in 1:00‐cr‐00196. Counts
                   Defendant to perform 150 hours of community service. (Rodriguez,Angela) (Entered:                                      Dismissed: Daniel Persico (3) 1s, 13, 14. (Rodriguez,Angela) (Entered: 02/26/2002)
                   02/19/2002)
                                                                                                                       02/26/2002   329   SENTENCING MEMORANDUM as to Giuseppe Temperino in 1:00‐cr‐00196. Cover letter dated
02/04/2002         Sentencing held Daniel Lev (11) count(s) 1s. (Rodriguez,Angela) (Entered: 02/19/2002)                                  2/26/02 from Joseph Benfante is attached. (Rodriguez,Angela) (Entered: 02/26/2002)

02/05/2002   319   AMENDED JUDGMENT: Rocco Basile (5) count(s) 5. AMENDED To include on page 2 that deft               02/26/2002   332   CALENDAR ENTRY as to Edward Garafola in 1:00‐cr‐00196; Case called before Senior Judge I. L.
                   receive treatment for substance abuse. ( Signed by Judge Raymond J. Dearie , on 1/31/02).                              Glasser on date of 2/26/02 for sentencing. Defendant sentenced on count 19 to 5 months
                   Copies distributed. (Chee, Alvin) (Entered: 02/05/2002)                                                                imprisonment to be followed by 3 years of supervised released‐ home confinement for 5
                                                                                                                                          months. Special assessment: $50. Fine: $2000. The court recommends incarceration at Fort
02/05/2002         Order dated 1/17/02 on letter dated 1/16/02 from Elizabeth E. Macedonio to Judge Gershon                               Devon. Defendant to surrender to institution on 4/29/02. (Rodriguez,Angela) (Entered:
                   as to the designation of defendant Jack Basile. APPLICATION DENIED. The Court has made its                             03/01/2002)
                   recommendation but will not intervene in the designation made by the Bureau of prisons as to
02/26/2002
                Case       1:16-mc-02636-AMD Document 24-8 Filed 06/07/18
                 Sentencing held Edward Garafola (10) count(s) 19. (Rodriguez,Angela) (Entered: 03/01/2002)
                                                                                                                                  Page 18 of 45 PageID #:
                                                                                                                 defendant can receive substance abuse treatment. Defendant to surrender to institution on

02/27/2002   331 TRANSCRIPT filed in case as to Edmond Nagel in 1:00‐cr‐00196 for dates of 11/29/01. Court  3892 5/6/02. Status conference is set for 6/14/02 at 10:00. The government needs 90 days to
                                                                                                                 submit final order of forfeiture. (Rodriguez,Angela) (Entered: 03/18/2002)
                   Reporter: Burton Sulzer. (Rodriguez,Angela) (Entered: 02/28/2002)
                                                                                                                     03/14/2002         Sentencing held John Cioffoletti (7) count(s) 3, 4, 5, 6, 9, 10, 15, 16. (Rodriguez,Angela)
02/28/2002   333   JUDGMENT Edward Garafola (10) count(s) 19. Defendant sentenced to 5 months                                           (Entered: 03/18/2002)
                   imprisonment to be followed by 3 of supervised release. As a condition of release, defendant
                   is to serve 5 months home detention. The Court recommends defendant be designated to Fort         03/18/2002   340   JUDGMENT John Cioffoletti (7) count(s) 3, 4 , 5 , 6 , 9 , 10, 15 , 16 . Defendant sentenced to 24
                   Devin, Mass. Defendant to surrender to instituion by 2:00pm on 4/29/02. Defendant fined                              months imprisonment to be followed by 3 years of supervised release‐ to run concurrently
                   $5000 and assessed $50. Open count dismissed on government's motion. (Signed by Senior                               with sentence in 01cr1049. The Court recommends "Shock Incarceration Program," where
                   Judge I. Glasser on 2/26/02) (Rodriguez,Angela) (Entered: 03/01/2002)                                                defendant can receive substance abuse treatment. Defendant assessed $900 (this includes
                                                                                                                                        assessment for 01cr1049). Defendant to surrender to institution before 2:00 pm on 5/6/02.
02/28/2002         DISMISSAL of Count(s) on Government Motion as to Edward Garafola in 1:00‐cr‐00196. Counts                            Restitution to be paid: the amount of victims' losses are not yet ascertainable (final
                   Dismissed: Edward Garafola (10) count(s) 20. (Rodriguez,Angela) (Entered: 03/01/2002)                                determination will be submitted on 6/14/02). (Signed by Senior Judge I. L. Glasser on 3/14/02)
03/05/2002   334   TRANSCRIPT filed in case as to Edward Garafola in 1:00‐cr‐00196 for date of 2/26/02 ; Court                          (Rodriguez,Angela) (Entered: 03/18/2002)
                   Reporter: Ronald Tolkin. (Rodriguez,Angela) (Entered: 03/06/2002)                                 03/18/2002         DISMISSAL of Count(s) on Government Motion as to John Cioffoletti in 1:00‐cr‐00196. Counts
03/05/2002   335   ORDER as to Abraham Salaman in 1:00‐cr‐00196 endorsed on letter dated 3/5/02 from                                    Dismissed: John Cioffoletti (7) count(s) 1, 2, 7, 8, 11, 12, 18. (Rodriguez,Angela) (Entered:
                   Jonathan Sack to Judge Glasser. Sentencing of defendant Salaman has been adjourned to                                03/18/2002)
                   4/4/02 at 10:00. (Signed by Senior Judge I. L. Glasser on 3/5/02) (Rodriguez,Angela) (Entered:    03/18/2002   352   LETTER dated 3/15/02 from Larry Bronson to Judge Glasser confirming that sentencing as to
                   03/07/2002)                                                                                                          defendant Frank Coppa was adjourned to 4/17/02. (Rodriguez,Angela) (Entered: 04/03/2002)
03/11/2002   336   ORDER as to Giuseppe Temperino in 1:00‐cr‐00196 endorsed on letter dated 3/11/02 from             03/19/2002   341   LETTER dated 3/18/02 from Judge Glasser to Larry Bronson advising that the Court will await
                   Jonathan Sack to Judge Glasser. Sentencing has been adjourned to 3/13/02 at 2:30. (Signed by                         granting request for adjournment of sentencing of defendant Coppa until counsel furnishes
                   Senior Judge I. L. Glasser on 3/11/02) (Rodriguez,Angela) (Entered: 03/12/2002)                                      reasons for the request and the government comments on the request. (Rodriguez,Angela)
03/11/2002   342   CERTIFICATE OF SERVICE as to Edmond Nagel in 1:00‐cr‐00196: Legal Notice was published on                            (Entered: 03/20/2002)
                   dates of 12/18/1, 12/24/01, 12/31/01. (Rodriguez,Angela) (Entered: 03/25/2002)                    03/19/2002   346   CALENDAR ENTRY as to Eugene Lombardo in 1:00‐cr‐00196; Case called before Senior Judge I.
03/11/2002   343   LETTER dated 3/11/02 from Jonathan Sack to Judge Glasser in opposition to defendant's                                L. Glasser for sentencing. Defense Counsel: Lawrence Feiteill. AUSA: Eric Corngold. Court
                   motion for downward departure. (Rodriguez,Angela) (Entered: 03/25/2002)                                              Reporter: Marsha Diamond. Defendant sentenced on count 2 to 60 months imprisonment to
                                                                                                                                        run concurrently with sentence in Southern District case. Supervised release: 3 years.
03/12/2002   344   SEALED DOCUMENT as to Joseph Polito Sr. (Rodriguez,Angela) (Entered: 03/25/2002)                                     Defendant to make restitution in the amount of $5 million. During period of release, the
                                                                                                                                        government is given 90 days to provide a list of victims and the amounts to be paid. The Court
03/13/2002   337   CALENDAR ENTRY as to Giuseppe Temperino in 1:00‐cr‐00196; Case called before Senior Judge                            recommends incarceration at MDC. Special assessment: $100. (Rodriguez,Angela) (Entered:
                   I. L. Glasser on date of 3/13/02 for sentencing. Defense Counsel: Joseph Benfante. AUSA: Eric                        03/27/2002)
                   Corngold and Jonathan Sack. Defendant sentenced to 3 years probation to serve 8 months on
                   home confinement. Defendant to perform 200 hours of community serrvice. Defendant                 03/19/2002         Sentencing held Eugene Lombardo (12) count(s) 2. (Rodriguez,Angela) (Entered: 03/27/2002)
                   assessed $100. (Rodriguez,Angela) (Entered: 03/15/2002)
                                                                                                                     03/19/2002   348   CALENDAR ENTRY as to Ernest Montevecchi in 1:00‐cr‐00196; Case called before Senior Judge
03/13/2002         Sentencing held Giuseppe Temperino (19) count(s) 6. (Rodriguez,Angela) (Entered:                                     I. L. Glasser on date of 3/19/02 for sentencing. Defense Counsel: Joseph Bondy. AUSA:
                   03/15/2002)                                                                                                          Jonathan Sack and David Pitofsky. Court Reporter: Marsha Diamond. Defendant sentenced to
                                                                                                                                        36 months imprisonment to run concurrently with sentence defendant is currently serving,
03/14/2002   338   JUDGMENT Giuseppe Temperino (19) count(s) 6. Defendant sentenced to 3 years probation, to                            plus three years of supervised release. Defendant to make restitution in the amount of $5
                   serve 8 months home confinement. Defendant to perform 200 hours of community service.                                million during the period of supervised release. The government is given 90 days to provide a
                   Special assessment: $100. Open counts dismissed. (Signed by Senior Judge I. L. Glasser on                            list of victims and the amounts to be paid. The Court recommends incarceration at Fort Dix.
                   3/13/02) (Rodriguez,Angela) (Entered: 03/15/2002)                                                                    (Rodriguez,Angela) (Entered: 03/27/2002)
03/14/2002         DISMISSAL of Count(s) on Government Motion as to Giuseppe Temperino in 1:00‐cr‐00196.             03/19/2002         Sentencing held Ernest Montevecchi (2) count(s) 2. (Rodriguez,Angela) (Entered: 03/27/2002)
                   Counts Dismissed: Giuseppe Temperino (19) count(s) 2, 5, 7, 8. (Rodriguez,Angela) (Entered:
                   03/15/2002)                                                                                       03/19/2002   354   LETTER dated 3/18/02 from Larry Bronson to Judge Glasser explaining how this matter came to
                                                                                                                                        be adjourned to 4/17/02. (Rodriguez,Angela) (Entered: 04/05/2002)
03/14/2002   339   CALENDAR ENTRY as to John Cioffoletti; Case called before Senior Judge I. L. Glasser on date of
                   3/14/02 for sentencing. Defense Counsel: James LaRossa and Andrew Weinstein. Court                03/19/2002   355   LETTER dated 3/18/02 from Jonathan Sack to Judge Glasser submitted to supplement the
                   Reporter: Henry Shapiro. Defendant sentenced to 24 months imprisonment to be followed by                             government's 3/11/02 letter with respect to sentencing of defendants Ernst Montevecchi and
                   3 years of supervised release. Court recommends Shock Incarceration Program where                                    Eugene Lombardo. (Rodriguez,Angela) (Entered: 04/05/2002)




03/25/2002   345   LETTER dated 3/11/02 from Jonathan Sack to Judge Glasser re: sentencing guidlines as to           04/12/2002   361   Exhibit list re: sentencing memorandum filed by Abraham Salaman. (Rodriguez,Angela)
                   defendants Montevecchi and Lombardo. (Rodriguez,Angela) (Entered: 03/26/2002)                                        (Entered: 04/15/2002)

03/27/2002   347   JUDGMENT Eugene Lombardo (12) count(s) 2. Defendant sentenced to 60 months                        04/16/2002   363   ORDER endorsed on letter dated 4/16/02 from Jay Goldberg to Judge Glasser. The next
                   imprisonment to run concurrently sentence in Southern District case. Supervised release: 3                           confernce is adjourned to 4/23/02 at 10:00. (Signed by Senior Judge I. L. Glasser on 4/17/02)
                   years. Defendant to make restitution in the amount of $5 million. During period of release, the                      (Rodriguez,Angela) (Entered: 04/18/2002)
                   government is given 90 days to provide a list of victims and the amounts to be paid. The Court
                   recommends incarceration at MDC. Special assessment: $100. Opne counts dismissed on               04/17/2002   362   LETTER dated 4/10/02 from Jay Goldberg to Judge Glasser requesting that sentencing as to
                   government's motion. (Signed by Senior Judge I. L. Glasser on 3/19/02) (Rodriguez,Angela)                            defendant Coppa be scheduled for some later than 10:00 on 4/17/02. Counsel is scheduled to
                   (Entered: 03/27/2002)                                                                                                appear before Judge Garaufis at 10:00. (there is an unsigned note highlighted on this
                                                                                                                                        document stating that sentencing is now set for 11:30) (Rodriguez,Angela) (Entered:
03/27/2002         DISMISSAL of Count(s) on Government Motion as to Eugene Lombardo. Counts Dismissed:                                  04/17/2002)
                   Eugene Lombardo (12) count(s) 1, 3, 4, 9, 10, 11, 12. (Rodriguez,Angela) (Entered: 03/27/2002)
                                                                                                                     04/23/2002   364   CALENDAR ENTRY as to Frank Coppa Sr. in 1:00‐cr‐00196; Case called before Senior Judge I. L.
03/27/2002   349   JUDGMENT Ernest Montevecchi (2) count(s) 2. Defendant sentenced to 36 months                                         Glasser on date of 4/23/02 for sentencing. Defense Counsel: Larry Bronson and Jay Goldberg.
                   imprisonment to run concurrently sentence defendant is currently serving, plus three years                           Court Reporter: Shelly Silverman. Defendant sentenced on count 15 to 36 months
                   supervised release. Defendant to make restitution in the amount of $5 million during the                             imprisonment to be followed by 3 years of supervised release. Defendant to pay restitution in
                   period of supervised release. The government is given 90 days to provide a list of victims and                       the amount of $5 million. The Court recommends Fort Dix. Defendant assessed $100 per
                   the amounts to be paid. The Court recommends incarceration at Fort Dix. Open counts                                  count. (Rodriguez,Angela) (Entered: 04/25/2002)
                   dismissed on government's motion. (Signed by Senior Judge I. L. Glasser on 3/19/02)
                   (Rodriguez,Angela) (Entered: 03/27/2002)                                                          04/23/2002         Sentencing held Frank Coppa (1) count(s) 15. (Rodriguez,Angela) (Entered: 04/25/2002)

03/27/2002         DISMISSAL of Count(s) on Government Motion as to Ernest Montevecchi in 1:00‐cr‐00196.             04/25/2002   365   JUDGMENT Frank Coppa (1) count(s) 15. Defendant sentenced to 36 months imprisonment to
                   Counts Dismissed: Ernest Montevecchi (2) count(s) 13, 14. (Rodriguez,Angela) (Entered:                               be followed by 3 years of supervised release. Defendant to pay restitution in the amount of $5
                   03/27/2002)                                                                                                          million. The Court recommends Fort Dix. Defendant assessed $100. Open counts dismissed on
                                                                                                                                        government's motion. (Signed by Senior Judge I. L. Glasser on 4/23/02) (Rodriguez,Angela)
03/27/2002   350   ORDER as to Walter Durchalter endorsed on letter dated 3/20/02 from Robert Herskovits to                             (Entered: 04/25/2002)
                   Judge Glasser. Sentencint is adjourned to 9/18/02 at 10:00. (Signed by Senior Judge I. L.
                   Glasser‐ not dated) (Rodriguez,Angela) (Entered: 03/29/2002)                                      04/25/2002         DISMISSAL of Count(s) on Government Motion as to Frank Coppa Sr. in 1:00‐cr‐00196. Counts
                                                                                                                                        Dismissed: Frank Coppa (1) count(s) 1, 2, 3, 4, 13, 14, 16, 17. (Rodriguez,Angela) (Entered:
03/27/2002   358   LETTER dated 3/26/02 from Joseph Bondy to Judge Glasser requesting reconsideration and                               04/25/2002)
                   correction of defendant Montevecchi's sentence. (Rodriguez,Angela) (Entered: 04/09/2002)
                                                                                                                     05/02/2002   366   ORDER as to Daniel Persico in 1:00‐cr‐00196 endorsed on letter dated 5/1/02 from Joseph
03/29/2002   351   ORDER as to Alfred Palagonia endorsed on letter dated 3/20/02 from Joseph Diblasi to Judge                           Giannini to Judge Glasser. Defendant is permitted to surender directly to Fort Dix on 5/8/02.
                   Glasser. Defendant is permitted to travel as specified herein. (Signed by Senior Judge I. L.                         (Signed by Senior Judge I. L. Glasser on 5/1/02) (Rodriguez,Angela) (Entered: 05/02/2002)
                   Glasser on 3/20/02) (Rodriguez,Angela) (Entered: 03/29/2002)
                                                                                                                     05/03/2002   368   NOTICE OF APPEAL by Frank Coppa (1) count(s) 15. Fee Paid $ 105.00 Receipt # 261385. The
04/01/2002   353   LETTER dated 4/1/02 from Janathan Sack to Judge Glasser confirming that sentencing has been                          Defendant appeals the judgment that was entered on 4/25/02. Forms distributed. Judge
                   adjourned to 5/9/02 at 10:00. (endorsed by Judge Glasser on 4/3/02) (Rodriguez,Angela)                               notified. USCA notified. PLEASE NOTE: COUNSEL ADVISED THAT HE DID NOT SIGN THIS NOA &
                   (Entered: 04/04/2002)                                                                                                THAT THERE ARE TWO CRIMINAL NUMBERS EACH NUMBER SHOULD HAVE A NOA AND A FEE
                                                                                                                                        PAID FOR EACH. COUNSEL ADVISED TO FILE 2 AMENDED NOA'S ONE FOR EACH NUMBER .
04/02/2002   356   LETTER dated 4/1/02 from Jonathan Sack to Judge Glasser confirming that sentencing as to                             (Gonzalez, Mary) (Entered: 05/06/2002)
                   defendant Doukas has been adjourned to 5/9/02 at 10:00. (endorsed by Judge Glasser on
                   4/1/02) (Rodriguez,Angela) (Entered: 04/05/2002)                                                  05/06/2002   367   TRANSCRIPT of sentencing before Judge Glasser filed in case as to Frank Coppa Sr. for dates of
                                                                                                                                        4/23/02; Court Reporter: Sheldon Silverman. (Rodriguez,Angela) (Entered: 05/06/2002)
04/02/2002   357   ORDER as to Abraham Salaman endorsed on letter dated 4/1/02 from Joel Cohen to Judge
                   Glasser. Request granted. Sentencing as to defendant Salaman is adjourned to 5/9/02 at            05/06/2002   375   LETTER dated 5/2/02 from Andrew Weinstein to Judge Glasser requesting the Court's
                   10:00. (Signed by Senior Judge I. L. Glasser on 4/1/02) (Rodriguez,Angela) (Entered:                                 assistance in having defendant Chioffoletti designated to a facility that offers a "Shock
                   04/05/2002)                                                                                                          Incarceration Program." (Rodriguez,Angela) (Entered: 05/28/2002)

04/10/2002   359   ORDER as to Ernest Montevecchi in 1:00‐cr‐00196. For the reasons stated herein, defendant's       05/06/2002   377   NOTICE of change of address by counsel for John Cioffoletti in 1:00‐cr‐00196.
                   motion to reduce his sentence is denied. (Signed by Senior Judge I. L. Glasser on 4/10/02)                           (Rodriguez,Angela) (Entered: 05/29/2002)
                   (Rodriguez,Angela) (Entered: 04/12/2002)
                                                                                                                     05/09/2002   370   CALENDAR ENTRY as to Abraham Salaman; Case called before Senior Judge I. L. Glasser on date
04/12/2002   360   SENTENCING MEMORANDUM as to Abraham Salaman in 1:00‐cr‐00196. (Rodriguez,Angela)                                     of 5/9/02 for sentencing. Defense Counsel: A. John Pappalardo. AUSA: Nikki Kowalski. Court
                   (Entered: 04/15/2002)                                                                                                Reporter: Tony Mancuso. Defendant sentenced to 5 years probation, to serve 12 months of
               Case         1:16-mc-02636-AMD Document 24-8 Filed 06/07/18
                home confinement. Defendant fined $25,000 and assessed $100 per count. Defendant to
                                                                                                                                     Page 19 of 45 PageID #:
                                                                                                                    at 10:00. (Signed by Senior Judge I. L. Glasser on 6/12/02) (Rodriguez,Angela) (Entered:
                make restitution in the amount of $2.5 million. Defendant to have no further involvment in the
                securities industry in any way. (Rodriguez,Angela) (Entered: 05/16/2002)
                                                                                                               3893 06/13/2002)

                                                                                                                      06/12/2002   385   LETTER dated 6/12/02 from David Pitofsky to Clerk of the Court enclosing documents which
05/09/2002         Sentencing held Abraham Salaman (18) count(s) 3. (Rodriguez,Angela) (Entered: 05/16/2002)                             set forth victim losses relating to the deft's illegal activities. (fe) (Entered: 06/18/2002)

05/13/2002   369   AMENDED NOTICE OF APPEAL by Frank Coppa (1) count(s) 15. NO FEE PAID for this is an                06/14/2002   383   LETTER dated 6/12/02 from Jonathan Sack, AUSA to Clerk of the Court concerning restitution
                   AMENDED NOA. THE ORIGINAL WAS ENTERED ON 5/6/02. HOWEVER IT WAS UNSIGNED.                                             payments as to deft Giuseppe Temperino. (fe) (Entered: 06/17/2002)
                   Forms distributed. Judge notified. USCA notified. (Gonzalez, Mary) (Entered: 05/13/2002)
                                                                                                                      06/17/2002   382   LETTER dated 6/12/02 from Jonathan Sack to R.Heinemann this letter concerns restitution
05/13/2002         Certified copy of docket sheet sent to USCA. [369‐1] appeal (Gonzalez, Mary) (Entered:                                payments to victims of the deft. (Jackson, Ramona) (Entered: 06/17/2002)
                   05/13/2002)
                                                                                                                      06/20/2002   386   ORDER as to Lawrence Ray in 1:00‐cr‐00196, adjn. to Sentencing for 10:00 6/26/00 before
05/15/2002   371   JUDGMENT Abraham Salaman (18) count(s) 3. Defendant sentenced to 5 years probation, to                                Senior Judge I. L. Glasser , On ltr. dtd. 6/17/02 from Eric Corngold terminated past due
                   serve 12 months of home confinement. Defendant is to have no further involvement in the                               deadlines ( Signed by Senior Judge I. L. Glasser , on 6/17/02) (Jackson, Ramona) (Entered:
                   securities industry in any way. Defendant fined $25,000 and assessed $100 per count.                                  06/20/2002)
                   Defendant shall make restitution in the amount of $2.5 million over period of probation. Open
                   counts dismissed on government's motion. (Signed by Senior Judge I. L. Glasser on 5/9/02)          06/21/2002   387   ORDER as to Abraham Salaman in 1:00‐cr‐00196 Clerk of the Court ender to me a check in the
                   (Rodriguez,Angela) (Entered: 05/16/2002)                                                                              amount $100,000. payable to Abraham SAlaman. On ltr. dtd. 6/18/02 from Joel M.Cohen (
                                                                                                                                         Signed by Senior Judge I. L. Glasser , on 6/19/02) (Jackson, Ramona) (Entered: 06/21/2002)
05/15/2002         DISMISSAL of Count(s) on Government Motion as to Abraham Salaman in 1:00‐cr‐00196.
                   Counts Dismissed: Abraham Salaman (18) count(s) 2, 4. (Rodriguez,Angela) (Entered:                 06/21/2002   388   LETTER dated June 20, 2002 from AUSA David B. Pitofsky to Clerk of the Court: Enclosed are
                   05/16/2002)                                                                                                           documents relating to Mr. Weisenfeld's claim, which are asked to be included with prior
                                                                                                                                         submission. (Lee, Stephen) (Entered: 06/24/2002)
05/20/2002   372   ORDER as to Lawrence Ray in 1:00‐cr‐00196 endorsed on letter dated 5/8/02 from Robert
                   Rosenberg to Judge Glasser. Sentencing is adjourned to 6/19/02 at 10:00. (Signed by Senior         07/03/2002   389   LETTER dated July 3, 2002 from AUSA David B. Pitofsky to Clerk of the Court: Attached are
                   Judge I. L. Glasser on 5/14/02) (Rodriguez,Angela) (Entered: 05/22/2002)                                              copies of account opening documents which show the identities of some of the investors who
                                                                                                                                         lost money. Additional documents are still being obtained. (Lee, Stephen) (Entered:
05/20/2002   373   ORDER as to Joseph Polito Sr. in 1:00‐cr‐00196 endorsed on letter dated 5/14/02 from Charles                          07/08/2002)
                   Weintraub to Judge Glasser. Sentencing is adjourned to 10/8/02 at 10:00. Time excluded.
                   (Signed by Senior Judge I. L. Glasser on 5/15/02) (Rodriguez,Angela) (Entered: 05/23/2002)         07/10/2002   390   LETTER dated 7/9/02 from Jonathan S.Sack to Judge Glasser confirm sentence adjourned to
                                                                                                                                         7/31/02 @ 11:30. (Jackson, Ramona) (Entered: 07/10/2002)
05/23/2002   374   TRANSCRIPT of sentencing before Judge Glasser filed in case as to Ernest Montevecchi in 1:00‐
                   cr‐00196 for dates of 3/19/02; Court Reporter: Marsha Diamond. (Rodriguez,Angela) (Entered:        07/12/2002   391   ORDER as to John Doukas in 1:00‐cr‐00196, Granting an extension to July 31, 2002 at 11:30.
                   05/28/2002)                                                                                                           See letter dated 07/09/02 to Hon. I. Leo Glasser from AUSA Jonathan S. Sack. (Signed by Senior
                                                                                                                                         Judge I. L. Glasser, on 07/10/02). (Lee, Stephen) (Entered: 07/17/2002)
05/24/2002   376   LETTER dated 5/15/02 from Joseph DiBlasi to Judge Glasser advising that defendant Palagonia
                   will be traveling out of state on 5/16/02 through 5/17/02. (Rodriguez,Angela) (Entered:            07/18/2002   392   ORDER as to Alfred Palagonia in 1:00‐cr‐00196 endorsed on letter dated 7/17/02 from Joseph
                   05/28/2002)                                                                                                           Diblasi to Judge Glasser. Defendant is granted a modification of supervision as specified
                                                                                                                                         herein. (Signed by Senior Judge I. L. Glasser on 7/18/02) (Rodriguez,Angela) (Entered:
05/24/2002   378   AMENDED NOTICE of change of address by John Cioffoletti in 1:00‐cr‐00196.                                             07/22/2002)
                   (Rodriguez,Angela) (Entered: 05/29/2002)
                                                                                                                      07/25/2002   393   ORDER as to Daniel Lev in 1:00‐cr‐00196 endorsed on memorandum from Probation.
06/06/2002   379   USCA Scheduling Order: as to Frank Coppa Sr. in 1:00‐cr‐00196 [369‐1] appeal Appeal Record                            Defendant is permitted to travel as specified herein. (Signed by Senior Judge I. L. Glasser on
                   due by 6/24/02 for Frank Coppa Sr. USCA Number: 02‐1274, [368‐1] appeal USCA Number:                                  7/23/02) (Rodriguez,Angela) (Entered: 07/25/2002)
                   Appellant's brief due 7/24/02. Appellee's brief due 8/7/02. Argument set for 10/07/02.
                   (Gonzalez, Mary) (Entered: 06/06/2002)                                                             07/26/2002   394   ORDER as to Joseph Polito Sr. in 1:00‐cr‐00196, dismissing counts 9 and 19 of Indictment (
                                                                                                                                         Signed by Senior Judge I. L. Glasser , on 7/8/02) (Jean (Entered: 07/26/2002)
06/11/2002   384   LETTER dated 6/11/02 from David Pitofsky, AUSA to Judge Glasser requesting an adjournment
                   of the sentencing which is scheduled for 6/24/02 due to deft's death. (fe) (Entered:               07/26/2002   394   DISMISSAL of Count(s) on Government Motion as to Joseph Polito Sr. in 1:00‐cr‐00196 party
                   06/18/2002)                                                                                                           Joseph Polito in 1:00‐cr‐00196 Counts Dismissed: Joseph Polito (16) count(s) 9, 19 (Jean
                                                                                                                                         (Entered: 07/26/2002)
06/12/2002   380   LETTER dated 6/12/02 from David Pitofsky to Clerk of Court enclosing documents showing
                   victims' losses (attached). (Rodriguez,Angela) (Entered: 06/13/2002)                               07/30/2002   395   LETTER dated 7/30/02 from Edward McDonald to Judge Glasser requesting a sentence of
                                                                                                                                         home confinement with a requirement of substantial community service. (Rodriguez,Angela)
06/12/2002   381   ORDER as to Joseph Polito Sr. in 1:00‐cr‐00196 endorsed on letter dated 6/11/02 from David                            (Entered: 08/06/2002)
                   Pitofsky to Judge Glasser. Sentencing is adjourned. Status report is to be provided on 7/11/02




08/02/2002   396   CALENDAR ENTRY as to John Doukas in 1:00‐cr‐00196; Case called before Senior Judge I. L.           12/02/2002         Sentencing held Alfred Palagonia (14) count(s) 9, 11. (Rodriguez,Angela) (Entered: 12/05/2002)
                   Glasser on date of 8/2/02 for sentencing. Defense Counsel: Edward McDonald. AUSA:
                   Jonathan Sack. Court Reporter: Diana Pereira. Defendant sentenced on counts 9 and 16 to 9          12/04/2002   405   JUDGMENT Alfred Palagonia (14) count(s) 9, 11 . Defendant sentenced to one year and one
                   months imprisonment to be followed by 3 years of supervised release. Defendant to perform                             day, plus 3 years of supervised release. Restitution to be paid in the amount $20 million.
                   200 hours of community service. Restitution: $4 million, payable to the Clerk of Court. Court                         Defendant fined $50,000 and assessed $200. Court recommends FCI Allenwood, PA. (Signed by
                   recommends camp type facility‐ Allenwood or Otisville. Defendant to surrender to institution                          Senior I. L. Glasser on 12/2/02) (Rodriguez,Angela) (Entered: 12/05/2002)
                   on 9/30/02. (Rodriguez,Angela) (Entered: 08/09/2002)                                               12/04/2002         DISMISSAL of Count(s) on Government Motion as to Alfred Palagonia in 1:00‐cr‐00196. Counts
08/02/2002         Sentencing held John Doukas (8) count(s) 9, 16. (Rodriguez,Angela) (Entered: 08/09/2002)                              Dismissed: Alfred Palagonia (14) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 10, 12, 15, 16, 17, 18.
                                                                                                                                         (Rodriguez,Angela) (Entered: 12/05/2002)
08/09/2002   397   JUDGMENT John Doukas (8) count(s) 9, 16. Defendant sentenced to 9 months imprisonment to
                   be followed by 3 of supervised release. Defendant to perform 200 hours of community service.       12/18/2002   408   CERTIFICATE OF SERVICE: The sum of $50,000 was deposited in the seized asset forfeiture fund
                   Restitution: $4 million, payable to the Clerk of Court. Court recommends camp type facility‐                          on 9/23/02. (Rodriguez,Angela) (Entered: 12/27/2002)
                   Allenwood or Otisville. Defendant to surrender to institution on 9/30/02. Defendant assessed       01/08/2003   409   ORDER as to Daniel Lev in 1:00‐cr‐00196 endorsed on letter dated 1/8/03 from Jeffrey
                   $200. (Signed Senior Judge I. L. Glasser on 8/2/02) (Rodriguez,Angela) (Entered: 08/09/2002)                          Lichtman. Defendant is permitted to travel as specified herein. (Signed by Senior Judge I. L.
08/09/2002         DISMISSAL of Count(s) on Government Motion as to John Doukas in 1:00‐cr‐00196. Counts                                 Glasser on 1/8/03) (Rodriguez,Angela) (Entered: 01/09/2003)
                   Dismissed: John Doukas (8) count(s) 1, 2, 5, 6, 7, 8, 10, 11, 12, 15, 17, 18. (Rodriguez,Angela)   01/13/2003   410   SEALED DOCUMENT filed. (Rodriguez,Angela) (Entered: 01/13/2003)
                   (Entered: 08/09/2002)
                                                                                                                      01/29/2003   411   ORDER as to Alfred Palagonia endorsed on letter dated 1/27/03 from Joseph Diblasi to Judge
09/11/2002   398   ORDER as to Larry Berman in 1:00‐cr‐00196 endorsed on letter dated 9/6/02 from Amy Millard                            Glasser. Defendant's surrender date is extended to 3/4/03. (Signed by Senior Judge I. L. Glasser
                   to Judge Glasser. Defendant is permitted to travel as specified herein on condition that                              on 1/28/03) (Rodriguez,Angela) (Entered: 01/29/2003)
                   defendant advise AUSA of itinerary. (Signed by Senior Judge I. L. Glasser on 9/9/02)
                   (Rodriguez,Angela) (Entered: 09/17/2002)                                                           02/24/2003   412   ORDER as to Walter Durchalter in 1:00‐cr‐00196 endorsed on letter dated 2/20/03 from
                                                                                                                                         Michael Bachner to Judge Glasser. Defendant's bail conditions are modified to permit weekly
10/04/2002   399   CERTIFICATE OF SERVICE as to Edmond Nagel: Consent order of forfeiture was executed on                                telephonic reporting. (Signed by Senior Judge I. L. Glasser on 2/20/03) (Rodriguez,Angela)
                   6/11/02. (Rodriguez,Angela) (Entered: 10/08/2002)                                                                     (Entered: 02/24/2003)
10/17/2002   400   SEALED DOCUMENT: correspondence. (AUSA Jonathan Sack,F#1998R00464) (Glenn, Marilyn)                02/24/2003   413   SEALED DOCUMENT as to Walter Durchalter in 1:00‐cr‐00196. (Rodriguez,Angela) (Entered:
                   (Entered: 10/22/2002)                                                                                                 02/25/2003)
11/08/2002   401   ORDER as to Alfred Palagonia in 1:00‐cr‐00196 endorsed on letter dated 11/5/02 from Joseph         02/28/2003   414   ORDER as to Lawrence Ray in 1:00‐cr‐00196 endorsed on letter dated 2/27/03 from Edward
                   Diblasi to Judge Glasser. Sentencing is set for 12/2/02 at 10:00. (Signed by Senior Judge I. L.                       McDonald to Judge Glasser. Sentencing is adjourned to 4/9/03 at 10:00. (Signed by Senior
                   Glasser on 11/5/02) (Rodriguez,Angela) (Entered: 11/12/2002)                                                          Judge I. L. Glasser on 2/27/03) (Rodriguez,Angela) (Entered: 03/03/2003)
11/13/2002   402   SEALED DOCUMENT filed. (Rodriguez,Angela) (Entered: 11/25/2002)                                    03/25/2003   415   MOTION by Abraham Salaman in 1:00‐cr‐00196 to declare the restitution provision in the
11/25/2002   407   STIPULATION AND ORDER as to Lawrence Ray in 1:00‐cr‐00196 consenting to substitution of                               5/9/02 J & C void and unenforceable . (Rodriguez,Angela) Modified on 03/26/2003 (Entered:
                   counsel. Edward McDonald is substituted in place and stead of Robert Rosenberg. (Signed by                            03/26/2003)
                   Senior Judge I. L. Glasser on 11/27/02) (Rodriguez,Angela) (Entered: 12/17/2002)                   03/25/2003   416   MEMORANDUM by Abraham Salaman in 1:00‐cr‐00196 in support of [415‐1] motion to declare
11/26/2002   406   ORDER as to Larry Berman in 1:00‐cr‐00196 endorsed on letter dated 11/22/02 from Amy                                  the restitution provision in the 5/9/02 J & C void and unenforceable. (Rodriguez,Angela)
                   Millard to Judge Glasser. Defendant is granted a modification of supervised release as                                (Entered: 03/26/2003)
                   specified herein. (Signed by Senior Judge I. L. Glasser on 11/26/02) (Rodriguez,Angela)            03/25/2003   417   Exhibit list by Abraham Salaman in 1:00‐cr‐00196 in support of motion to declare restitution
                   (Entered: 12/12/2002)                                                                                                 unenforceable. (Rodriguez,Angela) (Entered: 03/26/2003)
12/02/2002   403   ORDER as to Lawrence Ray in 1:00‐cr‐00196 endorsed on letter dated 12/2/02 from Edward             03/28/2003   418   SCHEDULING ORDER as to Abraham Salaman: The government shall file a response to
                   McDonald to Judge Glasser. Sentencing is adjourned from 12/3/02 to 1/23/03 at 10:00.                                  defendant's motion to declare restitution unenforceable by 4/16/03; reply by 4/22/03. A
                   (Signed by Senior Judge I. L. Glasser on 12/2/02) (Rodriguez,Angela) (Entered: 12/05/2002)                            hearing is set for 4/25/03 at 10:00. (Signed by Senior Judge I. L. Glasser on 3/26/03)
12/02/2002   404   CALENDAR ENTRY as to Alfred Palagonia in 1:00‐cr‐00196; Case called before Senior Judge I. L.                         (Rodriguez,Angela) (Entered: 03/28/2003)
                   Glasser on date of 12/2/02 for sentencing. Defense Counsel: Joseph DiBlasi. AUSA: Eric             04/01/2003   419   CERTIFICATE OF SERVICE: Legal notice as to Larry Berman published on 2/3/03, 2/10/03, and
                   Corngold. Court Reporter: Fred Guerino. Defendant sentenced on counts 9 and 11 to one year                            2/17/03. (Rodriguez,Angela) Modified on 04/01/2003 (Entered: 04/01/2003)
                   and one day, plus 3 years of supervised release. Restitution to be paid in the amount of $20
                   million. Defendant fined $50,000 and assessed $100. The court recommends FCI Allenwood,            04/01/2003   420   CERTIFICATE OF SERVICE as to John Cioffoletti: Legal notice published on 2/3/03, 2/10/03, and
                   PA. Defendant to surrender on 2/3/03. (Rodriguez,Angela) (Entered: 12/05/2002)                                        2/17/03. (Rodriguez,Angela) (Entered: 04/01/2003)
04/01/2003
               Case
             421
                           1:16-mc-02636-AMD Document 24-8 Filed
                CERTIFICATE OF SERVICE as to Alfred Palagonia: Legal notice published on 1/31/03, 2/3/03 and
                                                                                                                           06/07/18
                                                                                                                  04/25/2003
                                                                                                                                                   Page 20 of 45 PageID #:
                                                                                                                             434 FINAL ORDER Directing Forfeiture of Property as to Abraham Salaman in 1:00‐cr‐00196.
                2/10/03. (Rodriguez,Angela) (Entered: 04/01/2003)                                            3894                Certified copies sent to AUSA. (Signed by Senior Judge I. L. Glasser on 4/22/03)
                                                                                                                                 (Rodriguez,Angela) (Entered: 04/25/2003)
04/01/2003   422   CERTIFICATE OF SERVICE as to Abraham Salaman: Legal notice published on 1/31/03, 2/3/03,
                   and 2/10/03. (Rodriguez,Angela) (Entered: 04/01/2003)                                             04/29/2003          Certified and transmitted the Record on Appeal to U.S. Court of Appeals as to Frank Coppa Sr.,
                                                                                                                                         re: [369‐1] appeal and [368‐1] appeal. The following documents were sent: A certified Clerk's
04/09/2003   423   CALENDAR ENTRY as to Lawrence Ray in 1:00‐cr‐00196; Case called before Senior Judge I. L.                             certificate with a certified docket sheet, four copies of the index, and documents # 1‐2, 9, 22,
                   Glasser on date of 4/9/03 for setencing. Defendant placed on probation for 5 years, to serve 9                        35‐37, 54, 59, 80, 88‐89, 91, 112‐113, 126, 132, 134, 139, 149, 182, 193, 208, 230‐233, 299,
                   months of home confinement. Defendant to perform 300 hours of community service.                                      315, 341, 352, 354, 362‐365, 367‐369, 379, 402, 410. Documents # 402 and 410 were
                   Defendant fined $5000 and assessed $100. (Rodriguez,Angela) (Entered: 04/11/2003)                                     transmitted to the USCA as sealed documents. The Record on Appeal, as to Frank Coppa, Sr.,
04/09/2003         Sentencing held Lawrence Ray (17) count(s) 10. (Rodriguez,Angela) (Entered: 04/11/2003)                               was transmitted to the USCA as per the direction of the USDC, EDNY Clerk of Court.
                                                                                                                                         Acknowledgment requested. (Jackson, Joshua) (Entered: 04/29/2003)
04/10/2003   424   JUDGMENT Lawrence Ray (17) count(s) 10. Defendant sentenced to 5 years probation, to
                   serve 9 months of home confinement. Special condition: 300 hours of community service.            04/29/2003    435   REPLY MEMORANDUM by Abraham Salaman in 1:00‐cr‐00196 in support of [415‐1] motion to
                   Fine: $5000. Special assessment: $100. (Signed by Senior Judge I. L. Glasser on 4/9/03)                               declare the restitution provision in the 5/9/02 J & C void and unenforceable.
                   (Rodriguez,Angela) (Entered: 04/11/2003)                                                                              (Rodriguez,Angela) (Entered: 04/30/2003)

04/10/2003         DISMISSAL of Count(s) on Government Motion as to Lawrence Ray in 1:00‐cr‐00196 Counts             05/01/2003    439   Minute Entry for proceedings held before I. Leo Glasser:Motion Hearing as to Abraham
                   Dismissed: Lawrence Ray (17) count(s) 9. (Rodriguez,Angela) (Entered: 04/11/2003)                                     Salaman held on 5/1/2003 re 415 Motion to declare restitution unenforceable. Order of
                                                                                                                                         restitution to be vacated. Eric Corngold to submit an order. Decision reserved on remaining
04/14/2003   425   LETTER dated 4/7/03 from Edward McDonald to Judge Glasser requesting that sentencing be                               issues. (Rodriguez, Angela) (Entered: 05/13/2003)
                   adjourned for approximately 4 weeks. (Rodriguez,Angela) (Entered: 04/15/2003)
                                                                                                                     05/08/2003    436   LETTER dated 05/06/03 from Eric Corngold to Judge Glasser, informing the court that The
04/16/2003   426   ORDER as to Abraham Salaman in 1:00‐cr‐00196 endorsed on letter dated 4/14/03 from Eric                               Government agrees with the defendant that this Court's restitution order should be vacated
                   Corngold to Judge Glasser. The scheduling order is amended as follows: government's                                   and that a new restitution order should not be entered. (Sica, Michele) (Entered: 05/08/2003)
                   response due 4/23/03; reply by 4/29/03. A hearing is scheduled for 5/2/03 at 10:00. (Signed by
                   Senior Judge I. L. Glasser on 4/15/03) (Rodriguez,Angela) (Entered: 04/16/2003)                   05/08/2003    437   LETTER dated 5/6/03 from Eric Corngold to Judge Glasser advising that the government agrees
                                                                                                                                         that the court's restitution order should be vacated and that a new order should not be
04/18/2003   427   LETTER dated 4/14/03 from Eric Corngold to Judge Glasser requesting that the scheduling                               entered. (Rodriguez,Angela) (Entered: 05/09/2003)
                   order for defendant Salaman's motion be adjourned for one week. (Rodriguez,Angela)
                   (Entered: 04/21/2003)                                                                             05/08/2003    438   ORDER as to Abraham Salaman in 1:00‐cr‐00196 granting [415‐1] motion to declare the
                                                                                                                                         restitution provision in the 5/9/02 J & C void and unenforceable as to Abraham Salaman (18).
04/21/2003   429   LETTER dated 4/21/03 from Sarah Lum to Judge Glasser enclosing a proposed consent Final                               The existing order of restitution is hereby vacated. (Signed by Senior Judge I. L. Glasser on
                   Order of Forfeiture as to defendant Cioffoletti. (Rodriguez,Angela) (Entered: 04/25/2003)                             5/6/03) (Rodriguez,Angela) (Entered: 05/09/2003)

04/21/2003   431   LETTER dated 4/21/03 from Sarah Lum to Judge Glasser enclosing a Final Order of Forfeiture as     05/15/2003    440   Minute Entry for proceedings held before I. Leo Glasser: Sentencing held on 5/15/2003 for
                   to defendant Palagonia. (Rodriguez,Angela) (Entered: 04/25/2003)                                                      Larry Berman (6), Count(s) 1, 2, 3, 4, 6, 7, 8, Dismissed on government's motion.; Count(s) 5,
                                                                                                                                         Defendant sentenced to 3 years probation. Defendant fined $5000 and assessed $100.
04/21/2003   433   LETTER dated 4/21/03 from Sarah Lum to Judge Glasser enclosing a Final Consent Order of                               Defendant to perform 100 of community service. (Rodriguez, Angela) (Entered: 05/22/2003)
                   Forfeiture as to defendant Salaman. (Rodriguez,Angela) (Entered: 04/25/2003)
                                                                                                                     05/19/2003    443   Certificate of Service by USA as to Alfred Palagonia. Final Decree of Forfeiture executed.
04/22/2003   463   ORDER as to Daniel Lev endorsed on letter dated 4/22/03 from Jeffrey Lichtman to Judge                                $400,00.00 was transferred into the asset forfeiture fund on 5/8/03. (Rodriguez, Angela)
                   Glasser. Defendant is granted a modification of supervision as requested. Signed by Judge I.                          (Entered: 05/22/2003)
                   Leo Glasser on 4/22/03. (Rodriguez, Angela) (Entered: 10/22/2003)
                                                                                                                     05/19/2003    444   Certificate of Service by USA as to John Cioffoletti: Decree of forfeiture executed. $110,00.00
04/23/2003   428   Government's memorandum in response to defendant's motion for an order declaring this                                 was transferred into the asset forfeiture fund on 5/8/03. (Rodriguez, Angela) (Entered:
                   court's restitution order void. (Rodriguez,Angela) (Entered: 04/24/2003)                                              05/22/2003)
04/24/2003   430   FINAL ORDER Directing Forfeiture of Property as to John Cioffoletti in 1:00‐cr‐00196. Certified   05/19/2003    445   Certificate of Service by USA as to John Cioffoletti: Decree of forfeiture executed. $110,00.00
                   copies forwarded to parties. (Signed by Senior Judge I. L. Glasser on 4/22/03)                                        was transferred into the asset forfeiture fund on 5/8/03. (Rodriguez, Angela) (Entered:
                   (Rodriguez,Angela) (Entered: 04/25/2003)                                                                              05/22/2003)
04/25/2003   432   FINAL ORDER Directing Forfeiture of Property as to Alfred Palagonia in 1:00‐cr‐00196. Certfied    05/19/2003    446   Certificate of Service by USA as to Abraham Salaman. Final Order of Forfeiture executed.
                   copies sent to AUSA. (Signed by Senior Judge I. L. Glasser on 4/22/03) (Rodriguez,Angela)                             $50,000.00 was transferred into the asset forfeiture fund on 5/8/03. (Rodriguez, Angela)
                   (Entered: 04/25/2003)                                                                                                 (Entered: 05/22/2003)




05/20/2003   442   FINAL ORDER DIRECTING FORFEITURE OF PROPERTY as to Edmond Nagel. Signed by Judge I.               08/04/2003    460   Certificate of Service by USA as to Frank Coppa Sr., Ernest Montevecchi, Daniel Persico, Jack
                   Leo Glasser on 5/20/03. (Rodriguez, Angela) (Entered: 05/22/2003)                                                     Basile, Rocco Basile, Larry Berman, John Cioffoletti, John Doukas, Walter Durchalter, Edward
                                                                                                                                         Garafola, Daniel Lev, Eugene Lombardo, Edmond Nagel, Alfred Palagonia, Aleks Paul, Joseph
05/22/2003   441   JUDGMENT as to Larry Berman (6), Count(s) 1, 2, 3, 4, 6, 7, 8, Dismissed on government's                              Polito Sr., Lawrence Ray, Abraham Salaman, Giuseppe Temperino, For a final order of
                   motion. Count(s) 5, Defendant sentenced to 3 years probation. Defendant fined $5000 and                               forfeiture. service upon Condor Capital, Inc. stock certificate numbers 0663 and 0664 c/o
                   assessed $100. Defendant to perform 100 of community service. Signed by Judge I. Leo Glasser                          United States Marshals Service. date 7/8/03.; Condor Capital Inc stock certificate #0663 and
                   on 5/15/03. (Rodriguez, Angela) (Entered: 05/22/2003)                                                                 #0664 were destroyed by shredding at 225 Cadman Plaza E. room G‐80, Brooklyn, NY on
05/22/2003   447   Letter dated 5/14/03 from Eric Corngold to Judge Glasser advising that the government is                              07/08/03. (Sica, Michele) (Entered: 08/08/2003)
                   unable to provide victim losses. The government submits that the defendant should not be          08/14/2003    461   Appeal reord returned as to Frank Coppa Sr. containing documents numbered 1, 2, 9, 22, 35‐
                   ordered to pay restitution. (Rodriguez, Angela) (Entered: 05/22/2003)                                                 37, 54, 5, 63, 80, 88, 89, 91, 112, 113, 126, 132, 134, 139, 139, 149, 182, 193, 208, 230‐232,
05/28/2003   448   SEALED PRE‐SENTENCE REPORT (McGee, Mary Ann) (Entered: 05/29/2003)                                                    299, 315, 341, 352, 354, 362‐379, (402, 410 SEALED) USCA#02/1274. (Drayton, Lorraine)
                                                                                                                                         (Entered: 08/14/2003)
05/29/2003   449   Transmitted Supplemental Record on Appeal as to Frank Coppa Sr. re 368 Notice of Appeal ‐
                   Final Judgment, Appeal ‐ Miscellaneous, 379 Appeal ‐ Miscellaneous,, 369 Notice of Appeal ‐       08/27/2003    462   ORDER as to Giuseppe Temperino endorsed on memorandum from Probation Dept. Defendant
                   Final Judgment, Appeal ‐ Miscellaneous.This supplemental record consists of document #448.                            is granted a modification of supervision as requested. Signed by Judge Frederic Block on
                   It was requested by V. Singleton ‐ Intake Section, U.S.C.A. It is being sent to her attention.                        8/25/03. (Rodriguez, Angela) (Entered: 08/27/2003)
                   Acknowledgment requested. (McGee, Mary Ann) (Entered: 05/29/2003)                                 12/18/2003    464   ORDER as to Daniel Lev endorsed on letter dated 12/2/03 from Jeffrey Lichtman to Judge
06/04/2003   452   Letter dated 6/4/03 from Sarah Lum to Judge Glasser enclosing a proposed final order of                               Glasser. Defendant is granted a modification of supervision as requested. Signed by Judge I.
                   forfeiture as to Larry Berman. (Rodriguez, Angela) (Entered: 06/10/2003)                                              Leo Glasser on 12/2/03. (Rodriguez, Angela) (Entered: 12/19/2003)

06/04/2003   455   Acknowledgment from USCA received re: Acknowledgment sigend by PSK on                             12/22/2003    465   ORDER as to Walter Durchalter endorsed on letter dated 12/18/03 from Eric Corngold to Judge
                   5/30/03.USCA#02/1274.(Drayton, Lorraine) (Entered: 06/13/2003)                                                        Glasser. Se3ntencing is adjourned to 2/12/04 at 10:00. Signed by Judge I. Leo Glasser on
                                                                                                                                         12/18/03. (Rodriguez, Angela) (Entered: 12/22/2003)
06/05/2003   450   TRANSCRIPT of Proceedings as to Abraham Salaman held on 5/1/03 before Judge Glasser
                   (hearing). Court Reporter: Gene Rudolph. (Rodriguez, Angela) (Entered: 06/05/2003)                01/15/2004    467   MOTION for Leave to Appear pro hac vice Attorney: Michael V. Gilberti. by Lawrence Ray.
                                                                                                                                         (Rodriguez, Angela) (Entered: 01/26/2004)
06/06/2003   451   FINAL ORDER DIRECTING FORFEITURE OF PROPERTY as to Larry Berman. Signed by Judge I. Leo
                   Glasser on 6/4/03. (Rodriguez, Angela) (Entered: 06/10/2003)                                      01/15/2004    468   ORDER as to Lawrence Ray re 467 MOTION for Leave to Appear pro hac vice filed by Lawrence
                                                                                                                                         Ray. Attorney Michael V. Gilberti admitted as counsel. Signed by Judge I. Leo Glasser on
06/09/2003   453   Letter dated 5/22/03 from Magdelyn Baez, USPO, to Judge Glasser requesting clarification of                           1/16/04. (Rodriguez, Angela) (Entered: 01/26/2004)
                   the Court's order to vacate restitution as to defendant Salaman. (Rodriguez, Angela) (Entered:
                   06/12/2003)                                                                                       01/15/2004          Attorney update in case as to Lawrence Ray. Attorney Michael V. Gilberti for Lawrence Ray
                                                                                                                                         added. Attorney Jonathan S. Sack terminated. (Rodriguez, Angela) (Entered: 01/26/2004)
06/09/2003   454   Letter dated 6/3/03 from Judge Glasser to Magdelyn Baez, USPO. The government is in the
                   process of drafting an order addressing the clarification sought re: order vacating defendant     01/23/2004    466   AFFIDAVIT of Thomas Roth submitted in response to Lawrence Ray's claim of constitutional
                   Salaman's restitution order. (Rodriguez, Angela) (Entered: 06/12/2003)                                                ineffective assistance of counsel. (Rodriguez, Angela) (Entered: 01/23/2004)

06/26/2003   456   MANDATE of USCA (certified copy), re: 368 Notice of Appeal and 369 Notice of Appeal. It is        02/23/2004    469   SEALED DOCUMENT filed. (Rodriguez, Angela) (Entered: 03/02/2004)
                   ORDERED that the case is REMANDED so that the District Court may revise the restitution           03/12/2004    470   ORDER as to Walter Durchalter endorsed on letter dated 3/11/04 from Michael Bachner to
                   payment schedule to clarify what schedule payment was intended. It is FURTHER ORDERED                                 Judge Glasser. Sentencing is adjourned to 5/4/04 at 10:00. Signed by Judge I. Leo Glasser on
                   that the government's motion to dismiss the appeal is GRANTED. Issued as mandate: 6/24/03.                            3/12/04. (Rodriguez, Angela) (Entered: 03/16/2004)
                   USCA # 02‐1274. Judge notified. Acknowledgment sent to USCA. (Jackson, Joshua) (Entered:
                   06/30/2003)                                                                                       04/06/2004    471   Letter from Michael V.Gilberti to Judge Glasser dtd. 3/26/04 reply to Gov't opposition to Mr
                                                                                                                                         Ray's motion for reconsideration. (Jackson, Ramona) (Entered: 04/06/2004)
07/17/2003   457   ORDER CLARIFYING CONDITIONS OF PROBATION as to Abraham Salaman. (Signed by Judge I.
                   Leo Glasser on 7/14/03). (Piper, Francine) (Entered: 07/17/2003)                                  04/30/2004    472   ORDER as to Walter Durchalter endorsed on letter dated 4/29/04 from Michael Bachner Judge
                                                                                                                                         Glasser. Sentencing is adjourned to 5/28/04 at 10:00. Signed by Judge I. Leo Glasser on
07/25/2003   458   Certificate of Service by USA as to Larry Berman: $300,00 was transferred into the asset                              4/29/04. (Rodriguez, Angela) (Entered: 05/07/2004)
                   forfeiture fund on 6/16/03. A check in the amount of $300,000 was deposited into the fund on
                   6/16/03. (Rodriguez, Angela) (Entered: 07/29/2003)                                                05/27/2004    473   ORDER as to Walter Durchalter, Requesting the adjournment of Mr. Durchhalter's May 298th
                                                                                                                                         2004 sentencing until 06/14/04 (see letter dtd 05/25/04 . Signed by Judge I. Leo Glasser on
07/25/2003   459   Certificate of Service by USA as to Edmond Nagel: $100,000 and $350,000 transferred into the                          05/25/04. (Sica, Michele) (Entered: 05/27/2004)
                   asset forfeiture fund on 6/16/03. (Rodriguez, Angela) (Entered: 07/29/2003)
06/08/2004
               Case
             474
                           1:16-mc-02636-AMD Document 24-8 Filed 06/07/18
                Notice of MOTION for Certificate of Appealability by Lawrence Ray. (Sica, Michele) (Entered:
                                                                                                                                     Page 21 of 45 PageID #:
                                                                                                                  the unexpired term of probation. The court recommends that the defendant be designated to
                06/08/2004)                                                                                  3895 a facility in the Hudson County, NJ area. The court further recommends that defendant be
                                                                                                                  given his prescribed medications. (Johnson, Tanya) (Entered: 01/30/2006)
06/08/2004         ORDER as to Lawrence Ray, This Motion for a certificate of appealability is DENIED for the
                   reason that the applicant has not made a substantial showing of a denial of a constitutional       02/06/2006   484   Violation Probation/Supervised Release Order as to Lawrence Ray . Ordered by Judge I. Leo
                   right. (Endorsed on motion Doc #474) . Signed by Judge I. Leo Glasser on 6/4/04. (Sica,                               Glasser on 1/30/06. (Sica, Michele) (Entered: 02/06/2006)
                   Michele) (Entered: 06/08/2004)
                                                                                                                      03/15/2006   485   ORDER as to Daniel Persico; The Court orders the modification of conditions as noted above .
06/08/2004   475   AFFIDAVIT of Michael V. Gilberti attorney for Lawrence Ray, in support of motion for a                                Ordered by Judge I. Leo Glasser on 3/13/06. (Request for Modification of Release Conditions
                   certificate of appealability (Sica, Michele) (Entered: 06/08/2004)                                                    and Waiver of Hearing to Modify Conditions attached) (Fernandez, Erica) (Entered:
                                                                                                                                         03/15/2006)
06/14/2004   476   Minute Entry for proceedings held before I. Leo Glasser :Sentencing held on 6/14/2004 for
                   Walter Durchalter (9), Count(s) 1, 10, 11, 12, 2, 3, 5, 8, 9, Dismissed on governments motion;     09/25/2006   486   ORDER Granted as to Aleks Paul for the request to travel on business . Ordered by Judge I. Leo
                   Count(s) 4, 6, 7, Imprisonment for a total term of 24 months, The court recommends that the                           Glasser on 9/5/06. (Sica, Michele) (Entered: 09/25/2006)
                   defendant be designated to a facility in the New York area. The defendant shall surrender for
                   service of sentence at the institution designated by the Bureau of Prisons before 2p.m. on         12/27/2006   487   ORDER FOR THE REQUEST FOR MODIFYING THE CONDITIONS OR TERMS OF SUPERVISION as to
                   08/23/04. Supervised release for a Three year term. Special Assessment of $200.00 and Fine of                         Walter Durchalter. The Court Orders the modification of conditions: the defendant shall make
                   $50,000.00. The other nine counts are dismissed on the motion of the United States. Defense                           payments in the amount of $200 per month towards his fine . Ordered by Judge I. Leo Glasser
                   Counsel: Michael Bachner, AUSA: Eric Corngold. (Court Reporter Henry Shapiro.) (Sica,                                 on 12/22/06. (Sica, Michele) (Entered: 12/27/2006)
                   Michele) (Entered: 06/29/2004)                                                                     02/06/2007   489   ORDER FOR ISSUANCE of ARREST WARRANT as to Lawrence Ray. Ordered by Judge I. Leo
06/14/2004   477   JUDGMENT as to Walter Durchalter (9), Count(s) 1, 10, 11, 12, 2, 3, 5, 8, 9, Dismissed on                             Glasser on 2/6/2007. (Abdallah, Fida) (Entered: 06/18/2007)
                   governments motion; Count(s) 4, 6, 7, Imprisonment for a total term of 24 months, The court        05/29/2007   488   ENDORSED ORDER on letter dated May 29, 2007, from Rosiani L. Schuricht, U.S. Probation
                   recommends that the defendant be designated to a facility in the New York area. The                                   Officer, to Judge Glasser: Request for provisions to be installed as to Aleks Paul's travel request
                   defendant shall surrender for service of sentence at the institution designated by the Bureau                         is GRANTED. See attached for details. Ordered by Judge I. Leo Glasser on 5/29/2007. (Abdallah,
                   of Prisons before 2p.m. on 08/23/04. Supervised release for a Three year term. Special                                Fida) (Entered: 05/29/2007)
                   Assessment of $200.00 and Fine of $50,000.00. The other nine counts are dismissed on the
                   motion of the United States. . Signed by Judge I. Leo Glasser on 6/14/04. (Sica, Michele)          06/14/2007   490   Arrest Warrant Returned Executed on 6/13/2007 in case as to Lawrence Ray. (Abdallah, Fida)
                   (Entered: 06/29/2004)                                                                                                 (Entered: 06/18/2007)

08/27/2004   478   ORDER as to Walter Durchalter, GRANTING that the defendants surrender date be adjourned            06/15/2007   491   Minute Entry for proceedings held before Hon. Viktor V. Pohorelsky: Initial Appearance re
                   until 09/19/04. (see ltr dtd 8/19/04) . Signed by Judge I. Leo Glasser on 8/20/04. (Sica,                             Revocation of Probation as to Lawrence Ray held on 6/15/2007. Appearances: AUSA Jonathan
                   Michele) (Entered: 08/27/2004)                                                                                        Green and Def counsel Louis Freeman. Bail hearing set for 6/21 @ 2:30 before Judge Glasser.
                                                                                                                                         Dft arraigned on the violation of probation. Status conference set for 6/21/07 @ 2:30 p.m.
09/10/2004   479   Appeal 1st SUPPLEMENTAL record returned from the Court of Appeals containing document                                 before Judge Glasser. Temporary Order of detention entered. (Log # 4:18 ‐ 4:27) (Abdallah,
                   number #448. (Copy of this form returned for Fred Nunnery c/o Court of Appeals.)                                      Fida) (Entered: 06/18/2007)
                   USCA#02/1274.(Drayton, Lorraine) (Entered: 09/10/2004)
                                                                                                                      06/15/2007   492   CJA 20: Appointment of Attorney Louis M. Freeman for Dft Lawrence Ray. Ordered by Judge
09/27/2004   480   Sealed Document placed in vault (Sica, Michele) (Entered: 09/27/2004)                                                 Viktor V. Pohorelsky on 6/15/2007. (Abdallah, Fida) (Entered: 06/18/2007)
10/20/2004   481   Notice of MOTION for Early Termination of Probation for Larry Berman (6) Count 5 by Larry          06/15/2007   493   ORDER OF TEMPORARY DETENTION Pending Hearing Pursuant to Bail Reform Act as to
                   Berman. (Sica, Michele) (Entered: 10/20/2004)                                                                         Lawrence Ray: It is Ordered that a detention hearing is set for 6/21/2007 at 2:30 before Judge
10/20/2004   482   ORDER as to Larry Berman, That, the term of Probation imposed by this Court on May 15, 2003                           Glasser. Ordered by Judge Viktor V. Pohorelsky on 6/15/2007. (Abdallah, Fida) (Entered:
                   in this matter be and is hereby terminated . Signed by Judge I. Leo Glasser on 10/15/04. (Sica,                       06/18/2007)
                   Michele) (Entered: 10/20/2004)                                                                     07/11/2007         Minute Entry for proceedings held before I. Leo Glasser:Probation Revocation Hearing as to
01/25/2006   483   NOTICE OF ATTORNEY APPEARANCE: J. Bruce Maffeo appearing for Lawrence Ray J. Bruce                                    Lawrence Ray held on 7/11/2007. AUSA Jonathan Green for the Government. Louis Freeman
                   Maffeo is Substituting in for Michael V. Gilberti for the purpose of a violation of probation by                      for Defendant. Probation Officer Robert Anton. Defendant was arraigned and pled NOT GUILTY
                   Lawrence Ray, defendant. (Maffeo, J.) (Entered: 01/25/2006)                                                           to charges ONE (1) to SIX(6). Defense Counsel made a bail application. Application was DENIED
                                                                                                                                         pending more information. An Evidentiary Hearing is scheduled for July 19, 2007 at 11:30 am.
01/30/2006         Minute Entry: Case called before Judge I. Leo Glasser on 1/30/06 for Violation of Probation                           Defendant remains in custody. (Court Reporter Diane Molas.) (Francis, Ogoro) (Entered:
                   Hearing as to defendant Lawrence Ray. AUSA: Eric Corngold. Defense Counsel: Bruce Maffeo.                             07/11/2007)
                   Court Reporter: Anthony Frisolone. Defendant enters a plea of Guilty to Violations 2A, 2B and
                   3. Defendant is sentenced to 6 months of imprisonment. After the term of imprisonment is
                   completed, defendant's supervised release shall be reinstated for the same period of time as




07/18/2007   494   ORDER That DYFS is to produce Talia Ray for the within referenced hearing as to Lawrence Ray       11/02/2007   503   TRANSCRIPT of Arraignment as to Lawrence Ray held on June 15, 2007 before Judge
                   on July 19, 2007 at 10:30 am before the Honorable I Leo glasser. Ordered by Judge I. Leo                              Pohorelsky. Transcript produced by Transcription Plus II. (Rocco, Christine) (Entered:
                   Glasser on 7/17/07. (Sica, Michele) (Entered: 07/18/2007)                                                             11/02/2007)

07/18/2007   495   Letter Concerning the Defendant's Violation Hearing as to Lawrence Ray (Green, Jonathan)           11/05/2007   504   TRANSCRIPT of violation of supervised release Proceedings as to Lawrence Ray held on
                   (Entered: 07/18/2007)                                                                                                 7/11/07 before Judge Glasser. AUSA: Jonathan Green, Defense Attny: Louis Freeman. Court
                                                                                                                                         Reporter: Alan Sherman. (Sica, Michele) (Entered: 11/05/2007)
07/19/2007   496   CJA 23 Financial Affidavit by Lawrence Ray. (Lee, Tiffeny) (Entered: 07/19/2007)
                                                                                                                      11/07/2007   505   Letter Requesting a Brief Adjournment as to Lawrence Ray (Freeman, Louis) (Entered:
07/23/2007         Minute Entry for proceedings held before I. Leo Glasser: Probation Revocation Hearing as to                           11/07/2007)
                   Lawrence Ray held on 7/19/2007. AUSA Jonathan Green on behalf of the Government.
                   Defense Counsel Louis Freeman on behalf of Defendant. Probation Officer Robert Anton. A            11/07/2007   506   ORDER as to Lawrence Ray re 505 Letter DENIED. So Ordered by Judge I. Leo Glasser on
                   hearing was held, Testimony was heard from witnesses. Charge # One(1) was dismissed by the                            11/7/2007. (Toribio, Winnethka) (Entered: 11/07/2007)
                   Court. The Court found the Defendant GUILTY On Charges Three (3), Four(4), Five (5) and
                   Six(6). As to Charge Two(2). The Court is giving Defense Counsel time to provide sufficient        11/07/2007         NOTICE OF HEARING as to Lawrence Ray: Final Probation Revocation Hearing RESCHEDULED
                   evidence in regards to pending Charge. Hearing will be continued on July 31, 2007 at 10am,                            for 12/14/2007 at 10:00 AM in 8B South before Senior‐Judge I. Leo Glasser. (Francis, Ogoro)
                   where a Final determination of Charges will be made. Defendant remains in Custody. (Court                             (Entered: 11/07/2007)
                   Reporter Fred Guerino 718‐613‐2503.) (Francis, Ogoro) (Entered: 07/23/2007)                        12/11/2007   507   MOTION to Continue Violation hearing by Lawrence Ray. (Freeman, Louis) (Entered:
07/30/2007   497   Letter (Adjournment Request) as to Lawrence Ray (Freeman, Louis) (Entered: 07/30/2007)                                12/11/2007)

07/31/2007         A Preliminary Revocation Hearing as to Lawrence Ray was held on 7/31/2007 before Senior            12/11/2007   508   NOTICE OF ATTORNEY APPEARANCE: Sidney Baumgarten appearing for Lawrence Ray
                   District Judge, I. Leo Glasser. AUSA Jonathan Green appeared on behalf of the Government.                             (Baumgarten, Sidney) (Entered: 12/11/2007)
                   Louis Freeman appeared on behalf of the Defendant Ray, who was not present for the                 12/12/2007   509   ORDER as to Lawrence Ray GRANTING the request for the adjournment of the violation of
                   proceedings. As per Mr. Freeman's letter regarding adjourning the proceedings until                                   supervised release hearing scheduled for 12/14/07 until 01/25/08 @ 10:30 a.m.. Ordered by
                   September 2007, request was GRANTED by the Court. The case has been adjourned to                                      Senior Judge I. Leo Glasser on 12/11/07. (Sica, Michele) (Entered: 12/12/2007)
                   September 11, 2007 at 11am. Defendant remains in custody. (Court Reporter Gene Rudolph.)
                   (Francis, Ogoro) (Entered: 07/31/2007)                                                             12/18/2007         Incorrect Case‐Document Information filed as to Lawrence Ray. Docket entry #510, previously
                                                                                                                                         filed as an Order Modifying Conditions or Term of Supervision as to Hannah Kakish, on
09/10/2007   498   Letter Requesting an adjournment as to Lawrence Ray (Freeman, Louis) (Entered: 09/10/2007)                            12/12/07 has been deleted. (Brucella, Michelle) (Entered: 12/18/2007)
09/12/2007   499   ORDER as to Lawrence Ray GRANTED for the adjournment of sentencing from 09‐11‐07 until             12/20/2007   510   TRANSCRIPT of Conference as to Lawrence Ray held on 7/31/2007 before Judge Glasser. Court
                   10‐19‐07 at 11:00 am. Ordered by Judge I. Leo Glasser on 9/10/07. (Sica, Michele) (Entered:                           Reporter:Gene Rudolph. (Toribio, Winnethka) (Entered: 12/20/2007)
                   09/12/2007)
                                                                                                                      12/27/2007         Motions terminated as to Lawrence Ray: 507 MOTION to Continue Violation hearing filed by
10/16/2007         A Status Conference as to Lawrence Ray was held on 10/16/2007 before the Honorable I. Leo                             Lawrence Ray.Order Endorsed on Doc #509. Ordered by Senior Judge I. Leo Glasser on
                   Glasser. AUSA Jonathan Green appeared on behalf of the Government. Defense Counsel Louis                              12/27/2007. (Francis, Ogoro) (Entered: 12/27/2007)
                   Freeman appeared on behalf of the defendant. The Court was informed by the U.S. Marshall's,
                   that the defendant was not feeling well this morning, therefore he was not produced. Defense       01/25/2008   511   Minute Entry for proceedings held before Senior Judge I. Leo Glasser: For a Final Hearing re
                   Counsel relayed to the Court that he and his client had some issues. The Court advised                                Revocation of Supervised Release as to Lawrence Ray held on 1/25/2008. Case called. Defts
                   Defense Counsel that he would not hear anything on the matter. The Court advised Defense                              appear with counsel. Final revocation hearing held. Deft reinstated to supervision. Sentencing
                   Counsel that if he had any applications, he should make it by writing to the Court. (Court                            held. Defendant was sentenced to time served. The current terms of supervision are to be
                   Reporter Shelly Silverman.) (Francis, Ogoro) (Entered: 10/16/2007)                                                    continued (Court Reporter Marie Foley.) (Sica, Michele) (Entered: 01/28/2008)

10/18/2007   500   Letter request for adjournment of court appearance as to Lawrence Ray (Freeman, Louis)             01/25/2008   512   Violation Probation/Supervised Release Order as to Lawrence Ray IMPRISONMENT: TIME
                   (Entered: 10/18/2007)                                                                                                 SERVED; SUPERVISED RELEASE: THE CURRENT SUPERVISED RELEASE TERMS ARE TO BE
                                                                                                                                         CONTINUED. Ordered by Senior Judge I. Leo Glasser on 1/25/08. (Sica, Michele) (Additional
10/18/2007   501   ORDER as to Lawrence Ray GRANTED for the adjournment of Court matter from 10‐19‐07 until                              attachment(s) added on 2/11/2008: #1 page 4 of doc #512) (Sica, Michele). (Entered:
                   11‐08‐07 at 10:00 am. Ordered by Judge I. Leo Glasser on 10/18/07. (Sica, Michele) (Entered:                          01/29/2008)
                   10/18/2007)
                                                                                                                      03/01/2010   513   ORDERfor Petition for Warrant or Summons for Offender Under Supervision as to Alfred
10/30/2007   502   TRANSCRIPT of Status Conference/VOP as to Lawrence Ray held on 10/16/2007 before Judge I.                             Palagonia; The Courts Orders: The issuance of a Summons. U.S. Probation Officcer
                   Leo Glasser. Court Reporter: Sheldon Silverman. (Brucella, Michelle) (Entered: 10/30/2007)                            Recommends that the Terms of Supervision should be Revoked. Ordered by Senior Judge I. Leo
                                                                                                                                         Glasser on 3/1/2010. (Sica, Michele) (Entered: 03/01/2010)
03/11/2010
               Case
             514
                          1:16-mc-02636-AMD Document 24-8 Filed 06/07/18
                ORDER as to Alfred Palagonia, THE COURT ORDERS: The Modification of Conditions as Noted
                                                                                                                    Page 22 of 45 PageID #:
                Above. Ordered by Senior Judge I. Leo Glasser on 09/21/07. (Sica, Michele) (Entered:
                03/11/2010)
                                                                                                        3896
03/15/2010   515   Summons Returned Executed on 03/01/10 as to Alfred Palagonia (Sica, Michele) (Entered:
                   03/17/2010)

10/21/2010   516   ENDORSED ORDER on (faxed) letter dtd. 10/21/10 filed by counsel J. DiBlasi as to Alfred
                   Palagonia, granting his request that the Violation of Probation Hearing be adjrn'd. from 10/28
                   to 12/10/10. (Revocation Probation Hearing set for 12/10/2010 at 11:00 AM in Courtroom 8B
                   South before Senior Judge I. Leo Glasser). So Ordered by Senior Judge I. Leo Glasser on
                   10/21/2010. (Layne, Monique) (Entered: 10/21/2010)

12/08/2010   517   ENDORSED ORDER re: letter (faxed) dated 12/7/10 from Joseph v. DiBlasi, Esq., requesting an
                   adjournment of the conference as to Alfred Palagonia scheduled for 12/10/10. The application
                   is granted, and the conference will take place on 1/7/11 at 10:30 a.m. in Courtroom 8B South
                   before Senior Judge I. Leo Glasser. So Ordered by Senior Judge I. Leo Glasser on 12/8/2010.
                   (Manuel, Germaine) (Entered: 12/09/2010)




                                             PACER Service Center
                                                 Transaction Receipt

                                                 12/14/2010 06:59:59
                      PACER Login:      fo0569          Client Code:
                      Description:      Docket Report   Search Criteria:   1:00‐cr‐00196‐ILG
                      Billable Pages:   30              Cost:              2.40
                  Case 1:16-mc-02636-AMD                                   Document 24-8 Filed     06/07/18
                                                                                           Frank Coppa, Sr.                             Page 23    of 45
                                                                                                                                             represented      PageID
                                                                                                                                                         by John B. Hansbury #:
                                                                     CLOSED,APPEAL,MJSELECT
                                                                                      3897 TERMINATED: 04/25/2002                                             Law Office of John B. Hansbury
                                                                                                                                                              925 Westchester Avenue
                               U.S. District Court
                     Eastern District of New York (Brooklyn)
          CRIMINAL DOCKET FOR CASE #: 1:00-cr-00196-ILG All Defendants                                                                                        White Plains, NY 10604

                                                                                                                                                              914-946-7432
                                                                                                                                                              Fax: 914-946-3708
Case title: USA v. Coppa et al                             Date Filed: 03/01/2000
                                                                                                                                                              Email: bhansburylaw@msn.com
Other court case numbers: 1:98-cr-01069 RELATED CASE       Date Terminated: 06/14/2004
                                                                                                                                                              TERMINATED: 04/25/2002
                          1:98-cr-01101 RELATED CASE                                                                                                          LEAD ATTORNEY
                          1:98-cr-01102 RELATED CASE                                                                                                          ATTORNEY TO BE NOTICED
                          1:99-cr-00545 RELATED CASE                                                                                                          Designation: Retained

                                                                                                                                                              Larry Bronson
Movant                                                                                                                                                        Jay Goldberg, P.C.
                                                                                                                                                              250 Park Avenue
Estate of Emest Gottdiener                    represented by John F. Harwick                                                                                  New York, NY 10022
                                                             Hacker Murphy LLP                                                                                (212) 983-6000
                                                             7 Airport Park Blvd.                                                                             TERMINATED: 04/25/2002
                                                             Latham, NY 12110                                                                                 LEAD ATTORNEY
                                                             518-783-3843                                                                                     ATTORNEY TO BE NOTICED
                                                             Fax: 518-783-8101
                                                             Email: jharwick@hackermurphy.com                                                                 Larry Bronson
                                                             ATTORNEY TO BE NOTICED                                                                           Mr. Larry Bronson
                                                                                                                                                              80 Pine Street
                                                                                                                                                              New York, NY 10070
Movant                                                                                                                                                        TERMINATED: 04/25/2002
                                                                                                                                                              LEAD ATTORNEY
Judith Gottdiener                             represented by John F. Harwick                                                                                  ATTORNEY TO BE NOTICED
                                                             (See above for address)                                                                          Designation: Retained
                                                             ATTORNEY TO BE NOTICED
                                                                                                                                                              Nicholas Gregory Kaizer
                                                                                                                                                              Levitt & Kaizer
Movant                                                                                                                                                        40 Fulton Street, 23rd Floor
                                                                                                                                                              New York, NY 10038-5077
Ervin Tausky                                  represented by John F. Harwick
                                                                                                                                                              212 480-4000
                                                             (See above for address)
                                                                                                                                                              Fax: 212 480-4444
                                                             ATTORNEY TO BE NOTICED
                                                                                                                                                              Email: nkaizer@richardlevitt.com
                                                                                                                                                              TERMINATED: 04/25/2002
                                                                                                                                                              LEAD ATTORNEY
Movant                                                                                                                                                        ATTORNEY TO BE NOTICED
Suan Investments, Inc.                        represented by John F. Harwick                                                                                  Designation: Retained
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED                Pending Counts                                             Disposition
                                                                                                                                                              Defendant sentenced to 36 months
                                                                                                   18:371 and 3551 et seq. - CABLE
Assigned to: Judge I. Leo Glasser                                                                                                                             imprisonment to be followed by 3 years of
                                                                                                   SECURITIES FRAUD CONSPIRACY.
                                                                                                                                                              supervised release. Defendant to pay
                                                                                                   (15)
Defendant (1)                                                                                                                                                 restitution in the amount of million. The




                                                           Court recommends Fort Dix. Defendant    Ernest Montevecchi                             represented by John B. Hansbury
                                                           assessed .                              TERMINATED: 03/27/2002                                        (See above for address)
                                                                                                   also known as                                                 TERMINATED: 03/27/2002
Highest Offense Level (Opening)                                                                    Butch                                                         LEAD ATTORNEY
                                                                                                                                                                 ATTORNEY TO BE NOTICED
Felony                                                                                                                                                           Designation: Retained

Terminated Counts                                          Disposition                                                                                        Joseph Aaron Bondy
                                                                                                                                                              20 Vesey Street
18:1962(c), 1963 and 3551 et seq. -
                                                           Open counts dismissed on government's                                                              Suite 1200
RACKETEERING.
                                                           motion.                                                                                            New York, NY 10007
(1)
                                                                                                                                                              212-219-3572
18:1962(d),1963 and 3551 et seq. -                                                                                                                            Fax: 212-219-8456
                                                           Open counts dismissed on government's
RACKETEERING CONSPIRACY.                                                                                                                                      Email: josephbondy@mac.com
                                                           motion.
(2)                                                                                                                                                           TERMINATED: 03/27/2002
18:371 and 3551 et seq. - COUNTRY                                                                                                                             LEAD ATTORNEY
WORLD SECURITIES FRAUD                                     Open counts dismissed on government's                                                              ATTORNEY TO BE NOTICED
CONSPIRACY.                                                motion.                                                                                            Designation: Retained
(3)
                                                                                                                                                              Joy Lucielle Vastola
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                                                                                                                   17 Battery Place
COUNTRY WORLD SECURITIES                                   Open counts dismissed on government's                                                              Suite 610
FRAUD.                                                     motion.                                                                                            New York, NY 10004
(4)                                                                                                                                                           (212) 248-2694
18:1956(h) and 3551 et seq. - MONEY                                                                                                                           TERMINATED: 03/27/2002
                                                           Open counts dismissed on government's
LAUNDERING CONSPIRACY.                                                                                                                                        LEAD ATTORNEY
                                                           motion.
(13)                                                                                                                                                          ATTORNEY TO BE NOTICED
18:1956(a)(1)(A)(i), 2 and 3551 et seq.-                                                                                                                      Designation: Retained
                                                           Open counts dismissed on government's
MONEY LAUNDERING.
                                                           motion.
(14)                                                                                               Pending Counts                                             Disposition
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                                                                                                                   Defendant sentenced to 36 months
                                                           Open counts dismissed on government's
CABLE SECURITIES FRAUD.                                                                                                                                       imprisonment to run concurrently with
                                                           motion.
(16)                                                                                                                                                          sentence defendant is currently serving,
18:1956(h) and 3551 et seq. - CABLE                                                                                                                           plus three years of supervised release.
                                                           Open counts dismissed on government's   18:1962(d),1963 and 3551 et seq. -
MONEY LAUNDERING CONSPIRACY.                                                                                                                                  Defendant to make restitution in the
                                                           motion.                                 RACKETEERING CONSPIRACY.
(17)                                                                                                                                                          amount of million during the period of
                                                                                                   (2)
                                                                                                                                                              supervised rel ease. The government is
                                                                                                                                                              given 90 days to provide a list of victims
Highest Offense Level (Terminated)                                                                                                                            and the amounts to be paid. The Court
Felony                                                                                                                                                        recommends incarceration at Fort Dix.

Complaints                                                 Disposition                             Highest Offense Level (Opening)
None                                                                                               Felony


Assigned to: Judge I. Leo Glasser                                                                  Terminated Counts                                          Disposition
                                                                                                   18:1956(h) and 3551 et seq. - MONEY
                                                                                                                                                              Open counts dismissed on government's
Defendant (2)                                                                                      LAUNDERING CONSPIRACY.
                                                                                                                                                              motion.
                                                                                                   (13)
                  Case 1:16-mc-02636-AMD
18:1956(a)(1)(A)(i), 2 and 3551 et seq.-             Document 24-8 Filed 06/07/18 Page 24 of 45 PageID #:
                                     Open counts dismissed on government's
MONEY LAUNDERING.
(14)
                                     motion.                               3898 Highest Offense Level (Terminated)
                                                                                                        Felony

Highest Offense Level (Terminated)                                                                      Complaints                                                 Disposition
Felony                                                                                                  None

Complaints                                                  Disposition
                                                                                                        Assigned to: Judge I. Leo Glasser
None
                                                                                                        Defendant (4)
Assigned to: Judge I. Leo Glasser                                                                       Jack Basile                                   represented by Elizabeth E Macedonio
                                                                                                        TERMINATED: 10/26/2001                                       Elizabeth E. Macedonio, P.C.
Defendant (3)                                                                                                                                                        42-40 Bell Blvd
Daniel Persico                                represented by Joseph Giannini                                                                                         Suite 302
TERMINATED: 02/26/2002                                       Joseph Giannini, Esq.                                                                                   Bayside, NY 11361
                                                             P.O. Box 1958                                                                                           718-279-3770
                                                             Amagansett, NY 01130                                                                                    Fax: 718-281-0850
                                                             631-267-6666                                                                                            Email: emacedonio@yahoo.com
                                                             Fax: 631-329-6368                                                                                       LEAD ATTORNEY
                                                             Email: giannini43@yahoo.com                                                                             ATTORNEY TO BE NOTICED
                                                             TERMINATED: 02/26/2002                                                                                  Designation: Retained
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED                                                                                John H. Jacobs
                                                             Designation: Retained                                                                                 260 Madison Avenue
                                                                                                                                                                   22nd. Floor
                                                                                                                                                                   New York, NY 10016
Pending Counts                                              Disposition                                                                                            (212) 545-8087
                                                            Defendant sentenced to 21 months                                                                       TERMINATED: 10/26/2001
                                                            imprisonment to be followed by 3 years of                                                              LEAD ATTORNEY
18:1962(d),1963 and 3551 et seq. -
                                                            supervised release. Defendant assessed .                                                               ATTORNEY TO BE NOTICED
RACKETEERING CONSPIRACY.
                                                            The court recommends incarceration at                                                                  Designation: Retained
(2)
                                                            Fort Dix or Otisville. Defendant to
                                                            surrender on 5/1/02.                        Pending Counts                                             Disposition
                                                                                                                                                                   AMENDED JUDGMENT: Defendant is
Highest Offense Level (Opening)                                                                                                                                    sentenced to Count 5 and receives 37
Felony                                                                                                  18:371 and 3551 et seq. - HOLLY                            months concurrent on each indictment with
                                                                                                        SECURITIES FRAUD CONSPIRACY.                               99cr589; 3 years supervised release
                                                                                                        (5)                                                        concurrent on each count with 99cr589;
Terminated Counts                                           Disposition
                                                                                                                                                                   special assessment fee .00; restitution
18:1957-3300, 2 and 3551 et seq-                                                                                                                                   ,000.00
                                                            Open counts dismissed on government's
INTERSTATE COMMERCE
                                                            motion.
(1s)
                                                                                                        Highest Offense Level (Opening)
18:1956(h) and 3551 et seq. - MONEY
                                                            Open counts dismissed on government's       Felony
LAUNDERING CONSPIRACY.
                                                            motion.
(13)
                                                                                                        Terminated Counts                                          Disposition
18:1956(a)(1)(A)(i), 2 and 3551 et seq.-
                                                            Open counts dismissed on government's
MONEY LAUNDERING.
                                                            motion.
(14)




18:1962(d),1963 and 3551 et seq. -                                                                                                                                 ATTORNEY TO BE NOTICED
                                                            Counts 2, 6, 7 and 8 are dismissed by
RACKETEERING CONSPIRACY.                                                                                                                                           Designation: Retained
                                                            Goverment's motion in open court.
(2)
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                                                             Pending Counts                                             Disposition
HOLLY SECURITIES FRAUD. AND                                 Counts 2, 6, 7 and 8 are dismissed by                                                                  Imprisonment of 44 months on each count
DECEPTIVE DEVICES                                           Goverment's motion in open court.                                                                      to run concurrently. Supervised release of
(6)                                                                                                     18:371 and 3551 et seq. - HOLLY                            3 years on each count to run concurrently.
18:1956(h) and 3551 et seq. - HOLLY                                                                     SECURITIES FRAUD CONSPIRACY.                               Special assessement of . Restitution of
                                                            Counts 2, 6, 7 and 8 are dismissed by
MONEY LAUNDERING CONSPIRACY.                                                                            (5)                                                        ,000,000.00. AMENDED To include on
                                                            Goverment's motion in open court.
(7)                                                                                                                                                                page 2 that deft receive treatmen t for
18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2                                                                                                                           substance abuse.
and 35512 et seq. - HOLLEY MONEY                            Counts 2, 6, 7 and 8 are dismissed by
LAUNDERING.                                                 Goverment's motion in open court.           Highest Offense Level (Opening)
(8)                                                                                                     Felony

Highest Offense Level (Terminated)                                                                      Terminated Counts                                          Disposition
Felony                                                                                                  18:1962(d),1963 and 3551 et seq. -
                                                                                                        RACKETEERING CONSPIRACY.                                   Dismissed on govt's motion.
Complaints                                                  Disposition                                 (2)
None                                                                                                    15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                                                                                        HOLLY SECURITIES FRAUD. AND
                                                                                                                                                                   Dismissed on govt's motion.
                                                                                                        DECEPTIVE DEVICES
Assigned to: Judge I. Leo Glasser
                                                                                                        (6)
                                                                                                        18:1956(h) and 3551 et seq. - HOLLY
Defendant (5)
                                                                                                        MONEY LAUNDERING CONSPIRACY.                               Dismissed on govt's motion.
Rocco Basile                                  represented by Michael F. Bachner                         (7)
TERMINATED: 11/27/2001                                       Bachner & Herskovits, P.C.
                                                                                                        18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2
                                                             26 Broadway
                                                                                                        and 35512 et seq. - HOLLEY MONEY
                                                             Suite 2310                                                                                            Dismissed on govt's motion.
                                                                                                        LAUNDERING.
                                                             New York, NY 10004
                                                                                                        (8)
                                                             (212) 344-7778
                                                             Fax: 212-344-7774
                                                             Email: mb@bhlawfirm.com                    Highest Offense Level (Terminated)
                                                             TERMINATED: 11/27/2001                     Felony
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Retained                      Complaints                                                 Disposition
                                                                                                        None
                                                            Stephen P. Scaring
                                                            Stephen P. Scaring, P.C.
                                                                                                        Assigned to: Judge I. Leo Glasser
                                                            666 Old Country Road, Suite 501
                                                            Garden City, NY 11530
                                                            516/683/8500                                Defendant (6)
                                                            Fax: 516-683-8410                           Larry Berman                                  represented by Amy E. Millard
                                                            Email: sscaring@scaringlaw.com              TERMINATED: 05/22/2003                                       Clayman & Rosenberg
                                                            TERMINATED: 11/27/2001                                                                                   305 Madison Avenue
                                                            LEAD ATTORNEY                                                                                            New York, NY 10165
                                                                                                                                                                     Fax (212) 949-8255
                  Case 1:16-mc-02636-AMD
                                     LEAD ATTORNEYDocument 24-8   Filed  06/07/18
                                                                  DECEPTIVE DEVICES                                               Page 25 of 45 PageID #:
                                     ATTORNEY TO BE NOTICED
                                     Designation: Retained
                                                             3899 (6)
                                                                                             18:1956(h) and 3551 et seq. - HOLLY
                                                                                             MONEY LAUNDERING CONSPIRACY.                               Dismissed on government's motion.
                                              Robert T. Wolf                                 (7)
                                              Gerstein, Savage & Kaplowitz
                                              101 east 52nd Street 9th Floor                 18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2
                                              New York, NY 10022                             and 35512 et seq. - HOLLEY MONEY
                                                                                                                                                        Dismissed on government's motion.
                                              (212) 752-9700                                 LAUNDERING.
                                              LEAD ATTORNEY                                  (8)
                                              ATTORNEY TO BE NOTICED
                                              Designation: Retained                          Highest Offense Level (Terminated)
                                                                                             Felony
                                              Stephen Robert LaCheen
                                              15th & Locust Streets
                                              31st Floor, Lewis Tower Building               Complaints                                                 Disposition
                                              Philadelphia, PA 19102                         None
                                              (215) 735-5900
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED                         Assigned to: Judge I. Leo Glasser
                                              Designation: Retained
                                                                                             Defendant (7)
Pending Counts                                Disposition                                    John Cioffoletti                              represented by Andrew J. Weinstein
18:371 and 3551 et seq. - HOLLY               Defendant sentenced to 3 years probation.      TERMINATED: 03/18/2002                                       Weinstein & Mazurek PLLC
SECURITIES FRAUD CONSPIRACY.                  Defendant fined and assessed . Defendant                                                                    521 Fifth Avenue
(5)                                           to perform 100 of community service.                                                                        Suite 3300
                                                                                                                                                          New York, NY 10175-3399
                                                                                                                                                          212-582-8900
Highest Offense Level (Opening)                                                                                                                           Fax: 212-582-8989
Felony                                                                                                                                                    Email: ajw@weinsteinmazurek.com
                                                                                                                                                          LEAD ATTORNEY
Terminated Counts                             Disposition                                                                                                 ATTORNEY TO BE NOTICED
                                                                                                                                                          Designation: Retained
18:1962(c), 1963 and 3551 et seq. -
RACKETEERING.                                 Dismissed on government's motion.                                                                         Michael F. Bachner
(1)                                                                                                                                                     (See above for address)
18:1962(d),1963 and 3551 et seq. -                                                                                                                      TERMINATED: 03/18/2002
RACKETEERING CONSPIRACY.                      Dismissed on government's motion.                                                                         LEAD ATTORNEY
(2)                                                                                                                                                     ATTORNEY TO BE NOTICED
                                                                                                                                                        Designation: Retained
18:371 and 3551 et seq. - COUNTRY
WORLD SECURITIES FRAUD
                                              Dismissed on government's motion.              Pending Counts                                             Disposition
CONSPIRACY.
(3)                                                                                                                                                     Defendant sentenced to 24 months
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                                                                                                             imprisonment to be followed by 3 years of
COUNTRY WORLD SECURITIES                                                                     18:371 and 3551 et seq. - COUNTRY                          supervised release- to run concurrently
                                              Dismissed on government's motion.              WORLD SECURITIES FRAUD                                     with sentence in 01cr1049. The Court
FRAUD.
(4)                                                                                          CONSPIRACY.                                                recommends Shock Incarceration Program,
                                                                                             (3)                                                        where defendant can receive substance
15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                              Dismissed on government's motion.                                                                         abuse tr eatment. Defendant assessed (this
HOLLY SECURITIES FRAUD. AND
                                                                                                                                                        includes assessment for 01cr1049).




                                              Defendant to surrender to institution before                                                              abuse tr eatment. Defendant assessed (this
                                              2:00 pm on 5/6/02. Restitution to be paid:                                                                includes assessment for 01cr1049).
                                              the amount of victims' losses are not yet                                                                 Defendant to surrender to institution before
                                              ascertainable (final determination w ill be                                                               2:00 pm on 5/6/02. Restitution to be paid:
                                              submitted on 6/14/02).                                                                                    the amount of victims' losses are not yet
                                              Defendant sentenced to 24 months                                                                          ascertainable (final determination w ill be
                                              imprisonment to be followed by 3 years of                                                                 submitted on 6/14/02).
                                              supervised release- to run concurrently                                                                   Defendant sentenced to 24 months
                                              with sentence in 01cr1049. The Court                                                                      imprisonment to be followed by 3 years of
                                              recommends Shock Incarceration Program,                                                                   supervised release- to run concurrently
15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                              where defendant can receive substance                                                                     with sentence in 01cr1049. The Court
COUNTRY WORLD SECURITIES
                                              abuse tr eatment. Defendant assessed (this                                                                recommends Shock Incarceration Program,
FRAUD.
                                              includes assessment for 01cr1049).             15:78j(b) and 78ff; 18:2 and 3551 et seq. -                where defendant can receive substance
(4)
                                              Defendant to surrender to institution before   USBNY SECURITIES FRAUD.                                    abuse tr eatment. Defendant assessed (this
                                              2:00 pm on 5/6/02. Restitution to be paid:     (10)                                                       includes assessment for 01cr1049).
                                              the amount of victims' losses are not yet                                                                 Defendant to surrender to institution before
                                              ascertainable (final determination w ill be                                                               2:00 pm on 5/6/02. Restitution to be paid:
                                              submitted on 6/14/02).                                                                                    the amount of victims' losses are not yet
                                              Defendant sentenced to 24 months                                                                          ascertainable (final determination w ill be
                                              imprisonment to be followed by 3 years of                                                                 submitted on 6/14/02).
                                              supervised release- to run concurrently                                                                   Defendant sentenced to 24 months
                                              with sentence in 01cr1049. The Court                                                                      imprisonment to be followed by 3 years of
                                              recommends Shock Incarceration Program,                                                                   supervised release- to run concurrently
18:371 and 3551 et seq. - HOLLY               where defendant can receive substance                                                                     with sentence in 01cr1049. The Court
SECURITIES FRAUD CONSPIRACY.                  abuse tr eatment. Defendant assessed (this                                                                recommends Shock Incarceration Program,
(5)                                           includes assessment for 01cr1049).             18:371 and 3551 et seq. - CABLE                            where defendant can receive substance
                                              Defendant to surrender to institution before   SECURITIES FRAUD CONSPIRACY.                               abuse tr eatment. Defendant assessed (this
                                              2:00 pm on 5/6/02. Restitution to be paid:     (15)                                                       includes assessment for 01cr1049).
                                              the amount of victims' losses are not yet                                                                 Defendant to surrender to institution before
                                              ascertainable (final determination w ill be                                                               2:00 pm on 5/6/02. Restitution to be paid:
                                              submitted on 6/14/02).                                                                                    the amount of victims' losses are not yet
                                              Defendant sentenced to 24 months                                                                          ascertainable (final determination w ill be
                                              imprisonment to be followed by 3 years of                                                                 submitted on 6/14/02).
                                              supervised release- to run concurrently                                                                   Defendant sentenced to 24 months
                                              with sentence in 01cr1049. The Court                                                                      imprisonment to be followed by 3 years of
                                              recommends Shock Incarceration Program,                                                                   supervised release- to run concurrently
15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                              where defendant can receive substance                                                                     with sentence in 01cr1049. The Court
HOLLY SECURITIES FRAUD. AND
                                              abuse tr eatment. Defendant assessed (this                                                                recommends Shock Incarceration Program,
DECEPTIVE DEVICES
                                              includes assessment for 01cr1049).             15:78j(b) and 78ff; 18:2 and 3551 et seq. -                where defendant can receive substance
(6)
                                              Defendant to surrender to institution before   CABLE SECURITIES FRAUD.                                    abuse tr eatment. Defendant assessed (this
                                              2:00 pm on 5/6/02. Restitution to be paid:     (16)                                                       includes assessment for 01cr1049).
                                              the amount of victims' losses are not yet                                                                 Defendant to surrender to institution before
                                              ascertainable (final determination w ill be                                                               2:00 pm on 5/6/02. Restitution to be paid:
                                              submitted on 6/14/02).                                                                                    the amount of victims' losses are not yet
                                              Defendant sentenced to 24 months                                                                          ascertainable (final determination w ill be
                                              imprisonment to be followed by 3 years of                                                                 submitted on 6/14/02).
18:371 and 3551 et seq. - USBNY
                                              supervised release- to run concurrently
SECURITIES FRAUD CONSPIRACY.
                                              with sentence in 01cr1049. The Court           Highest Offense Level (Opening)
(9)
                                              recommends Shock Incarceration Program,        Felony
                                              where defendant can receive substance
                  Case 1:16-mc-02636-AMD                                   Document 24-8 Filed 06/07/18                                  Page 26 of 45 PageID #:
Terminated Counts                                          Disposition                3900                                                           Martin Russo
                                                                                                                                                     60 East 42nd. Street
18:1962(c), 1963 and 3551 et seq. -
                                                           Open counts dismissed on government's                                                     8th FLoor
RACKETEERING.
                                                           motion.                                                                                   New York, NY 10165
(1)
                                                                                                                                                     Fax (212) 557-5587
18:1962(d),1963 and 3551 et seq. -                                                                                                                   TERMINATED: 10/05/2000
                                                           Open counts dismissed on government's
RACKETEERING CONSPIRACY.                                                                                                                             LEAD ATTORNEY
                                                           motion.
(2)                                                                                                                                                  ATTORNEY TO BE NOTICED
18:1956(h) and 3551 et seq. - HOLLY                                                                                                                  Designation: Retained
                                                           Open counts dismissed on government's
MONEY LAUNDERING CONSPIRACY.
                                                           motion.
(7)                                                                                                Pending Counts                                    Disposition
18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2                                                                                                             Defendant sentenced to 9 months
and 35512 et seq. - HOLLEY MONEY                           Open counts dismissed on government's                                                     imprisonment to be followed by 3 years of
LAUNDERING.                                                motion.                                                                                   supervised release. Defendant to perform
(8)                                                                                                18:371 and 3551 et seq. - USBNY                   200 hours of community service.
18:1956(h) and 3551 et seq. - USBNY                                                                SECURITIES FRAUD CONSPIRACY.                      Restitution: million, payable to the Clerk
                                                           Open counts dismissed on government's   (9)                                               of Court. Court recommends camp type
MONEY LAUNDERING CONSPIRACY.
                                                           motion.                                                                                   facility- Allen wood or Otisville.
(11)
                                                                                                                                                     Defendant to surrender to institution on
18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2
                                                                                                                                                     9/30/02. Defendant assessed .
and 3551 et seq. - USBNY MONEY                             Open counts dismissed on government's
LAUNDERING.                                                motion.                                                                                   Defendant sentenced to 9 months
(12)                                                                                                                                                 imprisonment to be followed by 3 years of
                                                                                                                                                     supervised release. Defendant to perform
18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2
                                                                                                   15:78j(b) and 78ff; 18:2 and 3551 et seq. -       200 hours of community service.
and 3551 et seq. - CABLE MONEY                             Open counts dismissed on government's
                                                                                                   CABLE SECURITIES FRAUD.                           Restitution: million, payable to the Clerk
LAUNDERING.                                                motion.
                                                                                                   (16)                                              of Court. Court recommends camp type
(18)
                                                                                                                                                     facility- Allen wood or Otisville.
                                                                                                                                                     Defendant to surrender to institution on
Highest Offense Level (Terminated)                                                                                                                   9/30/02. Defendant assessed .
Felony
                                                                                                   Highest Offense Level (Opening)
Complaints                                                 Disposition                             Felony
None
                                                                                                   Terminated Counts                                 Disposition
Assigned to: Judge I. Leo Glasser                                                                  18:1962(c), 1963 and 3551 et seq. -
                                                                                                   RACKETEERING.                                     Dismissed on government's motion.
Defendant (8)                                                                                      (1)
John Doukas                                   represented by Edward A. Mc Donald                   18:1962(d),1963 and 3551 et seq. -
TERMINATED: 08/09/2002                                       Dechert, LLP                          RACKETEERING CONSPIRACY.                          Dismissed on government's motion.
                                                             30 Rockefeller Plaza                  (2)
                                                             New York, NY 10112                    18:371 and 3551 et seq. - HOLLY
                                                             212-698-3500                          SECURITIES FRAUD CONSPIRACY.                      Dismissed on government's motion.
                                                             Email: edward.mcdonald@dechert.com    (5)
                                                             TERMINATED: 08/09/2002                15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                                             LEAD ATTORNEY                         HOLLY SECURITIES FRAUD. AND
                                                             ATTORNEY TO BE NOTICED                                                                  Dismissed on government's motion.
                                                                                                   DECEPTIVE DEVICES
                                                             Designation: Retained                 (6)




18:1956(h) and 3551 et seq. - HOLLY                                                                                                                  600 Lexington Avenue
MONEY LAUNDERING CONSPIRACY.                               Dismissed on government's motion.                                                         9th Floor
(7)                                                                                                                                                  New York, NY 10022
18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2                                                                                                             212-752-9700
and 35512 et seq. - HOLLEY MONEY                                                                                                                     Fax: 212-752-3868
                                                           Dismissed on government's motion.                                                         TERMINATED: 04/11/2003
LAUNDERING.
(8)                                                                                                                                                  LEAD ATTORNEY
                                                                                                                                                     ATTORNEY TO BE NOTICED
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                                                                                                          Designation: Retained
USBNY SECURITIES FRAUD.                                    Dismissed on government's motion.
(10)
                                                                                                   Pending Counts                                    Disposition
18:1956(h) and 3551 et seq. - USBNY
MONEY LAUNDERING CONSPIRACY.                               Dismissed on government's motion.                                                         Imprisonment for a total term of 24
(11)                                                                                                                                                 months, The court recommends that the
                                                                                                                                                     defendant be designated to a facility in the
18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2                                                                                                             New York area. The defendant shall
and 3551 et seq. - USBNY MONEY                                                                     15:78j(b) and 78ff; 18:2 and 3551 et seq. -       surrender for service of sentence at the
                                                           Dismissed on government's motion.
LAUNDERING.                                                                                        COUNTRY WORLD SECURITIES                          institution designated by the Bureau of
(12)                                                                                               FRAUD.                                            Prisons before 2p.m. on 08/23/04.
18:371 and 3551 et seq. - CABLE                                                                    (4)                                               Supervised release for a Three year term.
SECURITIES FRAUD CONSPIRACY.                               Dismissed on government's motion.                                                         Special Assessment of $200.00 and Fine of
(15)                                                                                                                                                 $50,000.00. The other nine counts are
                                                                                                                                                     dismissed on the motion of the United
18:1956(h) and 3551 et seq. - CABLE
                                                                                                                                                     States.
MONEY LAUNDERING CONSPIRACY.                               Dismissed on government's motion.
(17)                                                                                                                                                 Imprisonment for a total term of 24
                                                                                                                                                     months, The court recommends that the
18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2
                                                                                                                                                     defendant be designated to a facility in the
and 3551 et seq. - CABLE MONEY
                                                           Dismissed on government's motion.                                                         New York area. The defendant shall
LAUNDERING.
                                                                                                   15:78j(b) and 78ff; 18:2 and 3551 et seq. -       surrender for service of sentence at the
(18)
                                                                                                   HOLLY SECURITIES FRAUD. AND                       institution designated by the Bureau of
                                                                                                   DECEPTIVE DEVICES                                 Prisons before 2p.m. on 08/23/04.
Highest Offense Level (Terminated)                                                                 (6)                                               Supervised release for a Three year term.
Felony                                                                                                                                               Special Assessment of $200.00 and Fine of
                                                                                                                                                     $50,000.00. The other nine counts are
                                                                                                                                                     dismissed on the motion of the United
Complaints                                                 Disposition                                                                               States.
None                                                                                                                                                 Imprisonment for a total term of 24
                                                                                                                                                     months, The court recommends that the
Assigned to: Judge I. Leo Glasser                                                                                                                    defendant be designated to a facility in the
                                                                                                                                                     New York area. The defendant shall
                                                                                                                                                     surrender for service of sentence at the
Defendant (9)                                                                                      18:1956(h) and 3551 et seq. - HOLLY
                                                                                                                                                     institution designated by the Bureau of
Walter Durchalter                             represented by Michael F. Bachner                    MONEY LAUNDERING CONSPIRACY.
                                                                                                                                                     Prisons before 2p.m. on 08/23/04.
                                                             (See above for address)               (7)
TERMINATED: 06/14/2004                                                                                                                               Supervised release for a Three year term.
also known as                                                LEAD ATTORNEY                                                                           Special Assessment of $200.00 and Fine of
Dutch                                                        ATTORNEY TO BE NOTICED                                                                  $50,000.00. The other nine counts are
TERMINATED: 06/14/2004                                       Designation: Retained                                                                   dismissed on the motion of the United
                                                                                                                                                     States.
                                                           Robert S. Wolf
                                                           Gersten, Savage, Kaplowitz, Wolf &
                                                                                                   Highest Offense Level (Opening)
                                                           Marcus, LLP
Felony            Case 1:16-mc-02636-AMD                                    Document 24-8 Filed 06/07/18                                     Page 27 of 4561PageID
                                                                                                                                                            Broadway #:
                                                                                       3901                                                                        Suite 1105
                                                                                                                                                                   New York, NY 10006
Terminated Counts                                           Disposition
                                                                                                                                                                   212-742-1717
18:1962(c), 1963 and 3551 et seq. -                                                                                                                                Fax: 212-248-4068
RACKETEERING.                                               Dismissed on governments motion                                                                        Email: mrosenlaw@aol.com
(1)                                                                                                                                                                TERMINATED: 02/28/2002
18:1962(d),1963 and 3551 et seq. -                                                                                                                                 LEAD ATTORNEY
RACKETEERING CONSPIRACY.                                    Dismissed on governments motion                                                                        ATTORNEY TO BE NOTICED
(2)                                                                                                                                                                Designation: Retained
18:371 and 3551 et seq. - COUNTRY
WORLD SECURITIES FRAUD                                                                                 Pending Counts                                              Disposition
                                                            Dismissed on governments motion
CONSPIRACY.                                                                                                                                                        Defendant sentenced to 5 months
(3)                                                                                                                                                                imprisonment to be followed by 3 years of
18:371 and 3551 et seq. - HOLLY                                                                                                                                    supervised release. As a condition of
SECURITIES FRAUD CONSPIRACY.                                Dismissed on governments motion            18:1951 and 3551 et seq. - EXTORTION                        release, defendant is to serve 5 months
(5)                                                                                                    CONSPIRACY.                                                 home detention. The Court recommends
                                                                                                       (19)                                                        defendant be designated to Fort Devin,
18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2
                                                                                                                                                                   Mass. Defendant to sur render to instituion
and 35512 et seq. - HOLLEY MONEY
                                                            Dismissed on governments motion                                                                        by 2:00pm on 4/29/02. Defendant fined
LAUNDERING.
                                                                                                                                                                   and assessed .
(8)
18:371 and 3551 et seq. - USBNY
                                                                                                       Highest Offense Level (Opening)
SECURITIES FRAUD CONSPIRACY.                                Dismissed on governments motion
(9)                                                                                                    Felony
15:78j(b) and 78ff; 18:2 and 3551 et seq. -
USBNY SECURITIES FRAUD.                                     Dismissed on governments motion            Terminated Counts                                           Disposition
(10)                                                                                                   18:1951,2 and 3551 et seq. -
                                                                                                                                                                   Open count dismissed on government's
18:1956(h) and 3551 et seq. - USBNY                                                                    EXTORTION.
                                                                                                                                                                   motion.
MONEY LAUNDERING CONSPIRACY.                                Dismissed on governments motion            (20)
(11)
18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2                                                               Highest Offense Level (Terminated)
and 3551 et seq. - USBNY MONEY                                                                         Felony
                                                            Dismissed on governments motion
LAUNDERING.
(12)
                                                                                                       Complaints                                                  Disposition

Highest Offense Level (Terminated)                                                                     None

Felony
                                                                                                       Assigned to: Judge I. Leo Glasser
Complaints                                                  Disposition
                                                                                                       Defendant (11)
None
                                                                                                       Daniel Lev                                    represented by Jeffrey H. Lichtman
                                                                                                       TERMINATED: 02/19/2002                                       Law Offices of Jeffrey H. Lichtman
Assigned to: Judge I. Leo Glasser                                                                                                                                   41 Madison Avenue
                                                                                                                                                                    34th Floor
Defendant (10)                                                                                                                                                      New York, NY 10010
                                                                                                                                                                    (212) 689-8555
Edward Garafola                               represented by Michael Rosen
                                                                                                                                                                    Email: jl@jeffreylichtman.com
TERMINATED: 02/28/2002                                       Law Office of Michael Rosen




                                                            TERMINATED: 02/19/2002                     Eugene Lombardo                               represented by Lawrence K. Feitell
                                                            LEAD ATTORNEY                              TERMINATED: 03/27/2002                                       225 Broadway
                                                            ATTORNEY TO BE NOTICED                                                                                  Suite 2020
                                                            Designation: Retained                                                                                   New York, NY 10007
                                                                                                                                                                    (212) 571-5710
Pending Counts                                              Disposition                                                                                             Fax: 212-571-5711
                                                                                                                                                                    Email: LKFJuris@earthlink.net
                                                            Defendant sentenced to 2 years probation                                                                TERMINATED: 03/27/2002
18:1512 and 18:3551 et seq-
                                                            with 4 months home confinement and 150                                                                  LEAD ATTORNEY
HARASSMENT OF A WITNESS
                                                            hours of community service. Defendant                                                                   ATTORNEY TO BE NOTICED
(1s)
                                                            fined and assessed .                                                                                    Designation: CJA Appointment

Highest Offense Level (Opening)                                                                                                                                    Richard W. Brewster
                                                                                                                                                                   645 5th Avenue
Misdemeanor
                                                                                                                                                                   New York, NY 10022
                                                                                                                                                                   (212)751-0627
Terminated Counts                                           Disposition                                                                                            TERMINATED: 03/27/2002
18:1962(c), 1963 and 3551 et seq. -                                                                                                                                LEAD ATTORNEY
                                                            Open counts dismissed on government's                                                                  ATTORNEY TO BE NOTICED
RACKETEERING.
                                                            motion.                                                                                                Designation: CJA Appointment
(1)
18:1962(d),1963 and 3551 et seq. -
                                                            Open counts dismissed on government's      Pending Counts                                              Disposition
RACKETEERING CONSPIRACY.
                                                            motion.
(2)                                                                                                                                                                Defendant sentenced to 60 months
18:371 and 3551 et seq. - USBNY                                                                                                                                    imprisonment to run concurrently with
                                                            Open counts dismissed on government's                                                                  sentence in Southern District case.
SECURITIES FRAUD CONSPIRACY.
                                                            motion.                                                                                                Supervised release: 3 years. Defendant to
(9)                                                                                                    18:1962(d),1963 and 3551 et seq. -
                                                                                                                                                                   make restitution in the amount of million.
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                                                            RACKETEERING CONSPIRACY.
                                                            Open counts dismissed on government's                                                                  During period of release, the government
USBNY SECURITIES FRAUD.                                                                                (2)
                                                            motion.                                                                                                is given 90 days to provide a list of victims
(10)                                                                                                                                                               and the amounts to be paid. The Court
18:1956(h) and 3551 et seq. - USBNY                                                                                                                                recommends incarceration at MDC.
                                                            Open counts dismissed on government's
MONEY LAUNDERING CONSPIRACY.                                                                                                                                       Special assessment: .
                                                            motion.
(11)
18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2                                                               Highest Offense Level (Opening)
and 3551 et seq. - USBNY MONEY                              Open counts dismissed on government's      Felony
LAUNDERING.                                                 motion.
(12)
                                                                                                       Terminated Counts                                           Disposition
Highest Offense Level (Terminated)                                                                     18:1962(c), 1963 and 3551 et seq. -
                                                                                                                                                                   Open counts dismissed on government's
                                                                                                       RACKETEERING.
Felony                                                                                                                                                             motion.
                                                                                                       (1)
                                                                                                       18:371 and 3551 et seq. - COUNTRY
Complaints                                                  Disposition                                WORLD SECURITIES FRAUD                                      Open counts dismissed on government's
None                                                                                                   CONSPIRACY.                                                 motion.
                                                                                                       (3)
Assigned to: Judge I. Leo Glasser                                                                      15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                                                                                       COUNTRY WORLD SECURITIES                                    Open counts dismissed on government's
                                                                                                       FRAUD.                                                      motion.
Defendant (12)
                                                                                                       (4)
                  Case 1:16-mc-02636-AMD
18:371 and 3551 et seq. - USBNY                      Document 24-8 Filed 06/07/18 Page 28 of 45JUDGMENT
                                     Open counts dismissed on government's
                                                                                                                      PageID             #: Nagel (1)
                                                                                                                                  as to Edmond
SECURITIES FRAUD CONSPIRACY.
(9)
                                     motion.                               3902 18:1956(h) and 3551 et seq. - USBNY
                                                                                MONEY LAUNDERING CONSPIRACY.
                                                                                                                    count(s) 1. IMPRISONMENT: 37 months;
                                                                                                                    SUPERVISED RELEASE: 3 years;
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                                                               (11)                                                        SPECIAL ASSESSMENT: .00; (.00 in 01-
                                                             Open counts dismissed on government's                                                                    CR-705 and .00 in 01-CR-196).
USBNY SECURITIES FRAUD.
                                                             motion.
(10)
18:1956(h) and 3551 et seq. - USBNY                                                                       Highest Offense Level (Opening)
                                                             Open counts dismissed on government's
MONEY LAUNDERING CONSPIRACY.                                                                              Felony
                                                             motion.
(11)
18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2                                                                  Terminated Counts                                           Disposition
and 3551 et seq. - USBNY MONEY                               Open counts dismissed on government's        18:1962(c), 1963 and 3551 et seq. -
LAUNDERING.                                                  motion.                                      RACKETEERING.                                               Dismissed on Motion of the Govt.
(12)                                                                                                      (1)
                                                                                                          18:1962(d),1963 and 3551 et seq. -
Highest Offense Level (Terminated)                                                                        RACKETEERING CONSPIRACY.                                    Dismissed on Motion of the Govt.
Felony                                                                                                    (2)
                                                                                                          18:371 and 3551 et seq. - USBNY
Complaints                                                   Disposition                                  SECURITIES FRAUD CONSPIRACY.                                Dismissed on Motion of the Govt.
None                                                                                                      (9)
                                                                                                          15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                                                                                          USBNY SECURITIES FRAUD.                                     Dismissed on Motion of the Govt.
Assigned to: Judge I. Leo Glasser
                                                                                                          (10)
                                                                                                          18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2
Defendant (13)
                                                                                                          and 3551 et seq. - USBNY MONEY
Edmond Nagel                                  represented by Jewel N. Klein                                                                                           Dismissed on Motion of the Govt.
                                                                                                          LAUNDERING.
TERMINATED: 11/30/2001                                       Law Offices of Michael J. Rovell, Esq.       (12)
                                                             20 North Clark Street
                                                             Suite 2450
                                                                                                          Highest Offense Level (Terminated)
                                                             Chicago, Il 60602
                                                             Fax (312) 578-9391                           Felony
                                                             TERMINATED: 11/30/2001
                                                             LEAD ATTORNEY                                Complaints                                                  Disposition
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Retained                        None

                                                             Michael J. Rovell                            Assigned to: Judge I. Leo Glasser
                                                             Law Offices of Michael J. Rovell, Esq.
                                                             20 North Clark Street
                                                                                                          Defendant (14)
                                                             Suite 2450
                                                             Chicago, Il 60602                            Alfred Palagonia                              represented by Joseph Vincent DiBlasi
                                                             (312) 578-9191                               TERMINATED: 12/04/2002                                       590 Madison Avenue
                                                             TERMINATED: 11/30/2001                                                                                    10th Foor
                                                             LEAD ATTORNEY                                                                                             New York, NY 10022
                                                             ATTORNEY TO BE NOTICED                                                                                    212-605-0470
                                                             Designation: Retained                                                                                     Fax: 212-605-0222
                                                                                                                                                                       Email: diblasilaw@verizon.net
                                                                                                                                                                       LEAD ATTORNEY
Pending Counts                                               Disposition
                                                                                                                                                                       ATTORNEY TO BE NOTICED
                                                                                                                                                                       Designation: Retained




                                                                                                          DECEPTIVE DEVICES
                                                             Mark S. Cohen                                (6)
                                                             Arkin, Kaplan & Cohen LLP                    18:1956(h) and 3551 et seq. - HOLLY
                                                             590 Madison Avenue                                                                                       Open counts dismissed on government's
                                                                                                          MONEY LAUNDERING CONSPIRACY.
                                                             New York, NY 10022                                                                                       motion.
                                                                                                          (7)
                                                             (212) 333-0200
                                                             TERMINATED: 05/16/2000                       18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2
                                                             LEAD ATTORNEY                                and 35512 et seq. - HOLLEY MONEY                            Open counts dismissed on government's
                                                             ATTORNEY TO BE NOTICED                       LAUNDERING.                                                 motion.
                                                                                                          (8)
Pending Counts                                               Disposition                                  15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                                                                                                                                                      Open counts dismissed on government's
                                                                                                          USBNY SECURITIES FRAUD.
                                                             Defendant sentenced to one year and one                                                                  motion.
                                                                                                          (10)
                                                             day, plus 3 years of supervised release.
18:371 and 3551 et seq. - USBNY                                                                           18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2
                                                             Restitution to be paid in the amount of
SECURITIES FRAUD CONSPIRACY.                                                                              and 3551 et seq. - USBNY MONEY                              Open counts dismissed on government's
                                                             million. Defendant fined ,000 and assessed
(9)                                                                                                       LAUNDERING.                                                 motion.
                                                             . The Court recommends FCI Allenwood,
                                                             PA.                                          (12)
                                                             Defendant sentenced to one year and one      18:371 and 3551 et seq. - CABLE
                                                                                                                                                                      Open counts dismissed on government's
                                                             day, plus 3 years of supervised release.     SECURITIES FRAUD CONSPIRACY.
18:1956(h) and 3551 et seq. - USBNY                                                                                                                                   motion.
                                                             Restitution to be paid in the amount of      (15)
MONEY LAUNDERING CONSPIRACY.
                                                             million. Defendant fined ,000 and assessed   15:78j(b) and 78ff; 18:2 and 3551 et seq. -
(11)                                                                                                                                                                  Open counts dismissed on government's
                                                             . The Court recommends FCI Allenwood,        CABLE SECURITIES FRAUD.
                                                             PA.                                                                                                      motion.
                                                                                                          (16)
                                                                                                          18:1956(h) and 3551 et seq. - CABLE
Highest Offense Level (Opening)                                                                                                                                       Open counts dismissed on government's
                                                                                                          MONEY LAUNDERING CONSPIRACY.
                                                                                                                                                                      motion.
Felony                                                                                                    (17)
                                                                                                          18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2
Terminated Counts                                            Disposition                                  and 3551 et seq. - CABLE MONEY                              Open counts dismissed on government's
                                                                                                          LAUNDERING.                                                 motion.
18:1962(c), 1963 and 3551 et seq. -                                                                       (18)
                                                             Open counts dismissed on government's
RACKETEERING.
                                                             motion.
(1)
                                                                                                          Highest Offense Level (Terminated)
18:1962(d),1963 and 3551 et seq. -
                                                             Open counts dismissed on government's        Felony
RACKETEERING CONSPIRACY.
                                                             motion.
(2)
18:371 and 3551 et seq. - COUNTRY                                                                         Complaints                                                  Disposition
WORLD SECURITIES FRAUD                                       Open counts dismissed on government's        None
CONSPIRACY.                                                  motion.
(3)
                                                                                                          Assigned to: Judge I. Leo Glasser
15:78j(b) and 78ff; 18:2 and 3551 et seq. -
COUNTRY WORLD SECURITIES                                     Open counts dismissed on government's
FRAUD.                                                       motion.                                      Defendant (15)
(4)                                                                                                       Aleks Paul                                    represented by Benjamin Brafman
18:371 and 3551 et seq. - HOLLY                                                                           TERMINATED: 09/24/2001                                       Brafman & Ross, P.C.
                                                             Open counts dismissed on government's                                                                     767 Third Avenue
SECURITIES FRAUD CONSPIRACY.
                                                             motion.                                                                                                   26th Floor
(5)
                                                                                                                                                                       New York, NY 10017
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                  Open counts dismissed on government's                                                                     (212) 750-7800
HOLLY SECURITIES FRAUD. AND                                  motion.                                                                                                   Fax: (212) 750-3906
                  Case 1:16-mc-02636-AMD            Document 24-8 Filed
                                     Email: bbrafman@braflaw.com                06/07/18
                                                                      18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i),Page
                                                                                                            2    29 of 45 PageID #:
                                     TERMINATED: 09/24/2001
                                     LEAD ATTORNEY
                                                                 3903 and 35512 et seq. - HOLLEY MONEY
                                                                      LAUNDERING.
                                                                                                                         Counts dismissed on government's motion.
                                                            ATTORNEY TO BE NOTICED                        (8)
                                                            Designation: Retained                         18:371 and 3551 et seq. - USBNY
                                                                                                          SECURITIES FRAUD CONSPIRACY.                              Counts dismissed on government's motion.
Pending Counts                                              Disposition                                   (9)
                                                            Dft pled guilty to count #5 in CR 99-372,     15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                                            count #11 in CR 00-196, and count #2 in       USBNY SECURITIES FRAUD.                                   Counts dismissed on government's motion.
                                                            CR 00-445. Special assessment . Dft is to     (10)
18:1956(h) and 3551 et seq. - USBNY                         be imprisoned for 63 mos. to run              18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2
MONEY LAUNDERING CONSPIRACY.                                concurrent on all counts. Dft shall           and 3551 et seq. - USBNY MONEY
(11)                                                        surrender to Bureau of Prisons be fore 2:00                                                             Counts dismissed on government's motion.
                                                                                                          LAUNDERING.
                                                            pm on 10/30/01. Upon release from prison,     (12)
                                                            dft shall be on supervised release for 3
                                                            years.
                                                                                                          Highest Offense Level (Terminated)
Highest Offense Level (Opening)                                                                           Felony
Felony
                                                                                                          Complaints                                                Disposition
Terminated Counts                                           Disposition                                   None
18:1962(c), 1963 and 3551 et seq. -
RACKETEERING.                                               Counts dismissed on government's motion.      Assigned to: Judge I. Leo Glasser
(1)
18:1962(d),1963 and 3551 et seq. -                                                                        Defendant (16)
RACKETEERING CONSPIRACY.                                    Counts dismissed on government's motion.      Joseph Polito, Sr.                            represented by Charles Weintraub
(2)                                                                                                       TERMINATED: 07/26/2002                                       6132 Riverdale Avenue
18:371 and 3551 et seq. - COUNTRY                                                                                                                                      Bronx, NY 10471
WORLD SECURITIES FRAUD                                                                                                                                                 Fax (718) 601-3786
                                                            Counts dismissed on government's motion.
CONSPIRACY.                                                                                                                                                            TERMINATED: 07/26/2002
(3)                                                                                                                                                                    LEAD ATTORNEY
                                                                                                                                                                       ATTORNEY TO BE NOTICED
15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                                                                                                                                                       Designation: Retained
COUNTRY WORLD SECURITIES
                                                            Counts dismissed on government's motion.
FRAUD.
(4)                                                                                                       Pending Counts                                            Disposition
18:371 and 3551 et seq. - HOLLY                                                                           None
SECURITIES FRAUD CONSPIRACY.                                Counts dismissed on government's motion.
(5)                                                                                                       Highest Offense Level (Opening)
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                                                               None
HOLLY SECURITIES FRAUD. AND
                                                            Counts dismissed on government's motion.
DECEPTIVE DEVICES
(6)                                                                                                       Terminated Counts                                         Disposition

18:1956(h) and 3551 et seq. - HOLLY                                                                       18:1962(c), 1963 and 3551 et seq. -
MONEY LAUNDERING CONSPIRACY.                                Counts dismissed on government's motion.      RACKETEERING.
(7)                                                                                                       (1)




18:1962(d),1963 and 3551 et seq. -                                                                                                                                  ATTORNEY TO BE NOTICED
RACKETEERING CONSPIRACY.                                                                                                                                            Designation: Retained
(2)
18:371 and 3551 et seq. - USBNY                                                                                                                                     Jack Arseneault
SECURITIES FRAUD CONSPIRACY.                                Dismissed on motion of AUSA                                                                             Arseneault, Donohue & Sorrentino
(9)                                                                                                                                                                 560 Main Street
                                                                                                                                                                    Chatham, NJ 07928-2119
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                                                                                                                         (201) 635-3366
USBNY SECURITIES FRAUD.                                                                                                                                             TERMINATED: 11/25/2002
(10)                                                                                                                                                                LEAD ATTORNEY
18:1956(h) and 3551 et seq. - USBNY                                                                                                                                 ATTORNEY TO BE NOTICED
MONEY LAUNDERING CONSPIRACY.                                                                                                                                        Designation: Retained
(11)
                                                                                                                                                                    Louis M. Freeman
18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2
                                                                                                                                                                    Freeman, Nooter & Ginsberg
and 3551 et seq. - USBNY MONEY
                                                                                                                                                                    30 Vesey Street, Suite 100
LAUNDERING.
                                                                                                                                                                    New York, NY 10007
(12)
                                                                                                                                                                    (212) 608-0808
18:1951 and 3551 et seq. - EXTORTION                                                                                                                                Fax: 212-962-9696
CONSPIRACY.                                                 Dismissed on motion of AUSA                                                                             Email: freemefree@aol.com
(19)                                                                                                                                                                LEAD ATTORNEY
18:1951,2 and 3551 et seq. -                                                                                                                                        ATTORNEY TO BE NOTICED
EXTORTION.                                                                                                                                                          Designation: CJA Appointment
(20)
                                                                                                                                                                    Michael V. Gilberti
                                                                                                                                                                    Bonney, Epstein & Gilberti, LLC
Highest Offense Level (Terminated)                                                                                                                                  321 Broad Street
Felony                                                                                                                                                              Red Bank, NJ 07701
                                                                                                                                                                    (732) 747-4700
Complaints                                                  Disposition                                                                                             LEAD ATTORNEY
                                                                                                                                                                    ATTORNEY TO BE NOTICED
None                                                                                                                                                                Designation: Retained

Assigned to: Judge I. Leo Glasser                                                                                                                                   Thomas G. Roth
                                                                                                                                                                    Law Offices of Thomas G. Roth
                                                                                                                                                                    395 Pleasant Valley Way
Defendant (17)                                                                                                                                                      West Orange, NJ 07052
Lawrence Ray                                  represented by David S. Zapp                                                                                          (973) 736-9090
TERMINATED: 04/10/2003                                       7 East 94th Street, 1A                                                                                 Fax: 973-736-8005
                                                             New York, NY 10128                                                                                     Email: tgroth395@aol.com
                                                             (718) 855-3895                                                                                         TERMINATED: 11/25/2002
                                                             Email: DavidZapp@aol.com                                                                               LEAD ATTORNEY
                                                             TERMINATED: 11/25/2002                                                                                 ATTORNEY TO BE NOTICED
                                                             LEAD ATTORNEY                                                                                          Designation: Retained
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: CJA Appointment                                                                           J. Bruce Maffeo
                                                                                                                                                                    Cozen O'Connor
                                                            Edward A. Mc Donald                                                                                     277 Park Avenue
                                                            (See above for address)                                                                                 20th Floor
                                                            TERMINATED: 04/10/2003                                                                                  New York, NY 10172
                                                            LEAD ATTORNEY                                                                                           212-883-4951
                  Case 1:16-mc-02636-AMD             Document 24-8 Filed 06/07/18
                                     Fax: 212-937-5202                                                                                      Page 30 of 45 PageID #:
                                     Email: jbmaffeo@cozen.com
                                     ATTORNEY TO BE NOTICED
                                                                3904 Defendant (18)
                                                                                                       Abraham Salaman                               represented by A. John Pappalardo
                                                                                                       TERMINATED: 05/15/2002                                       Eckerd Seamans
                                                          Sidney Baumgarten                                                                                         One International Place
                                                          Sidney Baumgarten                                                                                         18th Floor
                                                          355 South End Avenue                                                                                      Boston, MA 02110
                                                          #31j                                                                                                      Fax (617) 342-6899
                                                          New York, NY 10280                                                                                        TERMINATED: 05/15/2002
                                                          212-775-0190                                                                                              LEAD ATTORNEY
                                                          Fax: 212-775-0191                                                                                         ATTORNEY TO BE NOTICED
                                                          Email: sidbaumgarten@aol.com                                                                              Designation: Retained
                                                          ATTORNEY TO BE NOTICED
                                                                                                                                                                    Peter F. Carr , II
Pending Counts                                            Disposition                                                                                               Eckert, Seamans, Cherin & Mellott, LLC
                                                          Defendant sentenced to 5 years probation,                                                                 One International Place
                                                          to serve 9 months of home confinement.                                                                    18t Floor
                                                          Special condition: 300 hours of community                                                                 Boston, MA 02110
                                                          service. Fine: . Special assessment: .                                                                    (617) 342-6800
                                                          REVOCATION OF PROBATION:                                                                                  TERMINATED: 05/15/2002
                                                          Imprisonment of 6 months; Additional                                                                      LEAD ATTORNEY
                                                          Supervised Release Terms: After                                                                           ATTORNEY TO BE NOTICED
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                                                                                                                         Designation: Retained
                                                          completion of the term of imprisonment,
USBNY SECURITIES FRAUD.
                                                          Deft shall be continued on Supervised
(10)
                                                          release for the same period of time as the   Pending Counts                                               Disposition
                                                          unexpired term of probation.                                                                              Defendant sentenced to 5 years probation,
                                                          REVOCATION OF PROBATION:                                                                                  to serve 12 months of home confinement.
                                                          IMPRISONMENT TIME SERVED;                    18:371 and 3551 et seq. - COUNTRY                            Defendant is to have no further
                                                          SUPERVISED RELEASE: THE                      WORLD SECURITIES FRAUD                                       involvement in the securities industry in
                                                          CURRENT SUPERVISED RELEASE                   CONSPIRACY.                                                  any way. Defendant fined ,000 and
                                                          TERMS ARE TO BE CONTINUED                    (3)                                                          assessed per count. Defendant shall make r
                                                                                                                                                                    estitution in the amount of .5 million over
Highest Offense Level (Opening)                                                                                                                                     period of probation.
Felony
                                                                                                       Highest Offense Level (Opening)
Terminated Counts                                         Disposition                                  Felony
18:371 and 3551 et seq. - USBNY
                                                          Open count dismissed on government's
SECURITIES FRAUD CONSPIRACY.                                                                           Terminated Counts                                            Disposition
                                                          motion.
(9)                                                                                                    18:1962(d),1963 and 3551 et seq. -
                                                                                                       RACKETEERING CONSPIRACY.                                     Dismissed on government's motion.
Highest Offense Level (Terminated)                                                                     (2)
Felony                                                                                                 15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                                                                                       COUNTRY WORLD SECURITIES
                                                                                                                                                                    Dismissed on government's motion.
Complaints                                                Disposition                                  FRAUD.
                                                                                                       (4)
None
                                                                                                       Highest Offense Level (Terminated)
Assigned to: Judge I. Leo Glasser
                                                                                                       Felony




                                                                                                       18:1956(h) and 3551 et seq. - HOLLY
                                                                                                                                                                    Open counts dismissed on government's
Complaints                                                Disposition                                  MONEY LAUNDERING CONSPIRACY.
                                                                                                                                                                    motion.
None                                                                                                   (7)
                                                                                                       18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2
                                                                                                       and 35512 et seq. - HOLLEY MONEY                             Open counts dismissed on government's
Assigned to: Judge I. Leo Glasser
                                                                                                       LAUNDERING.                                                  motion.
                                                                                                       (8)
Defendant (19)
Giuseppe Temperino                            represented by Frank V. Carone , Jr.                     Highest Offense Level (Terminated)
TERMINATED: 03/14/2002                                       Mure & Carone, P.C.
                                                                                                       Felony
also known as                                                32 Court Street
Joseph Temperino                                             Suite 1800
                                                             Brooklyn, NY 11201                        Complaints                                                   Disposition
                                                             (718) 852-9100                            None
                                                             TERMINATED: 03/14/2002
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Retained                     Plaintiff
                                                                                                       USA                                           represented by Eric O. Corngold
                                                          Joseph R. Benfante                                                                                        United States Attorneys Office
                                                          Joseph R. Benfante, Esq.                                                                                  Criminal Division
                                                          225 Broadway                                                                                              225 Cadman Plaza East
                                                          New York, NY 10007                                                                                        Brooklyn, NY 11201
                                                          (212) 227-4700                                                                                            (718) 254-7000
                                                          Fax: 212-406-6890                                                                                         TERMINATED: 01/06/2011
                                                          Email: josephbenfante@aol.com                                                                             LEAD ATTORNEY
                                                          TERMINATED: 03/14/2002                                                                                    ATTORNEY TO BE NOTICED
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED                                                                                    Jonathan S. Sack
                                                          Designation: Retained                                                                                     U.S. Attorney's Office
                                                                                                                                                                    Criminal Division
Pending Counts                                            Disposition                                                                                               1 Pierrepont Plaza
                                                                                                                                                                    14th Floor
15:78j(b) and 78ff; 18:2 and 3551 et seq. -               Defendant sentenced to 3 years probation,                                                                 Brooklyn, NY 11201
HOLLY SECURITIES FRAUD. AND                               to serve 8 months home confinement.                                                                       212-856-9600
DECEPTIVE DEVICES                                         Defendant to perform 200 hours of                                                                         Fax: 212-856-9494
(6)                                                       community service. Special assessment: .                                                                  Email: jsack@magislaw.com
                                                                                                                                                                    TERMINATED: 01/15/2004
Highest Offense Level (Opening)                                                                                                                                     LEAD ATTORNEY
Felony                                                                                                                                                              ATTORNEY TO BE NOTICED

                                                                                                                                                                    John F. Harwick
Terminated Counts                                         Disposition                                                                                               (See above for address)
18:1962(d),1963 and 3551 et seq. -                                                                                                                                  ATTORNEY TO BE NOTICED
                                                          Open counts dismissed on government's
RACKETEERING CONSPIRACY.
                                                          motion.                                                                                                   Mary M. Dickman
(2)
                                                                                                                                                                    United States Attorneys Office
18:371 and 3551 et seq. - HOLLY
                                                          Open counts dismissed on government's                                                                     Eastern District of New York
SECURITIES FRAUD CONSPIRACY.
                                                          motion.                                                                                                   Eastern District of New York
(5)
                                                                                                                                                                    271 Cadman Plaza East
                 Case 1:16-mc-02636-AMD             Document 24-8 Filed
                                    Brooklyn, NY 11201-1820                  06/07/18
                                                                    03/02/2000
                                                                                                  Page 31 of 45 PageID #:
                                                                               63 Magistrate Arraignment as to Frank Coppa Sr., Daniel Persico, Jack Basile, John
                                    718-254-6022
                                    Fax: 718-254-6081
                                                               3905               Cioffoletti, John Doukas, Edward Garafola, Edmond Nagel, Alfred Palagonia, Aleks
                                                                                  Paul, Joseph Polito Sr., Lawrence Ray held Before Magistrate Judge AZrack, case
                                                                     Email: Mary.Dickman@usdoj.gov                                       called, All counsel present, all defendants released on bond. (Defendant informed of
                                                                     ATTORNEY TO BE NOTICED                                              rights.) (Henry, Teresa) (Entered: 05/25/2000)

                                                                     Michael Lloyd Yaeger                              03/02/2000   64   PRB BOND entered by Daniel Persico in Amount $ 1,000,000.00 ( Signed by
                                                                     United States Attorneys Office                                      Magistrate Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)
                                                                     271 Cadman Plaza East
                                                                                                                       03/02/2000   65   PRB BOND entered by Jack Basile in Amount $ 750,000.00 ( Signed by Magistrate
                                                                     Brooklyn, NY 11201
                                                                                                                                         Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)
                                                                     718-254-7000
                                                                     Fax: 718-254-7499                                 03/02/2000   66   PRB BOND entered by John Cioffoletti in Amount $ 1,500,000.00 ( Signed by
                                                                     Email: michael.yaeger@usdoj.gov                                     Magistrate Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)
                                                                     ATTORNEY TO BE NOTICED
                                                                                                                       03/02/2000   67   PRB BOND entered by John Doukas in Amount $ 1,500,000.00 ( Signed by Magistrate
                                                                     Sarah Mary Coyne                                                    Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)
                                                                     United States Attorneys Office
                                                                                                                       03/02/2000   68 PRB BOND entered by Edward Garafola in Amount $ 750,000.00 ( Signed by
                                                                     Eastern District of New York
                                                                                                                                       Magistrate Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)
                                                                     271 Cadman Plaza East
                                                                     Brooklyn, NY 11201-1820                           03/02/2000   69   PRB BOND entered by Edmond Nagel in Amount $ 750,000.00 ( Signed by Magistrate
                                                                     718-254-6299                                                        Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)
                                                                     Fax: 718-254-6325
                                                                     Email: sarah.coyne@usdoj.gov                      03/02/2000   70   PRB BOND entered by Alfred Palagonia in Amount $ 2,000,000.00 ( Signed by
                                                                     TERMINATED: 02/15/2012                                              Magistrate Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)
                                                                     ATTORNEY TO BE NOTICED                            03/02/2000   71   PRB BOND entered by Aleks Paul in Amount $ 1,500,000.00 ( Signed by Magistrate
                                                                                                                                         Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)
Date Filed   #     Docket Text
                                                                                                                       03/02/2000   72   PRB BOND entered by Rocco Basile in Amount $ 750,000.00 ( Signed by Magistrate
03/01/2000   1     CALENDAR ENTRY as to Frank Coppa Sr., Ernest Montevecchi, Daniel Persico, Jack                                        Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)
                   Basile, Rocco Basile, Larry Berman, John Cioffoletti, John Doukas, Walter Durchalter,
                                                                                                                       03/02/2000   73 PRB BOND entered by Lawrence Ray, Giuseppe Temperino in Amount $ 750,000.00 (
                   Edward Garafola, Daniel Lev, Eugene Lombardo, Edmond Nagel, Alfred Palagonia,
                                                                                                                                       Signed by Magistrate Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered:
                   Aleks Paul, Joseph Polito Sr., Lawrence Ray, Abraham Salaman and Giuseppe
                                                                                                                                       05/25/2000)
                   Temperino. Case called before Magistrate Joan M. Azrack on 3/1/00 for Grand Jury
                   Presentment ordered handed up and filed. (Johnson, Tanya) (Entered: 03/06/2000)                     03/02/2000   74   CALENDAR ENTRY as to Giuseppe Temperino ; Case called before Magistrate Joan
                                                                                                                                         M. Azrack on date of 3/2/00 for ARRAIGNMENT Tape # 00/17 (0-118), Not Guilty:
03/01/2000   2     INDICTMENT as to Frank Coppa (1) count(s) 1, 2, 3, 4, 13, 14, 15, 16, 17, Ernest
                                                                                                                                         Giuseppe Temperino (19) count(s) 2, 5, 6, 7, 8 (Henry, Teresa) (Entered: 05/25/2000)
                   Montevecchi (2) count(s) 2, 13, 14, Daniel Persico (3) count(s) 2, 13, 14, Jack Basile
                   (4) count(s) 2, 5, 6, 7, 8, Rocco Basile (5) count(s) 2, 5, 6, 7, 8, Larry Berman (6)               03/03/2000   21   ORDER FOR ACCEPTANCE OF CASH BAIL as to defendant Aleks Paul in the
                   count(s) 1, 2, 3, 4, 5, 6, 7, 8, John Cioffoletti (7) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11,                     amount of $150,000.00. (Signed by Magistrate Joan M. Azrack on 3/3/00) c/m
                   12, 15, 16, 18, John Doukas (8) count(s) 1, 2, 5, 6, 7, 8, 9, 10, 11, 12, 15, 16, 17, 18,                             (Johnson, Tanya) (Entered: 03/20/2000)
                   Walter Durchalter (9) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, Edward Garafola (10)
                   count(s) 19, 20, Daniel Lev (11) count(s) 1, 2, 9, 10, 11, 12, Eugene Lombardo (12)                 03/03/2000   75   CALENDAR ENTRY as to Joseph Polito Sr.; Case called before Magistrate Joan M.
                   count(s) 1, 2, 3, 4, 9, 10, 11, 12, Edmond Nagel (13) count(s) 1, 2, 9, 10, 11, 12, Alfred                            Azrack on date of 3/3/00 for ARRAIGNMENT Tape # 00/17 (4376-4653), Not Guilty:
                   Palagonia (14) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 15, 16, 17, 18, Aleks Paul                             , Joseph Polito (16) count(s) 1, 2, 9, 10, 11, 12, 19, 20 (Henry, Teresa) (Entered:
                   (15) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, Joseph Polito (16) count(s) 1, 2, 9, 10,                         05/25/2000)
                   11, 12, 19, 20, Lawrence Ray (17) count(s) 9, 10, Abraham Salaman (18) count(s) 2, 3,
                                                                                                                       03/03/2000   76   PRB BOND entered by Joseph Polito Sr. in Amount $ 1,500,000.00 ( Signed by
                   4 and Giuseppe Temperino (19) count(s) 2, 5, 6, 7, 8. (Johnson, Tanya) (Entered:
                                                                                                                                         Magistrate Joan M. Azrack , dated 3/3/00) (Henry, Teresa) (Entered: 05/25/2000)
                   03/06/2000)
                                                                                                                       03/03/2000   77   CALENDAR ENTRY as to Abraham Salaman ; Case called before Magistrate Joan M.
03/01/2000         Magistrate Chrein has been selected by random selection to handle any matters that
                                                                                                                                         Azrack on date of 3/3/00 for ARRIGNMENT Tape # 00/18 (3617-3819), Not Guilty:
                   may be referred in this case. (Johnson, Tanya) (Entered: 03/06/2000)
                                                                                                                                         Abraham Salaman (18) count(s) 2, 3, 4 (Henry, Teresa) (Entered: 05/25/2000)




03/10/2000   3 ORDER SETTING CONDITIONS OF RELEASE AND BOND as to Frank Coppa Sr.,                                     03/16/2000    9 NOTICE of Appearance for Frank Coppa Sr. in 1:00-cr-00196 by Attorney Larry
               Daniel Persico, Jack Basile, Rocco Basile, John Cioffoletti, John Doukas, Walter                                        Bronson (Johnson, Tanya) (Entered: 03/16/2000)
               Durchalter. Edward Garafola, Edmond Nagel, Alfred Palagonia, Aleks Paul, Joseph
               Polito Sr., Lawrence Ray, Abraham Salaman, Giuseppe Temperino (Signed by                                03/16/2000   10 NOTICE of Appearance for Daniel Persico in 1:00-cr-00196 by Attorney Joseph
               Magistrate Joan M. Azrack on 3/2/00) c/m (Johnson, Tanya) (Entered: 03/10/2000)                                         Giannini (Johnson, Tanya) (Entered: 03/16/2000)

03/10/2000   5 LETTER dated 3/6/00 from Steven G. Sanders, Esq., to AUSA Jonathan Sack                                 03/16/2000   11 NOTICE of Appearance for Jack Basile in 1:00-cr-00196 by Attorney John H. Jacobs
               enclosing copies of two executed mortgages on behalf of defendant Lawrence Ray's                                        (Johnson, Tanya) (Entered: 03/16/2000)
               Personal Recognizance Bond. (Johnson, Tanya) (Entered: 03/15/2000)                                      03/16/2000   12 NOTICE of Appearance for Larry Berman in 1:00-cr-00196 by Attorney Stephen
03/14/2000   4 NOTICE of Appearance for Rocco Basile in 1:00-cr-00196 by Attorney Albert J.                                            Robert LaCheen (Johnson, Tanya) (Entered: 03/16/2000)
               Brackley (Johnson, Tanya) (Entered: 03/15/2000)                                                         03/16/2000   13 NOTICE of Appearance for Rocco Basile in 1:00-cr-00196 by Attorney Albert
03/14/2000    6    CALENDAR ENTRY as to Frank Coppa Sr. in 1:00-cr-00196, Ernest Montevecchi in                                        Brackley. (Johnson, Tanya) (Entered: 03/16/2000)
                   1:00-cr-00196, Daniel Persico in 1:00-cr-00196, Jack Basile in 1:00-cr-00196, Rocco                 03/16/2000   14 NOTICE of Appearance for John Cioffoletti in 1:00-cr-00196 by Attorney James M.
                   Basile in 1:00-cr-00196, Larry Berman in 1:00-cr-00196, John Cioffoletti in 1:00-cr-                                LaRossa (Johnson, Tanya) (Entered: 03/16/2000)
                   00196, John Doukas in 1:00-cr-00196, Walter Durchalter in 1:00-cr-00196, Edward
                   Garafola in 1:00-cr-00196, Daniel Lev in 1:00-cr-00196, Eugene Lombardo in 1:00-cr-                 03/16/2000   15 NOTICE of Appearance for Walter Durchalter in 1:00-cr-00196 by Attorney Michael
                   00196, Edmond Nagel in 1:00-cr-00196, Alfred Palagonia in 1:00-cr-00196, Aleks Paul                                 F. Bachner (Johnson, Tanya) (Entered: 03/16/2000)
                   in 1:00-cr-00196, Joseph Polito Sr. in 1:00-cr-00196, Lawrence Ray in 1:00-cr-00196,
                   Abraham Salaman in 1:00-cr-00196, Giuseppe Temperino in 1:00-cr-00196; Case                         03/16/2000   16 NOTICE of Appearance for Edward Garafola in 1:00-cr-00196 by Attorney Michael
                   called before Senior Judge I. L. Glasser on 3/14/00 for Pleading. Court Reporter: Fred                              Rosen (Johnson, Tanya) (Entered: 03/16/2000)
                   Guerino. Ernest Montevecchi and Eugene Lombardo are not present (in custody).                       03/16/2000   17 NOTICE of Appearance for Giuseppe Temperino in 1:00-cr-00196 by Attorney Frank
                   Daniel Lev is a fugitive. Lawrence Ray not present (has not obtained counsel). All                                  V. Carone Jr. (Johnson, Tanya) (Entered: 03/16/2000)
                   other defendant have been arraigned. Defendant pleads Not Guilty: Larry Berman (6)
                   count(s) 1, 2, 3, 4, 5, 6, 7, 8 . AUSA: Johnathan Sack requests six weeks to provide                03/16/2000   18 LETTER dated 3/9/00 from Stephen Lacheen, Esq., to Judge Glasser re: defendant
                   discovery. Case adjourned until 4/25/00 at 10:00 for another conference. Order of                                   Larry Berman's motion to enlarge his travel privileges to include the District of New
                   excludable signed under Code "T", excluding time until 4/25/00. The defendants need                                 Jersey. (Johnson, Tanya) (Entered: 03/16/2000)
                   not be present for the conference. A John Pappalardo will move to be admitted pro hac
                                                                                                                       03/16/2000   19 NOTICE of Appearance for Edmond Nagel in 1:00-cr-00196 by Attorney Michael J.
                   vice on behalf of defendant Salaman. (Johnson, Tanya) (Entered: 03/16/2000)
                                                                                                                                       Rovell (Glenn, Marilyn) (Entered: 03/16/2000)
03/14/2000   29    CALENDAR ENTRY as to John Cioffoletti and Larry Berman. Case called before
                                                                                                                       03/16/2000   27   CALENDAR ENTRY as to Daniel Lev Case called before Magistrate Robert M. Levy
                   Magistrate Robert M. Levy on 3/14/00 for Status Conference. Counsel for both sides
                                                                                                                                         on 3/16/00 for Arraignment. Tape:: 00/37 (2748-3206). Defense Counsel: Jeff
                   present. Tape # 00/34 (5603-6232). Suretor(s) sworn and advised of obligations on
                                                                                                                                         Lichtman. AuSA: Jonathan Sach. Defendant pleads Not Guilty: Daniel Lev (11)
                   bond; signature approved. Bond issued. Defendant released. (Johnson, Tanya) (Entered:
                                                                                                                                         count(s) 1, 2, 9, 10, 11, 12 . Set the next status conference for 4/25/00 at 10:00 before
                   03/28/2000)
                                                                                                                                         Senior Judge I. L. Glasser . Suretors approved, bond issued and defendant released after
03/16/2000   7     ORDER of Excludable Delay by Frank Coppa Sr. in 1:00-cr-00196, Ernest                                                 being advised of warnings/sanctions for non-compliance with conditions of release.
                   Montevecchi in 1:00-cr-00196, Daniel Persico in 1:00-cr-00196, Jack Basile in 1:00-cr-                                (Johnson, Tanya) (Entered: 03/28/2000)
                   00196, Rocco Basile in 1:00-cr-00196, Larry Berman in 1:00-cr-00196, John
                                                                                                                       03/16/2000        District Court Arraignment held as to held Daniel Lev (11) count(s) 1, 2, 9, 10, 11, 12.
                   Cioffoletti in 1:00-cr-00196, John Doukas in 1:00-cr-00196, Walter Durchalter in 1:00-
                                                                                                                                         (Johnson, Tanya) (Entered: 03/28/2000)
                   cr-00196, Edward Garafola in 1:00-cr-00196, Daniel Lev in 1:00-cr-00196, Eugene
                   Lombardo in 1:00-cr-00196, Edmond Nagel in 1:00-cr-00196, Alfred Palagonia in                       03/17/2000   31   CALENDAR ENTRY as to Joseph Polito Sr. Case called before Magistrate Robert M.
                   1:00-cr-00196, Aleks Paul in 1:00-cr-00196, Joseph Polito Sr. in 1:00-cr-00196,                                       Levy on 3/17/00 for Modification of Bond. Counsel for both sides present. Tape #00/40
                   Lawrence Ray in 1:00-cr-00196, Abraham Salaman in 1:00-cr-00196, Giuseppe                                             (4469-4747). Suretor(s) sworn and advised of obligations on bond; signature approved.
                   Temperino in 1:00-cr-00196 ( Signed by Senior Judge I. L. Glasser , Dated 3/14/00)                                    (Johnson, Tanya) (Entered: 03/28/2000)
                   (Johnson, Tanya) (Entered: 03/16/2000)
                                                                                                                       03/20/2000   20 ORDER OF TEMPORARY DETENTION PENDING HEARING as to Walter
03/16/2000   8 LETTER dated 3/13/00 from Charles L. Weintraub, Esq., to Judge Glasser requesting                                       Durchalter. (Signed by Magistrate Joan M. Azrack on 3/2/00) (Johnson, Tanya)
               to modify the conditions of release for defendant Joseph Polito. (Johnson, Tanya)                                       (Entered: 03/20/2000)
               (Entered: 03/16/2000)
                                                                                                                       03/21/2000   26   CALENDAR ENTRY as to Aleks Paul in 1:00-cr-00196; Case called before Senior
                                                                                                                                         Judge I. L. Glasser on date of 3/21/2000 for Status Conf. Court Reporter/ESR Tony
              Case       1:16-mc-02636-AMD Document 24-8 Filed
               Mancuso, For deft. Benjamine Brafman AUSA Jonothan Mothner Jonathan Sack Deft.
                                                                                                                       06/07/18
                                                                                                              04/03/2000
                                                                                                                                           Page 32 of 45 PageID #:
                                                                                                                         37 ORDER as to Frank Coppa Sr. enlargement of Mr Coppa's conditions of pre trial
               pres. with counsel. Court finds factual basis for plea. Deft. has been indicted on CR 99-
               261 -1 SDNY. The case will be transferred to EDNY and a plea scheduled. Deft.
                                                                                                         3906               release to permit his travel to Florida (as previously detailed to the Gov't between April
                                                                                                                            18-28,2000) On ltr. dtd. 3/22/2000 from Nicholas G Kaizer ( Signed by Senior Judge I.
                  continued on bail. AUSA will move to dismiss open counts at sentencing. Guilty: Aleks                               L. Glasser , on 3/28/2000) (Jackson, Ramona) (Entered: 04/03/2000)
                  Paul (15) count(s) 11 , set Sentencing for 10:00 6/26/00 for Aleks Paul before Senior
                  Judge I. L. Glasser , terminated past due deadlines (Jackson, Ramona) (Entered:                  04/03/2000    38   ORDER as to Daniel Lev Request a slight modification of his bail conditions which
                  03/27/2000)                                                                                                         would permit him to use his passport in order to get a driver's license and open bank
                                                                                                                                      account. On ltr. dtd. 3/227/2000 from Jeffrey Lichtman. ( Signed by Senior Judge I. L.
03/22/2000   22   LETTER dated 3/13/00 from AUSA Jonathan S. Sack and AUSA Eric O. Corngold, to                                       Glasser , on 3/28/2000) (Jackson, Ramona) (Entered: 04/03/2000)
                  Judge Glasser requesting that this case be related to several John Doe cases. (Johnson,
                  Tanya) (Entered: 03/22/2000)                                                                     04/04/2000    40 CALENDAR ENTRY as to Jack Basile Case called before Magistrate Roanne L. Mann
                                                                                                                                    on 4/4/00 for Pleading. Defense Counsel: John Jacobs. AUSA: Jonathan Sack and
03/22/2000        ENDORSED ORDER on document #8, that the conditions of defendant Joseph Polito                                     Patricia Notopoulus. Tape # 00/52 (0-2646). Defendant pleads Guilty: Jack Basile (4)
                  Sr's bail be modified as follows: bond amount will remain $1,500,000.00 and secured                               count(s) 5 . Sentencing set for 7/14/00 at 12:00 before Judge Gershon. (Johnson,
                  by 3 properties with defendant to report to the U.S. Pretrial Services once a week by                             Tanya) (Entered: 04/10/2000)
                  phone. (Signed by Senior Judge I. L. Glasser on 3/17/00) c/m (Johnson, Tanya)
                  (Entered: 03/22/2000)                                                                            04/05/2000    39   ORDER that the pleading of defendant Jack Basile is referred to Magistrate Mann.
                                                                                                                                      Sentencing will be held on 7/18/00 at 10:00. (Signed by Senior Judge I. L. Glasser on
03/22/2000   23 ORDER as to Larry Berman in 1:00-cr-00196 Deft's travel privilages are enlarged to                                    4/3/00) c/m (Johnson, Tanya) (Entered: 04/05/2000)
                include the District of New Jersey, in addition to Pennsylvania and New York, unless
                otherwise approved by Pretrial Services Office. Filed with motion attached. ( Signed by            04/07/2000    42 CALENDAR ENTRY as to Eugene Lombardo; Case called before Senior Judge I. L.
                Senior Judge I. L. Glasser , on 3/9/2000) (Jackson, Ramona) Modified on 03/22/2000                                  Glasser on 4/7/00 for Arraignment. Defense Counsel: Richard Brewster. AUSA:
                (Entered: 03/22/2000)                                                                                               Jonathan Sack. Court Reporter: M. Diamond. Defendant pleads Not Guilty: Eugene
                                                                                                                                    Lombardo (12) count(s) 1, 2, 3, 4, 9, 10, 11, 12 . Set a status conference for 4/25/00
03/22/2000   24   ORDER Request GRANTED. On ltr. dtd. 3/13/2000Gov't submits the Coppa case be                                      before Senior Judge I. L. Glasser . Time excluded until 4/25/00. (Johnson, Tanya)
                  related to the John Doe cases pursuant to Rule 50.3(c) ( Signed by Senior Judge I. L.                             (Entered: 04/12/2000)
                  Glasser , on 3/14/2000) (Jackson, Ramona) (Entered: 03/22/2000)
                                                                                                                   04/07/2000         District Court Arraignment as to Eugene Lombardo in 1:00-cr-00196 held Eugene
03/24/2000   25   Rule 40 Documents as to Larry Berman in 1:00-cr-00196 received from U.S. District                                   Lombardo (12) count(s) 1, 2, 3, 4, 9, 10, 11, 12 (Johnson, Tanya) (Entered: 04/12/2000)
                  Court/Eastern District of Pennsylvania. (Johnson, Tanya) (Entered: 03/24/2000)
                                                                                                                   04/07/2000    43   CALENDAR ENTRY as to Ernest Montevecchi. Case called before Senior Judge I. L.
03/28/2000   28 ORDER SETTING CONDITIONS OF RELEASE AND BOND as to defendant Daniel                                                   Glasser on 4/7/00 for Arraignment. Defense Counsel: Joy L. Vastola. AUSA: Jonathan
                Lev for the amount of $1,500,000.00 . (Signed by Magistrate Robert M. Levy on                                         Sack. Court Reporter: M. Diamond. Defendant pleads Not Guilty: Ernest Montevecchi
                3/16/00) c/m (Johnson, Tanya) (Entered: 03/28/2000)                                                                   (2) count(s) 2, 13, 14 . Set a status conference for 4/25/00 before Senior Judge I. L.
                                                                                                                                      Glasser . Defendant excused for the next court appearance. Time excluded until
03/28/2000   30 ORDER MODIFYING THE BOND entered on 3/2/00 as to defendant John Cioffoletti                                           4/25/00. (Johnson, Tanya) (Entered: 04/12/2000)
                . (Signed by Magistrate Robert M. Levy on 3/14/00) (Johnson, Tanya) (Entered:
                03/28/2000)                                                                                        04/07/2000         District Court Arraignment as to Ernest Montevecchi in 1:00-cr-00196 held Ernest
                                                                                                                                      Montevecchi (2) count(s) 2, 13, 14 (Johnson, Tanya) (Entered: 04/12/2000)
03/28/2000   32   ORDER MODIFYING BOND previously set on 3/2/00 as to Joseph Polito . (Johnson,
                  Tanya) (Entered: 03/28/2000)                                                                     04/11/2000    41 LETTER dated 3/27/00 from Jeffery Lichtman, Esq., to Jonathan Sack, Esq. regarding
                                                                                                                                    the discovery in this action. (Johnson, Tanya) (Entered: 04/11/2000)
03/28/2000   33 ORDER SETTING CONDITIONS OF RELEASE AND BOND for defendant Larry
                Berman in the amount of $500,000.00 . (Signed by Magistrate Robert M. Levy on                      04/12/2000    44 NOTICE of Appearance for Ernest Montevecchi in 1:00-cr-00196 by Attorney Joy
                3/14/00) c/m (Johnson, Tanya) (Entered: 03/28/2000)                                                                 Lucielle Vastola (Johnson, Tanya) (Entered: 04/12/2000)
03/31/2000   34   LETTER dated 3/6/2000 from Steven G Sanders to AUSA Sack copies of executed                      04/14/2000    45 LETTER dated 4/10/00 from Angela A. Turiano, Esq., to Judge Glasser informing the
                  mortgages given by Mr Ray in favor of bond. (Jackson, Ramona) (Entered: 03/31/2000)                               Court that defendant Walter Durcchalter will be traveling to marathon Florida on
                                                                                                                                    4/19/00 and will remain there until 4/30/00. (Johnson, Tanya) (Entered: 04/14/2000)
03/31/2000   35   LETTER dated 3/9/2000 from Jonathan Sack to Counsels conf. for March 14,2000 @
                  10:00. (Jackson, Ramona) (Entered: 03/31/2000)                                                   04/18/2000    46 LETTER dated 4/11/00 from Steve G. Sanders, Esq., to AUSA Jonathan Sack
                                                                                                                                    enclosing two original, executed Mortgages by defendant Lawrance Ray. (Johnson,
04/03/2000   36 LETTER dated 3/27/00 from Jeffrey Lichtman to Jonathan Sack in lieu of a formal                                     Tanya) (Entered: 04/18/2000)
                motion for discovery. (Jackson, Ramona) (Entered: 04/03/2000)




04/19/2000   47 LETTER dated 4/5/00 from Richard W Brewster, Esq., to Judge Glasser regarding                                         Defense Counsel: John Jacobs. Transcriber: Courthouse Transcription Service, Inc.
                defendant Eugene Lombardo's request for representation. (Johnson, Tanya) (Entered:                                    (Johnson, Tanya) (Entered: 05/16/2000)
                04/19/2000)
                                                                                                                   05/16/2000    56 LETTER dated 5/10/00 from Richard W. Brewster, Esq., to Judge Glasser requesting
04/25/2000        Letter dated 4/14/00 from Melinda Sarafa to Judge Glasser to inform the Court that Mr.                            that the Court approve a CJA expense voucher. (Johnson, Tanya) (Entered: 05/16/2000)
                  Aleks Paul will be traveling with his family to Bal Harbour, Florida, outside Miami on
                  4/18/00 and returning to New York on 4/30/00. *This is document #54 in 99cr372.                  05/16/2000    58   LETTER dated 5/15/00 from Joseph V. Diblasi, Esq., to Judge Glasser requesting
                  (Guzzi, Roseann) (Entered: 04/25/2000)                                                                              permission to be substituted as counsel for defendant Alfred Palagonia. (Johnson,
                                                                                                                                      Tanya) (Entered: 05/16/2000)
04/25/2000   48 NOTICE of Appearance for Larry Berman in 1:00-cr-00196 by Attorney Robert T.
                Wolf. (Reddy, Lisa) (Entered: 04/26/2000)                                                          05/16/2000         ENDORSED ORDER on document #58, substituting attorney Joseph V DiBlasi for
                                                                                                                                      defendant Alfred Palagonia and terminating attorney Mark S. Cohen . (Signed by
04/25/2000   54   CALENDAR ENTRY as to Frank Coppa Sr., Ernest Montevecchi Rocco Basile, Larry                                        Senior Judge I. L. Glasser on 5/15/00) (Johnson, Tanya) (Entered: 05/16/2000)
                  Berman, John Cioffoletti, John Doukas Walter Durchalter, Edward Garafola, Daniel
                  Lev, Eugene Lombardo, Edmond Nagel, Alfred Palagonia, Joseph Polito Sr, Lawrence                 05/22/2000    59   ORDER as to Frank Coppa Sr. in 1:00-cr-00196 So ordered. On ltr. dtd. 5/15/2000
                  Ray, Abraham Salaman, Giuseppe Temperino; Case called before Senior Judge I. L.                                     from Larry Bronson request Mr Coppa's bail conditions be amended to permit him to
                  Glasser on 4/25/00 for Pleading. Counsel for all sides present. Court Reporter: H.                                  travel to Californaia from June 2, 2000 through June 7,2000. ( Signed by Senior Judge
                  Shapiro. Case adjourned until 6/20/00 at 10:00 for status conference. Case has been                                 I. L. Glasser , on 5/16/2000) (Jackson, Ramona) (Entered: 05/22/2000)
                  deemed as a complex case at time is excluded as indicated on the record. (Johnson,               05/24/2000    60 LETTER dated 5/19/00 from Joseph R. Benfante, Esq., to Judge Glasser requesting that
                  Tanya) (Entered: 05/15/2000)                                                                                      the Court extend defendant Joseph Temperino's travel to include the State of New
04/28/2000   49 MOTION by Edmond Nagel in 1:00-cr-00196 for Michael J Kovell to appear pro hac                                      Jersey. (Johnson, Tanya) (Entered: 05/24/2000)
                vice , for Jewel N. Klein to appear pro hac vice [49-1] motion, [49-2] motion (Jackson,            05/24/2000         ENDORSED ORDER on document #60, granting permission for defendant Giuseppe
                Ramona) (Entered: 04/28/2000)                                                                                         Temperino to travel to the State of New Jersey. (Signed by Senior Judge I. L. Glasser
04/28/2000   50   ORDER as to Edmond Nagel in 1:00-cr-00196 granting [49-1] motion for Michael J                                      on 5/22/00) (Johnson, Tanya) (Entered: 05/24/2000)
                  Kovell to appear pro hac vice as to Edmond Nagel (13)granting [49-2] motion for Jewel            05/25/2000    61   LETTER dated 5/24/00 from Joseph v. DiBlasi, Esq., to Judge Glasser requesting
                  N. Klein to appear pro hac vice as to Edmond Nagel (13) ( Signed by Senior Judge I. L.                              permission for defendant Alfred Palagonia to travel to Indianapolis on 5/25/00.
                  Glasser , on 4/24/2000) (Jackson, Ramona) (Entered: 04/28/2000)                                                     (Johnson, Tanya) (Entered: 05/25/2000)
05/03/2000   51 ORDER, that defendant Alfred Palagonia, Chase Manhattan Bank and/or Chase                          05/25/2000         ENDORSED ORDER on document #61, granting the request for defendant Alfred
                Investment Services Corp and Security Capital Trading Inc shall not (i) permit any                                    Palagonia to travel to Indianapolis, Indiana on 5/25/00 . (Signed by Senior Judge I. L.
                transfer, withdrawal or disposal of any of the assets out of account numbers                                          Glasser on 5/24/00) c/m (Johnson, Tanya) (Entered: 05/25/2000)
                522835200072761 and 69010933; or (ii) create or permit to exist any lien, security
                interest, hypothecation, pledge or other charge or encumbrance upon or with respect to             05/25/2000    62 LETTER dated 5/22/00 from Jeffrey Lichtman, Esq., to Judge Glasser requesting to
                any of the assets in the Accounts(up to the pledged amounts), until further order of the                            modify the bail conditions of defendant Daniel Lev which would permit him to travel to
                U.S District Court. Counsel for defendant Alfred Palagonia shall serve a copy of this                               Russia and Ukraine for business purposes in June. (Johnson, Tanya) (Entered:
                order upon Chase Manhattan Bank and thereafter file proof of such service with the                                  05/25/2000)
                Court and the U.S. Attorney. (Signed by Senior Judge I. L. Glasser on 5/1/00)
                (Johnson, Tanya) (Entered: 05/03/2000)                                                             05/25/2000         CALENDAR ENTRY as to Frank Coppa Sr. in 1:00-cr-00196, Daniel Persico in 1:00-
                                                                                                                                      cr-00196, Jack Basile in 1:00-cr-00196, John Cioffoletti in 1:00-cr-00196, John Doukas
05/11/2000   52 NOTICE of Appearance for Giuseppe Temperino in 1:00-cr-00196 by Attorney Joseph                                       in 1:00-cr-00196, Edward Garafola in 1:00-cr-00196, Edmond Nagel in 1:00-cr-00196,
                R. Benfante (Johnson, Tanya) (Entered: 05/11/2000)                                                                    Alfred Palagonia in 1:00-cr-00196, Aleks Paul in 1:00-cr-00196, Joseph Polito Sr. in
                                                                                                                                      1:00-cr-00196, Lawrence Ray in 1:00-cr-00196; Case called before Magistrate Joan M.
05/12/2000   53   ORDER as to Daniel Persico in 1:00-cr-00196 approval to a modification of conditions                                Azrack on date of 3/2/00 for ARRAIGNMENT, Not Guilty: Frank Coppa (1) count(s)
                  of release: permit deft., with prior notice and approval from pre trial to visit his father at                      1, 2, 3, 4, 13, 14, 15, 16, 17, Daniel Persico (3) count(s) 2, 13, 14, Jack Basile (4)
                  Allenwood. ( Signed by Senior Judge I. L. Glasser , on 5/8/2000) (Jackson, Ramona)                                  count(s) 2, 5, 6, 7, 8, John Cioffoletti (7) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 15,
                  (Entered: 05/12/2000)                                                                                               16, 18, John Doukas (8) count(s) 1, 2, 5, 6, 7, 8, 9, 10, 11, 12, 15, 16, 17, 18, Edward
05/12/2000   55 NOTICE of Appearance for Lawrence Ray in 1:00-cr-00196 by Attorney Thomas G.                                          Garafola (10) count(s) 19, 20, Edmond Nagel (13) count(s) 1, 2, 9, 10, 11, 12, Alfred
                Roth (Johnson, Tanya) (Entered: 05/16/2000)                                                                           Palagonia (14) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 15, 16, 17, 18, Aleks Paul
                                                                                                                                      (15) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, Joseph Polito (16) count(s) 1, 2, 9, 10,
05/15/2000   57   TRANSCRIPT filed as to defendant Jack Basile in 1:00-cr-00196 for pleading held                                     11, 12, 19, 20, Lawrence Ray (17) count(s) 9, 10 (Henry, Teresa) (Entered: 05/25/2000)
                  before Magistrate Mann on 4/4/00. AUSA: Jonathan Sack and Patricia Notopoulus.
05/26/2000
                Case 1:16-mc-02636-AMD                                             Document 24-8 Filed
              78 LETTER dated 5/24/00 from Joseph Benfante, Esq., to Judge Glasser, requesting that
                                                                                                            06/07/18
                                                                                                   06/20/2000
                                                                                                                               Page 33 of 45 PageID #:
                                                                                                                ENDORSED ORDER on document #86 granting permission for defendant Giuseppe

                 purposes. (Asreen, Wendy) (Entered: 05/30/2000)
                                                                                              3907
                 defendant Joseph Temperino be permitted to travel to New Jersey for family related             Temperino to travel to Boca Raton, Florida . (Signed by Senior Judge I. L. Glasser on
                                                                                                                6/15/00) (Johnson, Tanya) (Entered: 06/20/2000)
05/26/2000         ENDORSED ORDER on page 2 of doc. no. 78 as to Giuseppe Temperino Modifying                      06/20/2000    88   CALENDAR ENTRY as to Frank Coppa Sr., Ernest Montevecchi, Daniel Persico,
                   Conditions of Release permitting the defendant to travel to New Jersey for family                                  Rocco Basile, Larry Berman, John Cioffoletti, John Doukas, Walter Durchalter,
                   related purposes . Signed by Senior Judge I. L. Glasser on 5/25/00. (Asreen, Wendy)                                Edward Garafola, Daniel Lev, Eugene Lombardo, Edmond Nagel, Alfred Palagonia,
                   (Entered: 05/30/2000)                                                                                              Aleks Paul, Joseph Polito Sr., Lawrence Ray, Abraham Salaman and Giuseppe
                                                                                                                                      Temperino. Case called before Senior Judge I. L. Glasser on 6/20/00 for a conference.
05/30/2000    80   LETTER dated 5/24/00 from Scott E. Leemon, Esq., to Eric Corngold, AUSA,                                           Counsel for both sides present. Court Reporter: Paul Lombardi and Fred Guerino.
                   regarding discovery. (Johnson, Tanya) (Entered: 06/06/2000)                                                        Robert Wolf is relieved. AUSA Jonahtan Sack informs the Court that the bulk of
06/05/2000    79 ORDER as to Alfred Palagonia in 1:00-cr-00196 modifying bail modifications. (                                        discovery has been provided. There are 100 boxes of documents. Title III material will
                 Signed by Senior Judge I. L. Glasser , on 5/30/00)(Endorsed on letter dated 5/30/00                                  be provided within one week. Amy Millard will be new counsel for defendant Berman.
                 from Joseph DiBlasi to Judge Glasser). (Dobkin, David) (Entered: 06/05/2000)                                         Mr. Sack suggests one more conference. The Court wants to set a motion schedule on
                                                                                                                                      6/20/00. Thomas Roth will be new counsel for defendant Ray. Motions to be filed by
06/05/2000    81   CONSENT ORDER as to Joseph Polito Sr. regarding property known as 3304 Mallard                                     10/16/00. Government to respond by 11/6/00. Argument on 11/17/00 at 10:00. Order of
                   Close, Pompano Beach, Fl 33064. ( Signed by Senior Judge I. L. Glasser , on 6/6/00).                               excludable delay signed under Code"T" excluding time until 11/17/00. (Johnson,
                   c/m (Greene, Donna) (Entered: 06/12/2000)                                                                          Tanya) (Entered: 06/23/2000)
06/15/2000         LETTER dated 6/13/00 from Benjamin Braftman to Judge Glasser, requesting                        06/21/2000    87 LETTER dated 6/16/00 from Josep R. Benfante, Esq., to Judge Glasser enclosing
                   permission for dft Aleks Paul to travel to Rome for the limited purpose of visiting his                          defendant Joseph Temperino's travel itinerary. (Johnson, Tanya) (Entered: 06/21/2000)
                   brother before he passes away. (DOCUMENT FILED ONLY IN 99 CR 372,
                   DOCUMENT #57) (Piper, Francine) (Entered: 06/15/2000)                                           06/23/2000    89 ORDER of Excludable Delay as to all defendants in this action waiving time from
                                                                                                                                    6/20/00 to 11/17/00. (Signed by Senior Judge I. L. Glasser on 6/20/00) (Johnson,
06/16/2000    82   LETTER dated 6/13/2000 from Joy L.Vastola to Judge Glasser request to withdraw as                                Tanya) (Entered: 06/23/2000)
                   counsel due to medical reasons. (Jackson, Ramona) (Entered: 06/16/2000)
                                                                                                                   06/23/2000    90 NOTICE of Appearance for Larry Berman in 1:00-cr-00196 by Attorney Amy E.
06/16/2000    83 ORDER as to Larry Berman Granted. Permission to travel to Miami the week end of                                    Millard (Johnson, Tanya) (Entered: 06/23/2000)
                 July 28,2000 to attend 50th wedding anniversary. On ltr. dtd. 6/7/2000 from Chad D
                 Seigel. ( Signed by Senior Judge I. L. Glasser , on 6/12/2000) (Jackson, Ramona)                  06/28/2000    91 NOTICE of Appearance for Frank Coppa Sr. in 1:00-cr-00196 by Attorney Brian
                 (Entered: 06/16/2000)                                                                                              Hansbury (Johnson, Tanya) (Entered: 07/06/2000)

06/19/2000    84 LETTER dated 5/22/00 from Jeffrey Lichtman, Esq., to Judge Glasser requesting to                  07/07/2000    92 ORDER as to Daniel Lev in 1:00-cr-00196 bail conditions modified solely to permit
                 modify the bail of defendant Daniel Lev to permit him to travel to Russia and the                                  travel pursuant to the following itinerary (see document). ( Signed by Senior Judge I. L.
                 Ukraine for business purposes. (Johnson, Tanya) (Entered: 06/19/2000)                                              Glasser , on 6/22/2000) (Jackson, Ramona) (Entered: 07/07/2000)

06/19/2000         ENDORSED ORDER on document #84, granting the request to modify the bail                         07/07/2000    93 LETTER dated 6/21/00 from Jeffrey Lichtman, Esq., to Judge Glasser, Esq. regarding
                   conditions of defendant Daniel Lev which will allow him to travel to Russia and                                  the travel itinerary of defendant Daniel Lev. (Johnson, Tanya) (Entered: 07/07/2000)
                   Ukraine on the condition that defendant Lev provide detailed information as to: the date        07/12/2000         LETTER dated 7/6/00 from John Jacobs to Judge Gershon and Judge Glasser,
                   of departure and flight #, date of arrival, address where he will be staying and telephone                         requesting that 99 cr 589 and 00 cr 196 be consolidated for sentencing purposes.
                   #, name of the person he will be staying with, and time of return and flight #. (Signed                            (DOCUMENT FILED ONLY IN 99 CR 589, DOCUMENT 309) (Piper, Francine)
                   by Senior Judge I. L. Glasser on 6/7/00) c/m (Johnson, Tanya) (Entered: 06/19/2000)                                (Entered: 07/12/2000)
06/19/2000    85   LETTER dated 6/9/00 from Jeffrey Lichtman, Esq., to Judge Glasser requesting                    07/14/2000         LETTER dated 7/6/00 from Benjamin Brafman to Judge Glasser on behalf of Aleks
                   permission for defendant Daniel Lev to receive his passport from pretrial services.                                Paul requesting that defendant be permitted to travel to Israel for the purpose of the
                   (Johnson, Tanya) (Entered: 06/19/2000)                                                                             passing of his brother. Also applies to cases 99cr372 and 00cr445. (Guzzi, Roseann)
06/19/2000         ENDORSED ORDER on document #85, granting permission for defendant Daniel Lev                                       (Entered: 07/14/2000)
                   to obtain his passport from Pretrial Services. (Signed by Senior Judge I. L. Glasser on         07/14/2000         LETTER date 7/6/00 from Melinda Sarafa to Jonathan Sack, Esq. advising of defendant
                   6/12/00) (Johnson, Tanya) (Entered: 06/19/2000)                                                                    Aleks Pauls' travel plans. *This is document #61 in 99cr372. (Guzzi, Roseann)
06/20/2000    86 LETTER dated 6/15/00 from Joseph Benfante, Esq., to Judge Glasser requesting                                         (Entered: 07/14/2000)
                 permission for defendant Joseph Temperino to travel to Boca Raton, Florida with his               07/18/2000    94   LETTER dated 7/13/00 from Michael Rosen, Esq., to Judge Glasser requesting to
                 immediate family. (Johnson, Tanya) (Entered: 06/20/2000)                                                             extend the bail restrictions for defendant Edward Garafola to permit him to travel to




                   Niagra Falls and Ontario from 7/17/00 to 7/19/00. (Johnson, Tanya) (Entered:                    08/29/2000   103 LETTER dated 8/23/00 from Jeffrey Lichtman, Esq. to Judge Glasser requesting that
                   07/18/2000)                                                                                                      defendant Daniel Lev's bail conditions be modified, allowing him to travel to Russia
                                                                                                                                    and the Ukraine for business purposes for the period of 9/3/00 through 9/24/00. (Lee,
07/18/2000         ENDORSED ORDER on document #94, granting the request to extend the bail                                          Tiffeny) (Entered: 08/29/2000)
                   restrictions for defendant Edward Garafola. (Signed by Senior Judge I. L. Glasser on
                   7/13/00) (Johnson, Tanya) (Entered: 07/18/2000)                                                 08/29/2000   104 ORDER as to Daniel Lev in 1:00-cr-00196 granting [102-1] and [103-1] letter
                                                                                                                                    applications that bail conditions be modified soley to permit travel pursuant to itinerary
07/19/2000    95   LETTER dated 7/17/00 from Joseph V. DiBlasi, Esq., to Judge Glasser requesting                                   . Signed by Senior Judge I. L. Glasser, on 8/25/00. [see Order for itinerary] (Lee,
                   permission for defendant Alfred Palagonia to travel to to New Jersey on 7/18/00 and                              Tiffeny) (Entered: 08/29/2000)
                   Pennsylvania over the weekend of 7/21/00. (Johnson, Tanya) (Entered: 07/19/2000)
                                                                                                                   08/29/2000         ENDORSED ORDER dated 8/25/00 on documet #66 in 99cr372 granting hearing date
07/19/2000    95   ENDORSED ORDER on doc #95, granting permission for defendant Alfred Palagonia                                      of 11/2/00 at 10:00 as to Aleks Paul. ( Signed by Senior Judge I. L. Glasser, on
                   to travel to NJ on 7/18/00 and to Pennsylvania over the weekend of 7/21/00. (Signed by                             8/25/00) *This also applies to 00cr196 and 00cr445. (Guzzi, Roseann) (Entered:
                   Senior Judge I. L. Glasser on 7/17/00) (Johnson, Tanya) (Entered: 07/19/2000)                                      08/29/2000)
07/25/2000    96   LETTER dated 6/29/00 from Joseph DiBlasi, Esq., to Judge Glasser requesting                     09/26/2000   105   LETTER dated 9/14/00 from Jean Marie Graziano to Judge Glasser, requesting that the
                   permission for defendant Alfred Palagonia to travel to Las Vegas on vacation from                                  bail restrictins currently in place with respect to Edward Garafola be extended to permit
                   7/5/00 to 7/11/00. (Johnson, Tanya) (Entered: 07/25/2000)                                                          travel to Saylorsburg, Pennsylvania on 9/17/00. (Greene, Donna) (Entered: 09/26/2000)
07/25/2000    97 ORDER as to Jack Basile, the dft will be sentenced on both cases 99 cr 589 and 00 cr              09/26/2000         ENDORSED ORDER on doc. #105 as to Edward Garafola in 1:00-cr-00196.
                 196 before the undersigned. ( Signed by Judge Nina Gershon , on 7/20/00) (Piper,                                     Application to travel to Saylorsbur, Pennsylvania on 9/17/00 Granted. ( Signed by
                 Francine) (Entered: 07/25/2000)                                                                                      Senior Judge I. L. Glasser , on 9/14/00). (Greene, Donna) (Entered: 09/26/2000)
07/25/2000    98 ORDER as to Jack Basile, Sentencing Schedule, Defense papers, including any                       09/26/2000   106 STIPULATION AND ORDER as to Alfred Palagonia in 1:00-cr-00196. It is stipulated
                 departure motions due 10/6/00; Govt response 10/13/00; Defense reply papers                                        that the net proceeds of the sale of the East Gate Property in the amount of $404,836.20
                 10/20/00; Sentencing 10/27/00 at 11:00. ( Signed by Judge Nina Gershon , on 7/21/00)                               shall be deposition into an interest-bearing account within the custody of the Clerk of
                 (Piper, Francine) (Entered: 07/25/2000)                                                                            the Court for the EDNY to abide further order of the court. ( Signed by Senior Judge I.
07/31/2000    99 LETTER dated 7/21/00 from Charles L. Weintraub, Esq., to Judge Glasser requesting                                  L. Glasser , on 9/11/00). (Greene, Donna) (Entered: 09/26/2000)
                 permission to extend the jurisdictional limits of defendant Joseph Polito's bail for travel       09/29/2000   107   LETTER dated 9/8/00 from Joseph V. DiBlasi, Esq., to Judge Glasser requesting
                 between the dates of 8/1/00 and 8/20/00. (Johnson, Tanya) (Entered: 08/01/2000)                                      permission for defendant Alfred Palagonia to travel to and from Connecticut to obtain
08/01/2000         ENDORSED ORDER on document #99, granting permission to extend the                                                  outpatient treatment at Silver Hill Hospital. (Johnson, Tanya) (Entered: 10/04/2000)
                   jurisdictional limits of defendant Joseph Polito's bail for travel between 8/1/00 and           09/29/2000   107   ENDORSED ORDER on document #107, granting the request for defendant Alfred
                   8/20/00. (Signed by Senior Judge I. L. Glasser on 7/24/00) (Johnson, Tanya) (Entered:                              Palagonia to travel to and from Connecticut to obtain outpatient treatment at Silver Hill
                   08/01/2000)                                                                                                        Hospital. (Signed by Senior Judge I. L. Glasser on 9/8/00) (Johnson, Tanya) Modified
08/18/2000   100 LETTER dated 8/10/00 from Joseph Benfante, counsel for defedant Temperino, to                                        on 10/04/2000 (Entered: 10/04/2000)
                 Judge Glasser enclosing defendant's travel itinerary regarding his trip to Las Vegas, and         10/05/2000   110   STPULATION and ORDER as to John Doukas in 1:00-cr-00196, substituting attorney.
                 providing the Court with the name, address, and phone number of the hotel where                                      Martin Russo terminated; Added Edward A. McDonald . ( Signed by Senior Judge I. L.
                 defendant will be staying. (Rodriguez,Angela) (Entered: 08/18/2000)                                                  Glasser on 10/6/00) (Rodriguez,Angela) (Entered: 10/16/2000)
08/21/2000   101   ORDER as to Giuseppe Temperino in 1:00-cr-00196 permitting deft to travel to Las                10/10/2000   114   LETTER dated 10/5/00 from James M. LaRossa, Esq., to Judge Glasser requesting a
                   Vegas, Nevada Labor Day weekend . See letter dtd 7/27/00 to ILG from Joseph R.                                     (30 day) extension of time for defendant John Cioffoletti to file motions. (Johnson,
                   Benfante. ( Signed by Senior Judge I. L. Glasser , on 7/27/00) (Glenn, Marilyn)                                    Tanya) (Entered: 11/01/2000)
                   (Entered: 08/21/2000)
                                                                                                                   10/16/2000   108   ORDER as to John Cioffoletti in 1:00-cr-00196 endorsed on letter dated 10/5/00 from
08/23/2000         LETTER dated 8/23/00 from Melinda Sarafa to Judge Glasser on behalf of Aleks Paul                                  James LaRossa to Judge Glasser. Request for 30 day extension of time to file motions
                   to confirm that Mr. Paul's sentencing hearing set for 9/11/00 has been adjourned to                                is granted. ( Signed by Senior Judge I. L. Glasser on 10/6/00) (Rodriguez,Angela)
                   11/2/00 at 10:00. Applies also to 00cr196 and 00cr445. *This is document #66 in                                    (Entered: 10/16/2000)
                   99cr372. (Guzzi, Roseann) (Entered: 08/24/2000)
                                                                                                                   10/16/2000   109   ORDER as to Alfred Palagonia in 1:00-cr-00196 endorsed on letter dated 10/6/00 from
08/29/2000   102 LETTER dated 5/22/00 from Jeffrey Lichtman, Esq. to Judge Glasser requesting that                                    Joseph Diblasi to Judge Glasser. Application for defendant to travel to Key West,
                 defendant Daniel Lev's bail conditions be modified, allowing him to travel to Russia                                 Florida from 10/12/00 to 10/17/00 is granted. ( Signed by Senior Judge I. L. Glasser on
                 and the Ukraine for business purposes. (Lee, Tiffeny) (Entered: 08/29/2000)                                          10/6/00) (Rodriguez,Angela) (Entered: 10/16/2000)
10/16/2000
                Case 1:16-mc-02636-AMD                                             Document 24-8 Filed 06/07/18
             111 NOTICE OF SUBSTITUTION OF COUNSEL to Lawrence Ray. (Johnson, Tanya)
                                                                                                                          Page 34 of 45 PageID #:
                                                                                                           counts 11 and 12 ; to sever him from his co-defendants ; [128-1] [128-2]. (Johnson,
                 (Entered: 10/17/2000)                                                        3908         Tanya) (Entered: 11/30/2000)
10/20/2000   112 LETTER dated 10/13/00 from Richard W. Brewster, Esq., to Judge Glasser requesting                11/16/2000   129 MEMORANDUM by Daniel Lev in support of is pretrial motions. (Johnson, Tanya)
                 a 30 day extension of the current motion schedule. (Johnson, Tanya) (Entered:                                     (Entered: 11/30/2000)
                 10/20/2000)
                                                                                                                  11/21/2000   121 MOTION by Lawrence Ray severing his case from that of his co-defendants,
10/20/2000   113   LETTER dated 10/12/00 from AUSA Eric Corngold, to Judge Glasser informing the                                   compelling the production of additional disocvery; dismissing the indictment against
                   Court of the status of this action and requesting that speedy trial be excluded to                              Ray; requiring the government to disclose evidence and permitting defendant Ray to
                   12/15/00. (Johnson, Tanya) (Entered: 10/20/2000)                                                                join in motions of co-defendants . (Guzzi, Roseann) (Entered: 11/27/2000)
10/20/2000         ENDORSED ORDER on document #113, granting the request for excludable delay as                  11/21/2000   122 MEMORANDUM by Lawrence Ray in 1:00-cr-00196 in support of [121-1] motion
                   to Frank Coppa Sr.. The findings required by 18:3161()(8)(A) are hereby made.                                   severing his case from that of his co-defendants, compelling the production of
                   (Signed by Senior Judge I. L. Glasser on 10/12/00) (Johnson, Tanya) (Entered:                                   additional disocvery; dismissing the indictment against Ray; requiring the government
                   10/20/2000)                                                                                                     to disclose evidence and permitting defendant Ray to join in motions of co-defendants.
                                                                                                                                   (Guzzi, Roseann) (Entered: 11/27/2000)
10/23/2000   115 MOTION by Edward Garafola for severance and separate trial and to suppress and
                 preclude a tape recording made by the FBI on 3/25/99 . [115-1] [115-2] (Johnson,                 11/21/2000   123   AFFIDAVIT of Lawrence Ray in 1:00-cr-00196 as to Lawrence Ray in 1:00-cr-00196
                 Tanya) (Entered: 11/01/2000)                                                                                        Re: in support of defendant's [121-1] motion severing his case from that of his co-
                                                                                                                                     defendants, compelling the production additional disocvery; dismissing the indictment
10/23/2000   116 MEMORANDUM by Edward Garafola in support of his [115-1] motion for severance                                        against requiring the government to disclose evidence and defendant Ray to join in
                 and separate trial, [115-2] to suppress and preclude a tape recording made by the FBI                               motions of co-defendants. (Guzzi, Roseann) Modified on 6/17/2009 to attach a copy of
                 on 3/25/99. (Johnson, Tanya) (Entered: 11/01/2000)                                                                  the affidavit, rec'd. by fax from Mr. Roth. (Vaughn, Terry). (Entered: 11/27/2000)
10/25/2000         ENDORSED ORDER dated 10/18/00 on document #76 in 99cr372 granting                              11/21/2000   124   AFFIDAVIT of Thomas G. Roth, Esq. on behalf of Lawrence Ray in 1:00-cr-00196
                   adjournment of sentencing as to Aleks Paul. Sentencing set for 12/14/00 at 10:00. (                               Re: in support of defendant Ray's [121-1] motion severing his case from that of his co-
                   Signed by Senior Judge I. L. Glasser, on 10/18/00) *This also applies to 00cr196 and                              defendants, compelling the production of additional discovery; dismissing the
                   00cr445. (Guzzi, Roseann) (Entered: 10/25/2000)                                                                   indictment against Ray; requiring the government to disclose evidence and permitting
11/03/2000   117 LETTER dated 10/26/00 from Albert Brackley, Esq., to Judge Glasser requesting                                       defendant to join in motions of co-defendants (Guzzi, Roseann) (Entered: 11/27/2000)
                 permission to join any co-counsel motion addaressed to the sufficiency or legality of            11/29/2000   125 LETTER dated 11/9/00 from Amy E. Millard, Esq., to Judge Glasser requesting to
                 the indictment. (Johnson, Tanya) (Entered: 11/03/2000)                                                            modify the bail conditions of defendant Larry Berman to permit him to travel to Puerto
11/03/2000         ENDORSED ORDER on document #117, granting defense counsel's request to join                                     Rico during te first week in December. (Johnson, Tanya) (Entered: 11/29/2000)
                   any co-counsel motion. (Signed by Senior Judge I. L. Glasser on 10/27/00) (Johnson,            11/29/2000         ENDORSED ORDER on document #125, granting the request to modify the bail
                   Tanya) (Entered: 11/03/2000)                                                                                      conditions of defendant Larry Berman to permit him to travel to Puerto Rico during the
11/03/2000   118   LETTER dated 10/30/00 from Jonathan Sack to U.S. Probation Officer, Linda Fowle,                                  first week in December. Itinerary to be made available to the AUSA. (Signed by Senior
                   providing updated information concerning the loss attributable to Jack Basile in                                  Judge I. L. Glasser on 11/14/00) c/m (Johnson, Tanya) (Entered: 11/29/2000)
                   connection with the fraudulent sale of Holly Products Inc. securities at White Rock            11/29/2000   126   LETTER dated 11/13/00 from Nicholas G. Kaizer, Esq., to Judge Glasser requesting a
                   Partners & Co., Inc. (Piper, Francine) (Entered: 11/03/2000)                                                      one-month adjournment, until 12/15/00. for defendant Frank Coppa to submit pretrial
11/09/2000   119 ORDER, that defendant Daniel Lev 's bail conditions be modified to permit him to                                    motions. (Johnson, Tanya) (Entered: 11/29/2000)
                 travel from 11/7/00 through 12/7/00. It is further ordered that defendant's passport,            11/29/2000         ENDORSED ORDER on document #126, granting the request for a one-month
                 presently in the possession of Pretrial Services, be provided to the defendant until he                             adjournment, until 12/15/00, for defendant Frank Coppa to submit pretrial motions.
                 returns from his trip. (Signed by Senior Judge I. L. Glasser on 11/2/00) (Johnson,                                  (Signed by Senior Judge I. L. Glasser on 11/13/00) (Johnson, Tanya) (Entered:
                 Tanya) Modified on 11/30/2000 (Entered: 11/09/2000)                                                                 11/29/2000)
11/13/2000   120 MOTION by Daniel Persico for an order granting a hearing to determine the                        11/29/2000   127 LETTER dated 11/14/00 from J. Brian Hansbury, Esq., to AUSA Eric Corngold,
                 admissability of statments and for discovery . w/supporting papers attached. (Johnson,                            regarding the plea negotiations of defendant Ernest Montevecchi. (Johnson, Tanya)
                 Tanya) (Entered: 11/16/2000)                                                                                      (Entered: 11/29/2000)
11/16/2000   128   MOTION by Daniel Lev to dismiss count one's RICO conspiracy charge and count                   11/29/2000   142 MOTION for Peter F. Carr, II to appear pro hac vice on behalf of defendant Abraham
                   two's substantive RICO charge ; to dismiss the money laundering charges contained in                            Salaman. Fee #: $25.00. Receipt #: 239900 . [142-1] (Johnson, Tanya) Modified on
                                                                                                                                   12/14/2000 (Entered: 12/14/2000)




11/29/2000         AFFIDAVIT by Peter F. Carr, II in further support of his application to appear pro hac         12/05/2000   137   SCHEDULING ORDER that the government shall file and serve responsive papers to
                   vice on behalf of defendant Abraham Salaman. (Annexed to doc #142) (Johnson,                                      defendant Daniel Lev's pretrial motions on or before 5:00pm on 12/11/00. The
                   Tanya) (Entered: 12/14/2000)                                                                                      defendant shall file and serve reply papers, if any, on or before 3pm on 12/13/00. Oral
                                                                                                                                     argument will be heard at 10am on 12/15/00. (Signed by Senior Judge I. L. Glasser on
11/29/2000   144 MOTION for A. John Pappalardo to appear pro hac vice on behalf of Abraham                                           11/28/00) (Johnson, Tanya) (Entered: 12/05/2000)
                 Salaman. Pro Hac Vice Filing Fee #: $25.00. Receipt #: 239898 .[144-1] (Johnson,
                 Tanya) (Entered: 12/14/2000)                                                                     12/07/2000   138   LETTER dated 11/17/00 from Jewel N. Klein, Esq., to Judge Glasser requesting
                                                                                                                                     permission for defendant Edmond Nagel to extend his stay in California until 11/27/00.
11/29/2000         AFFIDAVIT by A. John Pappalardo, Esq. in further support of his motion to appear                                  (Johnson, Tanya) (Entered: 12/07/2000)
                   pro hac vice on behalf of Abraham Salaman. Pro Hac Vice Filing Fee #: $25.00.
                   Receipt #: 239898. (Annexed to doc #144) (Johnson, Tanya) (Entered: 12/14/2000)                12/07/2000         ENDORSED ORDER on document #138, granting permission for defendant Edmond
                                                                                                                                     Nagel to extend his stay in California until 11/27/00. (Signed by Senior Judge I. L.
11/30/2000   130 MOTION by John Cioffoletti to produce all exculpatory and impeachment materials ;                                   Glasser on 11/17/00) (Johnson, Tanya) (Entered: 12/07/2000)
                 for disclosure of pages of documents ; to dismiss Racketerring Act 9 of Counts
                 1,2,7,8,11,12,17 and 18 . [130-1] [130-2] [130-3] (Johnson, Tanya) (Entered:                     12/07/2000   140 MOTION by Abraham Salaman for an extension of time, until 1/3/01, to file discovey
                 11/30/2000)                                                                                                       motions . [140-1] (Johnson, Tanya) (Entered: 12/12/2000)
11/30/2000   131   MEMORANDUM by defendant John Cioffoletti in support of his pretrial motions.                   12/11/2000   139 SCHEDULING ORDER all defense motions which have not yet been made shall be
                   [130-1] (Johnson, Tanya) (Entered: 11/30/2000)                                                                  filed and seved on or before 1/3/01; The government's response to those motions and to
                                                                                                                                   the motions that have already been filed and served shall be filed and served on or
12/01/2000   147   LETTER dated 11/30/00 from AUSA Eric Corngold, to Judge Glasser requesting an                                   before 1/17/01. Defendant's replies, if any, shall be filed and served on or before
                   extension of time, until 1/18/01, for the government to respond to the pretrial motions                         1/29/01. Oral argument will be heard on 2/2/01 at 10:00. (Signed by I. Leo Glasser on
                   of all defendants in this action. (Johnson, Tanya) (Entered: 01/02/2001)                                        11/30/00) (Johnson, Tanya) Modified on 01/08/2001 (Entered: 12/11/2000)
12/04/2000   132   LETTER dated 11/30/00 from AUSA Eric Corngold and AUSA Jonathan Sack, to                       12/13/2000   141 LETTER dated 12/4/00 from Jeffrey Lichtman, Esq., to Judge Glasser requesting
                   Judge Glasser requesting an extension of time until 1/18/01 for the government to                               permission to extend defendant Daniel Lev's recent trip to London and Russia for
                   respond to all of defendant's pretrial motions. (Johnson, Tanya) (Entered: 12/04/2000)                          business purposesi until 1/3/01. (Johnson, Tanya) (Entered: 12/13/2000)
12/04/2000   133   SCHEDULING ORDER that the government is directed to file and serve responses to                12/13/2000   141   ENDORSED ORDER on document #141, that defendant Daniel Lev's request to extend
                   defendant John Cioffoletti's motion on or before 5pm on 12/18/00. The defendant shall                             his trip until 1/3/01 is granted. (Signed by Senior Judge I. L. Glasser on 12/4/00)
                   file and serve reply papers, if any, on or before 5pm on 11/20/00 and oral argument will                          (Johnson, Tanya) (Entered: 12/13/2000)
                   be heard at 10:00 on 12/22/00. (Signed by Senior Judge I. L. Glasser on 11/29/00) c/m
                   (Johnson, Tanya) (Entered: 12/04/2000)                                                         12/14/2000   143   ORDER, granting [142-1] the motion of Peter F. Carr, II to appear pro hac vice on
                                                                                                                                     behalf of defendant Abraham Salaman. (Signed by Senior Judge I. L. Glasser on
12/04/2000   134   LETTER dated 11/29/00 from Nicholas G. Kaizer, Esq., to JUdge Glasser requesting to                               12/6/00) c/m $25.00 filing fee paid. (Johnson, Tanya) (Entered: 12/14/2000)
                   modify the conditions of defendant Frank Coppa's pretrial release to allow him to travel
                   to California between 11/26/00 to 1/2/01. (Johnson, Tanya) (Entered: 12/04/2000)               12/14/2000   145   ORDER, granting the [144-1] motion for A. John Pappalardo to appear pro hac vice on
                                                                                                                                     behalf of Abraham Salaman. Pro Hac Vice Filing Fee #: $25.00. Receipt #: 239898.
12/04/2000   134   ENDORSED ORDER on document #134, granting permission for defendant Frank                                          (Signed by Senior Judge I. L. Glasser on 12/6/00) c/m (Johnson, Tanya) (Entered:
                   Coppa to travel to California from 12/26/00 to 1/2/01 . (Signed by Senior Judge I. L.                             12/14/2000)
                   Glasser on 11/29/00) c/m (Johnson, Tanya) (Entered: 12/04/2000)
                                                                                                                  12/27/2000         LETTER dated 12/12/00 from Melinda Sarafa to Judge Glasser to confirm the
12/05/2000   135 SCHEDULING ORDER: that the government is directed to file and serve responses to                                    adjournment of the sentencing to 12/20/00 as to Aleks Paul. *This is document #85 in
                 defendant Lawrence Ray's motion on or before 5pm on 12/18/00. The defendant shall                                   99cr372. (Guzzi, Roseann) (Entered: 12/27/2000)
                 file and serve reply papers, if any, on or before 5pm on 12/20/00 and oral argument will
                 be heard at 10:00 on 12/22/00. (Signed by Senior Judge I. L. Glasser on 11/28/00)                12/29/2000   146   LETTER dated 11/29/00 from Joseph Dilasi, Esq., to Judge Glasser requesting
                 (Johnson, Tanya) (Entered: 12/05/2000)                                                                              permission for defendant Alfred Palagonia to travel to the Poconos for the weekend of
                                                                                                                                     12/2/00. (Johnson, Tanya) (Entered: 01/02/2001)
12/05/2000   136 SCHEDULING ORDER: that the Government shall file and serve responsive papers to
                 defendant Edward Garafola's motions on or before 5pm on 12/11/00. The defendant                  12/29/2000         ENDORSED ORDER on document #146, granting permission for defendant Alfred
                 shall file and serve reply papers, if any, on or before 12/13/00, and oral argument and                             Palagonia to travel to the Poconos for the weekend of 12/2/00. (Signed by Senior Judge
                 suppression hearing will be heard on 12/15/00 at 2:00. (Signed by Senior Judge I. L.                                I. L. Glasser on 11/3/000) (Johnson, Tanya) (Entered: 01/02/2001)
                 Glasser on 11/28/00) (Johnson, Tanya) (Entered: 12/05/2000)
                                                                                                                  12/29/2000   148 STIPULATION AND ORDER, by and between plaintiff and defendant John
                                                                                                                                   Cioffoletti that the sale of the Seagull Lane Property may proceed and that the net
                Case       1:16-mc-02636-AMD Document 24-8 Filed 06/07/18
                 proceeds of the sale in the amount of $194,909.92 shall be deposited into any interest-
                                                                                                                            Page 35 of 45 PageID #:
                                                                                                              Government has consented to Mr. Paul's request to travel. *This is document #86 in
                 bearing account within the custody of the Clerk of Court for the Eastern District of NY
                 pending further order of the Court. It is further ordered that withdrawals from this
                                                                                                         3909 99cr372. (Guzzi, Roseann) (Entered: 01/11/2001)

                   account must be sought on (10) days written notice to the Government's counsel in this       01/11/2001   156 LETTER dated 1/3/01 from Richard W. Brewster, Esq., to Judge Glasser informing the
                   action. It is further ordered that the Clerk of Court is directed to deduct from the                          court that defendant Eugene Lomardo wishes to join in that part of Ernest
                   income of the investment a fee equal to (10) percent of the income earned, but not                            Montevecchi's motion seeing to dismiss the allegations in the instant indicment.
                   exceeding the fee authorized by the Judicial Conference of the U.S. It is further ordered                     (Johnson, Tanya) (Entered: 01/11/2001)
                   that each side shall bear its own costs and attorney's fees in connection with this          01/17/2001   157 LETTER dated 1/10/01 from Jeffrey Lichtman, Esq., to Judge Glasser requesting to
                   stipulation and order. (Signed by Senior Judge I. L. Glasser on 12/19/00) (Johnson,                           modify the bail conditions of defendant Daniel Lev to allow the defendant to travel to
                   Tanya) (Entered: 01/08/2001)                                                                                  Russia for business purposes. (Johnson, Tanya) (Entered: 01/17/2001)
12/29/2000         ENDORSED ORDER on document #140, granting the [140-1] motion for an extension                01/17/2001   157   ENDORSED ORDER on pg 2 of doc #157, granting the request to modify defendant
                   of time, until 1/3/01, to file discovey motions as to Abraham Salaman (18). (Signed by                          Daniel Lev's bail conditions allowing him to travel to Russia from 1/15/01 to 1/28/01
                   Magistrate A. S. Chrein on 12/18/00) (Johnson, Tanya) (Entered: 01/08/2001)                                     for business purposes. (Signed by Senior Judge I. L. Glasser on 1/10/01) (Johnson,
01/03/2001   151   MOTION by Edmond Nagel to dismiss counts 1 and 2 and to sever this action . [151-1]                             Tanya) (Entered: 01/17/2001)
                   [151-2] (Johnson, Tanya) (Entered: 01/11/2001)                                               01/17/2001   158 MEMORANDUM by USA in opposition to the defendants' pretrial motions. (Johnson,
01/03/2001         MEMORANDUM by Edmond Nagel in support of the [151-1] motion to dismiss                                        Tanya) (Entered: 01/19/2001)
                   counts 1 and 2 and to [151-2] sever this action. (Annexed to document #151) (Johnson,        01/29/2001   159   REPLY by Abraham Salaman in further support of his pretrial motions. [154-1] [154-2]
                   Tanya) (Entered: 01/11/2001)                                                                                    [154-3] [154-4] [154-5] (Johnson, Tanya) (Entered: 01/31/2001)
01/03/2001   152   MOTION by Ernest Montevecchi to dismiss counts 13 and 14 and to dismiss count 2 .            01/29/2001   160   REPLY AFFIDAVIT by J. Brian Hansbury, Esq., on behalf of defendant Ernest
                   [152-1] [152-2] (w/exhibits A-F attached) (Johnson, Tanya) (Entered: 01/11/2001)                                Montevecchi in response to the government's memorandum in opposition to the
01/03/2001   153 MEMORANDUM by Ernest Montevecchi in further support of his [152-1] motion to                                      defendant's pretrial motions. (Johnson, Tanya) (Entered: 01/31/2001)
                 dismiss counts 13 and 14 and [152-2] count 2. (Johnson, Tanya) (Entered: 01/11/2001)           02/02/2001   182   CALENDAR ENTRY as to Frank Coppa Sr., Ernest Montevecchi in aniel Persico, Jack
01/03/2001   154 MOTION by Abraham Salaman for Bill of Particulars ; to turn over all impeachment                                  Basile, Rocco Basile, Larry Berman, John Cioffoletti, John Doukas, Walter Durchalter,
                 materials to the defendants ; provide the names of all unindicted co-conspirators                                 Edward Garafola, Daniel Lev, Eugene Lombardo, Edmond Nagel, Alfred Palagonia,
                 referred to in the indictment ; provide all statements made during the course and in                              Aleks Paul, Joseph Polito Sr., Lawrence Ray, Abraham Salaman, Giuseppe Temperino.
                 furtherance of the conspiracy by defendants the government does not intend to call as                             Case called before Senior I. L. Glasser on 2/2/01 for Status Conference. Court
                 witnesses at the trial ; provide all evidence the goverment intends, expects or seeks to                          Reporter: Holly Driscoll. Counsel for all sides present. Mr. Rosen argues severance
                 introduce at trial . [154-1] [154-2] [154-3] [154-4] [154-5] (Johnson, Tanya) (Entered:                           motion on behalf of Garabola. Decision reserved. Mr. Rosen's motion to suppress is
                 01/11/2001)                                                                                                       denied. Mr. Roth argues severance mtoon on behalf of Ray. Decision reserved. Mr.
                                                                                                                                   Lichtman argues severance motion on behalf of defendant Lev. Decision reserved. Mr.
01/03/2001   155 MEMORANDUM by Abraham Salaman in further support of [154-1] of his pretrial                                       Rovell's motion is also reserved. Andrew Weinstein argues money laundering motion
                 motions. (Johnson, Tanya) (Entered: 01/11/2001)                                                                   on behalf of defendant Cioffoletti. Motion is denied. Ms Miranda Fritz argues money
                                                                                                                                   laundering motion on behalf of defendant Lev. Motion is denied. Brian Hansbury
01/04/2001   149   LETTER dated 1/3/01 from Richard Brewster to Judge Glasser informing that Eugene                                argues money laundering motion on behalf of defendant Monturecchi. Motion is
                   Lombardo joins in that part of Ernest Montevecchi's motion seeking to dismiss the                               denied. Mr. Giannini argues money laundering motion. Motion is denied. The court
                   allegations in the instant indictment which are duplicative to that in Southern District                        denies Mr Giannini's motion to suppress. Ms. Miranda Fritz argues motion to dismiss
                   case # 97cr1215. (Rodriguez,Angela) (Entered: 01/08/2001)                                                       Ricco counts as to defendant Lev. Motion is denied. Mr. Hansbury argues motion to
01/10/2001   150   LETTER dated 1/4/01 from Jean Marie Graziano, Esq., to Judge Glasser requesting                                 dismiss. Motion is denied. Brady material to be turned over upon request. Giglio
                   permission for defendant Edward Garafola to travel to Alabama from Friday 1/12/01 to                            material to be disclosed in sufficient time as needed by defense. Rocco Basile will be
                   1/26/01. (Johnson, Tanya) (Entered: 01/10/2001)                                                                 pleading gulity on 2/7/01, before Magistrate/Judge Pollak. Mr. Corngold expect six mor
                                                                                                                                   guiltu plea. Set the next conference fore 3/15/01 at 10:00. Trial date will be set then.
01/10/2001   150   ENDORSED ORDER on document #150, granting permission for defendant Edward                                       (Johnson, Tanya) (Entered: 03/23/2001)
                   Garafola to Travelf rom 1/12/1 to 1/26/01 . (Signed by Senior Judge I. L. Glasser on
                   1/4/01) (Johnson, Tanya) (Entered: 01/10/2001)                                               02/07/2001   163 CALENDAR ENTRY as to Rocco Basile in 1:00-cr-00196. Case called before
                                                                                                                                 Magistrate Cheryl L. Pollak on 2/7/01 for Pleading. Defense Counsel: Stephen Scaring.
01/11/2001         LETTER dateded 12/18/00 from Melinda Sarafa to Judge Glasser to confirm defendant                             AUSA: Eric Corngold. Tape # 01/03C (480-3027). Defendant pleads Guilty: Rocco
                   Aleks Paul's sentencing has been adjourned to 2/28/01 at 10:00. And also the                                  Basile (5) count(s) 5 . Set sentencing for 5/23/01 at 10:00 before Senior Judge I. L.
                                                                                                                                 Glasser . (Johnson, Tanya) (Entered: 02/22/2001)




02/14/2001         CASE reassigned to Judge Raymond J. Dearie from Judge I. Leo Glasser. Parties                03/08/2001         ENDORSED ORDER on document #170 granting permission for defendant Edward
                   notified. (Chin, Felix) (Entered: 02/24/2001)                                                                   Garafola to travel through 2/14/01. (Signed by Senior Judge I. L. Glasser on 2/6/01)
                                                                                                                                   (Johnson, Tanya) (Entered: 03/08/2001)
02/15/2001   161   ORDER, that the plea of defendant Rooco Basile is referred to Magistrate Pollak.
                   (Signed by Senior Judge I. L. Glasser on 2/1/01) (Johnson, Tanya) (Entered:                  03/08/2001   171   LETTER dated 2/8/01 from AUSA Eric Corngold, to Judge Glasser informing the
                   02/15/2001)                                                                                                     Court of the status of the request for permission from the Solicitor General to file a
                                                                                                                                   petition for writ of mandamus. (Johnson, Tanya) (Entered: 03/08/2001)
02/16/2001   162   LETTER dated 2/12/01 from Paul Schoeman to Judge Glasser and Judge Dearie, the
                   govt has agreed to request the consolidation of sentencing for dft Basile in 98 cr 1129      03/08/2001   172 LETTER dated 2/27/01 from Jeffrey Lichtman, Esq., to Judge Glasser requesting
                   and 00 cr 196. (Piper, Francine) (Entered: 02/16/2001)                                                        permission for defendant Daniel Lev to miss the conference scheduled for 3/15/01.
                                                                                                                                 (Approved by Judge Glasser on 2/27/01, see pg 2 of this doc) (Johnson, Tanya)
02/22/2001   164 NOTICE of Appearance for Rocco Basile in 1:00-cr-00196 by attorney Stephen P.                                   (Entered: 03/08/2001)
                 Scaring. (Johnson, Tanya) (Entered: 02/22/2001)
                                                                                                                03/09/2001   173 LETTER dated 2/27/01 from Amy E. Millard, Esq., to Judge Glasser requesting
02/22/2001   165 LETTER dated 1.26.01 from Jean Marie Graziano to Judge Glasser enclosing a                                      permission for defendant Larry Berman to travel to St. Thomas from 3/18/01 to
                 courtesy copy of Deft Edward Garafola's Reply Memorandum. W/o attachment.                                       3/23/01. (Johnson, Tanya) (Entered: 03/09/2001)
                 (Barrett, Charryse) (Entered: 02/22/2001)
                                                                                                                03/09/2001   173   ENDORSED ORDER on document #173, granting permission for defendant Larry
02/27/2001         CASE reassigned to Senior Judge I. L. Glasser from Judge Raymond J. Dearie. This is                             Berman to travel on 3/18/01 to 3/23/01 . (Signed by Senior Judge I. L. Glasser on
                   a correction from the last reassignment. Parties notified. (Chin, Felix) (Entered:                              3/2/01) (Johnson, Tanya) (Entered: 03/09/2001)
                   02/27/2001)
                                                                                                                03/09/2001   174 TRANSCRIPT before Magistrate Pollak of the Pleading filed in case as to Rocco
02/27/2001   166   LETTER dated 2/21/01 from Joseph DiBlasi, Esq., to Judge Glasser requesting                                   Basile in 1:00-cr-00196 for dates of 2/7/01. Transcript produced by Elizabeth Barron.
                   permission for defendant Alfred Palagonia sto travel from 2/21/01 to 2/25/01. (Johnson,                       (Gonzalez, Mary) (Entered: 03/09/2001)
                   Tanya) (Entered: 02/27/2001)
                                                                                                                03/14/2001   175   LETTER dated 3/13/01 from James M. LaRossa, Esq., to Judge Glasser informing the
02/27/2001         ENDORSED ORDER on document #166, granting the application for defendant Alfred                                  Court of defendant John Cioffoletti's changed itinerary for 3/15-3/19/01. (Johnson,
                   Palagonia to travel from 2/21/01 to 2/25/01 on the condition that full travel itinerary be                      Tanya) (Entered: 03/15/2001)
                   forwarded to pretrial services. (Signed by Senior Judge I. L. Glasser on 2/21/01)
                   (Johnson, Tanya) (Entered: 02/27/2001)                                                       03/15/2001   176   LETTER dated 3/9/01 from James M. LaRossa, Esq., to Judge Glasser requesting that
                                                                                                                                   defendant Cioffoletti's bail conditions be extended to permit him to take a business trip.
02/28/2001   167   ORDER as to Aleks Paul, granting dft.'s request to adjourn sentencing from 2/28/01 to                           (Johnson, Tanya) (Entered: 03/15/2001)
                   3/28/01 at 10:00. (Signed by Senior Judge I. L. Glasser on 2/23/01). Endorsed on letter
                   dated 2/21/01 from Melinda Sarafa to Judge Glasser. (Reddy, Lisa) (Entered:                  03/15/2001         ENDORSED ORDER on document #176, granting the request to extend the bail
                   02/28/2001)                                                                                                     conditions of defendant John Cioffoletti to permit him to take a business trip/personal
                                                                                                                                   vacation to Florida from 3/15/01 to 3/19/01. (Signed by Senior Judge I. L. Glasser on
02/28/2001   168 ORDER, that defendant Daniel Lev's bail conditions be modified to permit him to                                   3/12/01) (Johnson, Tanya) (Entered: 03/15/2001)
                 travel from 3/1/01 to 4/6/01. It is further ordered that defendant's passport, presently in
                 the possession of Pretrial Services, be provided to the defendant until he return from         03/15/2001   177 NOTICE of Appearance for Ernest Montevecchi in 1:00-cr-00196 by Attorney Joseph
                 this trip. (Signed by Senior Judge I. L. Glasser on 2/27/01) (Johnson, Tanya) (Entered:                         A. Bondy (Johnson, Tanya) (Entered: 03/16/2001)
                 03/01/2001)
                                                                                                                03/15/2001   178 CALENDAR ENTRY as to Ernest Montevecchi in 1:00-cr-00196, Daniel Persico in
03/08/2001   169   LETTER dated 2/5/01 from Nicholas G. Kaizer, Esq., to Judge Glasser requesting                                1:00-cr-00196, Larry Berman in 1:00-cr-00196, John Cioffoletti in 1:00-cr-00196, John
                   permission for defendant Frank Coppa to travel from 2/25/01 to 3/13/01 and 4/5/01 to                          Doukas in 1:00-cr-00196, Walter Durchalter in 1:00-cr-00196, Edward Garafola in
                   4/12/01. (Johnson, Tanya) (Entered: 03/08/2001)                                                               1:00-cr-00196, Daniel Lev in 1:00-cr-00196, Eugene Lombardo in 1:00-cr-00196,
                                                                                                                                 Edmond Nagel in 1:00-cr-00196, Alfred Palagonia in 1:00-cr-00196, Lawrence Ray in
03/08/2001         ENDORSED ORDER on document #169, granting permission for defendant Frank                                      1:00-cr-00196, Abraham Salaman in 1:00-cr-00196, Giuseppe Temperino in 1:00-cr-
                   Coppa Sr to travel from 2/25/01 to 3/13/01 and 4/5/01 to 4/12/01 . (Signed by Senior                          00196; Case called before Senior Judge I. L. Glasser on date of 3/15/01 for Pleading
                   Judge I. L. Glasser on 2/6/01) (Johnson, Tanya) (Entered: 03/08/2001)                                         Court Reporter/ESR Paul Lombardi Deft's pres. with counsels. Joseph Bondi has been
03/08/2001   170   LETTER dated 2/6/01 from Michael Rosen, Esq., to Judge Glasser requesting                                     retained by Montevecchi. Jonathan Sack says six more deft's will plead. Four have
                   permission for defendant Edward Garafola to travel through 2/14/01. (Johnson, Tanya)                          already plead. Nine may go to trial. A mandamus petition to be submitted to the
                   (Entered: 03/08/2001)                                                                                         Appellate Court. Severance motions remain undecided, and a decision will be put off,
                                                                                                                                 in anticipation of more pleas. Jury selection and trial set for 10/22/01. Criminal Pre
                Case      1:16-mc-02636-AMD Document 24-8 Filed
                 Trial Order signed. Order of excludabel delay signed under code "T" (Jackson,
                                                                                                             06/07/18 Page 36 of 45 PageID #:
                                                                                                    05/22/2001 191 ENDORSED ORDER on pg #2, document #191, granting the request to modify
                 Ramona) (Entered: 03/21/2001)                                                 3910                defedant Daniel Lev's bail conditions to allow him to travel from 5/27/01 until 6/24/01.
                                                                                                                   (Signed by Senior Judge I. L. Glasser , on 5/21/01) (Johnson, Tanya) (Entered:
03/21/2001   179 NOTICE of Appearance for Ernest Montevecchi in 1:00-cr-00196 by Attorney Joseph                                 05/25/2001)
                 A. Bondy (Jackson, Ramona) (Entered: 03/21/2001)
                                                                                                              05/22/2001   192   LETTER dated 5/22/01 from Michael F. Bachner, Esq., to Judge Glasser requesting
03/21/2001   181 Certificate of Engagement and Criminal Pre Trial ORDER as to Ernest Montevecchi et                              permission for defendant Walter Durchalter to travel to Philadelphia, PA on 5/23/01
                 al in 1:00-cr-00196 ( Signed by Senior Judge I. L. Glasser , on 3/15/01) (Jackson,                              and return on 5/24/01. (Johnson, Tanya) (Entered: 05/25/2001)
                 Ramona) (Entered: 03/21/2001)
                                                                                                              05/22/2001   192 ENDORSED ORDER on doc #192, granting the request for permission for defendant
03/26/2001   183   ORDER as to Alfred Palagonia in 1:00-cr-00196 On condition that itinerary furnished                         Walter Durchalter to travel to Philadelphia, PA on 5/23/01 and return on 5/24/01.
                   to pre trial services including address & phone of place where def. will be staying this                    (Signed by Senior Judge I. L. Glasser, undated) (Johnson, Tanya) (Entered:
                   request is Granted. On ltr. dtd. 3/21/01 from Joseph V DiBlasi. ( Signed by Senior                          05/25/2001)
                   Judge I. L. Glasser , on 3/21/01) (Jackson, Ramona) (Entered: 03/26/2001)
                                                                                                              05/29/2001   193 LETTER dated 5/24/01 from Jeffrey Lichtman to Judge Glasser, enclosing subpoenas
03/26/2001   184   TRANSCRIPT filed in case as to Jack Basile in 1:00-cr-00196 for Arraignemnt before                          to review. (DiLorenzo, Krista) (Entered: 05/29/2001)
                   Mag Go dates of 3/15/01 ; Court Reporter/ESR: Courthouse Transcription Service
                   (Jackson, Ramona) (Entered: 03/26/2001)                                                    06/01/2001   194 LETTER dated 5/29/01 from Jeffrey Lichtman to Judge Glasser, enclosing additional
                                                                                                                               subpoenas to be so ordered. (No attachments). (DiLorenzo, Krista) (Entered:
03/26/2001   185   LETTER dated 3/21/01 from Thomas G. Roth, Esq., to Judge Glasser regarding trial                            06/01/2001)
                   presently scheduled for 10/22/01. (Johnson, Tanya) (Entered: 03/27/2001)
                                                                                                              06/01/2001         LETTER dated 5/29/01 from Melinda Sarafa to Judge Glasser on behalf of Aleks
03/28/2001   186   LETTER dated 3/27/01 from Jean Marie Graziano, Esq., to Judge Glasser requesting                              Paulto inform the Court that defendant will be traveling to Las Vegas, Nevada from
                   permission for defendant Edward Garafola to travel on 4/1/01 and return on 4/4/01.                            5/31/01 to 6/5/01. This letter also applies to case # 00cr196 and 00cr445. *This is
                   (Johnson, Tanya) (Entered: 03/28/2001)                                                                        document #90 in99cr372 (Guzzi, Roseann) (Entered: 06/01/2001)
03/28/2001         ENDORSED ORDER on document #186, granting permission for defendant Edward                  06/04/2001   195   ORDER Directing Forfeiture of Property as to Alfred Palagonia in 1:00-cr-00196.
                   Garafola to travel on 4/1/01 and return on 4/4/01 . (Signed by Senior Judge I. L.                             Certified copies sent to AUSA. (Signed by Senior Judge I. L. Glasser on 6/4/01)
                   Glasser, on 3/27/01) (Johnson, Tanya) (Entered: 03/28/2001)                                                   (Rodriguez,Angela) (Entered: 06/05/2001)
03/30/2001         LETTER dated 3/22/01 from Melinda Sarafa to Judge Glasser on behalf of Aleks Paul          06/04/2001   196 STIPULATION AND ORDER as to Alfred Palagonia in 1:00-cr-196 designating
                   to confirm the sentencing has been adjourned until 5/22/01 at 10:00. *Also applies to                       certain funds into escrow accounts as provided herein. (Signed by Senior Judge I. L.
                   00cr196 and 00cr445. *This is document #89 in 99cr372. (Guzzi, Roseann) (Entered:                           Glasser on 6/4/01) (Rodriguez,Angela) (Entered: 06/05/2001)
                   03/30/2001)
                                                                                                              06/04/2001   198   CALENDAR ENTRY as to Alfred Palagonia. Case called before Senior Judge I. L.
04/11/2001   188 CALENDAR ENTRY as to Eugene Lombardo. Case called before Senior Judge I. L.                                     Glasser on 6/4/01 for Pleading. Defense Counsel: Joseph DiBlasi. AUSA: Eric
                 Glasser on 4/11/01 for Motion Hearing. Court Reporter: Fred Guerino. Application of                             Corngold and David Goldberg. Court Reporter:: Holly Driscoll. Defendnat pleads
                 Richard Brewster to be relieved as counsel for defendant Eugene Lombardo is granted                             Guilty: Alfred Palagonia (14) count(s) 9 and 11 . Sentencing for defendant Alfred
                 and Lawrence K. Feitell, Esq is appointed . (Johnson, Tanya) (Entered: 04/24/2001)                              Palagonia is set for 9/13/01 at 10:00 before Senior Judge I. L. Glasser . AUSA will
04/11/2001   189 CJA 20 as to Eugene Lombardo: Appointment of Attorney Lawrence Feitell. (Signed                                 move to dismiss open counts at the time of sentencing. Stipulation presented in open
                 by Senior Judge I. L. Glasser on 4/11/01) (Johnson, Tanya) (Entered: 04/24/2001)                                count, providing that $404,000.00 be hled in escrow account. (Johnson, Tanya)
                                                                                                                                 (Entered: 06/11/2001)
04/20/2001   187   LETTER dated 4/3/01 from Richard Brewster, Esq., to Judge Glasser requesting to be
                   relieved as counsel for defendant Eugene Lombardo. (Johnson, Tanya) (Entered:              06/04/2001         LETTER dated 6/4/01 from Melinda Sarafa to Judge Glasser requesting the Court
                   04/24/2001)                                                                                                   endorse Mr. Paul's request for release of the $100,000 cash bail on deposit in the
                                                                                                                                 Southern District. *This is document #91 in 99cr372 (Guzzi, Roseann) (Entered:
05/17/2001   190 USCA Order certified on 5/8/01 it is Ordered that the stay is Granted until further order                       06/12/2001)
                 of this Court. It is further ordered the respondents shall file a brief on or before May
                 17,2001. Judge notified. Ackn mailed. USCA # 01-3031. (Gonzalez, Mary) (Entered:             06/05/2001   197 LETTER dated 5/31/01 from Amy E. Millard, Esq., to Judge Glasser requesting
                 05/17/2001)                                                                                                   permission for defendant Larry Berman to travel to Las Vegas from 7/2/01 - 7/6/01.
                                                                                                                               (Johnson, Tanya) (Entered: 06/08/2001)
05/22/2001   191 LETTER dated 5/18/01 from Jeffrey Lichtman, Esq., to Judge Glasser requesting to
                 modify defendant Daniel Lev's bail conditions to permit him to travel for business from      06/05/2001         ENDORSED ORDER on document #197, granting permission for defendant Larry
                 5/27/01 to 6/24/01. (Johnson, Tanya) (Entered: 05/25/2001)                                                      Berman to travel to Las Vegas from 7/2/01 to 7/6/01 . (Signed by Senior Judge I. L.
                                                                                                                                 Glasser on 6/4/01) (Johnson, Tanya) (Entered: 06/08/2001)




06/06/2001   199 ORDER, endorsed on the 6/6/01 letter from Mr. DiBlasi, so ordering Mr. DiBlasi's                                Ordered: Senior Judge I. L. Glasser, on 6.21.01). C/F (Barrett, Charryse) (Entered:
                 request for permission for his client Alfred Palagonia to travel to Puerto Rico beginning                       06/26/2001)
                 6/11/01 through 6/16/01. ( Signed by Senior Judge I. L. Glasser , on 6/6/01.) (Vaughn,
                 Terry) (Entered: 06/11/2001)                                                                 06/28/2001   208   ORDER as to Frank Coppa Sr. in 1:00-cr-00196: Request for enlargement of
                                                                                                                                 defendants' conditions of pretrial release to permit travel to Florida in August for family
06/07/2001   201 ORDER that the restraining order on Security Capital account #69010933 in the name                              wedding granted. See letter dated June 26, 2001 from Nicholas Kaizer to Hon. I. Leo
                 of defendant Alfred Palagonia shall be removed and the assets in said account released                          Glasser. ( Signed by Senior Judge I. L. Glasser , on 06/26/01). (Chee, Alvin) (Entered:
                 to Mr. Palagonia immediately upon the execution of this order. (Signed by Senior                                07/03/2001)
                 Judge I. L. Glasser on 6/5/01) (Johnson, Tanya) (Entered: 06/13/2001)
                                                                                                              07/05/2001   209   CERTIFICATE OF SERVICE as to Alfred Palagonia notice service of a consent order
06/07/2001   202   LETTER dated 6/1/01 from Joseph Diannini, Esq., to Judge Glasser requesting to                                of forfeiture. [195-1] (Johnson, Tanya) (Entered: 07/11/2001)
                   modify the conditions of supervised release as to defendant Daniel Persico to allow the
                   defendant to travel to Ft. Lauderdale, Florida on 6/15/01 to 6/25/01. (Johnson, Tanya)     07/10/2001   210   CALENDAR ENTRY as to Abraham Salaman. Case called before Senior Judge I. L.
                   (Entered: 06/14/2001)                                                                                         Glasser on 7/10/01 for Status Conference. Defense Counsel: A. John Pappalardo.
                                                                                                                                 AUSA: Jonathan Sack for Eric Corngold. Court Reporter: Diana Periera. Defendant
06/07/2001         ENDORSED ORDER on document #202, granting the request to modify the conditions                                Salaman has been charged in two cases: 00cr930 and 01cr196. The Berkun case is set
                   of supervised release as to defendant Daniel Persico to allow the defendant to travel to                      for trial on 10/1/01. The Coppa case is set for trial on 10/22/01. Counsel discuss
                   Ft. Lauderdale, Florida on 6/15/01 to 6/25/01. (Signed by Senior Judge I. L. Glasser on                       evidence in both cases. There are six boxes of documents in the Berkun case. Mr
                   6/6/01) (Johnson, Tanya) (Entered: 06/14/2001)                                                                Pappalardo states that this will be very difficult to be on trial on the Berkun case and
                                                                                                                                 prepare for the Coppa trial. AUSA Jonathan Sack states that the Government will turn
06/08/2001   200   CALENDAR ENTRY as to John Doukas. Case called before Senior Judge I. L. Glasser                               over Giglio, Brady and Argus material before the Coppa Case. Mr. Sack suggests
                   on 6/8/01 for Pleading. Defense Counsel: Edward McDonald. AUSA: Eric Corngold.                                empaneling a jury on 00cr196 and starting one week later, to give Mr. Pappalardo time
                   Court Reporter: Holly Driscoll. Defendant pleads Guilty: John Doukas (8) count(s) 9,                          to go over 3500 material. Counsel will inform the Court. (Johnson, Tanya) (Entered:
                   16 . Set sentencing for 11/20/01 at 10:00 before Senior Judge I. L. Glasser . Transcript                      07/16/2001)
                   of proceedings is sealed. (Johnson, Tanya) (Entered: 06/13/2001)
                                                                                                              07/11/2001   213 LETTER dated 7/10/01 from Joseph R. Benfante, Esq., to Judge Glasser requesting
06/20/2001   203 LETTER dated 6.20.01 from Jeffrey Lichtman, Esq., to Judge Glasser requesting                                 permission for defendant Joseph Temperino to travel from 7/16/01 to 7/23/01.
                 permission o/b/o Daniel Lev to extend his recent trip to Moscow, until 7.10.01, for                           (Johnson, Tanya) Modified on 07/19/2001 (Entered: 07/19/2001)
                 business purposes.(Barrett, Charryse) Modified on 06/29/2001 (Entered: 06/26/2001)
                                                                                                              07/11/2001   213 ENDORSED ORDER on pg #2 of document #213, granting permission for defendant
06/21/2001   205 LETTER dated 06/21/01 from Eric Corngold, AUSA, to Hon. I. Leo Glasser, with                                  Giuseppe Temperino to travel from 7/16/01 to 7/23/01. (Signed by Senior Judge I. L.
                 information attached. (Chee, Alvin) (Entered: 06/27/2001)                                                     Glasser , on 7/10/01) (Johnson, Tanya) Modified on 07/19/2001 (Entered: 07/19/2001)
06/22/2001   207 CALENDAR ENTRY as to Edmond Nagel in 1:00-cr-00196; Case called before Senior                07/16/2001   211   LETTER sent to docketing dated 7/12/01 from Melinda Sarafa, Esq. to Judge Glasser
                 Judge I. L. Glasser on date of 06/22/01 for pleading. Defendant, on bail, present with                          confirming that sentencing of Deft. is adjourned to 7/25/01 at 11:00. (Permaul, Jenny)
                 counsel Michael Rovell. AUSA Eric Corngold present as well. Court Reporter: Marsha                              (Entered: 07/17/2001)
                 Diamond. Defendant's first appearance. Informed of rights. Waiver of indictment
                 executed for defendant Nagel. Defendant withdraws not guilty plea and enters guilty          07/19/2001   212 LETTER dated 7/11/01 from Jeffrey Lichtman to Judge Glasser additional subpoenas.
                 plea to ct. #11 of the indictment and a superseding information in CR 01-705. Bail                            (Jackson, Ramona) (Entered: 07/19/2001)
                 continued for defendant. Case adjourned to 11-14-01 for sentencing at 10 am. Guilty:
                 Edmond Nagel (13) count(s) 11 . (Chee, Alvin) (Entered: 07/03/2001)                          07/23/2001         ORDER as to Aleks Paul, adjourning dft's sentencing to 7/31/01 at 10:30. ( Signed by
                                                                                                                                 Senior Judge I. L. Glasser , on 7/23/01). Endorsed on letter dated 7/20/01 from Melinda
06/25/2001   204   LETTER dated 6/22/01 from Melinda Sarafa to Judge Glasse confirming the                                       Sarafa to Judge Glasser. See doc #95 in case 99-cr-372. (Sica, Michele) (Entered:
                   adjournment of the sentencing from 6/29/0 to 7/12/01 at 10:30. (DiLorenzo, Krista)                            07/24/2001)
                   (Entered: 06/27/2001)
                                                                                                              07/25/2001   214   ORDER as to Alfred Palagonia in 1:00-cr-00196 that all restraints previously imposed
06/25/2001   206 ORDER as to Aleks Paul granting dft's request to adjourn sentencing from 6/29/01 to                             by this Court upon the Vista Account are hereby lifted solely to the extent necessary to
                 7/12/01 at 10:30. (Signed by Senior Judge I. L. Glasser on 6/25/01). See letter dated                           effectuate payment of $400,000.00 into an escrow account to be maintained by Joseph
                 6/22/01 from Melinda Sarafa to Judge Glasser. (DiLorenzo, Krista) (Entered:                                     DiBlasi, Esq., as set forth herein. (Signed by Senior Judge I. L. Glasser , on 7/20/01).
                 06/27/2001)                                                                                                     (Sica, Michele) (Entered: 07/25/2001)
06/26/2001         ENDORSED ORDER, on document # 203, as to Daniel Lev in 1:00-cr-00196,                      07/27/2001   215   TRANSCRIPT of Plea before Judge Glasser filed in case as to Edmond Nagel in 1:00-
                   GRANTING the request to extend his recent trip to Moscow until 7.10.01. (So                                   cr-00196 for dates of 6/22/01 ; Court Reporter: M. Diamond (Jean (Entered:
                                                                                                                                 07/27/2001)
07/31/2001   216
                Case       1:16-mc-02636-AMD Document 24-8 Filed 06/07/18
                 LETTER dated 7/20/01 from Counsel Melinda Sarafa to Judge Glasser confirming
                                                                                                                         Page 37 of 45 PageID #:
                                                                                                         adjourned to 1/10/02 at 10:00 for sentencing. AUSA will move to dismiss underlying
                 conversation with Louise Schillat that Mr. Paul's sentencing has been adjourned to
                 7/31/01 at 10:30 a.m. (Drayton, Lorraine) (Entered: 07/31/2001)
                                                                                                    3911 indictment at sentencing. (Sica, Michele) (Entered: 09/25/2001)
                                                                                                             09/21/2001   228 CALENDAR ENTRY as to Larry Berman in 1:00-cr-00196; Case called before Senior
08/02/2001   219 CALENDAR ENTRY as to Walter Durchalter in 1:00-cr-00196; Case called before                                  Judge I. L. Glasser on 9/21/01 for pleading. AUSA Eric Corngold/Jonathan Sack and
                 Magistrate A. S. Chrein on 8/2/01 for pleading. AUSA Jonathan Sack and dft present                           dft present with counsel Amy Millard. Court Reporter/ESR Mike Picozzi. Dft
                 with counsel Michael Bachner. Tape # 01/52(469-3027). Dft consented to plead before                          withdraws not guilty plea and pleads Guilty: Larry Berman (6) count(s) 5 . Case
                 Mag. Judge. Bail Modification granted to extend dft's travel to Pennsylvania . Dft                           adjourned to 1/17/02 at 10:00 for sentencing. AUSA will move to dismiss open counts.
                 pleads Guilty: Walter Durchalter (9) count(s) 4, 6, 7 . Transcript of plea proceedings                       Consent order of forfeiture signed. (Sica, Michele) (Entered: 09/25/2001)
                 ordered sealed except 1 copy to be given to Judge Glasser and 1 copy each to be given
                 to counsel. Sentencing set for 12/11/01 at 10:00. (Sica, Michele) (Entered: 08/03/2001)     09/21/2001   229   ORDER Directing Forfeiture of Property as to Larry Berman in 1:00-cr-00196. (
                                                                                                                                Signed by Senior Judge I. L. Glasser , dated: 9/21/01) (Sica, Michele) (Entered:
08/02/2001         Attorney update in case as to Walter Durchalter. Attorney Michael F. Bachner for                             09/25/2001)
                   Walter Durchalter added. (Sica, Michele) (Entered: 06/29/2004)
                                                                                                             09/24/2001         Sentencing held Aleks Paul (15) count(s) 11 (Sica, Michele) (Entered: 09/24/2001)
08/03/2001   217 NOTICE of Appearance for Walter Durchalter in 1:00-cr-00196 by Attorney Michael
                 F. Bachner (Sica, Michele) (Entered: 08/03/2001)                                            09/24/2001   225 JUDGMENT Aleks Paul (15) count(s) 11. Dft pled guilty to count #5 in CR 99-372,
                                                                                                                              count #11 in CR 00-196, and count #2 in CR 00-445. Special assessment $250. Dft is to
08/03/2001   218 ORDER as to Walter Durchalter in 1:00-cr-00196 referring the guilty plea to Mag.                             be imprisoned for 63 mos. to run concurrent on all counts. Dft shall surrender to Bureau
                 Chrein. ( Signed by Senior Judge I. L. Glasser , on 8/1/01). (Sica, Michele) (Entered:                       of Prisons before 2:00 pm on 10/30/01. Upon release from prison, dft shall be on
                 08/03/2001)                                                                                                  supervised release for 3 years. ( Signed by Senior Judge I. L. Glasser , on 9/17/01)
                                                                                                                              (Sica, Michele) (Entered: 09/24/2001)
08/23/2001   220   LETTER dated 8/17/01 from AUSA Jonathan Sack to Judge Glasser confirming that
                   the sentencing for dft Aleks Paul has been adjourned to 9/17/01 at 10:30. (Sica,          09/24/2001         DISMISSAL of Count(s) on Government Motion as to Aleks Paul in 1:00-cr-00196
                   Michele) (Entered: 08/24/2001)                                                                               party Aleks Paul in 1:00-cr-00196 Counts Dismissed: Aleks Paul (15) count(s) 1, 2, 3,
                                                                                                                                4, 5, 6, 7, 8, 9, 10, 12 (Sica, Michele) (Entered: 09/24/2001)
09/05/2001   221   ORDER as to Aleks Paul in 1:00-cr-00196 that the sentencing for dft has been
                   adjourned to 9/17/01 at 10:30. ( Signed by Senior Judge I. L. Glasser , on 8/31/01).      09/24/2001   230   CALENDAR ENTRY as to Frank Coppa Sr. in 1:00-cr-00196; Case called before
                   Endorsed on letter dated 8/17/01 from AUSA Jonathan Sack to Judge Glasser. (Sica,                            Senior Judge I. L. Glasser on 9/24/01 for pleading. AUSA Eric Corngold/Jonathan
                   Michele) (Entered: 09/07/2001)                                                                               Sack and dft present with counsel Larry Bronson. Court Reporter/ESR Paul Lombardi.
                                                                                                                                Dft withdraws not guilty plea and pleads Guilty: Frank Coppa (1) count(s) 15 .
09/10/2001   222 CALENDAR ENTRY as to Lawrence Ray in 1:00-cr-00196; Case called before Senior                                  Sentencing set for 1/16/02 at 10:00. AUSA will move to dismiss open counts. (Sica,
                 Judge I. L. Glasser on 9/10/01 for status conf. AUSA Eric Corngold and dft present                             Michele) (Entered: 09/25/2001)
                 with counsel Thomas Roth. Dft Ray wants another lawyer. Mr. Roth is relieved. Dft
                 Ray to get another lawyer ASAP.Court Reporter/ESR Holly Driscoll. (Sica, Michele)           09/25/2001   231   MOTION by USA in 1:00-cr-00196 as to Frank Coppa Sr. in 1:00-cr-00196, Ernest
                 (Entered: 09/14/2001)                                                                                          Montevecchi in 1:00-cr-00196, Daniel Persico in 1:00-cr-00196, Jack Basile in 1:00-cr-
                                                                                                                                00196, Rocco Basile in 1:00-cr-00196, Larry Berman in 1:00-cr-00196, John
09/17/2001   223   LETTER dated 9/4/01 from Thomas Roth, Esq. to Judge Glasser requesting a status                              Cioffoletti in 1:00-cr-00196, John Doukas in 1:00-cr-00196, Walter Durchalter in
                   conf. (Sica, Michele) (Entered: 09/17/2001)                                                                  Edward Garafola in 1:00-cr-00196, Daniel Lev in 1:00-cr-00196, Eugene Lombardo in
09/17/2001   224   CALENDAR ENTRY as to Aleks Paul ; Case called before Senior Judge I. L. Glasser                              1:00-cr-00196, Edmond Nagel in 1:00-cr-00196, Alfred Palagonia in 1:00-cr-00196,
                   on 9/17/01 for sentencing. AUSA Jonathan Sack and dft present with counsel Benjamin                          Aleks Paul in 1:00-cr-00196, Joseph Polito Sr. in 1:00-cr-00196, Lawrence Ray in
                   Brafman. Court Reporter/ESR Fred Guerino. Dft sentenced to imprisonment for 63                               1:00-cr-00196, Abraham Salaman in 1:00-cr-00196, Giuseppe Temperino in 1:00-cr-
                   mos. to run concurrent on all counts, plus 3 years of supervised release. Open counts                        00196 for an adjournment in the case and an exclusion of time under the speedy trial
                   dismissed on government's motion. Special assessment $250. (Sica, Michele) (Entered:                         act . (Sica, Michele) (Entered: 09/26/2001)
                   09/24/2001)                                                                               09/25/2001   232 MEMORANDUM of law by USA in 1:00-cr-00196 as to Frank Coppa Sr. in 1:00-cr-
09/21/2001   226   SUPERSEDING INFORMATION as to Daniel Lev (11) count(s) 1s (Sica, Michele)                                  00196, Ernest Montevecchi in 1:00-cr-00196, Daniel Persico in 1:00-cr-00196, Jack
                   (Entered: 09/25/2001)                                                                                      Basile in 1:00-cr-00196, Rocco Basile in 1:00-cr-00196, Larry Berman in 1:00-cr-
                                                                                                                              00196, John Cioffoletti in 1:00-cr-00196, John Doukas in 1:00-cr-00196, Walter
09/21/2001   227 CALENDAR ENTRY as to Daniel Lev in 1:00-cr-00196; Case called before Senior                                  Durchalter in Edward Garafola in 1:00-cr-00196, Daniel Lev in 1:00-cr-00196, Eugene
                 Judge I. L. Glasser on 9/21/01 for pleading. AUSA Eric Corngol/Jonathan Sack and dft                         Lombardo in 1:00-cr-00196, Edmond Nagel in 1:00-cr-00196, Alfred Palagonia in
                 present with counsel Jeffrey Lichtman. Court Reporter/ESR Mike Picozzi. Dft                                  1:00-cr-00196, Aleks Paul in 1:00-cr-00196, Joseph Polito Sr. in 1:00-cr-00196,
                 withdraws not guilty plea and pleads Guilty: Daniel Lev (11) count(s) 1s . Case                              Lawrence Ray in 1:00-cr-00196, Abraham Salaman in 1:00-cr-00196, Giuseppe
                                                                                                                              Temperino in 1:00-cr-00196 in support of [231-1] motion for an adjournment in the




                   case and an exclusion of time under the speedy trial act. (Sica, Michele) (Entered:       10/02/2001   236 MOTION by John Cioffoletti in 1:00-cr-00196 for orders as specified . (Sica, Michele)
                   09/26/2001)                                                                                                (Entered: 10/02/2001)
09/25/2001   233   AFFIDAVIT of David Pitofsky as to Frank Coppa Sr. in 1:00-cr-00196, Ernest                10/02/2001   237 MEMORANDUM by John Cioffoletti in 1:00-cr-00196 in support of [236-1] motion
                   Montevecchi in 1:00-cr-00196, Daniel Persico in 1:00-cr-00196, Jack Basile in 1:00-cr-                     for orders as specified (Sica, Michele) (Entered: 10/02/2001)
                   00196, Rocco Basile 1:00-cr-00196, Larry Berman in 1:00-cr-00196, John Cioffoletti
                   in 1:00-cr-00196, John Doukas in 1:00-cr-00196, Walter Durchalter in 1:00-cr-00196,       10/02/2001   239   LETTER dated 9/25/01 from Joseph Bondy, Esq. to David Pitofsky that pursuant to
                   Edward Garafola in 1:00-cr-00196, Daniel Lev in 1:00-cr-00196, Eugene Lombardo in                            their conversation the dft will not be entering a guilty plea on 9/28/01, and requesting
                   1:00-cr-00196, Edmond Nagel in 1:00-cr-00196, Alfred Palagonia in 1:00-cr-00196,                             that all outstanding and still withheld Brady and Giglio materials be produced. (Sica,
                   Aleks Paul in 1:00-cr-00196, Joseph Polito Sr. in 1:00-cr-00196, Lawrence Ray in                             Michele) (Entered: 10/02/2001)
                   1:00-cr-00196, Abraham Salaman in 1:00-cr-00196, Giuseppe Temperino in 1:00-cr-           10/02/2001   245   CALENDAR ENTRY as to Aleks Paul ; Case called before Senior Judge I. L. Glasser
                   00196 in support Re: [231-1] motion for an adjournment in the case and an exclusion of                       on 10/02/01 for bail hearing. AUSA Jonathan Sack and dft present with counsel. Court
                   time under the speedy trial act. (Sica, Michele) (Entered: 09/26/2001)                                       Reporter/ESR Gene Rudolph. Bail hearing continued to 10/09/01 at 11:00. Government
09/25/2001   234   ORDER of Excludable Delay from 10/29/01 to 12/3/01 as to Frank Coppa Sr. in 1:00-                            makes application to revoke bail, surety Rima Shargel wants to be released from bond.
                   cr-00196, Ernest Montevecchi in 1:00-cr-00196, Daniel Persico in 1:00-cr-00196, Jack                         Government is directed to provide an order to exonerate surety Rima Shargel and
                   Basile in 1:00-cr-00196, Rocco Basile in 1:00-cr-00196, Larry Berman in 1:00-cr-                             release her property that was previously posted to secure Mr. Paul's release on bail. Dft
                   00196, John Cioffoletti in 1:00-cr-00196, John Doukas in 1:00-cr-00196, Walter                               remanded. Defense counsel has substitute surety. Court directs defense counsel to give
                   Durchalter in 1:00-cr-00196, Edward Garafola in 1:00-cr-00196, Daniel Lev in 1:00-cr-                        the government a list of the sureties so the government can check them out. (Sica,
                   00196, Eugene Lombardo in 1:00-cr-00196, Edmond Nagel in 1:00-cr-00196, Alfred                               Michele) (Entered: 10/05/2001)
                   Palagonia in 1:00-cr-00196, Aleks Paul in 1:00-cr-00196, Joseph Polito Sr. in 1:00-cr-    10/02/2001   246   CALENDAR ENTRY as to John Cioffoletti in 1:00-cr-00196; Case called before
                   00196, Lawrence Ray in 1:00-cr-00196, Abraham Salaman in 1:00-cr-00196, Giuseppe                             Senior Judge I. L. Glasser on 10/02/01 for pleading. AUSA David Pitofsky/Jonathan
                   Temperino in 1:00-cr-00196 ( Signed by Senior Judge I. L. Glasser , Dated 9/25/01)                           Sack and dft present with counsel. Court Reporter/ESR Gene Rudolph. Dft withdraws
                   (Sica, Michele) (Entered: 09/26/2001)                                                                        not guilty plea and pleads Guilty: John Cioffoletti (7) count(s) 3, 4, 5, 6, 9, 10, 15, 16 .
09/28/2001   238 CALENDAR ENTRY as to Eugene Lombardo in 1:00-cr-00196; Case called before                                      Sentencing set for 12/14/01 at 11:00. (Sica, Michele) (Entered: 10/09/2001)
                 Senior Judge I. L. Glasser on 9/28/01 for pleading. AUSA Eric Corngold/David                10/04/2001   241   ORDER Directing Forfeiture of Property as to John Cioffoletti; dft shall forfeit a total
                 Pitofsky and dft present with counsel Lawrence Feitell. Court Reporter/ESR Pual                                of $110,000.00 to the US as property involved in the alleged securities fraud
                 Lombardi. Dft withdraws not guilty plea and pleads Guilty: Eugene Lombardo (12)                                conspiracy. (Signed by Senior Judge I. L. Glasser, 10/02/01). 4 certified copies sent to
                 count(s) 2 . Sentencing set for 01/23/02 at 10:00. AUSA will move to dismiss all open                          AUSA David Goldberg. (Sica, Michele) (Entered: 10/04/2001)
                 counts. (Sica, Michele) (Entered: 10/02/2001)
                                                                                                             10/04/2001   242   ORDER as to Aleks Paul in 1:00-cr-00196 granting request to release the $150,000.00
10/01/2001         LETTER dated 10/1/01 from David Smith, Esq. to Hon. Raymond Dearie requesting a                              bond to Rima Shargel. (Signed by Senior Judge I. L. Glasser , on 10/01/01). Endorsed
                   modification of defendant's bail conditions to allow Mr. Basile to travel to Boston on                       on letter dated 9/28/01 from Melinda Sarafa to Judge Glasser. (Sica, Michele) Modified
                   10/6/01 to 10/8/01. (This is document #1224 in case 98-cr-1129). (Chee, Alvin)                               on 10/04/2001 (Entered: 10/04/2001)
                   Modified on 10/01/2001 (Entered: 10/01/2001)
                                                                                                             10/04/2001   243   ORDER as to Aleks Paul that pursuant to Rule 46(f), Rima Shargel, a surety on bail
10/01/2001         ENDORSED ORDER as to Rocco Basile in 1:00-cr-00196: So ordered. Defendant's                                  bonds previously securing the release of dft Paul, be exonerated with respect to such
                   bail modified to allow defendant to travel to Boston on 10/6/01 to 10/8/01. Endorsed on                      bonds and that all property posted as security by Rima Shargel in connection with such
                   doc. #1224 in 98-cr-1129. C/M by chambers. ( Signed by Judge Raymond J. Dearie , on                          bonds be released. ( Signed by Senior Judge I. L. Glasser , on 10/03/01) (Sica, Michele)
                   10/1/01) (Chee, Alvin) (Entered: 10/01/2001)                                                                 (Entered: 10/04/2001)
10/01/2001   240   CALENDAR ENTRY as to Giuseppe Temperino in 1:00-cr-00196; Case called before              10/04/2001   244   ORDER as to dft John Cioffoletti in 1:00-cr-00196 and Mary Cioffoletti, that the Clerk
                   Senior Judge I. L. Glasser on 10/01/01 for pleading. AUSA Eric Corngold and dft                              of the Court for the EDNY shall, within 10 business days, issue a check in the amount
                   present with counsel Joseph Benfante. Court Reporter/ESR Mike Picozzi. Dft                                   of $110,000.00 from the funds on deposit in the EDNY Escrow Account, payable to the
                   withdraws not guilty plea and pleads Guilty: Giuseppe Temperino (19) count(s) 6 .                            "United States Marshals Service", in full and complete payment of the Consent Order
                   Sentencing set for 12/12/01 at 10:00. Government makes application to dismiss                                of Forfeiture, pursuant to the details of this order, and that each side shall bear its own
                   pending counts at time of sentencing; granted. (Sica, Michele) (Entered: 10/03/2001)                         costs and attorny's fees. (Signed by Senior Judge I. L. Glasser , on 10/02/01) (Sica,
10/02/2001   235   LETTER dated 8/14/01 from AUSA David Goldberg to Amy Millard, Esq. confirming                                Michele) (Entered: 10/04/2001)
                   the agreement that the Government will file a Release of Notice of Pendency. (Sica,       10/04/2001   249   CALENDAR ENTRY as to Abraham Salaman in 1:00-cr-00196; Case called before
                   Michele) (Entered: 10/02/2001)                                                                               Senior Judge I. L. Glasser on 10/4/01 for pleading. Court Reporter/ESR Mickey
                                                                                                                                Brymer. AUSA Eric Corngold/David Pitofsky and dft present with counsel. Dft
                Case      1:16-mc-02636-AMD Document 24-8 Filed 06/07/18
                 withdraws not guilty plea and pleads Guilty: Abraham Salaman (18) count(s) 3 .
                                                                                                                   Page 38 of 45 PageID #:
                                                                                                     counsel. Voluntary surrender dated 1/2/02. Remaining Counts dismissed. (Guzzi,
                 Sentencing set for 12/17/01 at 10:30. (Sica, Michele) (Entered: 10/11/2001)    3912 Roseann) (Entered: 10/26/2001)
10/10/2001   247   ORDER Directing Forfeiture of Property as to Abraham Salaman in 1:00-cr-00196 that          10/18/2001         Sentencing held as to Jack Basile (4) count(s) 5. (Guzzi, Roseann) (Entered:
                   dft shall forfeit $50,000.00 to the US as property involved in the alleged securities                          10/26/2001)
                   fraud in count 3 of the indictment. (Signed by Senior Judge I. L. Glasser , dated:
                   10/04/01). 4 certified copies sent to AUSA David Goldberg. (Sica, Michele) (Entered:        10/18/2001         DISMISSAL of Count(s) on Government Motion as to Jack Basile in 1:00-cr-00196
                   10/10/2001)                                                                                                    Counts Dismissed: Jack Basile (4) count(s) 2, 6, 7, 8. (Guzzi, Roseann) (Entered:
                                                                                                                                  10/26/2001)
10/10/2001   248   ORDER as to Daniel Lev in 1:00-cr-00196, Modifying Conditions of Release to allow
                   dft to travel to Russia from 10/14/01 to 10/28/01 . ( Signed by Senior Judge I. L.          10/25/2001   255   LETTER dated 10/17/01 from USPO Linda Fowle to Judge Glasser advising that the
                   Glasser , on 10/9/01). Endorsed on letter dated 10/9/01 from Jeffrey Lichtman, Esq. to                         there has been a delay in the presentence investigation. (Sica, Michele) (Entered:
                   Judge Glasser. (Sica, Michele) (Entered: 10/10/2001)                                                           10/25/2001)

10/12/2001   250   TRANSCRIPT of status conf. filed in case as to Aleks Paul in 1:00-cr-00196 for dates        10/26/2001   257 JUDGMENT dated 10/18/01 as to Jack Basile (4) count(s) 5. Defendant is sentenced to
                   of 10/2/01; AUSA Jonathan Sack and dft present with counsel Melinda Serafa. Court                            Count 5 and receives 37 months imprisonment followed by 3 years supervised release
                   Reporter/ESR: Gene Rudolph. (Sica, Michele) (Entered: 10/12/2001)                                            and $150.00 special assessment Restitution in the amount $990,000.00. this sentence is
                                                                                                                                to run concurrent with sentence imposed in 99cr589. Remaining Counts dismissed.
10/15/2001   251   LETTER dated 10/10/01 from Linda Fowle, USPO to Judge Glasser advising that the                              Defendant to receive alcohol treatment. Defendant shall surrender at 12:00 on 1/2/02 if
                   presentence investigation will be delayed. (Sica, Michele) (Entered: 10/15/2001)                             there has been no institution designated by the bureau of prisons at such times. Special
                                                                                                                                Conditions: compliance with the restitution order and the defendant is ordered to make
10/15/2001   253 MANDATE OF USCA (certified copy) as to Frank Coppa Sr. in 1:00-cr-00196, Ernest                                payments of retitution at $500 per month on each indictment beginning 90 days after
                 Montevecchi in 1:00-cr-00196, Daniel Persico in 1:00-cr-00196, Jack Basile in 1:00-cr-                         release from custody. The defendant is to provide full financial disclosure to the
                 00196, Rocco Basile in 1:00-cr-00196, Larry Berman in 1:00-cr-00196, John                                      Probation Department. Defendant is directed not to obtain employment in the
                 Cioffoletti in 1:00-cr-00196, John Doukas in 1:00-cr-00196, Walter Durchalter in 1:00-                         securitiies industries. Defendant is to receive alcohol abuse treatment and mental health
                 cr-00196, Edward Garafola in 1:00-cr-00196, Daniel Lev in 1:00-cr-00196, Eugene                                treatment. ( Signed Judge Nina Gershon, on 10/18/01) party Jack Basile in 1:00-cr-
                 Lombardo in 1:00-cr-00196, Edmond Nagel in 1:00-cr-00196, Alfred Palagonia in                                  00196 terminated. c/m (Guzzi, Roseann) (Entered: 10/26/2001)
                 1:00-cr-00196, Aleks Paul in 1:00-cr-00196, Joseph Polito Sr. in 1:00-cr-00196,
                 Lawrence Ray in 1:00-cr-00196, Abraham Salaman in 1:00-cr-00196, Giuseppe                     10/26/2001   258   LETTER dated 10/23/01 from USPO Carol Pizarro to Judge Glasser advising that there
                 Temperino in 1:00-cr-00196 Re: granting writ & remanded . The Government's petition                              has been a delay in the presentence investigation as to dft Frank Coppa Sr. (Sica,
                 for a writ of mandamus is granted, and the cause is Remanded for further proceedings                             Michele) (Entered: 10/26/2001)
                 in accordance with the opinion of this Court.(See opinion for further details). . Issued as
                 mandate on 10/10/01. Judge notified. Ackn mailed. USCA # 01-3031. (Gonzalez,                  11/02/2001   263 CALENDAR ENTRY as to Edward Garafola in 1:00-cr-00196; Case called before
                 Mary) (Entered: 10/18/2001)                                                                                    Senior Judge I. L. Glasser on date of 11/2/01 for pleading. AUSA David Pitofsky and
                                                                                                                                dft present with counsel Michael Rosen. Court Reporter/ESR Tony Mancuso. Dft
10/15/2001   254 CALENDAR ENTRY as to Ernest Montevecchi in 1:00-cr-00196; Case called before                                   withdraws not guilty plea and pleads Guilty: Edward Garafola (10) count(s) 19 .
                 Senior Judge I. L. Glasser on 10/15/01 for pleading. AUSA Jonathan Sack and dft                                Sentencing set for 2/4/02 at 10:00. (Sica, Michele) (Entered: 11/06/2001)
                 present with counsel Joseph Bondy. Court Reporter/ESR Diana Pereira. Dft withdraws
                 not guilty plea and pleads Guilty: Ernest Montevecchi (2) count(s) 2 . Sentencing set         11/06/2001   259 MOTION by Edward Garafola in 1:00-cr-00196 for severance and a separate trial on
                 for 1/9/02 at 10:00. AUSA will move to dismiss open counts. (Sica, Michele) (Entered:                          counts 19 and 20, and granting a hearing and thereafter suppressing and precluding a
                 10/22/2001)                                                                                                    tape recording of dft made by the FBI on 3/25/99 (Sica, Michele) (Entered: 11/06/2001)

10/18/2001   252   LETTER dated 10/15/01 from USPO Carol Pizarro to Judge Glasser advising that the            11/06/2001   260 MEMORANDUM by Edward Garafola in 1:00-cr-00196 in support of [259-1] motion
                   presentence investigation as to dft Lombardo has been delayed. (Sica, Michele)                               for severance and a separate trial on counts 19 and 20, and granting a hearing and
                   (Entered: 10/18/2001)                                                                                        thereafter suppressing and precluding a tape recording of dft made by the FBI on
                                                                                                                                3/25/99 (Sica, Michele) (Entered: 11/06/2001)
10/18/2001   256 CALENDAR ENTRY as to Jack Basile in 1:00-cr-00196 and in 1:99-cr-589; Case
                 called before Judge Nina Gershon on date of 10/18/01 for sentencing. AUSA Jonathan            11/06/2001   261 MEMORANDUM by USA in 1:00-cr-00196 as to Edward Garafola in 1:00-cr-00196
                 Sack. John Jacobs for the defendant. Court Reporter/Ronald Tolkin. USPO Mark                                   in opposition to [259-1] motion for severance and a separate trial on counts 19 and 20,
                 Gjelaj. Defendant is sentenced to 37 months on each indictment to run concurrent                               and granting a hearing and thereafter suppressing and precluding a tape recording of dft
                 Count 2s in 99cr589 and Count 5 in 00cr196; 3 years supervised release on each Count                           made by the FBI on 3/25/99 (Sica, Michele) (Entered: 11/06/2001)
                 to run concurrent. $150.00 special assessment fee. Restitution in the amount of 1.2           11/06/2001   262 Reply MEMORANDUM by Edward Garafola in 1:00-cr-00196 in further support of
                 Million in 99cr589 and Restitution in the amount of $990,000 Restitution in 00cr196.                           [259-1] motion for severance and a separate trial on counts 19 and 20, and granting a
                 Elizabeth Macedonia files notice of appearance and substitutes out John Jacobs as




                   hearing and thereafter and precluding a tape recording of dft made by the FBI on            11/20/2001   271   SUPERSEDING INFORMATION as to Daniel Persico (3) count(s) 1s (Sica, Michele)
                   3/25/99 (Sica, Michele) (Entered: 11/06/2001)                                                                  (Entered: 11/26/2001)
11/06/2001         ENDORSED ORDER as to Edward Garafola in 1:00-cr-00196 [259-1] motion for                    11/20/2001   272 CALENDAR ENTRY as to Daniel Persico in 1:00-cr-00196; Case called before Senior
                   severance and a separate trial on counts 19 and 20, and granting a hearing and                               Judge I. L. Glasser on date of 11/20/01 for pleading. AUSA David Pitofsky/Eric
                   thereafter and precluding a tape recording of dft made by the FBI on 3/25/99 as to                           Corngold and dft present with counsel Joseph Giannini. Court Reporter/ESR Ronald
                   Edward Garafola (10). Dft pleaded. Motion is withdrawn. ( Signed by Senior Judge I.                          Tolkin. Waiver of indictment signed. Dft withdraws not guilty plea and pleads Guilty:
                   L. Glasser , on 11/2/01). Endorsed on motion, document #259. (Sica, Michele)                                 Daniel Persico (3) count(s) 1s . AUSA will move to dismiss open counts. Senetencing
                   (Entered: 11/06/2001)                                                                                        set for 2/21/02 at 10:00. (Sica, Michele) (Entered: 11/26/2001)
11/07/2001   265 CALENDAR ENTRY as to Lawrence Ray in 1:00-cr-00196; Case called before Senior                 11/20/2001   273   Waiver of statute of limitations by Daniel Persico in 1:00-cr-00196 re: violations of
                 Judge I. L. Glasser on date of 11/7/01 for status conf. AUSA Eric Corngold/David                                 18:1957 (Sica, Michele) (Entered: 11/27/2001)
                 Pitofsky and dft present with counsel George Taite. Court Reporter/ESR Gene
                 Rudolph. Mr Taite has not yet been retained. If he takes the case, he will need another       11/20/2001         Sentencing held Rocco Basile (5) count(s) 5. (Chee, Alvin) (Entered: 12/03/2001)
                 trial date. Next conf 11/16/01 at 10:00. Trial currently set for 12/3/01. (Sica, Michele)     11/20/2001         CALENDAR ENTRY as to Rocco Basile in 1:00-cr-00196; Case called before Judge
                 (Entered: 11/09/2001)                                                                                            Raymond J. Dearie on date of 11/20/01 for sentence. AUSA Paul Schoeman, Stephen
11/08/2001   264 AMENDED JUDGMENT: Jack Basile (4) count(s) 5. Defendant is sentenced to Count                                    Scaring for defendant. Court finds that the plea of guilty taken before the MJ was done
                 5 and receives 37 months concurrent on each indictment with 99cr589; 3 years                                     knowingly and voluntarily and formally accepts plea of guilty to count 3 of cr-98-1129,
                 supervised release concurrent on each count with 99cr589; special assessment fee                                 and count 5 of cr-00-196. Imprisonment of 44 months on each count to run
                 $150.00; restitution $990,000.00. Defendant to receive alcohol treatment. Defendant                              concurrently. Court recommends an institution in the Northeast region and invites
                 shall surrender to the U.S. Marshal at 12:00pm on or before 1/2/02. Special condition:                           consideration that defendant be placed in the same institution as his brother, Jack
                 compliance with the restitution order and the defendant is ordered to make payments of                           Basile. The court has been advised that Camp Allenwood has been recommended in
                 restitution at $500 per month on each indictment beginning 90 days after release from                            Jack Basile's case. Surrender date: 2/4/02 by 12 PM to the designated institution.
                 custody. The defendant is to provide full financial disclosure to the probation                                  Supervised release for 3 years on each count to run concurrently. Special condition of
                 department. The defendant is directed not to obtain employment in the securities                                 SR: 1) Community service during the first 2 years of SR as follows: 20 hours per week
                 industries. The defendant is to recive alcohol abuse treatment and mental health                                 under the direction of the court through the supervision of the probation department. As
                 treatment. ( Signed by Judge Nina Gershon, on 10/18/01) (Guzzi, Roseann) (Entered:                               part of community service, the defendant will be permitted to work on the YMCA
                 11/08/2001)                                                                                                      Building project in his community. 2) Defendant to make full financial disclosure as
                                                                                                                                  and when required by and to this court. 3) Restitution payments at a rate to be
11/09/2001   266   LETTER dated 11/1/01 from AUSA Eric Corngold to Lawrence Ray advising that                                     determined by the court and not less than 10% of gross earnings. The rate to be
                   Judge Glasser has set a status conf for 11/7/01 at 10:00. (Sica, Michele) (Entered:                            adjusted from time to time by the court in consultation with the probation department.
                   11/09/2001)                                                                                                    Defendant to comply with the restitution order. Defendant to receive treatment for
                                                                                                                                  substance abuse. Restitution in the amount of $5,000,000.00 as to case CR-98-1129.
11/14/2001         LETTER dated 11/12/01 from Stephen Scaring, Esq. to Hon. Raymond Dearie                                        The $100 SA is imposed on each count for a total assessment of $200.00. Upon the
                   informing the court that he may need an adjournment because of prior matter with the                           motion of the AUSA, all open counts are dismissed. Defendant is advised of his right to
                   NYS Supreme Court. (This is document #1234 in case 98-cr-1129 RJD). (Chee, Alvin)                              appeal. Court Reporter: Paul Schoeman. This is document #1238 in case 98-CR-1129.
                   Modified on 11/26/2001 (Entered: 11/15/2001)                                                                   (Chee, Alvin) (Entered: 12/03/2001)
11/15/2001   267   LETTER dated 11/13/01 from AUSA Jonathan Sack to Judge Glasser regarding the                11/26/2001   269 CJA 20 as to Lawrence Ray in 1:00-cr-00196: Appointment of Attorney David S. Zapp
                   sentencing submission of dft Edmond Nagel styled "Nagel's Objections to Presentence                          ( Signed by Senior Judge I. L. Glasser , Dated 11/19/01) (Sica, Michele) (Entered:
                   Report" dated 11/2/01. (Sica, Michele) (Entered: 11/15/2001)                                                 11/26/2001)
11/16/2001   268 CALENDAR ENTRY as to Lawrence Ray in 1:00-cr-00196; Case called before Senior                 11/26/2001   274   ORDER as to Daniel Lev in 1:00-cr-00196, Modifying Conditions of Release to allow
                 Judge I. L. Glasser on date of 11/16/01 for status conf. AUSA Eric Corngold/David                                dft to travel to Russia from 11/25/01 to 12/20/01 . ( Signed by Senior Judge I. L.
                 Pitofsky and dft present without counsel. Court Reporter/ESR Ronald Tolkin. Court                                Glasser , on 11/21/01). Endorsed on letter dated 11/21/01 from Jeffrey Lichtman to
                 advises dft of right to proceed pro se and advises against it. Trial scheduled for 12/3/01.                      Judge Glasser. (Sica, Michele) (Entered: 11/27/2001)
                 A lawyer from the CJA panel will be appointed to assist during trial. (Sica, Michele)
                 (Entered: 11/19/2001)                                                                         11/27/2001   275   LETTER dated 11/20/01 from AUSA David Pitofsky to Lawrence Ray enclosing
                                                                                                                                  copies of documents and audiocassette tapes pursuant to the Jencks Act, and advising
11/20/2001   270   WAIVER OF INDICTMENT by Daniel Persico in 1:00-cr-00196 (Sica, Michele)                                        him of his reciprocal obligations to provide materials. (Sica, Michele) (Entered:
                   (Entered: 11/26/2001)                                                                                          11/27/2001)
11/27/2001   276
                Case      1:16-mc-02636-AMD Document 24-8 Filed 06/07/18
                 LETTER dated 11/20/01 from AUSA David Pitofsky to Lawrence Ray providing
                                                                                                                Page 39 of 45 PageID #:
                                                                                               for a total of $200.00. Court recommends that the deft. be designated to Morgantown,
                 discovery. (Sica, Michele) (Entered: 11/27/2001)                         3913 West Virginia. Deft. to voluntarily surrender to the institution on 1/30/01. (Permaul,
                                                                                               Jenny) (Entered: 12/04/2001)
11/27/2001   277 MOTION by USA in 1:00-cr-00196 as to Lawrence Ray in 1:00-cr-00196 for
                 admission, at trial, of a "glossary of securities-related terms" as an aid to the jury, and   11/29/2001         Sentencing as to Edmond Nagel (13) held on count(s) 11. (Permaul, Jenny) (Entered:
                 to preclude the dft from offering certain evidence at trial . Memo in support and                                12/04/2001)
                 exhibits A-C attached. (Sica, Michele) (Entered: 11/28/2001)
                                                                                                               11/30/2001   281   LETTER dated 11/26/01 from AUSA's Eric Corngold and David Pitofsky to Judge
11/27/2001   284 JUDGMENT Rocco Basile (5) count(s) 5. Imprisonment of 44 months on each count to                                 Glasser in opposition to dft Lawrence Ray's request for a 60 dayadjournment of his
                 run concurrently. Supervised release of 3 years on each count to run concurrently.                               trial. (Sica, Michele) (Entered: 11/30/2001)
                 Special assessement of $200. Restitution of $5,000,000.00. Court recommends that
                 defendant be designated to an institution in the Northeast Region and further invites         11/30/2001   282   LETTER dated 11/26/01 from Lawrence Ray to Judge Glasser requesting a 60 day
                 consideration that defendant be designated to the same institution as his brother Jack                           adjournment of trial to allow dft to get a new attorney. (Sica, Michele) (Entered:
                 Basile. Defendant shall surrender before 2 PM on 2/4/02. Special condition of SR: 1)                             11/30/2001)
                 Community service during the first 2 years of SR as follows: 20 hours per week under          11/30/2001   283   ORDER as to John Cioffoletti in 1:00-cr-00196, Walter Durchalter in 1:00-cr-00196,
                 the direction of the court through the supervision of the probation department. As part                          Abraham Salaman in 1:00-cr-00196, Giuseppe Temperino in 1:00-cr-00196, granting
                 of community service, the defendant will be permitted to work on the YMCA Building                               USPO Carol Pizarro's request and adjourning sentencing to 1/25/02 at 10:00. ( Signed
                 project in his community. 2) Defendant to make full financial disclosure as and when                             by Senior Judge I. L. Glasser , on 11/27/01) (Sica, Michele) (Entered: 11/30/2001)
                 required by and to this court. 3) Restitution payments at a rate to be determined by the
                 court and not less than 10% of gross earnings. The rate to be adjusted from time to time      11/30/2001         DISMISSAL of Count(s) on Government Motion as to Edmond Nagel in 1:00-cr-00196
                 by the court in consultation with the probation department. Defendant to comply with                             party Edmond Nagel in 1:00-cr-00196 Counts Dismissed: Edmond Nagel (13) count(s)
                 the restitution order. Defendant to receive treatment for substance abuse. See attached                          1, 2, 9, 10, 12. (Permaul, Jenny) (Entered: 12/04/2001)
                 restitution order. Open counts dismissed on govt's motion. Copies distributed. Signed
                 by Judge Raymond J. Dearie , on 11/27/01) party Rocco Basile in 1:00-cr-00196.                11/30/2001   286 JUDGMENT Edmond Nagel (13) count(s) 11. IMPRISONMENT: 37 months;
                 (Chee, Alvin) (Entered: 12/03/2001)                                                                            SUPERVISED RELEASE: 3 years; SPECIAL ASSESSMENT: $200.00; ($100.00 in
                                                                                                                                01-CR-705 and $100.00 in 01-CR-196). The court recommends that the deft. be
11/27/2001   284   DISMISSAL of Count(s) on Government Motion as to Rocco Basile in 1:00-cr-00196                               designated to Morgantown, West Virginina; Deft. to surrender for serviceof sentence
                   party Rocco Basile in 1:00-cr-00196 terminating [231-1] motion for an adjournment in                         on 1/30/02 befor 2:00. Signed by Senior Judge I. L. Glasser , on 11/30/01. Signed
                   the case and an exclusion of time under the speedy trial act as to Rocco Basile (5)                          Senior Judge I. L. Glasser , on 11/30/01. terminated party Edmond Nagel in 1:00-cr-
                   Counts Dismissed: Rocco Basile (5) count(s) 2, 6, 7, 8. (Chee, Alvin) (Entered:                              00196 (Permaul, Jenny) (Entered: 12/04/2001)
                   12/03/2001)
                                                                                                               12/03/2001   288 CALENDAR ENTRY as to Lawrence Ray in 1:00-cr-00196; Case called before Senior
11/28/2001   279 ORDER as to Abraham Salaman in 1:00-cr-00196 adjourning sentencing from                                        Judge I. L. Glasser on date of 12/3/01 for jury selection and trial. Defense Counsel:
                 12/17/01 to 1/16/02 at 10:00. (Signed by Senior Judge I. L. Glasser , on 11/26/01).                            David Zapp. AUSA: Eric Corngold and David Pitofsky. Court Reporter: Henry
                 Endorsed on letter from Joel Cohen to Judge Glasser. (Sica, Michele) (Entered:                                 Shapiro. Mark Macron was contacted by the defendant yesterday. He cannot file a
                 11/29/2001)                                                                                                    notice of appearance and start the trial today. Mr. Ray begs the Court for more time.
                                                                                                                                The Court is ready to proceed to trial. Defendant withdraws not guilty plea and enters
11/28/2001   280 CALENDAR ENTRY as to Lawrence Ray in 1:00-cr-00196; Case called before Senior                                  plea of Guilty: Lawrence Ray (17) count(s) 10 . Court accepts the plea. Sentencing is
                 Judge I. L. Glasser on date of 11/28/01 for status conf. AUSA Eric Corngold/David                              set for 3/7/01 at 10:00. AUSA will move to dismiss open counts. (Rodriguez,Angela)
                 Pitofsky and dft present with counsel David Zapp. Court Reporter/ESR Burt Sulzer.                              (Entered: 12/06/2001)
                 Larry Ray wrote to the Court, requesting a two month adjournment of the trial, which is
                 scheduled for this monday. The government opposes any adjournment. Motion to                  12/05/2001   287   Proposed Voir Dire Questions by USA in 1:00-cr-00196 as to Lawrence Ray in 1:00-
                 adjourn the trial is denied. Trial will go forward on 12/3/01. (Sica, Michele) (Entered:                         cr-00196 {Request to Charge) (Permaul, Jenny) (Entered: 12/05/2001)
                 11/30/2001)
                                                                                                               12/05/2001   289 LETTER dated 11/30/01 from Samuel Noel to Lawrence Ray regarding additional
11/29/2001   278 Government's request to charge filed as to Lawrence Ray in 1:00-cr-00196 (Sica,                                3500 material on witnesses Felix Sater 3500-FS-41 and Agent Leo Taddeo 3500-FBI
                 Michele) (Entered: 11/29/2001)                                                                                 18, 19, & 20. (Sica, Michele) (Entered: 12/12/2001)
11/29/2001   285   CALENDAR ENTRY as to Edmond Nagel ; Case called before Senior Judge I. L.                   12/12/2001   290   ORDER as to John Cioffoletti in 1:00-cr-00196 adjourning sentencing until 1/12/02 at
                   Glasser on 11/29/01 for Sentencing. AUSA: David Goldberg and Jonathan Sack;                                    10:00. ( Signed by Senior Judge I. L. Glasser , on 12/11/01). Endorsed on letter dated
                   Michael Rovell, Esq. for the Dft.; Court Reporter: B.Sulzer. Sentencing held on Count                          12/5/01 from James LaRossa to Judge Glasser. (Sica, Michele) (Entered: 12/12/2001)
                   # 11 on CR-00-196 and Count #1 on CR-01-705.IMPRISONMENT: 37 months;
                   SUPERVISED RELEASE: 3 years; SPECIAL ASSESSMENT: $100.00 on each case                       12/12/2001   291 Amended Consent ORDER Directing Forfeiture of Property as to Edmond Nagel in
                                                                                                                                1:00-cr-00196 that dft shall forfeit $600,000.00 and all right, interest, stock, or warrants




                   in Condor Capital Inc. to the US as propert involved in money laundering. This order        01/07/2002   302   LETTER dated 12/27/01 from Jonathan Sack to Judge Glasser confirming that
                   shall be final against dft, and shall be included in the judgment. The US Marshal's                            sentencing of defendant Lombardo has been rescheduled to 1/22/02. (endorsed by
                   Service is authorized to deposit property in US Department of Justice's Asset                                  Judge Glasser on 1/7/02) (Rodriguez,Angela) (Entered: 01/11/2002)
                   Forfeiture. 4 certified copies sent to AUSA David Goldberg. ( Signed by Senior Judge
                   I. L. Glasser , dated: 11/29/01) (Sica, Michele) (Entered: 12/12/2001)                      01/07/2002   303   LETTER dated 12/27/01 from Jonathan Sack to Judge Glasser confirming that
                                                                                                                                  sentencing of defendant Coppa has been rescheduled to 2/12/02 at 10:00. (endorsed by
12/13/2001   292   ORDER as to Frank Coppa Sr. in 1:00-cr-00196, Modifying Conditions of Release to                               Judge Glasser on 1/7/02) (Rodriguez,Angela) (Entered: 01/11/2002)
                   allow dft to travel to Florida from 12/28/01 to 1/13/02 . (Signed by Senior Judge I. L.
                   Glasser , on 12/12/01). Endorsed on letter dated 12/12/01 from Larry Bronson to Judge       01/07/2002   304   LETTER dated 12/27/01 from Jonathan Sack to Judge Glasser confirming that
                   Glasser. (Sica, Michele) (Entered: 12/17/2001)                                                                 sentencing of defendant Polito has been rescheduled to 3/21/02 at 10:00. (endorsed by
                                                                                                                                  Judge Glasser on 1/7/02) (Rodriguez,Angela) Modified on 01/11/2002 (Entered:
12/18/2001   293   LETTER dated 12/12/01 from Larry Bronson to Judge Glasser requesting that dft                                  01/11/2002)
                   Coppa's bail conditions be modified to allow him to travel to Florida. (Sica, Michele)
                   (Entered: 12/18/2001)                                                                       01/07/2002   305   LETTER dated 12/27/01 from Jonathan Sack to Judge Glasser confirming that
                                                                                                                                  sentencing of defendant Lev has been rescheduled to 1/24/02 at 10:00. (endorsed by
12/21/2001   296 ORDER as to Edward Garafola in 1:00-cr-00196 endorsed on letter dated 12/19/01                                   Judge Glasser on 1/7/02) (Rodriguez,Angela) (Entered: 01/11/2002)
                 from Jean Marie Graziano to Judge Glasser. Defendant Edward Garafola's request for
                 modification of bail restrictions is granted. Defendant is permitted to travel as specified   01/07/2002   306   LETTER dated 12/27/01 from Jonathan Sack to Judge Glasser confirming that
                 herein. (Signed by Senior Judge I. L. Glasser on 12/20/01) (Rodriguez,Angela)                                    sentencing of defendant Montevecchi has been rescheduled to 1/23/02 at 10:00.
                 (Entered: 01/07/2002)                                                                                            (endorsed by Judge Glasser on 1/7/02) (Rodriguez,Angela) (Entered: 01/11/2002)

12/21/2001   297 LETTER dated 12/18/01 from Jeffrey Lichtman to Judge Glasser confirming that                  01/07/2002   307 ORDER as to Abraham Salaman in 1:00-cr-00196 endorsed on letter dated 1/3/02 from
                 sentencing of defendant Daniel Lev be adjourned from 1/10/02 to 1/24/02 at 10:00.                              Joel Cohen to Judge Glasser. Sentencing of defendant Salaman has been rescheduled to
                 (Endorsed by Judge Glasser on 12/19/01) (Rodriguez,Angela) (Entered: 01/07/2002)                               3/8/02 at 10:00. (Signed by Senior Judge I. L. Glasser on 1/7/02) (Rodriguez,Angela)
                                                                                                                                (Entered: 01/11/2002)
12/27/2001   295 TRANSCRIPT of proceedings before Judge Glasser filed in case as to Lawrence Ray in
                 1:00-cr-00196 for dates of 11/28/01; Court Reporter: Brton Sulzer. (Rodriguez,Angela)         01/07/2002   308   LETTER dated 12/27/01 from Jonathan Sack to Judge Glasser confirming that
                 (Entered: 01/07/2002)                                                                                            sentencing of defendant Doukas has been rescheduled to 3/27/02 at 10:00. (endorsed by
                                                                                                                                  Judge Glasser on 1/7/02) (Rodriguez,Angela) (Entered: 01/11/2002)
12/27/2001   309   LETTER dated 8/17/01 from Jonathan Sack to Michael Bachner advising that Mr.
                   Bachner's client is scheduled for sentencing before Judge Glasser on 12/11/01 at 2:00.      01/09/2002   300 TRANSCRIPT of pleading before Judge Glasser filed in case as to John Cioffoletti in
                   (Rodriguez,Angela) (Entered: 01/14/2002)                                                                     1:00-cr-00196 for dates of 10/2/01; Court Reporter: Gene Rudolph. (Rodriguez,Angela)
                                                                                                                                (Entered: 01/09/2002)
01/03/2002   294 ORDER as to Daniel Lev. Order endorsed on the letter dated Dec. 19, 2001, from
                 Jeffrey Lichtman, counsel for deft. Daniel Lev, granting Mr. Lichtman's request for           01/09/2002   301 TRANSCRIPT of status conference before Judge Glasser filed in case as to Lawrence
                 permission to extend his recent trip to Russia for business purposes. He can now return                        Ray in 1:00-cr-00196 for dates of 11/7/01; Court Reporter: Gene Rudolph.
                 from his trip on Jan. 3, 2002. Govt. consented to this request. (Signed by Senior Judge                        (Rodriguez,Angela) (Entered: 01/09/2002)
                 I. L. Glasser) (Vaughn, Terry) (Entered: 01/03/2002)                                          01/14/2002   310 LETTER dated 12/18/01 from Jeffrey Lichtman to Judge Glasser confirming that
01/04/2002   299   ORDER as to Frank Coppa Sr. in 1:00-cr-00196, Ernest Montevecchi in 1:00-cr-00196,                           sentencing of defendant Lev has been adjourned to 1/24/01 at 10:00.
                   John Doukas in 1:00-cr-00196, Daniel Lev in 1:00-cr-00196 endorsed on memorandum                             (Rodriguez,Angela) (Entered: 01/14/2002)
                   from Probation Dept. dated 12/19/01. Request for adjournment of sentencing is granted.      01/14/2002   311   MOTION by Eugene Lombardo in 1:00-cr-00196 for an order directing that defendant
                   Defendant Montevecchi adjourned to 1/23/02 at 10:00; defendant Dukas adjourned to                              Lombardo be sentenced to a term of imprisonment hich shall run concurrently with the
                   3/27/02 at 10:00; defendant Lev adjourned to 1/24/02 at 10:00; defendant Coppa                                 sentence imposed in SDNY (case no. 97cr1215) . (Rodriguez,Angela) (Entered:
                   adjourned to 2/12/02 at 10:00. (Signed by Senior Judge I. L. Glasser on 12/20/01)                              01/15/2002)
                   (Rodriguez,Angela) (Entered: 01/08/2002)
                                                                                                               01/17/2002   312 LETTER dated 1/11/02 from Lawrence Feitell to Judge Glasser enclosing a copy of
01/07/2002   298   ORDER dated 12/19/01 on letter dated 12/16/01 from Elizabeth E. Macedonio to Judge                           motion for concurrent sentence. Counsel requests that, if a hearing is to be set, that the
                   Gershon requesting a two week adjournment of Mr. Jack Basile's surrender date.                               motion hearing be set at the same date and time as the hearing on defendant
                   APPLICATION DENIED as to Jack Basile in 1:00-cr-00196. ( ( Signed by Judge Nina                              Montevecchi's motion for concurrent sentence. (Rodriguez,Angela) (Entered:
                   Gershon, on 12/19/01 ) (Guzzi, Roseann) (Entered: 01/07/2002)                                                01/18/2002)
                                                                                                               01/17/2002   313 LETTER dated 1/15/02 from Judge Glasser to Lawrence Feitell advising that the Court
                                                                                                                                is regarding his motion for concurrent sentence as a sentencing memorandum which
                Case       1:16-mc-02636-AMD Document 24-8 Filed
                 will be considered on 1/23/02. The Court suggests that a copy of the request be made
                                                                                                                    06/07/18 Page 40 of 45 PageID #:
                                                                                                           02/05/2002 323 CERTIFICATE OF SERVICE: Amended Consent Order of Forfeiture was executed on
                 available to the Probation Officer who prepared defendant Lombardo's report.
                 (Rodriguez,Angela) (Entered: 01/18/2002)
                                                                                                      3914                12/14/02. The sum of $350,000 was transferred to asset forfeiture fund.
                                                                                                                          (Rodriguez,Angela) (Entered: 02/11/2002)
01/18/2002   317 LETTER dated 1/16/02 from Jeffrey Lichtman to Mary Ann Betts objecting to portions         02/06/2002   320 SENTENCING MEMORANDUM filed in 1:00-cr-00196 as to John Cioffoletti.
                 of the PSR relating to defendant Daniel Lev. (Rodriguez,Angela) (Entered: 01/31/2002)                       (Rodriguez,Angela) Modified on 02/07/2002 (Entered: 02/07/2002)
01/24/2002   318 CALENDAR ENTRY as to Daniel Lev in 1:00-cr-00196; Case called before Senior                02/19/2002   325 JUDGMENT Daniel Lev (11) count(s) 1s. Defendant sentenced to 2 years probation
                 Judge I. L. Glasser on date of 1/24/02 for sentencing. Sentencing adjourned to 2/4/02 at                    with 4 months home confinement and 150 hours of community service. Defendant
                 10:00. Defense counsel makes application for downward departure.                                            fined $5000 and assessed $50. Open counts dismissed on government's motion. (Signed
                 (Rodriguez,Angela) (Entered: 02/01/2002)                                                                    by Senior Judge I. L. Glasser on 2/4/02) (Rodriguez,Angela) (Entered: 02/19/2002)
01/25/2002   314 ORDER as to Walter Durchalter in 1:00-cr-00196 endorsd on letter dated 1/23/02 from        02/19/2002         DISMISSAL of Count(s) on Government Motion as to Daniel Lev in 1:00-cr-00196.
                 Robert Herskovits to Judge Glasser. Sentencing is adjourned to 3/25/02 at 10:00.                              Counts Dismissed: Daniel Lev (11) count(s) 1, 2, 9, 10, 11, 12. (Rodriguez,Angela)
                 (Signed by Senior Judge I. L. Glasser- on not dated) (Rodriguez,Angela) (Entered:                             (Entered: 02/19/2002)
                 01/25/2002)
                                                                                                            02/20/2002   326 ORDER as to Daniel Lev in 1:00-cr-00196 endorsed on letter dated 1/31/02 from
01/25/2002   315   ORDER as to Frank Coppa Sr. in 1:00-cr-00196 endorsed on letter dated 1/22/02 from                        Jeffrey Lichtman to Judge Glasser. The file and record from the last court appearance
                   Jay Goldberg to Judge Glasser. Sentencing is adjourned to 3/18/02 at 10:00. (Signed by                    re: Daniel Lev is ordered sealed. (Signed by Senior Judge I. L. Glasser on 1/31/02)
                   Senior Judge I. L. Glasser- not dated) (Rodriguez,Angela) (Entered: 01/25/2002)                           (Rodriguez,Angela) (Entered: 02/21/2002)
01/25/2002   321   ORDER as to Edmond Nagel in 1:00-cr-00196 endorsed on letter dated 1/24/02 from          02/21/2002   327 CALENDAR ENTRY as to Daniel Persico in 1:00-cr-00196; Case called before Senior
                   Michael Rovell to Judge Glasser. Defendant is granted a four to six week extension of                     Judge I. L. Glasser on date of 2/21/02 for sentencing. Defense Counsel: Joseph
                   surrender date. (Signed by Senior Judge I. L. Glasser on 1/24/02) (Rodriguez,Angela)                      Giannini. AUSA: David Pitofsky and Eric Corngold. Court Reporter: Mickey Brymer.
                   (Entered: 02/08/2002)                                                                                     Defendant sentenced on count 2 of superseding information to 21 months imprisonment
                                                                                                                             to be followed by 3 years of supervised release. The Court recommends Fort Dix or
01/31/2002   316 ORDER as to Edward Garafola in 1:00-cr-00196 endorsed on letter dated 1/29/02 from                          Otisville facility. Defendant to surrender 5/1/02. (Rodriguez,Angela) (Entered:
                 Michael Rosen to Judge Glasser. Request granted. Sentencing is adjourned from 2/4/02                        02/26/2002)
                 to 2/26/02. (Signed by Senior Judge I. L. Glasser on 1/30/02) (Rodriguez,Angela)
                 (Entered: 01/31/2002)                                                                      02/25/2002   330 ORDER as to Ernest Montevecchi in 1:00-cr-00196 endorsed on letter dated 2/20/02
                                                                                                                             from David Pitofsky to Judge Glasser. Request for two week adjournment of
01/31/2002   322   LETTER dated 1/28/02 from James LaRossa to USPO Rachel Swasey advising of                                 sentencing is granted. Sentencing adjourned to 3/19/02 at 10:00. Extension of time for
                   objections to the PSR. (Rodriguez,Angela) (Entered: 02/08/2002)                                           briefs also granted. (signed by Senior Judge I. L. Glasser on 2/21/02)
02/04/2002   324 CALENDAR ENTRY as to Daniel Lev in 1:00-cr-00196; Case called before Senior                                 (Rodriguez,Angela) (Entered: 02/28/2002)
                 Judge I. L. Glasser on date of 2/4/02 for sentencing. Defense Counsel: Jeffrey             02/26/2002         Sentencing held Daniel Persico (3) count(s) 2. (Rodriguez,Angela) (Entered:
                 Lichtman. AUSA: Eric Corngold and Janathan Sack. Defendant sentenced on count 1                               02/26/2002)
                 of the information to 2 years probation with 4 months home confinement. Defendant
                 fined $5000 and assessed $50. Defendant to perform 150 hours of community service.         02/26/2002   328 JUDGMENT Daniel Persico (3) count(s) 2. Defendant sentenced to 21 months
                 (Rodriguez,Angela) (Entered: 02/19/2002)                                                                    imprisonment to be followed by 3 years of supervised release. Defendant assessed
                                                                                                                             $100. The court recommends incarceration at Fort Dix or Otisville. Defendant to
02/04/2002         Sentencing held Daniel Lev (11) count(s) 1s. (Rodriguez,Angela) (Entered:                                 surrender on 5/1/02. Open counts dismissed on government's motion. (Signed by Senior
                   02/19/2002)                                                                                               Judge I. L. Glasser on 2/21/02) (Rodriguez,Angela) (Entered: 02/26/2002)
02/05/2002   319 AMENDED JUDGMENT: Rocco Basile (5) count(s) 5. AMENDED To include on                       02/26/2002         DISMISSAL of Count(s) on Government Motion as to Daniel Persico in 1:00-cr-
                 page 2 that deft receive treatment for substance abuse. ( Signed by Judge Raymond J.                          00196. Counts Dismissed: Daniel Persico (3) 1s, 13, 14. (Rodriguez,Angela) (Entered:
                 Dearie , on 1/31/02). Copies distributed. (Chee, Alvin) (Entered: 02/05/2002)                                 02/26/2002)
02/05/2002         Order dated 1/17/02 on letter dated 1/16/02 from Elizabeth E. Macedonio to Judge         02/26/2002   329 SENTENCING MEMORANDUM as to Giuseppe Temperino in 1:00-cr-00196. Cover
                   Gershon as to the designation of defendant Jack Basile. APPLICATION DENIED. The                           letter dated 2/26/02 from Joseph Benfante is attached. (Rodriguez,Angela) (Entered:
                   Court has made its recommendation but will not intervene in the designation made by                       02/26/2002)
                   the Bureau of prisons as to Jack ( Signed by Judge Nina Gershon , on 1/17/02) *This is
                   documetn #717 in 99cr589 (Guzzi, Roseann) (Entered: 02/05/2002)                          02/26/2002   332 CALENDAR ENTRY as to Edward Garafola in 1:00-cr-00196; Case called before
                                                                                                                             Senior Judge I. L. Glasser on date of 2/26/02 for sentencing. Defendant sentenced on
                                                                                                                             count 19 to 5 months imprisonment to be followed by 3 years of supervised released-




                   home confinement for 5 months. Special assessment: $50. Fine: $2000. The court           03/14/2002   338 JUDGMENT Giuseppe Temperino (19) count(s) 6. Defendant sentenced to 3 years
                   recommends incarceration at Fort Devon. Defendant to surrender to institution on                          probation, to serve 8 months home confinement. Defendant to perform 200 hours of
                   4/29/02. (Rodriguez,Angela) (Entered: 03/01/2002)                                                         community service. Special assessment: $100. Open counts dismissed. (Signed by
                                                                                                                             Senior Judge I. L. Glasser on 3/13/02) (Rodriguez,Angela) (Entered: 03/15/2002)
02/26/2002         Sentencing held Edward Garafola (10) count(s) 19. (Rodriguez,Angela) (Entered:
                   03/01/2002)                                                                              03/14/2002         DISMISSAL of Count(s) on Government Motion as to Giuseppe Temperino in 1:00-cr-
                                                                                                                               00196. Counts Dismissed: Giuseppe Temperino (19) count(s) 2, 5, 7, 8.
02/27/2002   331   TRANSCRIPT filed in case as to Edmond Nagel in 1:00-cr-00196 for dates of                                   (Rodriguez,Angela) (Entered: 03/15/2002)
                   11/29/01. Court Reporter: Burton Sulzer. (Rodriguez,Angela) (Entered: 02/28/2002)
                                                                                                            03/14/2002   339 CALENDAR ENTRY as to John Cioffoletti; Case called before Senior Judge I. L.
02/28/2002   333 JUDGMENT Edward Garafola (10) count(s) 19. Defendant sentenced to 5 months                                  Glasser on date of 3/14/02 for sentencing. Defense Counsel: James LaRossa and
                 imprisonment to be followed by 3 of supervised release. As a condition of release,                          Andrew Weinstein. Court Reporter: Henry Shapiro. Defendant sentenced to 24 months
                 defendant is to serve 5 months home detention. The Court recommends defendant be                            imprisonment to be followed by 3 years of supervised release. Court recommends
                 designated to Fort Devin, Mass. Defendant to surrender to instituion by 2:00pm on                           Shock Incarceration Program where defendant can receive substance abuse treatment.
                 4/29/02. Defendant fined $5000 and assessed $50. Open count dismissed on                                    Defendant to surrender to institution on 5/6/02. Status conference is set for 6/14/02 at
                 government's motion. (Signed by Senior Judge I. Glasser on 2/26/02)                                         10:00. The government needs 90 days to submit final order of forfeiture.
                 (Rodriguez,Angela) (Entered: 03/01/2002)                                                                    (Rodriguez,Angela) (Entered: 03/18/2002)
02/28/2002         DISMISSAL of Count(s) on Government Motion as to Edward Garafola in 1:00-cr-             03/14/2002         Sentencing held John Cioffoletti (7) count(s) 3, 4, 5, 6, 9, 10, 15, 16.
                   00196. Counts Dismissed: Edward Garafola (10) count(s) 20. (Rodriguez,Angela)                               (Rodriguez,Angela) (Entered: 03/18/2002)
                   (Entered: 03/01/2002)
                                                                                                            03/18/2002   340 JUDGMENT John Cioffoletti (7) count(s) 3, 4 , 5 , 6 , 9 , 10, 15 , 16 . Defendant
03/05/2002   334   TRANSCRIPT filed in case as to Edward Garafola in 1:00-cr-00196 for date of 2/26/02                       sentenced to 24 months imprisonment to be followed by 3 years of supervised release-
                   ; Court Reporter: Ronald Tolkin. (Rodriguez,Angela) (Entered: 03/06/2002)                                 to run concurrently with sentence in 01cr1049. The Court recommends "Shock
03/05/2002   335 ORDER as to Abraham Salaman in 1:00-cr-00196 endorsed on letter dated 3/5/02 from                           Incarceration Program," where defendant can receive substance abuse treatment.
                 Jonathan Sack to Judge Glasser. Sentencing of defendant Salaman has been adjourned                          Defendant assessed $900 (this includes assessment for 01cr1049). Defendant to
                 to 4/4/02 at 10:00. (Signed by Senior Judge I. L. Glasser on 3/5/02) (Rodriguez,Angela)                     surrender to institution before 2:00 pm on 5/6/02. Restitution to be paid: the amount of
                 (Entered: 03/07/2002)                                                                                       victims' losses are not yet ascertainable (final determination will be submitted on
                                                                                                                             6/14/02). (Signed by Senior Judge I. L. Glasser on 3/14/02) (Rodriguez,Angela)
03/11/2002   336   ORDER as to Giuseppe Temperino in 1:00-cr-00196 endorsed on letter dated 3/11/02                          (Entered: 03/18/2002)
                   from Jonathan Sack to Judge Glasser. Sentencing has been adjourned to 3/13/02 at
                   2:30. (Signed by Senior Judge I. L. Glasser on 3/11/02) (Rodriguez,Angela) (Entered:     03/18/2002         DISMISSAL of Count(s) on Government Motion as to John Cioffoletti in 1:00-cr-
                   03/12/2002)                                                                                                 00196. Counts Dismissed: John Cioffoletti (7) count(s) 1, 2, 7, 8, 11, 12, 18.
                                                                                                                               (Rodriguez,Angela) (Entered: 03/18/2002)
03/11/2002   342   CERTIFICATE OF SERVICE as to Edmond Nagel in 1:00-cr-00196: Legal Notice
                   was published on dates of 12/18/1, 12/24/01, 12/31/01. (Rodriguez,Angela) (Entered:      03/18/2002   352   LETTER dated 3/15/02 from Larry Bronson to Judge Glasser confirming that
                   03/25/2002)                                                                                                 sentencing as to defendant Frank Coppa was adjourned to 4/17/02. (Rodriguez,Angela)
                                                                                                                               (Entered: 04/03/2002)
03/11/2002   343 LETTER dated 3/11/02 from Jonathan Sack to Judge Glasser in opposition to
                 defendant's motion for downward departure. (Rodriguez,Angela) (Entered: 03/25/2002)        03/19/2002   341 LETTER dated 3/18/02 from Judge Glasser to Larry Bronson advising that the Court
                                                                                                                             will await granting request for adjournment of sentencing of defendant Coppa until
03/12/2002   344   SEALED DOCUMENT as to Joseph Polito Sr. (Rodriguez,Angela) (Entered:                                      counsel furnishes reasons for the request and the government comments on the request.
                   03/25/2002)                                                                                               (Rodriguez,Angela) (Entered: 03/20/2002)
03/13/2002   337   CALENDAR ENTRY as to Giuseppe Temperino in 1:00-cr-00196; Case called before             03/19/2002   346 CALENDAR ENTRY as to Eugene Lombardo in 1:00-cr-00196; Case called before
                   Senior Judge I. L. Glasser on date of 3/13/02 for sentencing. Defense Counsel: Joseph                     Senior Judge I. L. Glasser for sentencing. Defense Counsel: Lawrence Feiteill. AUSA:
                   Benfante. AUSA: Eric Corngold and Jonathan Sack. Defendant sentenced to 3 years                           Eric Corngold. Court Reporter: Marsha Diamond. Defendant sentenced on count 2 to
                   probation to serve 8 months on home confinement. Defendant to perform 200 hours of                        60 months imprisonment to run concurrently with sentence in Southern District case.
                   community serrvice. Defendant assessed $100. (Rodriguez,Angela) (Entered:                                 Supervised release: 3 years. Defendant to make restitution in the amount of $5 million.
                   03/15/2002)                                                                                               During period of release, the government is given 90 days to provide a list of victims
                                                                                                                             and the amounts to be paid. The Court recommends incarceration at MDC. Special
03/13/2002         Sentencing held Giuseppe Temperino (19) count(s) 6. (Rodriguez,Angela) (Entered:                          assessment: $100. (Rodriguez,Angela) (Entered: 03/27/2002)
                   03/15/2002)
03/19/2002
                Case      1:16-mc-02636-AMD Document 24-8 Filed
                 Sentencing held Eugene Lombardo (12) count(s) 2. (Rodriguez,Angela) (Entered:
                                                                                                             06/07/18 Page 41 of 45 PageID #:
                                                                                                    03/27/2002 358 LETTER dated 3/26/02 from Joseph Bondy to Judge Glasser requesting reconsideration
                 03/27/2002)                                                                   3915                and correction of defendant Montevecchi's sentence. (Rodriguez,Angela) (Entered:
                                                                                                                   04/09/2002)
03/19/2002   348 CALENDAR ENTRY as to Ernest Montevecchi in 1:00-cr-00196; Case called before
                 Senior Judge I. L. Glasser on date of 3/19/02 for sentencing. Defense Counsel: Joseph         03/29/2002   351 ORDER as to Alfred Palagonia endorsed on letter dated 3/20/02 from Joseph Diblasi to
                 Bondy. AUSA: Jonathan Sack and David Pitofsky. Court Reporter: Marsha Diamond.                                 Judge Glasser. Defendant is permitted to travel as specified herein. (Signed by Senior
                 Defendant sentenced to 36 months imprisonment to run concurrently with sentence                                Judge I. L. Glasser on 3/20/02) (Rodriguez,Angela) (Entered: 03/29/2002)
                 defendant is currently serving, plus three years of supervised release. Defendant to
                 make restitution in the amount of $5 million during the period of supervised release.         04/01/2002   353   LETTER dated 4/1/02 from Janathan Sack to Judge Glasser confirming that sentencing
                 The government is given 90 days to provide a list of victims and the amounts to be                               has been adjourned to 5/9/02 at 10:00. (endorsed by Judge Glasser on 4/3/02)
                 paid. The Court recommends incarceration at Fort Dix. (Rodriguez,Angela) (Entered:                               (Rodriguez,Angela) (Entered: 04/04/2002)
                 03/27/2002)                                                                                   04/02/2002   356   LETTER dated 4/1/02 from Jonathan Sack to Judge Glasser confirming that sentencing
03/19/2002         Sentencing held Ernest Montevecchi (2) count(s) 2. (Rodriguez,Angela) (Entered:                                as to defendant Doukas has been adjourned to 5/9/02 at 10:00. (endorsed by Judge
                   03/27/2002)                                                                                                    Glasser on 4/1/02) (Rodriguez,Angela) (Entered: 04/05/2002)

03/19/2002   354   LETTER dated 3/18/02 from Larry Bronson to Judge Glasser explaining how this                04/02/2002   357 ORDER as to Abraham Salaman endorsed on letter dated 4/1/02 from Joel Cohen to
                   matter came to be adjourned to 4/17/02. (Rodriguez,Angela) (Entered: 04/05/2002)                             Judge Glasser. Request granted. Sentencing as to defendant Salaman is adjourned to
                                                                                                                                5/9/02 at 10:00. (Signed by Senior Judge I. L. Glasser on 4/1/02) (Rodriguez,Angela)
03/19/2002   355 LETTER dated 3/18/02 from Jonathan Sack to Judge Glasser submitted to supplement                               (Entered: 04/05/2002)
                 the government's 3/11/02 letter with respect to sentencing of defendants Ernst
                 Montevecchi and Eugene Lombardo. (Rodriguez,Angela) (Entered: 04/05/2002)                     04/10/2002   359 ORDER as to Ernest Montevecchi in 1:00-cr-00196. For the reasons stated herein,
                                                                                                                                defendant's motion to reduce his sentence is denied. (Signed by Senior Judge I. L.
03/25/2002   345 LETTER dated 3/11/02 from Jonathan Sack to Judge Glasser re: sentencing guidlines                              Glasser on 4/10/02) (Rodriguez,Angela) (Entered: 04/12/2002)
                 as to defendants Montevecchi and Lombardo. (Rodriguez,Angela) (Entered:
                 03/26/2002)                                                                                   04/12/2002   360 SENTENCING MEMORANDUM as to Abraham Salaman in 1:00-cr-00196.
                                                                                                                                (Rodriguez,Angela) (Entered: 04/15/2002)
03/27/2002   347 JUDGMENT Eugene Lombardo (12) count(s) 2. Defendant sentenced to 60 months
                 imprisonment to run concurrently sentence in Southern District case. Supervised               04/12/2002   361   Exhibit list re: sentencing memorandum filed by Abraham Salaman.
                 release: 3 years. Defendant to make restitution in the amount of $5 million. During                              (Rodriguez,Angela) (Entered: 04/15/2002)
                 period of release, the government is given 90 days to provide a list of victims and the       04/16/2002   363 ORDER endorsed on letter dated 4/16/02 from Jay Goldberg to Judge Glasser. The next
                 amounts to be paid. The Court recommends incarceration at MDC. Special assessment:                             confernce is adjourned to 4/23/02 at 10:00. (Signed by Senior Judge I. L. Glasser on
                 $100. Opne counts dismissed on government's motion. (Signed by Senior Judge I. L.                              4/17/02) (Rodriguez,Angela) (Entered: 04/18/2002)
                 Glasser on 3/19/02) (Rodriguez,Angela) (Entered: 03/27/2002)
                                                                                                               04/17/2002   362 LETTER dated 4/10/02 from Jay Goldberg to Judge Glasser requesting that sentencing
03/27/2002         DISMISSAL of Count(s) on Government Motion as to Eugene Lombardo. Counts                                     as to defendant Coppa be scheduled for some later than 10:00 on 4/17/02. Counsel is
                   Dismissed: Eugene Lombardo (12) count(s) 1, 3, 4, 9, 10, 11, 12. (Rodriguez,Angela)                          scheduled to appear before Judge Garaufis at 10:00. (there is an unsigned note
                   (Entered: 03/27/2002)                                                                                        highlighted on this document stating that sentencing is now set for 11:30)
03/27/2002   349 JUDGMENT Ernest Montevecchi (2) count(s) 2. Defendant sentenced to 36 months                                   (Rodriguez,Angela) (Entered: 04/17/2002)
                 imprisonment to run concurrently sentence defendant is currently serving, plus three          04/23/2002   364   CALENDAR ENTRY as to Frank Coppa Sr. in 1:00-cr-00196; Case called before
                 years supervised release. Defendant to make restitution in the amount of $5 million                              Senior Judge I. L. Glasser on date of 4/23/02 for sentencing. Defense Counsel: Larry
                 during the period of supervised release. The government is given 90 days to provide a                            Bronson and Jay Goldberg. Court Reporter: Shelly Silverman. Defendant sentenced on
                 list of victims and the amounts to be paid. The Court recommends incarceration at Fort                           count 15 to 36 months imprisonment to be followed by 3 years of supervised release.
                 Dix. Open counts dismissed on government's motion. (Signed by Senior Judge I. L.                                 Defendant to pay restitution in the amount of $5 million. The Court recommends Fort
                 Glasser on 3/19/02) (Rodriguez,Angela) (Entered: 03/27/2002)                                                     Dix. Defendant assessed $100 per count. (Rodriguez,Angela) (Entered: 04/25/2002)
03/27/2002         DISMISSAL of Count(s) on Government Motion as to Ernest Montevecchi in 1:00-cr-             04/23/2002         Sentencing held Frank Coppa (1) count(s) 15. (Rodriguez,Angela) (Entered:
                   00196. Counts Dismissed: Ernest Montevecchi (2) count(s) 13, 14. (Rodriguez,Angela)                            04/25/2002)
                   (Entered: 03/27/2002)
                                                                                                               04/25/2002   365 JUDGMENT Frank Coppa (1) count(s) 15. Defendant sentenced to 36 months
03/27/2002   350   ORDER as to Walter Durchalter endorsed on letter dated 3/20/02 from Robert                                   imprisonment to be followed by 3 years of supervised release. Defendant to pay
                   Herskovits to Judge Glasser. Sentencint is adjourned to 9/18/02 at 10:00. (Signed by                         restitution in the amount of $5 million. The Court recommends Fort Dix. Defendant
                   Senior Judge I. L. Glasser- not dated) (Rodriguez,Angela) (Entered: 03/29/2002)




                   assessed $100. Open counts dismissed on government's motion. (Signed by Senior                                 over period of probation. Open counts dismissed on government's motion. (Signed by
                   Judge I. L. Glasser on 4/23/02) (Rodriguez,Angela) (Entered: 04/25/2002)                                       Senior Judge I. L. Glasser on 5/9/02) (Rodriguez,Angela) (Entered: 05/16/2002)
04/25/2002         DISMISSAL of Count(s) on Government Motion as to Frank Coppa Sr. in 1:00-cr-                05/15/2002         DISMISSAL of Count(s) on Government Motion as to Abraham Salaman in 1:00-cr-
                   00196. Counts Dismissed: Frank Coppa (1) count(s) 1, 2, 3, 4, 13, 14, 16, 17.                                  00196. Counts Dismissed: Abraham Salaman (18) count(s) 2, 4. (Rodriguez,Angela)
                   (Rodriguez,Angela) (Entered: 04/25/2002)                                                                       (Entered: 05/16/2002)
05/02/2002   366   ORDER as to Daniel Persico in 1:00-cr-00196 endorsed on letter dated 5/1/02 from            05/20/2002   372 ORDER as to Lawrence Ray in 1:00-cr-00196 endorsed on letter dated 5/8/02 from
                   Joseph Giannini to Judge Glasser. Defendant is permitted to surender directly to Fort                        Robert Rosenberg to Judge Glasser. Sentencing is adjourned to 6/19/02 at 10:00.
                   Dix on 5/8/02. (Signed by Senior Judge I. L. Glasser on 5/1/02) (Rodriguez,Angela)                           (Signed by Senior Judge I. L. Glasser on 5/14/02) (Rodriguez,Angela) (Entered:
                   (Entered: 05/02/2002)                                                                                        05/22/2002)
05/03/2002   368   NOTICE OF APPEAL by Frank Coppa (1) count(s) 15. Fee Paid $ 105.00 Receipt #                05/20/2002   373   ORDER as to Joseph Polito Sr. in 1:00-cr-00196 endorsed on letter dated 5/14/02 from
                   261385. The Defendant appeals the judgment that was entered on 4/25/02. Forms                                  Charles Weintraub to Judge Glasser. Sentencing is adjourned to 10/8/02 at 10:00. Time
                   distributed. Judge notified. USCA notified. PLEASE NOTE: COUNSEL ADVISED                                       excluded. (Signed by Senior Judge I. L. Glasser on 5/15/02) (Rodriguez,Angela)
                   THAT HE DID NOT SIGN THIS NOA & THAT THERE ARE TWO CRIMINAL                                                    (Entered: 05/23/2002)
                   NUMBERS EACH NUMBER SHOULD HAVE A NOA AND A FEE PAID FOR
                   EACH. COUNSEL ADVISED TO FILE 2 AMENDED NOA'S ONE FOR EACH                                  05/23/2002   374 TRANSCRIPT of sentencing before Judge Glasser filed in case as to Ernest
                   NUMBER . (Gonzalez, Mary) (Entered: 05/06/2002)                                                              Montevecchi in 1:00-cr-00196 for dates of 3/19/02; Court Reporter: Marsha Diamond.
                                                                                                                                (Rodriguez,Angela) (Entered: 05/28/2002)
05/06/2002   367 TRANSCRIPT of sentencing before Judge Glasser filed in case as to Frank Coppa Sr.
                 for dates of 4/23/02; Court Reporter: Sheldon Silverman. (Rodriguez,Angela) (Entered:         05/24/2002   376   LETTER dated 5/15/02 from Joseph DiBlasi to Judge Glasser advising that defendant
                 05/06/2002)                                                                                                      Palagonia will be traveling out of state on 5/16/02 through 5/17/02. (Rodriguez,Angela)
                                                                                                                                  (Entered: 05/28/2002)
05/06/2002   375   LETTER dated 5/2/02 from Andrew Weinstein to Judge Glasser requesting the Court's
                   assistance in having defendant Chioffoletti designated to a facility that offers a "Shock   05/24/2002   378 AMENDED NOTICE of change of address by John Cioffoletti in 1:00-cr-00196.
                   Incarceration Program." (Rodriguez,Angela) (Entered: 05/28/2002)                                             (Rodriguez,Angela) (Entered: 05/29/2002)

05/06/2002   377 NOTICE of change of address by counsel for John Cioffoletti in 1:00-cr-00196.                 06/06/2002   379   USCA Scheduling Order: as to Frank Coppa Sr. in 1:00-cr-00196 [369-1] appeal
                 (Rodriguez,Angela) (Entered: 05/29/2002)                                                                         Appeal Record due by 6/24/02 for Frank Coppa Sr. USCA Number: 02-1274, [368-1]
                                                                                                                                  appeal USCA Number: Appellant's brief due 7/24/02. Appellee's brief due 8/7/02.
05/09/2002   370   CALENDAR ENTRY as to Abraham Salaman; Case called before Senior Judge I. L.                                    Argument set for 10/07/02. (Gonzalez, Mary) (Entered: 06/06/2002)
                   Glasser on date of 5/9/02 for sentencing. Defense Counsel: A. John Pappalardo. AUSA:
                   Nikki Kowalski. Court Reporter: Tony Mancuso. Defendant sentenced to 5 years                06/11/2002   384   LETTER dated 6/11/02 from David Pitofsky, AUSA to Judge Glasser requesting an
                   probation, to serve 12 months of home confinement. Defendant fined $25,000 and                                 adjournment of the sentencing which is scheduled for 6/24/02 due to deft's death. (fe)
                   assessed $100 per count. Defendant to make restitution in the amount of $2.5 million.                          (Entered: 06/18/2002)
                   Defendant to have no further involvment in the securities industry in any way.              06/12/2002   380   LETTER dated 6/12/02 from David Pitofsky to Clerk of Court enclosing documents
                   (Rodriguez,Angela) (Entered: 05/16/2002)                                                                       showing victims' losses (attached). (Rodriguez,Angela) (Entered: 06/13/2002)
05/09/2002         Sentencing held Abraham Salaman (18) count(s) 3. (Rodriguez,Angela) (Entered:               06/12/2002   381   ORDER as to Joseph Polito Sr. in 1:00-cr-00196 endorsed on letter dated 6/11/02 from
                   05/16/2002)                                                                                                    David Pitofsky to Judge Glasser. Sentencing is adjourned. Status report is to be
05/13/2002   369 AMENDED NOTICE OF APPEAL by Frank Coppa (1) count(s) 15. NO FEE PAID                                             provided on 7/11/02 at 10:00. (Signed by Senior Judge I. L. Glasser on 6/12/02)
                 for this is an AMENDED NOA. THE ORIGINAL WAS ENTERED ON 5/6/02.                                                  (Rodriguez,Angela) (Entered: 06/13/2002)
                 HOWEVER IT WAS UNSIGNED. Forms distributed. Judge notified. USCA notified.                    06/12/2002   385   LETTER dated 6/12/02 from David Pitofsky to Clerk of the Court enclosing documents
                 (Gonzalez, Mary) (Entered: 05/13/2002)                                                                           which set forth victim losses relating to the deft's illegal activities. (fe) (Entered:
05/13/2002         Certified copy of docket sheet sent to USCA. [369-1] appeal (Gonzalez, Mary)                                   06/18/2002)
                   (Entered: 05/13/2002)                                                                       06/14/2002   383   LETTER dated 6/12/02 from Jonathan Sack, AUSA to Clerk of the Court concerning
05/15/2002   371 JUDGMENT Abraham Salaman (18) count(s) 3. Defendant sentenced to 5 years                                         restitution payments as to deft Giuseppe Temperino. (fe) (Entered: 06/17/2002)
                 probation, to serve 12 months of home confinement. Defendant is to have no further            06/17/2002   382   LETTER dated 6/12/02 from Jonathan Sack to R.Heinemann this letter concerns
                 involvement in the securities industry in any way. Defendant fined $25,000 and                                   restitution payments to victims of the deft. (Jackson, Ramona) (Entered: 06/17/2002)
                 assessed $100 per count. Defendant shall make restitution in the amount of $2.5 million
06/20/2002
                Case 1:16-mc-02636-AMD                                             Document 24-8 Filed 06/07/18
             386 ORDER as to Lawrence Ray in 1:00-cr-00196, adjn. to Sentencing for 10:00 6/26/00
                                                                                                                           Page 42 of 45 PageID #:
                                                                                                           Otisville. Defendant to surrender to institution on 9/30/02. (Rodriguez,Angela)
                                                                                              3916
                 before Senior Judge I. L. Glasser , On ltr. dtd. 6/17/02 from Eric Corngold terminated
                 past due deadlines ( Signed by Senior Judge I. L. Glasser , on 6/17/02) (Jackson,
                                                                                                           (Entered: 08/09/2002)

                 Ramona) (Entered: 06/20/2002)                                                                   08/02/2002         Sentencing held John Doukas (8) count(s) 9, 16. (Rodriguez,Angela) (Entered:
                                                                                                                                    08/09/2002)
06/21/2002   387 ORDER as to Abraham Salaman in 1:00-cr-00196 Clerk of the Court ender to me a
                 check in the amount $100,000. payable to Abraham SAlaman. On ltr. dtd. 6/18/02 from             08/09/2002   397 JUDGMENT John Doukas (8) count(s) 9, 16. Defendant sentenced to 9 months
                 Joel M.Cohen ( Signed by Senior Judge I. L. Glasser , on 6/19/02) (Jackson, Ramona)                              imprisonment to be followed by 3 of supervised release. Defendant to perform 200
                 (Entered: 06/21/2002)                                                                                            hours of community service. Restitution: $4 million, payable to the Clerk of Court.
                                                                                                                                  Court recommends camp type facility- Allenwood or Otisville. Defendant to surrender
06/21/2002   388 LETTER dated June 20, 2002 from AUSA David B. Pitofsky to Clerk of the Court:                                    to institution on 9/30/02. Defendant assessed $200. (Signed Senior Judge I. L. Glasser
                 Enclosed are documents relating to Mr. Weisenfeld's claim, which are asked to be                                 on 8/2/02) (Rodriguez,Angela) (Entered: 08/09/2002)
                 included with prior submission. (Lee, Stephen) (Entered: 06/24/2002)
                                                                                                                 08/09/2002         DISMISSAL of Count(s) on Government Motion as to John Doukas in 1:00-cr-00196.
07/03/2002   389   LETTER dated July 3, 2002 from AUSA David B. Pitofsky to Clerk of the Court:                                     Counts Dismissed: John Doukas (8) count(s) 1, 2, 5, 6, 7, 8, 10, 11, 12, 15, 17, 18.
                   Attached are copies of account opening documents which show the identities of some                               (Rodriguez,Angela) (Entered: 08/09/2002)
                   of the investors who lost money. Additional documents are still being obtained. (Lee,
                   Stephen) (Entered: 07/08/2002)                                                                09/11/2002   398 ORDER as to Larry Berman in 1:00-cr-00196 endorsed on letter dated 9/6/02 from
                                                                                                                                  Amy Millard to Judge Glasser. Defendant is permitted to travel as specified herein on
07/10/2002   390   LETTER dated 7/9/02 from Jonathan S.Sack to Judge Glasser confirm sentence                                     condition that defendant advise AUSA of itinerary. (Signed by Senior Judge I. L.
                   adjourned to 7/31/02 @ 11:30. (Jackson, Ramona) (Entered: 07/10/2002)                                          Glasser on 9/9/02) (Rodriguez,Angela) (Entered: 09/17/2002)
07/12/2002   391 ORDER as to John Doukas in 1:00-cr-00196, Granting an extension to July 31, 2002 at             10/04/2002   399   CERTIFICATE OF SERVICE as to Edmond Nagel: Consent order of forfeiture was
                 11:30. See letter dated 07/09/02 to Hon. I. Leo Glasser from AUSA Jonathan S. Sack.                                executed on 6/11/02. (Rodriguez,Angela) (Entered: 10/08/2002)
                 (Signed by Senior Judge I. L. Glasser, on 07/10/02). (Lee, Stephen) (Entered:
                 07/17/2002)                                                                                     10/17/2002   400   SEALED DOCUMENT: correspondence. (AUSA Jonathan Sack,F#1998R00464)
                                                                                                                                    (Glenn, Marilyn) (Entered: 10/22/2002)
07/18/2002   392   ORDER as to Alfred Palagonia in 1:00-cr-00196 endorsed on letter dated 7/17/02 from
                   Joseph Diblasi to Judge Glasser. Defendant is granted a modification of supervision as        11/08/2002   401   ORDER as to Alfred Palagonia in 1:00-cr-00196 endorsed on letter dated 11/5/02 from
                   specified herein. (Signed by Senior Judge I. L. Glasser on 7/18/02) (Rodriguez,Angela)                           Joseph Diblasi to Judge Glasser. Sentencing is set for 12/2/02 at 10:00. (Signed by
                   (Entered: 07/22/2002)                                                                                            Senior Judge I. L. Glasser on 11/5/02) (Rodriguez,Angela) (Entered: 11/12/2002)

07/25/2002   393 ORDER as to Daniel Lev in 1:00-cr-00196 endorsed on memorandum from Probation.                  11/13/2002   402 SEALED DOCUMENT filed. (Rodriguez,Angela) (Entered: 11/25/2002)
                 Defendant is permitted to travel as specified herein. (Signed by Senior Judge I. L.             11/25/2002   407 STIPULATION AND ORDER as to Lawrence Ray in 1:00-cr-00196 consenting to
                 Glasser on 7/23/02) (Rodriguez,Angela) (Entered: 07/25/2002)                                                     substitution of counsel. Edward McDonald is substituted in place and stead of Robert
07/26/2002   394   ORDER as to Joseph Polito Sr. in 1:00-cr-00196, dismissing counts 9 and 19 of                                  Rosenberg. (Signed by Senior Judge I. L. Glasser on 11/27/02) (Rodriguez,Angela)
                   Indictment ( Signed by Senior Judge I. L. Glasser , on 7/8/02) (Jean (Entered:                                 (Entered: 12/17/2002)
                   07/26/2002)                                                                                   11/26/2002   406 ORDER as to Larry Berman in 1:00-cr-00196 endorsed on letter dated 11/22/02 from
07/26/2002   394   DISMISSAL of Count(s) on Government Motion as to Joseph Polito Sr. in 1:00-cr-                                 Amy Millard to Judge Glasser. Defendant is granted a modification of supervised
                   00196 party Joseph Polito in 1:00-cr-00196 Counts Dismissed: Joseph Polito (16)                                release as specified herein. (Signed by Senior Judge I. L. Glasser on 11/26/02)
                   count(s) 9, 19 (Jean (Entered: 07/26/2002)                                                                     (Rodriguez,Angela) (Entered: 12/12/2002)

07/30/2002   395 LETTER dated 7/30/02 from Edward McDonald to Judge Glasser requesting a sentence                12/02/2002   403 ORDER as to Lawrence Ray in 1:00-cr-00196 endorsed on letter dated 12/2/02 from
                 of home confinement with a requirement of substantial community service.                                         Edward McDonald to Judge Glasser. Sentencing is adjourned from 12/3/02 to 1/23/03
                 (Rodriguez,Angela) (Entered: 08/06/2002)                                                                         at 10:00. (Signed by Senior Judge I. L. Glasser on 12/2/02) (Rodriguez,Angela)
                                                                                                                                  (Entered: 12/05/2002)
08/02/2002   396 CALENDAR ENTRY as to John Doukas in 1:00-cr-00196; Case called before Senior
                 Judge I. L. Glasser on date of 8/2/02 for sentencing. Defense Counsel: Edward                   12/02/2002   404   CALENDAR ENTRY as to Alfred Palagonia in 1:00-cr-00196; Case called before
                 McDonald. AUSA: Jonathan Sack. Court Reporter: Diana Pereira. Defendant sentenced                                  Senior Judge I. L. Glasser on date of 12/2/02 for sentencing. Defense Counsel: Joseph
                 on counts 9 and 16 to 9 months imprisonment to be followed by 3 years of supervised                                DiBlasi. AUSA: Eric Corngold. Court Reporter: Fred Guerino. Defendant sentenced on
                 release. Defendant to perform 200 hours of community service. Restitution: $4 million,                             counts 9 and 11 to one year and one day, plus 3 years of supervised release. Restitution
                 payable to the Clerk of Court. Court recommends camp type facility- Allenwood or                                   to be paid in the amount of $20 million. Defendant fined $50,000 and assessed $100.




                   The court recommends FCI Allenwood, PA. Defendant to surrender on 2/3/03.                                        A hearing is set for 4/25/03 at 10:00. (Signed by Senior Judge I. L. Glasser on 3/26/03)
                   (Rodriguez,Angela) (Entered: 12/05/2002)                                                                         (Rodriguez,Angela) (Entered: 03/28/2003)
12/02/2002         Sentencing held Alfred Palagonia (14) count(s) 9, 11. (Rodriguez,Angela) (Entered:            04/01/2003   419   CERTIFICATE OF SERVICE: Legal notice as to Larry Berman published on 2/3/03,
                   12/05/2002)                                                                                                      2/10/03, and 2/17/03. (Rodriguez,Angela) Modified on 04/01/2003 (Entered:
                                                                                                                                    04/01/2003)
12/04/2002   405 JUDGMENT Alfred Palagonia (14) count(s) 9, 11 . Defendant sentenced to one year
                 and one day, plus 3 years of supervised release. Restitution to be paid in the amount           04/01/2003   420   CERTIFICATE OF SERVICE as to John Cioffoletti: Legal notice published on 2/3/03,
                 $20 million. Defendant fined $50,000 and assessed $200. Court recommends FCI                                       2/10/03, and 2/17/03. (Rodriguez,Angela) (Entered: 04/01/2003)
                 Allenwood, PA. (Signed by Senior I. L. Glasser on 12/2/02) (Rodriguez,Angela)
                 (Entered: 12/05/2002)                                                                           04/01/2003   421   CERTIFICATE OF SERVICE as to Alfred Palagonia: Legal notice published on
                                                                                                                                    1/31/03, 2/3/03 and 2/10/03. (Rodriguez,Angela) (Entered: 04/01/2003)
12/04/2002         DISMISSAL of Count(s) on Government Motion as to Alfred Palagonia in 1:00-cr-
                   00196. Counts Dismissed: Alfred Palagonia (14) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 10, 12,       04/01/2003   422   CERTIFICATE OF SERVICE as to Abraham Salaman: Legal notice published on
                   15, 16, 17, 18. (Rodriguez,Angela) (Entered: 12/05/2002)                                                         1/31/03, 2/3/03, and 2/10/03. (Rodriguez,Angela) (Entered: 04/01/2003)

12/18/2002   408   CERTIFICATE OF SERVICE: The sum of $50,000 was deposited in the seized asset                  04/09/2003   423 CALENDAR ENTRY as to Lawrence Ray in 1:00-cr-00196; Case called before Senior
                   forfeiture fund on 9/23/02. (Rodriguez,Angela) (Entered: 12/27/2002)                                           Judge I. L. Glasser on date of 4/9/03 for setencing. Defendant placed on probation for 5
                                                                                                                                  years, to serve 9 months of home confinement. Defendant to perform 300 hours of
01/08/2003   409 ORDER as to Daniel Lev in 1:00-cr-00196 endorsed on letter dated 1/8/03 from Jeffrey                             community service. Defendant fined $5000 and assessed $100. (Rodriguez,Angela)
                 Lichtman. Defendant is permitted to travel as specified herein. (Signed by Senior Judge                          (Entered: 04/11/2003)
                 I. L. Glasser on 1/8/03) (Rodriguez,Angela) (Entered: 01/09/2003)
                                                                                                                 04/09/2003         Sentencing held Lawrence Ray (17) count(s) 10. (Rodriguez,Angela) (Entered:
01/13/2003   410 SEALED DOCUMENT filed. (Rodriguez,Angela) (Entered: 01/13/2003)                                                    04/11/2003)
01/29/2003   411 ORDER as to Alfred Palagonia endorsed on letter dated 1/27/03 from Joseph Diblasi to            04/10/2003   424 JUDGMENT Lawrence Ray (17) count(s) 10. Defendant sentenced to 5 years
                 Judge Glasser. Defendant's surrender date is extended to 3/4/03. (Signed by Senior                               probation, to serve 9 months of home confinement. Special condition: 300 hours of
                 Judge I. L. Glasser on 1/28/03) (Rodriguez,Angela) (Entered: 01/29/2003)                                         community service. Fine: $5000. Special assessment: $100. (Signed by Senior Judge I.
                                                                                                                                  L. Glasser on 4/9/03) (Rodriguez,Angela) (Entered: 04/11/2003)
02/24/2003   412 ORDER as to Walter Durchalter in 1:00-cr-00196 endorsed on letter dated 2/20/03
                 from Michael Bachner to Judge Glasser. Defendant's bail conditions are modified to              04/10/2003         DISMISSAL of Count(s) on Government Motion as to Lawrence Ray in 1:00-cr-00196
                 permit weekly telephonic reporting. (Signed by Senior Judge I. L. Glasser on 2/20/03)                              Counts Dismissed: Lawrence Ray (17) count(s) 9. (Rodriguez,Angela) (Entered:
                 (Rodriguez,Angela) (Entered: 02/24/2003)                                                                           04/11/2003)
02/24/2003   413 SEALED DOCUMENT as to Walter Durchalter in 1:00-cr-00196. (Rodriguez,Angela)                    04/14/2003   425 LETTER dated 4/7/03 from Edward McDonald to Judge Glasser requesting that
                 (Entered: 02/25/2003)                                                                                            sentencing be adjourned for approximately 4 weeks. (Rodriguez,Angela) (Entered:
                                                                                                                                  04/15/2003)
02/28/2003   414 ORDER as to Lawrence Ray in 1:00-cr-00196 endorsed on letter dated 2/27/03 from
                 Edward McDonald to Judge Glasser. Sentencing is adjourned to 4/9/03 at 10:00.                   04/16/2003   426 ORDER as to Abraham Salaman in 1:00-cr-00196 endorsed on letter dated 4/14/03
                 (Signed by Senior Judge I. L. Glasser on 2/27/03) (Rodriguez,Angela) (Entered:                                   from Eric Corngold to Judge Glasser. The scheduling order is amended as follows:
                 03/03/2003)                                                                                                      government's response due 4/23/03; reply by 4/29/03. A hearing is scheduled for 5/2/03
                                                                                                                                  at 10:00. (Signed by Senior Judge I. L. Glasser on 4/15/03) (Rodriguez,Angela)
03/25/2003   415 MOTION by Abraham Salaman in 1:00-cr-00196 to declare the restitution provision in                               (Entered: 04/16/2003)
                 the 5/9/02 J & C void and unenforceable . (Rodriguez,Angela) Modified on 03/26/2003
                 (Entered: 03/26/2003)                                                                           04/18/2003   427   LETTER dated 4/14/03 from Eric Corngold to Judge Glasser requesting that the
                                                                                                                                    scheduling order for defendant Salaman's motion be adjourned for one week.
03/25/2003   416 MEMORANDUM by Abraham Salaman in 1:00-cr-00196 in support of [415-1] motion                                        (Rodriguez,Angela) (Entered: 04/21/2003)
                 to declare the restitution provision in the 5/9/02 J & C void and unenforceable.
                 (Rodriguez,Angela) (Entered: 03/26/2003)                                                        04/21/2003   429   LETTER dated 4/21/03 from Sarah Lum to Judge Glasser enclosing a proposed consent
                                                                                                                                    Final Order of Forfeiture as to defendant Cioffoletti. (Rodriguez,Angela) (Entered:
03/25/2003   417   Exhibit list by Abraham Salaman in 1:00-cr-00196 in support of motion to declare                                 04/25/2003)
                   restitution unenforceable. (Rodriguez,Angela) (Entered: 03/26/2003)
                                                                                                                 04/21/2003   431   LETTER dated 4/21/03 from Sarah Lum to Judge Glasser enclosing a Final Order of
03/28/2003   418 SCHEDULING ORDER as to Abraham Salaman: The government shall file a response                                       Forfeiture as to defendant Palagonia. (Rodriguez,Angela) (Entered: 04/25/2003)
                 to defendant's motion to declare restitution unenforceable by 4/16/03; reply by 4/22/03.
04/21/2003   433
                Case       1:16-mc-02636-AMD Document 24-8 Filed
                 LETTER dated 4/21/03 from Sarah Lum to Judge Glasser enclosing a Final Consent
                                                                                                              06/07/18 Page 43 of 45 PageID #:
                                                                                                     05/15/2003 440 Minute Entry for proceedings held before I. Leo Glasser: Sentencing held on 5/15/2003
                 Order of Forfeiture as to defendant Salaman. (Rodriguez,Angela) (Entered:
                 04/25/2003)
                                                                                                3917                for Larry Berman (6), Count(s) 1, 2, 3, 4, 6, 7, 8, Dismissed on government's motion.;
                                                                                                                    Count(s) 5, Defendant sentenced to 3 years probation. Defendant fined $5000 and
                                                                                                                                     assessed $100. Defendant to perform 100 of community service. (Rodriguez, Angela)
04/22/2003   463   ORDER as to Daniel Lev endorsed on letter dated 4/22/03 from Jeffrey Lichtman to                                  (Entered: 05/22/2003)
                   Judge Glasser. Defendant is granted a modification of supervision as requested. Signed
                   by Judge I. Leo Glasser on 4/22/03. (Rodriguez, Angela) (Entered: 10/22/2003)                  05/19/2003   443 Certificate of Service by USA as to Alfred Palagonia. Final Decree of Forfeiture
                                                                                                                                   executed. $400,00.00 was transferred into the asset forfeiture fund on 5/8/03.
04/23/2003   428 Government's memorandum in response to defendant's motion for an order declaring                                  (Rodriguez, Angela) (Entered: 05/22/2003)
                 this court's restitution order void. (Rodriguez,Angela) (Entered: 04/24/2003)
                                                                                                                  05/19/2003   444 Certificate of Service by USA as to John Cioffoletti: Decree of forfeiture executed.
04/24/2003   430 FINAL ORDER Directing Forfeiture of Property as to John Cioffoletti in 1:00-cr-                                   $110,00.00 was transferred into the asset forfeiture fund on 5/8/03. (Rodriguez,
                 00196. Certified copies forwarded to parties. (Signed by Senior Judge I. L. Glasser on                            Angela) (Entered: 05/22/2003)
                 4/22/03) (Rodriguez,Angela) (Entered: 04/25/2003)
                                                                                                                  05/19/2003   445 Certificate of Service by USA as to John Cioffoletti: Decree of forfeiture executed.
04/25/2003   432 FINAL ORDER Directing Forfeiture of Property as to Alfred Palagonia in 1:00-cr-                                   $110,00.00 was transferred into the asset forfeiture fund on 5/8/03. (Rodriguez,
                 00196. Certfied copies sent to AUSA. (Signed by Senior Judge I. L. Glasser on                                     Angela) (Entered: 05/22/2003)
                 4/22/03) (Rodriguez,Angela) (Entered: 04/25/2003)
                                                                                                                  05/19/2003   446 Certificate of Service by USA as to Abraham Salaman. Final Order of Forfeiture
04/25/2003   434 FINAL ORDER Directing Forfeiture of Property as to Abraham Salaman in 1:00-cr-                                    executed. $50,000.00 was transferred into the asset forfeiture fund on 5/8/03.
                 00196. Certified copies sent to AUSA. (Signed by Senior Judge I. L. Glasser on                                    (Rodriguez, Angela) (Entered: 05/22/2003)
                 4/22/03) (Rodriguez,Angela) (Entered: 04/25/2003)
                                                                                                                  05/20/2003   442   FINAL ORDER DIRECTING FORFEITURE OF PROPERTY as to Edmond Nagel.
04/29/2003         Certified and transmitted the Record on Appeal to U.S. Court of Appeals as to Frank                               Signed by Judge I. Leo Glasser on 5/20/03. (Rodriguez, Angela) (Entered: 05/22/2003)
                   Coppa Sr., re: [369-1] appeal and [368-1] appeal. The following documents were sent:
                   A certified Clerk's certificate with a certified docket sheet, four copies of the index, and   05/22/2003   441   JUDGMENT as to Larry Berman (6), Count(s) 1, 2, 3, 4, 6, 7, 8, Dismissed on
                   documents # 1-2, 9, 22, 35-37, 54, 59, 80, 88-89, 91, 112-113, 126, 132, 134, 139, 149,                           government's motion. Count(s) 5, Defendant sentenced to 3 years probation. Defendant
                   182, 193, 208, 230-233, 299, 315, 341, 352, 354, 362-365, 367-369, 379, 402, 410.                                 fined $5000 and assessed $100. Defendant to perform 100 of community service.
                   Documents # 402 and 410 were transmitted to the USCA as sealed documents. The                                     Signed by Judge I. Leo Glasser on 5/15/03. (Rodriguez, Angela) (Entered: 05/22/2003)
                   Record on Appeal, as to Frank Coppa, Sr., was transmitted to the USCA as per the
                   direction of the USDC, EDNY Clerk of Court. Acknowledgment requested. (Jackson,                05/22/2003   447   Letter dated 5/14/03 from Eric Corngold to Judge Glasser advising that the government
                   Joshua) (Entered: 04/29/2003)                                                                                     is unable to provide victim losses. The government submits that the defendant should
                                                                                                                                     not be ordered to pay restitution. (Rodriguez, Angela) (Entered: 05/22/2003)
04/29/2003   435   REPLY MEMORANDUM by Abraham Salaman in 1:00-cr-00196 in support of [415-
                   1] motion to declare the restitution provision in the 5/9/02 J & C void and                    05/28/2003   448   SEALED PRE-SENTENCE REPORT (McGee, Mary Ann) (Entered: 05/29/2003)
                   unenforceable. (Rodriguez,Angela) (Entered: 04/30/2003)                                        05/29/2003   449   Transmitted Supplemental Record on Appeal as to Frank Coppa Sr. re 368 Notice of
05/01/2003   439 Minute Entry for proceedings held before I. Leo Glasser:Motion Hearing as to                                        Appeal - Final Judgment, Appeal - Miscellaneous, 379 Appeal - Miscellaneous,, 369
                 Abraham Salaman held on 5/1/2003 re 415 Motion to declare restitution unenforceable.                                Notice of Appeal - Final Judgment, Appeal - Miscellaneous.This supplemental record
                 Order of restitution to be vacated. Eric Corngold to submit an order. Decision reserved                             consists of document #448. It was requested by V. Singleton - Intake Section, U.S.C.A.
                 on remaining issues. (Rodriguez, Angela) (Entered: 05/13/2003)                                                      It is being sent to her attention. Acknowledgment requested. (McGee, Mary Ann)
                                                                                                                                     (Entered: 05/29/2003)
05/08/2003   436   LETTER dated 05/06/03 from Eric Corngold to Judge Glasser, informing the court that
                   The Government agrees with the defendant that this Court's restitution order should be         06/04/2003   452   Letter dated 6/4/03 from Sarah Lum to Judge Glasser enclosing a proposed final order
                   vacated and that a new restitution order should not be entered. (Sica, Michele)                                   of forfeiture as to Larry Berman. (Rodriguez, Angela) (Entered: 06/10/2003)
                   (Marziliano, August). (Entered: 05/08/2003)                                                    06/04/2003   455 Acknowledgment from USCA received re: Acknowledgment sigend by PSK on
05/08/2003   437   LETTER dated 5/6/03 from Eric Corngold to Judge Glasser advising that the                                       5/30/03.USCA#02/1274.(Drayton, Lorraine) (Entered: 06/13/2003)
                   government agrees that the court's restitution order should be vacated and that a new          06/05/2003   450 TRANSCRIPT of Proceedings as to Abraham Salaman held on 5/1/03 before Judge
                   order should not be entered. (Rodriguez,Angela) (Entered: 05/09/2003)                                           Glasser (hearing). Court Reporter: Gene Rudolph. (Rodriguez, Angela) (Entered:
05/08/2003   438 ORDER as to Abraham Salaman in 1:00-cr-00196 granting [415-1] motion to declare                                   06/05/2003)
                 the restitution provision in the 5/9/02 J & C void and unenforceable as to Abraham               06/06/2003   451   FINAL ORDER DIRECTING FORFEITURE OF PROPERTY as to Larry Berman.
                 Salaman (18). The existing order of restitution is hereby vacated. (Signed by Senior                                Signed by Judge I. Leo Glasser on 6/4/03. (Rodriguez, Angela) (Entered: 06/10/2003)
                 Judge I. L. Glasser on 5/6/03) (Rodriguez,Angela) (Entered: 05/09/2003)




06/09/2003   453 Letter dated 5/22/03 from Magdelyn Baez, USPO, to Judge Glasser requesting                       01/15/2004   468 ORDER as to Lawrence Ray re 467 MOTION for Leave to Appear pro hac vice filed
                 clarification of the Court's order to vacate restitution as to defendant Salaman.                                 by Lawrence Ray. Attorney Michael V. Gilberti admitted as counsel. Signed by Judge
                 (Rodriguez, Angela) (Entered: 06/12/2003)                                                                         I. Leo Glasser on 1/16/04. (Rodriguez, Angela) (Entered: 01/26/2004)
06/09/2003   454 Letter dated 6/3/03 from Judge Glasser to Magdelyn Baez, USPO. The government is                 01/15/2004         Attorney update in case as to Lawrence Ray. Attorney Michael V. Gilberti for
                 in the process of drafting an order addressing the clarification sought re: order vacating                          Lawrence Ray added. Attorney Jonathan S. Sack terminated. (Rodriguez, Angela)
                 defendant Salaman's restitution order. (Rodriguez, Angela) (Entered: 06/12/2003)                                    (Entered: 01/26/2004)
06/26/2003   456   MANDATE of USCA (certified copy), re: 368 Notice of Appeal and 369 Notice of                   01/23/2004   466   AFFIDAVIT of Thomas Roth submitted in response to Lawrence Ray's claim of
                   Appeal. It is ORDERED that the case is REMANDED so that the District Court may                                    constitutional ineffective assistance of counsel. (Rodriguez, Angela) (Entered:
                   revise the restitution payment schedule to clarify what schedule payment was intended.                            01/23/2004)
                   It is FURTHER ORDERED that the government's motion to dismiss the appeal is
                   GRANTED. Issued as mandate: 6/24/03. USCA # 02-1274. Judge notified.                           02/23/2004   469 SEALED DOCUMENT filed. (Rodriguez, Angela) (Entered: 03/02/2004)
                   Acknowledgment sent to USCA. (Jackson, Joshua) (Entered: 06/30/2003)                           03/12/2004   470   ORDER as to Walter Durchalter endorsed on letter dated 3/11/04 from Michael
07/17/2003   457   ORDER CLARIFYING CONDITIONS OF PROBATION as to Abraham Salaman.                                                   Bachner to Judge Glasser. Sentencing is adjourned to 5/4/04 at 10:00. Signed by Judge
                   (Signed by Judge I. Leo Glasser on 7/14/03). (Piper, Francine) (Entered: 07/17/2003)                              I. Leo Glasser on 3/12/04. (Rodriguez, Angela) (Entered: 03/16/2004)

07/25/2003   458 Certificate of Service by USA as to Larry Berman: $300,00 was transferred into the               04/06/2004   471 Letter from Michael V.Gilberti to Judge Glasser dtd. 3/26/04 reply to Gov't opposition
                 asset forfeiture fund on 6/16/03. A check in the amount of $300,000 was deposited into                            to Mr Ray's motion for reconsideration. (Jackson, Ramona) (Entered: 04/06/2004)
                 the fund on 6/16/03. (Rodriguez, Angela) (Entered: 07/29/2003)                                   04/30/2004   472   ORDER as to Walter Durchalter endorsed on letter dated 4/29/04 from Michael
07/25/2003   459 Certificate of Service by USA as to Edmond Nagel: $100,000 and $350,000 transferred                                 Bachner Judge Glasser. Sentencing is adjourned to 5/28/04 at 10:00. Signed by Judge I.
                 into the asset forfeiture fund on 6/16/03. (Rodriguez, Angela) (Entered: 07/29/2003)                                Leo Glasser on 4/29/04. (Rodriguez, Angela) (Entered: 05/07/2004)

08/04/2003   460 Certificate of Service by USA as to Frank Coppa Sr., Ernest Montevecchi, Daniel                  05/27/2004   473 ORDER as to Walter Durchalter, Requesting the adjournment of Mr. Durchhalter's
                 Persico, Jack Basile, Rocco Basile, Larry Berman, John Cioffoletti, John Doukas,                                  May 298th 2004 sentencing until 06/14/04 (see letter dtd 05/25/04 . Signed by Judge I.
                 Walter Durchalter, Edward Garafola, Daniel Lev, Eugene Lombardo, Edmond Nagel,                                    Leo Glasser on 05/25/04. (Sica, Michele) (Entered: 05/27/2004)
                 Alfred Palagonia, Aleks Paul, Joseph Polito Sr., Lawrence Ray, Abraham Salaman,                  06/08/2004   474 Notice of MOTION for Certificate of Appealability by Lawrence Ray. (Sica, Michele)
                 Giuseppe Temperino, For a final order of forfeiture. service upon Condor Capital, Inc.                            (Entered: 06/08/2004)
                 stock certificate numbers 0663 and 0664 c/o United States Marshals Service. date
                 7/8/03.; Condor Capital Inc stock certificate #0663 and #0664 were destroyed by                  06/08/2004         ORDER as to Lawrence Ray, This Motion for a certificate of appealability is DENIED
                 shredding at 225 Cadman Plaza E. room G-80, Brooklyn, NY on 07/08/03. (Sica,                                        for the reason that the applicant has not made a substantial showing of a denial of a
                 Michele) (Entered: 08/08/2003)                                                                                      constitutional right. (Endorsed on motion Doc #474) . Signed by Judge I. Leo Glasser
                                                                                                                                     on 6/4/04. (Sica, Michele) (Entered: 06/08/2004)
08/14/2003   461 Appeal reord returned as to Frank Coppa Sr. containing documents numbered 1, 2, 9,
                 22, 35-37, 54, 5, 63, 80, 88, 89, 91, 112, 113, 126, 132, 134, 139, 139, 149, 182, 193,          06/08/2004   475   AFFIDAVIT of Michael V. Gilberti attorney for Lawrence Ray, in support of motion
                 208, 230-232, 299, 315, 341, 352, 354, 362-379, (402, 410 SEALED) USCA#02/1274.                                     for a certificate of appealability (Sica, Michele) (Entered: 06/08/2004)
                 (Drayton, Lorraine) (Entered: 08/14/2003)
                                                                                                                  06/14/2004   476 Minute Entry for proceedings held before I. Leo Glasser :Sentencing held on 6/14/2004
08/27/2003   462   ORDER as to Giuseppe Temperino endorsed on memorandum from Probation Dept.                                      for Walter Durchalter (9), Count(s) 1, 10, 11, 12, 2, 3, 5, 8, 9, Dismissed on
                   Defendant is granted a modification of supervision as requested. Signed by Judge                                governments motion; Count(s) 4, 6, 7, Imprisonment for a total term of 24 months, The
                   Frederic Block on 8/25/03. (Rodriguez, Angela) (Entered: 08/27/2003)                                            court recommends that the defendant be designated to a facility in the New York area.
                                                                                                                                   The defendant shall surrender for service of sentence at the institution designated by the
12/18/2003   464   ORDER as to Daniel Lev endorsed on letter dated 12/2/03 from Jeffrey Lichtman to                                Bureau of Prisons before 2p.m. on 08/23/04. Supervised release for a Three year term.
                   Judge Glasser. Defendant is granted a modification of supervision as requested. Signed                          Special Assessment of $200.00 and Fine of $50,000.00. The other nine counts are
                   by Judge I. Leo Glasser on 12/2/03. (Rodriguez, Angela) (Entered: 12/19/2003)                                   dismissed on the motion of the United States. Defense Counsel: Michael Bachner,
12/22/2003   465   ORDER as to Walter Durchalter endorsed on letter dated 12/18/03 from Eric Corngold                              AUSA: Eric Corngold. (Court Reporter Henry Shapiro.) (Sica, Michele) (Entered:
                   to Judge Glasser. Se3ntencing is adjourned to 2/12/04 at 10:00. Signed by Judge I. Leo                          06/29/2004)
                   Glasser on 12/18/03. (Rodriguez, Angela) (Entered: 12/22/2003)                                 06/14/2004   477   JUDGMENT as to Walter Durchalter (9), Count(s) 1, 10, 11, 12, 2, 3, 5, 8, 9,
01/15/2004   467 MOTION for Leave to Appear pro hac vice Attorney: Michael V. Gilberti. by                                           Dismissed on governments motion; Count(s) 4, 6, 7, Imprisonment for a total term of
                 Lawrence Ray. (Rodriguez, Angela) (Entered: 01/26/2004)                                                             24 months, The court recommends that the defendant be designated to a facility in the
                                                                                                                                     New York area. The defendant shall surrender for service of sentence at the institution
               Case      1:16-mc-02636-AMD Document 24-8 Filed
                designated by the Bureau of Prisons before 2p.m. on 08/23/04. Supervised release for a
                                                                                                                     06/07/18 Page 44 of 45 PageID #:
                                                                                                            05/29/2007 488 ENDORSED ORDER on letter dated May 29, 2007, from Rosiani L. Schuricht, U.S.
                Three year term. Special Assessment of $200.00 and Fine of $50,000.00. The other
                nine counts are dismissed on the motion of the United States. . Signed by Judge I. Leo
                                                                                                       3918                Probation Officer, to Judge Glasser: Request for provisions to be installed as to Aleks
                                                                                                                           Paul's travel request is GRANTED. See attached for details. Ordered by Judge I. Leo
                   Glasser on 6/14/04. (Sica, Michele) (Entered: 06/29/2004)                                                         Glasser on 5/29/2007. (Abdallah, Fida) (Entered: 05/29/2007)
08/27/2004   478   ORDER as to Walter Durchalter, GRANTING that the defendants surrender date be                 06/14/2007    490   Arrest Warrant Returned Executed on 6/13/2007 in case as to Lawrence Ray.
                   adjourned until 09/19/04. (see ltr dtd 8/19/04) . Signed by Judge I. Leo Glasser on                               (Abdallah, Fida) (Entered: 06/18/2007)
                   8/20/04. (Sica, Michele) (Entered: 08/27/2004)
                                                                                                                 06/15/2007    491   Minute Entry for proceedings held before Hon. Viktor V. Pohorelsky: Initial
09/10/2004   479 Appeal 1st SUPPLEMENTAL record returned from the Court of Appeals containing                                        Appearance re Revocation of Probation as to Lawrence Ray held on 6/15/2007.
                 document number #448. (Copy of this form returned for Fred Nunnery c/o Court of                                     Appearances: AUSA Jonathan Green and Def counsel Louis Freeman. Bail hearing set
                 Appeals.) USCA#02/1274.(Drayton, Lorraine) (Entered: 09/10/2004)                                                    for 6/21 @ 2:30 before Judge Glasser. Dft arraigned on the violation of probation.
                                                                                                                                     Status conference set for 6/21/07 @ 2:30 p.m. before Judge Glasser. Temporary Order
09/27/2004   480 Sealed Document placed in vault (Sica, Michele) (Entered: 09/27/2004)                                               of detention entered. (Log # 4:18 - 4:27) (Abdallah, Fida) (Entered: 06/18/2007)
10/20/2004   481 Notice of MOTION for Early Termination of Probation for Larry Berman (6) Count 5                06/15/2007    492   CJA 20: Appointment of Attorney Louis M. Freeman for Dft Lawrence Ray. Ordered
                 by Larry Berman. (Sica, Michele) (Entered: 10/20/2004)                                                              by Judge Viktor V. Pohorelsky on 6/15/2007. (Abdallah, Fida) (Entered: 06/18/2007)
10/20/2004   482   ORDER as to Larry Berman, That, the term of Probation imposed by this Court on May            06/15/2007    493   ORDER OF TEMPORARY DETENTION Pending Hearing Pursuant to Bail Reform
                   15, 2003 in this matter be and is hereby terminated . Signed by Judge I. Leo Glasser on                           Act as to Lawrence Ray: It is Ordered that a detention hearing is set for 6/21/2007 at
                   10/15/04. (Sica, Michele) (Entered: 10/20/2004)                                                                   2:30 before Judge Glasser. Ordered by Judge Viktor V. Pohorelsky on 6/15/2007.
01/25/2006   483   NOTICE OF ATTORNEY APPEARANCE: J. Bruce Maffeo appearing for Lawrence                                             (Abdallah, Fida) (Entered: 06/18/2007)
                   Ray J. Bruce Maffeo is Substituting in for Michael V. Gilberti for the purpose of a           07/11/2007          Minute Entry for proceedings held before I. Leo Glasser:Probation Revocation Hearing
                   violation of probation by Lawrence Ray, defendant. (Maffeo, J.) (Entered: 01/25/2006)                             as to Lawrence Ray held on 7/11/2007. AUSA Jonathan Green for the Government.
01/30/2006         Minute Entry: Case called before Judge I. Leo Glasser on 1/30/06 for Violation of                                 Louis Freeman for Defendant. Probation Officer Robert Anton. Defendant was
                   Probation Hearing as to defendant Lawrence Ray. AUSA: Eric Corngold. Defense                                      arraigned and pled NOT GUILTY to charges ONE (1) to SIX(6). Defense Counsel
                   Counsel: Bruce Maffeo. Court Reporter: Anthony Frisolone. Defendant enters a plea of                              made a bail application. Application was DENIED pending more information. An
                   Guilty to Violations 2A, 2B and 3. Defendant is sentenced to 6 months of                                          Evidentiary Hearing is scheduled for July 19, 2007 at 11:30 am. Defendant remains in
                   imprisonment. After the term of imprisonment is completed, defendant's supervised                                 custody. (Court Reporter Diane Molas.) (Francis, Ogoro) (Entered: 07/11/2007)
                   release shall be reinstated for the same period of time as the unexpired term of              07/18/2007    494   ORDER That DYFS is to produce Talia Ray for the within referenced hearing as to
                   probation. The court recommends that the defendant be designated to a facility in the                             Lawrence Ray on July 19, 2007 at 10:30 am before the Honorable I Leo glasser.
                   Hudson County, NJ area. The court further recommends that defendant be given his                                  Ordered by Judge I. Leo Glasser on 7/17/07. (Sica, Michele) (Entered: 07/18/2007)
                   prescribed medications. (Johnson, Tanya) (Entered: 01/30/2006)
                                                                                                                 07/18/2007    495   Letter Concerning the Defendant's Violation Hearing as to Lawrence Ray (Green,
02/06/2006   484   Violation Probation/Supervised Release Order as to Lawrence Ray . Ordered by Judge                                Jonathan) (Entered: 07/18/2007)
                   I. Leo Glasser on 1/30/06. (Sica, Michele) (Entered: 02/06/2006)
                                                                                                                 07/19/2007    496   CJA 23 Financial Affidavit by Lawrence Ray. (Lee, Tiffeny) (Entered: 07/19/2007)
03/15/2006   485   ORDER as to Daniel Persico; The Court orders the modification of conditions as noted
                   above . Ordered by Judge I. Leo Glasser on 3/13/06. (Request for Modification of              07/23/2007          Minute Entry for proceedings held before I. Leo Glasser: Probation Revocation Hearing
                   Release Conditions and Waiver of Hearing to Modify Conditions attached) (Fernandez,                               as to Lawrence Ray held on 7/19/2007. AUSA Jonathan Green on behalf of the
                   Erica) (Entered: 03/15/2006)                                                                                      Government. Defense Counsel Louis Freeman on behalf of Defendant. Probation
                                                                                                                                     Officer Robert Anton. A hearing was held, Testimony was heard from witnesses.
09/25/2006   486   ORDER Granted as to Aleks Paul for the request to travel on business . Ordered by                                 Charge # One(1) was dismissed by the Court. The Court found the Defendant GUILTY
                   Judge I. Leo Glasser on 9/5/06. (Sica, Michele) (Entered: 09/25/2006)                                             On Charges Three (3), Four(4), Five (5) and Six(6). As to Charge Two(2). The Court is
12/27/2006   487   ORDER FOR THE REQUEST FOR MODIFYING THE CONDITIONS OR TERMS                                                       giving Defense Counsel time to provide sufficient evidence in regards to pending
                   OF SUPERVISION as to Walter Durchalter. The Court Orders the modification of                                      Charge. Hearing will be continued on July 31, 2007 at 10am, where a Final
                   conditions: the defendant shall make payments in the amount of $200 per month                                     determination of Charges will be made. Defendant remains in Custody. (Court Reporter
                   towards his fine . Ordered by Judge I. Leo Glasser on 12/22/06. (Sica, Michele)                                   Fred Guerino 718-613-2503.) (Francis, Ogoro) (Entered: 07/23/2007)
                   (Entered: 12/27/2006)                                                                         07/30/2007    497   Letter (Adjournment Request) as to Lawrence Ray (Freeman, Louis) (Entered:
02/06/2007   489   ORDER FOR ISSUANCE of ARREST WARRANT as to Lawrence Ray. Ordered by                                               07/30/2007)
                   Judge I. Leo Glasser on 2/6/2007. (Abdallah, Fida) (Entered: 06/18/2007)




07/31/2007         A Preliminary Revocation Hearing as to Lawrence Ray was held on 7/31/2007 before              12/11/2007    507   MOTION to Continue Violation hearing by Lawrence Ray. (Freeman, Louis) (Entered:
                   Senior District Judge, I. Leo Glasser. AUSA Jonathan Green appeared on behalf of the                              12/11/2007)
                   Government. Louis Freeman appeared on behalf of the Defendant Ray, who was not
                   present for the proceedings. As per Mr. Freeman's letter regarding adjourning the             12/11/2007    508   NOTICE OF ATTORNEY APPEARANCE: Sidney Baumgarten appearing for
                   proceedings until September 2007, request was GRANTED by the Court. The case has                                  Lawrence Ray (Baumgarten, Sidney) (Entered: 12/11/2007)
                   been adjourned to September 11, 2007 at 11am. Defendant remains in custody. (Court            12/12/2007    509   ORDER as to Lawrence Ray GRANTING the request for the adjournment of the
                   Reporter Gene Rudolph.) (Francis, Ogoro) (Entered: 07/31/2007)                                                    violation of supervised release hearing scheduled for 12/14/07 until 01/25/08 @ 10:30
09/10/2007   498   Letter Requesting an adjournment as to Lawrence Ray (Freeman, Louis) (Entered:                                    a.m.. Ordered by Senior Judge I. Leo Glasser on 12/11/07. (Sica, Michele) (Entered:
                   09/10/2007)                                                                                                       12/12/2007)

09/12/2007   499   ORDER as to Lawrence Ray GRANTED for the adjournment of sentencing from 09-                   12/18/2007          Incorrect Case-Document Information filed as to Lawrence Ray. Docket entry #510,
                   11-07 until 10-19-07 at 11:00 am. Ordered by Judge I. Leo Glasser on 9/10/07. (Sica,                              previously filed as an Order Modifying Conditions or Term of Supervision as to
                   Michele) (Entered: 09/12/2007)                                                                                    Hannah Kakish, on 12/12/07 has been deleted. (Brucella, Michelle) (Entered:
                                                                                                                                     12/18/2007)
10/16/2007         A Status Conference as to Lawrence Ray was held on 10/16/2007 before the Honorable
                   I. Leo Glasser. AUSA Jonathan Green appeared on behalf of the Government. Defense             12/20/2007    510   TRANSCRIPT of Conference as to Lawrence Ray held on 7/31/2007 before Judge
                   Counsel Louis Freeman appeared on behalf of the defendant. The Court was informed                                 Glasser. Court Reporter:Gene Rudolph. (Toribio, Winnethka) (Entered: 12/20/2007)
                   by the U.S. Marshall's, that the defendant was not feeling well this morning, therefore       12/27/2007          Motions terminated as to Lawrence Ray: 507 MOTION to Continue Violation hearing
                   he was not produced. Defense Counsel relayed to the Court that he and his client had                              filed by Lawrence Ray.Order Endorsed on Doc #509. Ordered by Senior Judge I. Leo
                   some issues. The Court advised Defense Counsel that he would not hear anything on                                 Glasser on 12/27/2007. (Francis, Ogoro) (Entered: 12/27/2007)
                   the matter. The Court advised Defense Counsel that if he had any applications, he
                   should make it by writing to the Court. (Court Reporter Shelly Silverman.) (Francis,          01/25/2008    511   Minute Entry for proceedings held before Senior Judge I. Leo Glasser: For a Final
                   Ogoro) (Entered: 10/16/2007)                                                                                      Hearing re Revocation of Supervised Release as to Lawrence Ray held on 1/25/2008.
                                                                                                                                     Case called. Defts appear with counsel. Final revocation hearing held. Deft reinstated to
10/18/2007   500   Letter request for adjournment of court appearance as to Lawrence Ray (Freeman,                                   supervision. Sentencing held. Defendant was sentenced to time served. The current
                   Louis) (Entered: 10/18/2007)                                                                                      terms of supervision are to be continued (Court Reporter Marie Foley.) (Sica, Michele)
10/18/2007   501   ORDER as to Lawrence Ray GRANTED for the adjournment of Court matter from 10-                                     (Entered: 01/28/2008)
                   19-07 until 11-08-07 at 10:00 am. Ordered by Judge I. Leo Glasser on 10/18/07. (Sica,         01/25/2008    512   Violation Probation/Supervised Release Order as to Lawrence Ray IMPRISONMENT:
                   Michele) (Entered: 10/18/2007)                                                                                    TIME SERVED; SUPERVISED RELEASE: THE CURRENT SUPERVISED
10/30/2007   502   TRANSCRIPT of Status Conference/VOP as to Lawrence Ray held on 10/16/2007                                         RELEASE TERMS ARE TO BE CONTINUED. Ordered by Senior Judge I. Leo
                   before Judge I. Leo Glasser. Court Reporter: Sheldon Silverman. (Brucella, Michelle)                              Glasser on 1/25/08. (Sica, Michele) (Additional attachment(s) added on 2/11/2008:
                   (Entered: 10/30/2007)                                                                                             # 1 page 4 of doc #512) (Sica, Michele). (Entered: 01/29/2008)

11/02/2007   503   TRANSCRIPT of Arraignment as to Lawrence Ray held on June 15, 2007 before Judge               03/01/2010    513   ORDERfor Petition for Warrant or Summons for Offender Under Supervision as to
                   Pohorelsky. Transcript produced by Transcription Plus II. (Rocco, Christine) (Entered:                            Alfred Palagonia; The Courts Orders: The issuance of a Summons. U.S. Probation
                   11/02/2007)                                                                                                       Officcer Recommends that the Terms of Supervision should be Revoked. Ordered by
                                                                                                                                     Senior Judge I. Leo Glasser on 3/1/2010. (Sica, Michele) (Entered: 03/01/2010)
11/05/2007   504   TRANSCRIPT of violation of supervised release Proceedings as to Lawrence Ray held
                   on 7/11/07 before Judge Glasser. AUSA: Jonathan Green, Defense Attny: Louis                   03/11/2010    514   ORDER as to Alfred Palagonia, THE COURT ORDERS: The Modification of
                   Freeman. Court Reporter: Alan Sherman. (Sica, Michele) (Entered: 11/05/2007)                                      Conditions as Noted Above. Ordered by Senior Judge I. Leo Glasser on 09/21/07.
                                                                                                                                     (Sica, Michele) (Entered: 03/11/2010)
11/07/2007   505   Letter Requesting a Brief Adjournment as to Lawrence Ray (Freeman, Louis) (Entered:
                   11/07/2007)                                                                                   03/15/2010    515   Summons Returned Executed on 03/01/10 as to Alfred Palagonia (Sica, Michele)
                                                                                                                                     (Entered: 03/17/2010)
11/07/2007   506   ORDER as to Lawrence Ray re 505 Letter DENIED. So Ordered by Judge I. Leo
                   Glasser on 11/7/2007. (Toribio, Winnethka) (Entered: 11/07/2007)                              10/21/2010    516   ENDORSED ORDER on (faxed) letter dtd. 10/21/10 filed by counsel J. DiBlasi as to
                                                                                                                                     Alfred Palagonia, granting his request that the Violation of Probation Hearing be
11/07/2007         NOTICE OF HEARING as to Lawrence Ray: Final Probation Revocation Hearing                                          adjrn'd. from 10/28 to 12/10/10. (Revocation Probation Hearing set for 12/10/2010 at
                   RESCHEDULED for 12/14/2007 at 10:00 AM in 8B South before Senior-Judge I. Leo                                     11:00 AM in Courtroom 8B South before Senior Judge I. Leo Glasser). So Ordered by
                   Glasser. (Francis, Ogoro) (Entered: 11/07/2007)                                                                   Senior Judge I. Leo Glasser on 10/21/2010. (Layne, Monique) (Entered: 10/21/2010)
12/08/2010
               Case
             517
                          1:16-mc-02636-AMD Document 24-8 Filed 06/07/18
                ENDORSED ORDER re: letter (faxed) dated 12/7/10 from Joseph v. DiBlasi, Esq.,
                                                                                                                         Page 45 of 45 PageID #:
                                                                                                           $ 20,000,000.00 (Re-Imposed). Ordered by Senior Judge I. Leo Glasser on 4/13/2011.
                requesting an adjournment of the conference as to Alfred Palagonia scheduled for
                12/10/10. The application is granted, and the conference will take place on 1/7/11 at
                                                                                                      3919 C-E/M. (Layne, Monique) (Entered: 04/13/2011)

                   10:30 a.m. in Courtroom 8B South before Senior Judge I. Leo Glasser. So Ordered by         12/14/2011   528   MOTION for Victim Rights on behalf of Ernest Gottdiener, Judith Gottdiener, Ervin
                   Senior Judge I. Leo Glasser on 12/8/2010. (Manuel, Germaine) (Entered: 12/09/2010)                            Tausky and Suan Investments by USA as to Alfred Palagonia. (Attachments:
                                                                                                                                 # 1Declaration in Support, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D,
01/06/2011   518   NOTICE OF ATTORNEY APPEARANCE Sarah Mary Coyne appearing for USA.                                             # 6 Certificate of Service) (Harwick, John) (Entered: 12/14/2011)
                   (Coyne, Sarah) (Entered: 01/06/2011)
                                                                                                              12/29/2011   529   MOTION for Extension of Time to File Response/Reply as to 528 MOTION for
01/10/2011   519   Minute Entry for proceedings held before Senior Judge I. Leo Glasser:Initial                                  Victim Rights on behalf of Ernest Gottdiener, Judith Gottdiener, Ervin Tausky and
                   Appearance re Revocation of Supervised Release as to Alfred Palagonia held on                                 Suan Investments by USA as to Alfred Palagonia. (Dickman, Mary) (Entered:
                   1/10/2011. AUSA S. Coyne. Deft advised of rights and ENTERS Plea of NOT                                       12/29/2011)
                   GUILTY to Charges One, Two and Three of the Violation. Parties request add'l time to
                   resolve monetary issues. Case adjrn'd. until 3/4/11. (Court Reporter V. Butler). (Layne,   01/04/2012   530   ENDORSED ORDER as to Alfred Palagonia, granting AUSA M. Dickman's
                   Monique) (Entered: 01/11/2011)                                                                                application re 529 MOTION for Extension of Time until 2/15/12, to File Response
                                                                                                                                 to 528 MOTION for Victim Rights on behalf of Ernest Gottdiener, Judith Gottdiener,
03/01/2011   520   Letter MOTION for Hearing Extension of Probation Violation by Alfred Palagonia.                               Ervin Tausky and Suan Investments. Ordered by Senior Judge I. Leo Glasser on
                   (DiBlasi, Joseph) (Entered: 03/01/2011)                                                                       1/3/2012. (Layne, Monique) (Entered: 01/04/2012)
03/02/2011   521   ENDORSED ORDER granting 520 Motion for a three-week continuance re: violation              02/15/2012   531   NOTICE OF ATTORNEY APPEARANCE Michael Lloyd Yaeger appearing for
                   hearing as to Alfred Palagonia (14). So Ordered by Senior Judge I. Leo Glasser on                             USA. (Yaeger, Michael) (Entered: 02/15/2012)
                   3/1/2011. (Manuel, Germaine) (Entered: 03/02/2011)
                                                                                                              02/15/2012   532   RESPONSE to Motion re 528 MOTION for Victim Rights on behalf of Ernest
03/25/2011   522   Minute Entry for proceedings held before Senior Judge I. Leo Glasser:Final Hearing re                         Gottdiener, Judith Gottdiener, Ervin Tausky and Suan Investments (Yaeger, Michael)
                   Revocation of Supervised Release as to Alfred Palagonia held on 3/25/2011. AUSA S.                            (Entered: 02/15/2012)
                   Coyne. J. DiBlasi, Esq. ret. for Deft. Deft. advised of rights and Enters Plea of
                   GUILTY to Charges 3 of the Violation. Current term of Supervision revoked.                 02/17/2012   533   Letter to AUSA Michael Yaeger as to Alfred Palagonia (Chiodo, Marie) (Entered:
                   Sentencing held. Sentence: One day. New term of Supervised Release: 2 yrs. w/Special                          02/17/2012)
                   Conditions of Supervision. Special Assessment of $50,000.00 re-imposed. Fine of            03/16/2012   534   Letter in response to the Court's letter of February 17, 2012 as to Alfred Palagonia
                   $20,000,000.00 re-imposed. Deft. shall self surrender on 4/27/11 at 9:00 a.m. to U.S.                         (Yaeger, Michael) (Entered: 03/16/2012)
                   Marshal, EDNY. (Court Reporter G. Rudolph) (Layne, Monique) (Entered:
                   04/12/2011)                                                                                04/24/2012   535   MOTION for Extension of Time to File by victims with respect to Alfred Palagonia's
                                                                                                                                 stock fraud scheme by USA as to Alfred Palagonia. (Harwick, John) (Entered:
03/25/2011   525   Minute Entry for proceedings held before Senior Judge I. Leo Glasser:AMENDED                                  04/24/2012)
                   Final Hearing re Revocation of Supervised Release as to Alfred Palagonia held on
                   3/25/2011. AUSA S. Coyne. J. DiBlasi, Esq. ret. for Deft. Deft. advised of rights and      04/25/2012   536   ENDORSED ORDER, granting 535 Motion for Extension of Time until 5/24/12, to
                   Enters Plea of GUILTY to Charges 3 of the Violation. Sentence: One day. Current                               submit add'l proof re victims as to Alfred Palagonia's stock fraud scheme. Ordered by
                   Supervised Release revoked. New term of Supervised Release: 2 yrs. w/Special                                  Senior Judge I. Leo Glasser on 4/25/2012. (Layne, Monique) (Entered: 04/25/2012)
                   Conditions of Supervision. Fine of $50,000.00 re-imposed. RESTITUTION:
                   $20,000,000.00 re-imposed. Deft. shall self surrender on 4/27/11 to U.S. Marshal.          05/17/2012   537   REPLY TO RESPONSE to Motion re 535 MOTION for Extension of Time to File by
                   (Court Reporter G. Rudolph) (Layne, Monique) (Entered: 04/13/2011)                                            victims with respect to Alfred Palagonia's stock fraud scheme additional extension
                                                                                                                                 requested (Harwick, John) (Entered: 05/17/2012)
04/12/2011   523   Violation Probation/Supervised Release Order as to Alfred Palagonia. Deft. admitted
                   guilt to Violation of Conditions 3 of the term of supervision. IMPRISONMENT: 1 day.        05/18/2012   538   ENDORSED ORDER, on doc. 537 from counsel J. Harwick to Judge Glasser, as to
                   SUPERVISED RELEASE: 2 years. w/SPECIAL CONDITIONS OF SUPERVISION.                                             Alfred Palagonia, granting an extra 2 weeks extension until 6/7/12, to submit legal and
                   SPECIAL ASSESSMENT: $50,000.00 (Re-Imposed). FINE: 20,000,000.00 (Re-                                         factual arguments supporting the victims' claims for compensation. Ordered by Senior
                   Imposed). RESTITUTION: $50,000.00 (Re-Imposed). So Ordered by Senior Judge I.                                 Judge I. Leo Glasser on 5/18/2012. (Layne, Monique) (Entered: 05/18/2012)
                   Leo Glasser on 4/5/2011. C-E/M as to defse. counsel. (Layne, Monique) (Entered:            06/07/2012   539   MOTION to Continue by John F. Harwick, Esq., attorney for the Estate of Ernest
                   04/12/2011)                                                                                                   Gottdiener and Judith Gottdiener, Ervin Tausky and Suan Investiments, Inc. by USA as
04/13/2011   526   AMENDED Violation Supervised Release Order as to Alfred Palagonia.                                            to Alfred Palagonia. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit,
                   IMPRISONMENT: 1 day. SUPERVISED RELEASE: 2 years. w/SPECIAL                                                   # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit,
                   CONDITIONS OF SUPERVISION. FINE: 50,000.00 (Re-Imposed). RESTITUTION:                                         # 11 Exhibit, # 12 Exhibit, #13 Exhibit, # 14 Exhibit, # 15 Exhibit) (Harwick, John)
                                                                                                                                 (Entered: 06/07/2012)




06/07/2012   540   MOTION to Continue Memorandum of Law by John F. Harwick, Esq. on behalf of the
                   Estate of Ernest Gottiener and Judith Gottdiener, Ervin Tausky and Suan Investments,
                   Inc. by USA as to Alfred Palagonia. (Harwick, John) (Entered: 06/07/2012)
06/07/2012   541   MOTION to Continue Certificate of Service by USA as to Alfred Palagonia. (Harwick,
                   John) (Entered: 06/07/2012)
06/07/2012   542   MOTION to Continue Exhibits not contained within first filing by USA as to Alfred
                   Palagonia. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit) (Harwick, John)
                   (Entered: 06/07/2012)
06/21/2012   543   MOTION to Continue Status Report by USA as to Alfred Palagonia. (Harwick, John)
                   (Entered: 06/21/2012)
06/21/2012         Motions terminated, docketed incorrectly. as to Alfred Palagonia: 543 MOTION to
                   Continue Status Report filed by USA. This is not a motion; it is a letter containing a
                   status report. (Kessler, Stanley) (Entered: 06/27/2012)
07/02/2012         NOTICE OF HEARING ON MOTION in case as to Alfred Palagonia 528 . The motion
                   for victims' rights on behalf of Ernest Gottdiener, Judith Gottdiener, Ervin Tausky and
                   Suan Investments is scheduled for oral argument on 7/30/2012 at 11:00 AM in
                   Courtroom 8B South before Judge I. Leo Glasser. (Kessler, Stanley) (Entered:
                   07/02/2012)
07/30/2012   544   Minute Entry for proceedings held before Judge I. Leo Glasser on 7/30/2012: Case
                   called. John F. Harwick, Esq. present for the applicants Ernest Gottdiener, Judith
                   Gottdiener, Ervin Tausky and Suan Investments (The Victims). AUSA Michael L.
                   Yaeger present for the Government. The motion of Ernest Gottdiener, Judith
                   Gottdiener, Ervin Tausky and Suan Investments (The Victims) for an award of
                   restitution from the defendant Alfred Pagonia is argued. Both parties are to file
                   additional papers not later than 8/6/2012. Decision reserved. (Court Reporter Mary
                   Agnes Drury.) (Kessler, Stanley) (Entered: 07/30/2012)
08/06/2012   545   Letter Joint Submission (John Harwick and Miachel Yaeger) as to Alfred Palagonia
                   (Harwick, John) (Entered: 08/06/2012)


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